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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA


   WHOLE WOMAN’S HEALTH
   ALLIANCE, et al.,

                              Plaintiffs,              Case No. 3:23-cv-00019-RSB

                        v.

   UNITED STATES FOOD AND DRUG
   ADMINISTRATION, et al.,

                              Defendants.


                             DECLARATION OF NOAH T. KATZEN

      Pursuant to 28 U.S.C. § 1746, I, Noah T. Katzen, hereby declare:

      1.     I am an attorney in the Consumer Protection Branch of the U.S.

Department of Justice, Civil Division. I am assigned to represent Defendants in the

above-captioned case. The statements made herein are based on my personal

knowledge, and on information made available to me in the course of my duties and

responsibilities as Government counsel in this case.

      2.     I submit this declaration in support of Defendants’ Combined

Memorandum in Opposition to Plaintiffs’ Motion for Preliminary Injunction and in

Support of Motion to Stay Proceedings.

      3.     Filed herewith as Exhibits A—L are true and correct copies of the

following documents that have been provided to me by the U.S. Food and Drug

Administration or that I downloaded from the indicated websites:
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         EXHIBIT A
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                  DEPARTMENT OF HEALTH AND HUMAN SERVICES


                                                                                   Food and Drug Administration
                                                                                   Silver Spring MD 20993

          NDA 020687/S-014
                                                                             SUPPLEMENT APPROVAL

          Danco Laboratories, LLC
                                         (b) (6)




          P.O. Box 4816
          New York, NY 10185
                           (b) (6)
          Dear                       :

          Please refer to your Supplemental New Drug Application (sNDA) dated September 16, 2008,
          received September 17, 2008, submitted under section 505(b) of the Federal Food, Drug, and
          Cosmetic Act (FDCA) for MIFEPREX® (mifepristone) Tablets. We note that NDA 020687 is
          approved under the provisions of 21 CFR 314.520 (Subpart H).

          This supplemental application provides for a proposed risk evaluation and mitigation strategy
          (REMS) for MIFEPREX (mifepristone) and was submitted in accordance with section 909(b)(1)
          of the Food and Drug Administration Amendments Act of 2007 (FDAAA). Under
          section 909(b)(1) of FDAAA, we identified MIFEPREX (mifepristone) as a product deemed to
          have in effect an approved REMS because there were in effect on the effective date of FDAAA,
          March 25, 2008, elements to assure safe use required under 21 CFR 314.520.

          We acknowledge receipt of your amendments dated December 9, 2008, November 8, 2010, and
          May 19 and 27, 2011.

          In accordance with section 505-1 of the FDCA, we have determined that a REMS is necessary
          for MIFEPREX (mifepristone) to ensure the benefits of the drug outweigh the risks of serious
          complications by requiring prescribers to certify that they are qualified to prescribe MIFEPREX
          (mifepristone) and are able to assure patient access to appropriate medical facilities to manage
          any complications.

          Your proposed REMS, as amended and appended to this letter, is approved. The REMS consists
          of a Medication Guide, elements to assure safe use, an implementation system, and a timetable
          for submission of assessments of the REMS.

          We remind you that section 505-1(f)(8) of FDCA prohibits holders of an approved covered
          application with elements to assure safe use from using any element to block or delay approval
          of an application under section 505(b)(2) or (j). A violation of this provision in 505-1(f) could
          result in enforcement action.




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          The REMS assessment plan will include the information submitted to FDA on May 27, 2011,
          and should include the following information:

                  a. Per section 505-1(g)(3)(A), an assessment of the extent to which the elements to
                     assure safe use are meeting the goal or goals to mitigate a specific serious risk listed
                     in the labeling of the drug, or whether the goal or goals or such elements should be
                     modified.
                  b. Per section 505-1(g)(3)(B) and (C), information on the status of any postapproval
                     study or clinical trial required under section 505(o) or otherwise undertaken to
                     investigate a safety issue. With respect to any such postapproval study, you must
                     include the status of such study, including whether any difficulties completing the
                     study have been encountered. With respect to any such postapproval clinical trial,
                     you must include the status of such clinical trial, including whether enrollment has
                     begun, the number of participants enrolled, the expected completion date, whether
                     any difficulties completing the clinical trial have been encountered, and registration
                     information with respect to requirements under subsections (i) and (j) of section 402
                     of the Public Health Service Act. You can satisfy these requirements in your REMS
                     assessments by referring to relevant information included in the most recent annual
                     report required under section 506B and 21 CFR 314.81(b)(2)(vii) and including any
                     updates to the status information since the annual report was prepared. Failure to
                     comply with the REMS assessments provisions in section 505-1(g) could result in
                     enforcement action.

          We remind you that in addition to the assessments submitted according to the timetable included
          in the approved REMS, you must submit a REMS assessment and may propose a modification to
          the approved REMS when you submit a supplemental application for a new indication for use as
          described in Section 505-1(g)(2)(A) of FDCA.

          Prominently identify future submissions containing the REMS assessments or proposed
          modifications with the following wording in bold capital letters at the top of the first page of the
          submission:

                  NDA 020687 REMS ASSESSMENT

                  NEW SUPPLEMENT FOR NDA 020687
                  PROPOSED REMS MODIFICATION
                  REMS ASSESSMENT

                  NEW SUPPLEMENT (NEW INDICATION FOR USE) FOR NDA 020687
                  REMS ASSESSMENT
                  PROPOSED REMS MODIFICATION (if included)

          If you do not submit electronically, please send 5 copies of REMS-related submissions.

          As part of the approval under Subpart H, as required by 21 CFR 314.550, you must submit all
          promotional materials, including promotional labeling as well as advertisements, at least 30 days



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          before the intended time of initial distribution of the labeling or initial publication of the
                                                                                                  (b) (6)
          advertisement. Send one copy to the                                                             and two
          copies of the promotional materials and the package insert directly to:

                  Food and Drug Administration
                  Center for Drug Evaluation and Research
                  Division of Drug Marketing, Advertising, and Communications
                  Food and Drug Administration
                  5901-B Ammendale Road
                  Beltsville, MD 20705-1266

          REPORTING REQUIREMENTS

          We remind you that you must comply with reporting requirements for an approved NDA
          (21 CFR 314.80 and 314.81).
                                                                                                  (b) (6)
          If you have any questions,


                                                        Sincerely,

                                                        {See appended electronic signature page}
                                                                           (b) (6)




          ENCLOSURES:
            REMS Document
            REMS Materials




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     ---------------------------------------------------------------------------------------------------------
     This is a representation of an electronic record that was signed
     electronically and this page is the manifestation of the electronic
     signature.
     ---------------------------------------------------------------------------------------------------------
     /s/
     ----------------------------------------------------
                            (b) (6)


     06/08/2011




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               http://www.fda.gov/downloads/DrugsGuidanceComplianceRegulatoryInformation/Guidances/U
               CM072392.pdf.

               The SPL will be accessible from publicly available labeling repositories.

               Also within 14 days, amend all pending supplemental applications that include labeling changes
               for this NDA, including CBE supplements for which FDA has not yet issued an action letter,
               with the content of labeling [21 CFR 314.50(l)(1)(i)] in Microsoft Word format, that includes the
               changes approved in this supplemental application, as well as annual reportable changes. To
               facilitate review of your submission(s), provide a highlighted or marked-up copy that shows all
               changes, as well as a clean Microsoft Word version. The marked-up copy should provide
               appropriate annotations, including supplement number(s) and annual report date(s).

               RISK EVALUATION AND MITIGATION STRATEGY REQUIREMENTS

               The REMS for Mifeprex (mifepristone) Tablets was originally approved on June 8, 2011. The
               most recent modification was approved on March 29, 2016. The REMS consists of elements to
               assure safe use, an implementation system, and a timetable for submission of assessments of the
               REMS. Your proposed modifications to the REMS establish a SSS REMS for the elements to
               assure safe use and the implementation system required for the reference listed drug (RLD)
               Mifeprex and ANDAs referencing Mifeprex, called the Mifepristone REMS Program.

               Your proposed modified REMS, submitted on January 25, 2018, and appended to this letter, is
               approved.

               The timetable for submission of assessments of the REMS must be revised to one year from the
               date of the initial approval of the SSS REMS (04/11/19) and every three years thereafter.

               The revised REMS assessment plan must include, but is not limited to, the following:

               Both cumulative data from the date of the initial approval of the SSS REMS (04/11/19) and data
               from the reporting period (i.e., from the preceding Mifeprex REMS assessment cut-off date to
               the cut-off date for the Mifepristone REMS Program.)

               REMS Assessment Plan
                 Provide each metric for the current reporting period and cumulative for the RLD and
                 ANDA(s):
                 1. Number of prescribers enrolled
                 2. Number of prescribers ordering mifepristone
                 3. Number of healthcare providers who attempted to order mifepristone who were not
                    enrolled; describe actions taken
                 4. Number of women exposed to mifepristone
                 5. Summary and analysis of any program deviations and corrective action taken
                 6. Based on the information reported, an assessment and analysis of whether the REMS is
                    meeting its goals and whether modifications to the REMS are needed




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               The requirements for assessments of an approved REMS under section 505-1(g)(3) include with
               respect to each goal included in the strategy, an assessment of the extent to which the approved
               strategy, including each element of the strategy, is meeting the goal or whether 1 or more such
               goals or such elements should be modified.

               We remind you that in addition to the REMS assessments submitted according to the timetable in
               the approved REMS, you must include an adequate rationale to support any proposed REMS
               modification for the addition, modification, or removal of any of goal or element of the REMS,
               as described in section 505-1(g)(4) of the FDCA.

               We also remind you that you must submit a REMS assessment when you submit any future
               supplemental application for a new indication for use as described in section 505-1(g)(2)(A) of
               the FDCA. This assessment should include:

                    a) An evaluation of how the benefit-risk profile will or will not change with the new
                       indication;
                    b) A determination of the implications of a change in the benefit-risk profile for the current
                       REMS;
                    c) If the new indication for use introduces unexpected risks: A description of those risks and
                       an evaluation of whether those risks can be appropriately managed with the currently
                       approved REMS.
                    d) If a REMS assessment was submitted in the 18 months prior to submission of the
                       supplemental application for a new indication for use: A statement about whether the
                       REMS was meeting its goals at the time of that the last assessment and if any
                       modifications of the REMS have been proposed since that assessment.
                    e) If a REMS assessment has not been submitted in the 18 months prior to submission of the
                       supplemental application for a new indication for use: Provision of as many of the
                       currently listed assessment plan items as is feasible.
                    f) If you propose a REMS modification based on a change in the benefit-risk profile or
                       because of the new indication of use, submit an adequate rationale to support the
                       modification, including: Provision of the reason(s) why the proposed REMS modification
                       is necessary, the potential effect on the serious risk(s) for which the REMS was required,
                       on patient access to the drug, and/or on the burden on the health care delivery system;
                       and other appropriate evidence or data to support the proposed change. Additionally,
                       include any changes to the assessment plan necessary to assess the proposed modified
                       REMS. If you are not proposing REMS modifications, provide a rationale for why the
                       REMS does not need to be modified.

               If the assessment instruments and methodology for your REMS assessments are not included in
               the REMS supporting document, or if you propose changes to the submitted assessment
               instruments or methodology, you should update the REMS supporting document to include
               specific assessment instrument and methodology information at least 90 days before the
               assessments will be conducted. Updates to the REMS supporting document may be included in a
               new document that references previous REMS supporting document submission(s) for
               unchanged portions. Alternatively, updates may be made by modifying the complete previous




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               REMS supporting document, with all changes marked and highlighted. Prominently identify the
               submission containing the assessment instruments and methodology with the following wording
               in bold capital letters at the top of the first page of the submission:

                        NDA 020687 REMS CORRESPONDENCE
                        (insert concise description of content in bold capital letters, e.g.,
                        UPDATE TO REMS SUPPORTING DOCUMENT - ASSESSMENT
                        METHODOLOGY

               An authorized generic drug under this NDA must have an approved REMS prior to marketing.
               Should you decide to market, sell, or distribute an authorized generic drug under this NDA,
               contact us to discuss what will be required in the authorized generic drug REMS submission.

               We remind you that section 505-1(f)(8) of FDCA prohibits holders of an approved covered
               application with elements to assure safe use from using any element to block or delay approval
               of an application under section 505(b)(2) or (j). A violation of this provision in 505-1(f) could
               result in enforcement action.

               Prominently identify any submission containing the REMS assessments or proposed
               modifications of the REMS with the following wording in bold capital letters at the top of the
               first page of the submission as appropriate:

                        NDA 020687 REMS ASSESSMENT

                        NEW SUPPLEMENT FOR NDA 020687/S-000/ SECONDARY TRACKING
                        NUMBER
                        CHANGES BEING EFFECTED IN 30 DAYS
                        PROPOSED MINOR REMS MODIFICATION

                                             Or

                        NEW SUPPLEMENT FOR NDA 020687/S-000/ SECONDARY TRACKING
                        NUMBER
                        PRIOR APPROVAL SUPPLEMENT
                             PROPOSED REMS MODIFICATIONS DUE TO SAFETY LABEL
                             CHANGES SUBMITTED IN SUPPLEMENT XXX

                                      Or

                        NEW SUPPLEMENT (NEW INDICATION FOR USE)
                         FOR NDA 020687/S-000
                             REMS ASSESSMENT
                             PROPOSED REMS MODIFICATION (if included)

               Should you choose to submit a REMS revision, prominently identify the submission containing
               the REMS revisions with the following wording in bold capital letters at the top of the first page




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               ENCLOSURES:
                 Content of Labeling
                    Prescribing Information
                    Medication Guide
                 REMS




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                                                                                   Signature Page 1 of 1

          --------------------------------------------------------------------------------------------
          This is a representation of an electronic record that was signed
          electronically. Following this are manifestations of any and all
          electronic signatures for this electronic record.
          --------------------------------------------------------------------------------------------
          /s/
          ------------------------------------------------------------

                                    (b) (6)


          04/11/2019 02:13:59 PM




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          EXHIBIT C
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                    Subject               REMS Modification Rationale Review
                    Established Name      Mifepristone REMS
                    Name of Applicants    Danco Laboratories, LLC and GenBioPro, Inc.

                    Therapeutic Class     Progestin antagonist
                    Formulation           Oral tablets




                                                                                         2


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               EXECUTIVE SUMMARY
                                                                                  (b) (6)   (b) (6)          (b) (6)
               This review provides the                                               (     and
                         (b) (6)
                      (          rationale and conclusions regarding modifications to the single, shared system
               Risk Evaluation and Mitigation Strategy (REMS) for mifepristone 200 mg (Mifepristone REMS
               Program) for new drug application (NDA) 20687 and abbreviated new drug application (ANDA)
               91178.

               ANDA 91178 was approved with the approval of the Mifepristone REMS Program on April 11,
               2019 to mitigate the risk of serious complications associated with mifepristone 200 mg. The
               most recent REMS modification was approved on May 14, 2021. The REMS consists of elements
               to assure safe use (ETASU) under ETASU A, C and D, an implementation system, and a timetable
               for submission of assessments. To determine whether a modification to the REMS was
               warranted, FDA undertook a comprehensive review of the published literature; safety
               information collected during the COVID-19 public health emergency (PHE); the one-year REMS
               assessment report of the Mifepristone REMS Program; adverse event data; and information
               provided by advocacy groups, individuals and the Applicants. Our review also included an
               examination of literature references provided by plaintiffs in the Chelius v. Becerra litigation
               discussed below.

               The modifications to the REMS will consist of:

                    x   Removing the requirement under ETASU C that mifepristone be dispensed only in
                        certain healthcare settings, specifically clinics, medical offices, and hospitals (referred to
                        here as the “in-person dispensing requirement” for brevity)

                    x   Adding a requirement under ETASU B that pharmacies that dispense the drug be
                        specially certified

               A REMS Modification Notification letter will be sent to both Applicants in the Single Shared
               System.




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               1. Introduction

               In connection with the Chelius v. Becerra litigation, FDA agreed to undertake a full review of the
               Mifepristone REMS Program, in accordance with the REMS assessment provisions of the
               Federal Food, Drug, and Cosmetic Act (FD&C Act). a This review provides the analysis of the
                                           (b) (6)   (b) (6)                                              (b) (6)
                                                   (         and the
                    (b) (6)
               (            regarding whether any changes are warranted to the single, shared system Risk
               Evaluation and Mitigation Strategy (REMS) for mifepristone (hereafter referred to as the
               Mifepristone REMS Program) for new drug application (NDA) 20687 and abbreviated new drug
               application (ANDA) 91178. The Mifeprex REMS was initially approved in 2011; the single, shared
               system REMS for mifepristone 200 mg, known as the Mifepristone REMS Program, was
               approved in 2019.

               The last time the existing REMS elements to assure safe use (under ETASU A, C and D) were
               reviewed was in the context of our review of supplement S-020 to NDA 20687; these ETASU
               were updated following review and approval of supplement S-020 on March 29, 2016. The key
               changes approved in 2016 are summarized below.

               Changes to labeling included:
                  x Changing the dosing of Mifeprex to 200 mg orally x 1
                  x Extension of maximum gestational age through 70 days
                  x Inclusion of misoprostol in the indication statement
                  x Replacing the term “physician” with “licensed healthcare provider”
                  x Removal of the phrase “Under Federal Law”

               The Mifeprex REMS and REMS materials were updated to reflect the changes above, and
               additional changes were made including:
                  x Removing the Medication Guide as part of the REMS but retaining it as part of labeling.


               2. Background

                      2.1. PRODUCT AND REMS INFORMATION




               a
                   Section 505-1(g)(2) of the FD&C Act (21 U.S.C. § 355-1(g)(2)).

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               Mifepristone is a progestin antagonist indicated, in a regimen with misoprostol, for the medical
               termination of intrauterine pregnancy (IUP) through 70 days gestation. Mifepristone is available
               as 200 mg tablets for oral use.

               Mifeprex (mifepristone) was approved on September 28, 2000 with a restricted distribution
               program under 21 CFR 314.520 (subpart H) b to ensure that the benefits of the drug outweighed
               the risk of serious complications associated with mifepristone when used for medical abortion.
               Mifeprex was deemed to have a REMS under section 505-1 of the Federal Food, Drug, and
               Cosmetic Act with the passage of the Food and Drug Administration Amendments Act (FDAAA)
               of 2007, and the Mifeprex REMS was approved on June 8, 2011. On March 29, 2016, as noted
               above, a supplemental application and REMS modification was approved for Mifeprex. On April
               11, 2019, ANDA 091178 was approved, and the Mifepristone REMS Program was approved. The
               Mifepristone REMS Program is a single, shared system REMS that includes NDA 020687 and
               ANDA 91178.

               The goal of the REMS for mifepristone is to mitigate the risk of serious complications associated
               with mifepristone by:

                     a. Requiring healthcare providers who prescribe mifepristone to be certified in the
                        Mifepristone REMS Program (under ETASU A).
                     b. Ensuring that mifepristone is only dispensed in certain healthcare settings, by or under
                        the supervision of a certified prescriber (under ETASU C).
                     c. Informing patients about the risk of serious complications associated with mifepristone
                        (under ETASU D).

               Under ETASU A, to become specially certified to prescribe mifepristone, a healthcare provider
               must review the prescribing information, complete and sign the Prescriber Agreement Form,
               and follow the guidelines for use of mifepristone. Under ETASU C, mifepristone must be
               dispensed to patients only in certain healthcare settings, specifically clinics, medical offices, and
               hospitals, by or under the supervision of a certified prescriber. Under ETASU D, mifepristone
               must be dispensed to patients with evidence or other documentation of safe use conditions
               (i.e., the patient must sign a Patient Agreement Form). The Mifepristone REMS Program also
               includes an implementation system, and a timetable for assessments (one year from the date
               of the initial approval of the REMS on April 11, 2019, and every three years thereafter).


               b
                   NDA approval letter Mifeprex (NDA 020687) dated September 28, 2000.

                                                                                                                   6


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                    2.2. REGULATORY HISTORY AND EVENTS RELEVANT TO THIS REMS
                         MODIFICATION RATIONALE REVIEW

               The following is a summary of significant regulatory history since approval of the REMS
               modification on March 29, 2016:

                    x   03/29/2016: FDA approved an efficacy supplement (S-020) that, among other things,
                        provided a new dosing regimen (200 mg mifepristone, followed in 24 to 48 hours by 800
                        mcg buccal misoprostol), increased the gestational age (GA) to which mifepristone may
                        be used (through 70 days gestation), and modified the REMS.

                    x   03/29/2019: A Citizen Petition was received requesting that FDA revise the product
                        labeling to reflect pre-2016 provisions (including limiting GA to 49 days and requiring
                        patients to make 3 office visits) and that FDA maintain the REMS.

                    x   04/11/2019: ANDA 91178 was approved along with the Single Shared System REMS for
                        Mifepristone 200 mg (Mifepristone REMS Program) for NDA 20687 and ANDA 91178.

                    x   01/31/2020: the COVID-19 public health emergency (PHE) was declared by the Secretary
                        of Health and Human Services (HHS) as having existed since January 27, 2020. c

                    x   7/13/2020: The United States (US) District Court of Maryland granted a preliminary
                        injunction in the ACOG v. FDA litigation to temporarily bar enforcement of the
                        Mifepristone REMS Program in-person dispensing requirement during the COVID-19
                        PHE.

                    x   1/12/2021: US Supreme Court granted a stay of that injunction.

                    x   04/12/2021: FDA issued a General Advice Letter to both the NDA and ANDA Applicants,
                        stating that provided that all other requirements of the Mifepristone REMS Program are
                        met, and given that in-person dispensing of mifepristone for medical termination of
                        early pregnancy may present additional COVID-related risks to patients and healthcare

               c
                 See Secretary of Health and Human Services, Determination that a Public Health Emergency Exists (originally
               issued January 31, 2020, and subsequently renewed), available at
               https://www.phe.gov/emergency/news/healthactions/phe/Pages/default.aspx

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                        personnel because it may involve a clinical visit solely for this purpose, FDA intends to
                        exercise enforcement discretion during the COVID-19 PHE with respect to the in-person
                        dispensing requirement in the Mifepristone REMS Program, including any in-person
                        requirements that may be related to the Patient Agreement Form. FDA further stated
                        that to the extent all of the other requirements of the Mifepristone REMS Program are
                        met, FDA intends to exercise enforcement discretion during the COVID-19 PHE with
                        respect to the dispensing of mifepristone through the mail, either by or under the
                        supervision of a certified prescriber, or through a mail-order pharmacy when such
                        dispensing is done under the supervision of a certified prescriber.

                    x   05/07/2021: FDA stated that it would be reviewing the elements of the Mifepristone
                        REMS Program in accordance with the REMS assessment provisions of section 505-1 of
                        the FD&C Act.

                    x   05/14/2021: A modification was approved for the Mifepristone REMS Program. This
                        modification was to revise the Patient Agreement Form to include gender-neutral
                        language.

                    x   06/30/2021: An Information Request (IR) was sent to the Applicants for additional
                        information on shipments and any program deviations, adverse events, or
                        noncompliance with the REMS that occurred during the period from April 1, 2021
                        through September 30, 2021.

                    x   7/15/2021: An IR was sent to the Applicants to provide the total number of shipments
                        during the period from April 1, 2021 to September 30, 2021 and details on whether any
                        of those shipments were involved in any program deviation or non-compliance.

                    x   8/5/2021: An IR was sent to the Applicants for additional clinical and other information
                        (e.g., adverse events and units of mifepristone shipped) for the period of March 29,
                        2016 through June 30, 2021, to be provided by August 31, 2021. This IR also requested
                        information covering the period of July 1, 2021 through September 30, 2021 and an




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                        aggregate summary (for the period of March 29, 2016 through September 30, 2021), to
                        be provided by October 12, 2021. d

                    x   8/26/2021: The ANDA Applicant submitted a response to the IR issued on 8/5/2021.

                    x   08/27/2021: The NDA Applicant submitted a response to the IR issued on 8/5/2021.

                    x   10/08/2021: The NDA Applicant submitted a response to the June 30 and July 15, 2021
                        IRs as well as an aggregate summary for the period March 29, 2016 through September
                        30, 2021 in response to the August 5, 2021 IR. The NDA Applicant also included a follow-
                        up to their initial response provided on August 27, 2021 to the August 5, 2021 IR.

                    x   10/12/2021: The ANDA Applicant submitted a response to the June 30 and July 15, 2021
                        IRs as well as an aggregate summary for the period March 29, 2016 through September
                        30, 2021 in response to the August 5, 2021 IR.

                    x   10/16/2021: The ANDA Applicant revised their Oct 12, 2012 response to provide a
                        correction to the number of mifepristone tablets.

                    x
                                                                                                                    (b) (4)


                                                                               .

                    x
                                                                     (b) (6)   (b) (6)
                        11/02/2021: A                              (      meeting was convened to obtain CDER
                        concurrence on the removal of the in-person dispensing requirement and the addition
                                                                           (b) (6)  (b) (6)
                        of a certification requirement for pharmacies. The                  and senior CDER
                        leadership concurred with removing the in-person dispensing and adding pharmacy
                        certification.



               3. Rationale for Proposed REMS Modification


               d
                Multiple Information Requests were issued to obtain additional information on drug shipments, any program
               deviations or noncompliance, and use of alternative methods for drug distribution during the COVID-19 PHE.
               These IRs are referenced as appropriate in this document and the one-year REMS Assessment Review of the
               Mifepristone REMS Program, December 16, 2021.

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                     3.1. CURRENT REQUIREMENTS FOR THE APPROVED REMS

               The Mifepristone REMS Program includes elements to assure safe use (ETASU), an
               implementation system, and a timetable for submission of assessments. Elements to assure
               safe use in the current REMS include a prescriber certification requirement (ETASU A), a
               requirement that mifepristone be dispensed only in certain healthcare settings by or under the
               supervision of a certified prescriber (ETASU C), and a requirement that mifepristone be
               dispensed only with documentation of safe use conditions (ETASU D). Documentation of safe
               use conditions under ETASU D consists of a Patient Agreement Form between the prescriber
               and the patient indicating that the patient has received counseling from the prescriber
               regarding the risk of serious complications associated with mifepristone 200 mg for medical
               termination of early pregnancy.

                     3.2. EVALUATION OF THE EVIDENCE

               We reviewed multiple different sources of information, including published literature, safety
               information submitted to the Agency during the COVID-19 PHE, FDA Adverse Event Reporting
               System (FAERS) reports, the first REMS assessment report for the Mifepristone REMS Program,
               and information provided by advocacy groups, individuals, and the Applicants. Our review also
               included an examination of literature references provided by plaintiffs in the Chelius v. Becerra
               litigation. Below is an overview of how information relevant to the current Mifepristone REMS
               Program was retrieved, analyzed, and applied to each of the individual ETASUs to determine if
               further changes should be considered.

               Methods for the literature search
                   (b) (6)
                      conducted a literature search in PubMed and Embase to retrieve publications relevant to
               this review. The time period used for this literature search was between March 29, 2016 (when
               the Mifeprex labeling and REMS were last substantially revised) through July 26, 2021. The
               search terms used were “medical abortion” and “mifepristone” and “pregnancy termination
               and mifepristone.”

               The search retrieved 306 publications from PubMed and 613 from Embase, respectively; the
               search yielded 646 unique publications after eliminating duplications between the two
               databases. The result of our literature search was also supplemented by an examination of
               literature references provided by advocacy groups, individuals, plaintiffs in the Chelius
               litigation, and the Applicants, as well as letters from healthcare providers and researchers.
                                                                                                               10


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               References included in these letters were considered for inclusion in this review using identical
                                         (b) (6)
               selection criteria to the         literature search (outlined below).
                                                (b) (6)
               For this review of the REMS,       focused on publications containing safety data related to
               outcomes of medical abortion (objective safety data) obtained from our literature search and
               from the references provided to us relevant to the REMS ETASUs. We excluded systematic
               reviews and meta-analyses because these publications did not include original safety data
               related to the outcomes of medical abortion. The following are examples of materials that were
               excluded from our literature search:

                    x   Information from survey studies or qualitative studies that evaluated perspectives on
                        and/or satisfaction with medical abortion procedures from patients, pharmacists, clinic
                        staff, or providers, even if the study assessed REMS ETASUs. These surveys or qualitative
                        studies did not include objective safety data related to outcomes of medical abortion.

                    x   Opinions, commentaries, or policy/advocacy statements. These publications did not
                        include objective safety data related to outcomes of medical abortion.

                    x   Safety data related to mifepristone use for second trimester medical abortion. These
                        publications reported data not applicable to the approved indication for medical
                        abortion up to 70 days gestation.

                    x   Safety data related to mifepristone use for spontaneous first trimester abortion (i.e.,
                        miscarriages). These publications reported data not applicable to the approved
                        indication for medical abortion up to 70 days gestation.

                    x   Safety data that pertained only to surgical abortion or did not separate out medical
                        abortion from surgical abortion.

                    x   Other safety information unrelated to the REMS elements (e.g., articles limited to case
                        reports or those discussing unrelated gynecologic or medical issues)

                    x   Publications for which it was not possible to conduct a full review of the methods or
                        results, i.e., the references were limited to an abstract of the study methods and results.

                    x   Publications that provided only general statistics on abortion care in the United States.


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                    x   Information pertinent to molecular or other basic science aspects of mifepristone.

                    x   Data on the logistics of accessing abortion care in general, such as time to appointment
                        or the distance traveled to obtain care.

                    x   Publications that provided data not related specifically to abortion care or the REMS
                        (e.g., references focused on federal poverty guidelines, poverty data, or the financial
                        impact of the COVID-19 pandemic).

               One exception to the above literature search criteria was the inclusion in Section 3.2.2 of this
               review, which discusses the Patient Agreement Form, of publications that discussed changes in
               provider volume. The data discussed in relation to provider volume was obtained from surveys.
               This data was included because changes in provider volume could only be obtained from well-
               conducted survey studies.

               Regarding medical/scientific references submitted with letters from the plaintiffs in the Chelius
               litigation, we applied the same criteria as for the literature search, as described above.


               Letters from the plaintiffs in the Chelius litigation included several references that preceded our
               2016 review of the REMS. Two of those pre-2016 studies were not captured in our 2016
               literature search. These two studies were assessed as part of our current review; their results
               are consistent with the existing safety profile of the approved medical abortion regimen, and
               therefore, support our current conclusions regarding the REMS. See Appendix A.

                        3.2.1. Evaluation of the requirement for healthcare providers who prescribe the
                             drug to be specially certified (ETASU A)


               In order to become specially certified, prescribers must: 1) review the prescribing information
               for mifepristone and 2) complete the Prescriber Agreement Form. In signing the Prescriber
               Agreement Form, prescribers agree they meet the qualifications listed below:

                    x   Ability to assess the duration of pregnancy accurately
                    x   Ability to diagnose ectopic pregnancies
                    x   Ability to provide surgical intervention in cases of incomplete abortion or severe
                        bleeding, or to have made plans to provide such care through others, and ability to

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                        ensure patient access to medical facilities equipped to provide blood transfusions and
                        resuscitation, if necessary.
                    x   Has read and understood the Prescribing Information of mifepristone (which the
                        provider can access by phone or online).
               In addition to meeting these qualifications, as a condition of certification the healthcare
               provider also agrees to follow the guidelines for use below:

                    x   Review the Patient Agreement Form with the patient and fully explain the risks of the
                        mifepristone treatment regimen. Answer any questions the patient may have prior to
                        receiving mifepristone.
                    x   Sign and obtain the patient’s signature on the Patient Agreement Form.
                    x   Provide the patient with a copy of the Patient Agreement Form and the Medication
                        Guide.
                    x   Place the signed Patient Agreement Form in the patient’s medical record.
                    x   Record the serial number from each package of mifepristone in each patient’s record.
                    x   Report deaths to the Applicant, identifying the patient by a non-identifiable patient
                        reference and the serial number from each package of mifepristone.
               The literature review was the primary source of information that contributed to our
               reassessment of ETASU A.
               We continue to be concerned that absent these provider qualifications, serious and potentially
               fatal complications associated with medical abortion, including missed ectopic pregnancy and
               heavy bleeding from incomplete abortion, would not be detected or appropriately managed.
               Our review of the literature did not identify any studies comparing providers who met these
               qualifications with providers who did not. In the absence of such studies, there is no evidence
               to contradict our previous finding that prescribers’ ability to accurately date pregnancies,
               diagnose ectopic pregnancies, and provide surgical intervention or arrange for such care
               through others if needed, is necessary to mitigate the serious risks associated with the use of
               mifepristone in a regimen with misoprostol. Therefore, our review continues to support the
               conclusion that a healthcare provider who prescribes mifepristone should meet the above
               qualifications. We conclude it is reasonable to maintain the requirement for a one-time
               prescriber certification where prescribers attest to having the ability to diagnose an intrauterine




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               pregnancy, to diagnose an ectopic pregnancy, e and to either manage serious complications
               themselves or arrange for other providers to provide the needed care in a timely manner.

               In addition, in signing the Prescriber Agreement Form and placing it in the patient’s medical
               record, the prescribers acknowledge the requirement to report patient deaths associated with
               mifepristone to the manufacturer. Such a requirement ensures that the manufacturer receives
               all reports of patient deaths and, in turn, fulfills its regulatory obligations to report those deaths
               to the FDA.

               As discussed in Section 3.2.2 below, there is a potential for doubling of the number of
               prescribers of mifepristone if the in-person dispensing requirement in ETASU C is removed from
               the Mifepristone REMS Program. Given the potential addition of new prescribers, in addition to
               the considerations described above, we conclude that we should maintain the requirement for
               prescriber certification, to ensure that providers meet the necessary qualifications and adhere
               to the guidelines for use. Our literature review supports that these requirements are still
               necessary, and the potential increase in new prescribers under the REMS is a further reason to
               maintain prescriber certification. Healthcare provider certification continues to be a necessary
               component of the REMS to ensure the benefits of mifepristone for medical abortion outweigh
               the risks. The burden of prescriber certification has been minimized to the extent possible by
               requiring prescribers to certify only one time for each applicant.

                        3.2.2. Evaluation of the requirement for the drug to be dispensed with evidence or
                             other documentation of safe-use conditions (ETASU D)

               In order to receive mifepristone for medical termination of pregnancy through 70 days
               gestation, the patient must sign a Patient Agreement Form indicating that the patient has
               received, read, and been provided a copy of the Patient Agreement Form and received
               counseling from the prescriber regarding the risk of serious complications associated with
               mifepristone for this indication. The Patient Agreement Form ensures that patients are
               informed of the risks of serious complications associated with mifepristone for this indication.


               e
                 American College of Obstetricians and Gynecologists (ACOG) Practice Bulleting Number 191, February 2018.
               Tubal Ectopic Pregnancy. https://www.acog.org/clinical/clinical-guidance/practice-bulletin/articles/2018/03/tubal-
               ectopic-pregnancy. Mifepristone is not effective for terminating ectopic pregnancy. Some of the expected symptoms
               experienced with a medical abortion (abdominal pain, uterine bleeding) may be similar to those of a ruptured ectopic
               pregnancy. A missed ectopic pregnancy that ruptures is a medical emergency that requires immediate surgical
               intervention.

                                                                                                                                14


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               In a number of approved REMS, Patient Agreement Forms or Patient Enrollment Forms ensure
               that patients are counseled about the risks of the product and/or informed of appropriate safe
               use conditions. f

               As a condition of certification under the Mifepristone REMS Program, healthcare providers
               must follow the guidelines for use of mifepristone, including reviewing the Patient Agreement
               Form with the patient, fully explaining the risks of the treatment regimen, and answering any
               questions the patient may have before receiving the medication. With this form, the patient
               acknowledges that they have received and read the form, and that they have received the
               counseling regarding when to take mifepristone, the risk of serious complications associated
               with mifepristone and what to do if they experience adverse events (e.g., fever, heavy
               bleeding). Both the healthcare provider and patient must sign the document and the patient
               must receive a copy of the signed form. In addition to the counseling described in the Patient
               Agreement Form, patients also receive a copy of the Medication Guide for mifepristone.
               Ultimately, the Patient Agreement Form serves as an important counseling component, and
               documentation that the safe use conditions of the Mifepristone REMS Program have been
               satisfied, as the prescriber is required to place the signed Patient Agreement Form in the
               patient’s medical record.

               Prior to the March 29, 2016 approval of the S-020 efficacy supplement for Mifeprex, FDA
                                                                                                (b) (6)
               undertook a review of all elements of the REMS. At that time, the
                                                                      (b) (6)                           (b) (6)
                                                          (                   ), along with the
                                            (b) (6)
                              (                     ), recommended removal of the Patient Agreement Form
                                                                                                                 (b) (6)
               (ETASU D). This recommendation received concurrence from the
                                                                                                         (b) (6)
               on February 23, 2016. The rationale for this recommendation in the 2016
               review g is summarized here as follows:

                    x   The safety profile of Mifeprex is well-characterized over 15 years of experience, with
                        known risks occurring rarely; the safety profile has not changed over the period of
                        surveillance.
                    x   Established clinical practice includes patient counseling and documentation of informed
                        consent and evidence shows that practitioners are providing appropriate patient


               f
                REMS@FDA, https://www.accessdata fda.gov/scripts/cder/rems/index.cfm, Accessed November 15, 2021.
               g                                               (b) (6)
                                                                       Clinical Review, NDA 020687/S20, dated March 29, 2016.
               https://darrts fda.gov/darrts/faces/ViewDocument?documentId=090140af803dc7bd& afrRedirect=38617557320374
               5

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                        counseling and education; the Patient Agreement Form is duplicative of these
                        established practices.
                    x   Medical abortion with Mifeprex is provided by a small group of organizations and their
                        associated providers. Their documents and guidelines are duplicated in the Patient
                        Agreement Form.
                    x   ETASUs A and C remain in place: The Prescriber Agreement Form and the requirement
                        that Mifeprex be dispensed to patients only in certain healthcare settings, specifically,
                        clinics, medical offices, and hospitals under the supervision of a certified prescriber,
                        remain in place.
               In light of a memorandum from the Director of the Center for Drug Evaluation and Research, an
                                                              (b) (6)
               addendum to the                                        March 29, 2016 review and a memorandum
                                                (b) (6)
               from the signatory authority in          indicated that the Patient Agreement Form would be
                                     h,i
               retained in the REMS.

               The current review of literature from March 29, 2016 to July 26, 2021, is relevant to our
               assessment of the necessity of the Patient Agreement Form as part of the REMS. While our
               literature search yielded no publications which directly addressed this element of the REMS, we
               identified the following literature that focused on the informed consent process. These studies
               were reviewed for their potential relevance on this topic, though the articles do not directly
               assess the need for the Patient Agreement Form as a condition necessary to assure safe use of
               Mifepristone under ETASU D.

                    x   Two studies 1,2 (both authored by Dr. Grossman in 2021) used the Patient Agreement
                        Form and additional clinic-specific written informed consent forms as part of the study
                        methodology. One study evaluated medical abortion with pharmacist dispensing of
                        mifepristone and another evaluated mail-order pharmacy dispensing. Safety and
                        efficacy outcomes were not assessed regarding the element of consent in isolation or
                        the Patient Agreement Form.
                    x   Several studies included use of electronic or verbal consent. Two studies were
                        conducted using signed electronic consent (Chong 3, Kerestes 4). Aiken 5 reported that
                        patients had the option of providing consent verbally and the discussion had to be
                        recorded in the notes. Rocca 6 described obtaining verbal informed consent from
                        patients seeking medical abortion provided in pharmacies or government-certified

                                       (b) (6)
               h
                                                 Review of proposed REMS modifications to Mifeprex. March 29, 2106.
               i                                                       (b) (6)
                                                                               Summary of Regulatory Action for Mifeprex. March
               29, 2016.

                                                                                                                             16


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                        public health facilities by auxiliary nurse midwives (ANMs) in Nepal. Outcomes were not
                        assessed regarding the single element of consent and its role in the efficacy of medical
                        abortion.
                    x   A retrospective chart review (Wiebe 7) was conducted in Canada. This study included
                        telemedicine abortions between January 31, 2017 and January 31, 2019 and a similar
                        group of controls seen in the clinic during the same time frame, matched by date of
                        initial appointment. As part of the telemedicine process, patients read a consent form
                        (not specified whether they could view an electronic version) and gave verbal consent
                        “witnessed by the counselor”. Again, outcomes were not assessed regarding the single
                        element of consent and its role in the efficacy of medical abortion.

               After review, we conclude that there are no outcome data from these studies that address the
               need for the Patient Agreement Form as a condition necessary to assure safe use of
               mifepristone. Nor do any of these studies provide evidence of whether the patient’s informed
               consent has been adequately documented under the process set out in the study protocol.
               Therefore, these studies do not provide evidence that would support removing ETASU D.
                             (b) (6)
               Although           agrees that informed consent in medicine is an established practice, the
               National Abortion Federation’s 2020 Clinical Policy Guidelines for Abortion Care 8 continue to
               include a detailed section on patient education, counseling, and informed consent. The
               guidelines state that these steps are essential parts of the abortion process; that they should be
               conducted by appropriate personnel, with accurate information, including about alternatives
               and potential risks and benefits; and that the patients must have an opportunity to have any
               questions answered to their satisfaction prior to any intervention. Under these guidelines,
               documentation must show that the patient affirms that they understand all the information
               provided and that the decision to undergo an abortion is voluntary. The guidelines specifically
               list the risks that must be addressed at a minimum, including those pertinent to medical
               abortion: hemorrhage, infection, continuing pregnancy, and death. Additionally, Practice
               Bulletins from ACOG 9 and the Society of Family Planning also support detailed patient
               counseling.

               In addition, trends in US clinical practice are developing which could negatively impact
               adequate patient counseling about the risks of medical abortion. One survey by Jones 2017 10 of
               abortion providers in the United States and Canada prior to the COVID-19 pandemic did reveal
               strong adherence to evidence-based guidelines. However, this same survey noted continued
               increasing uptake of medical abortion by US providers. Grossman 11 conducted a US survey in

                                                                                                              17


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               2019 which suggested that the number of obstetrician/gynecologists providing medical
               abortion care may be increasing and that uptake might increase if mifepristone were dispensed
               by pharmacies instead of being dispensed in-person. A subsequent survey of US obstetricians/
               gynecologists by Daniel in 2021 12 evaluated a subsample (n = 868) from a prior national survey
               of providers and found that 164 (19%) reported providing medical abortion in the previous
               year. Of those obstetrician/gynecologists not providing medical abortion, 171 (24%) said they
               would offer the method to their patients if the in-person dispensing requirement for
               mifepristone were removed. This indicates a potential doubling of providers (+ 104%, 95%
               ĐŽŶĨŝĚĞŶĐĞŝŶƚĞƌǀĂů;/Ϳ͗ϵϳйоϭϭϮйͿ͘dŚĞƌĞǁĞƌĞŐĞŽŐƌĂƉŚŝĐĂl variations, with the largest
               pŽƚĞŶƚŝĂůŝŶĐƌĞĂƐĞƐďĞŝŶŐŝŶƚŚĞDŝĚǁĞƐƚ;нϭϴϵй͕ϵϱй/͗ϭϳϮйоϮϬϳйͿĂŶĚthe South (+ 118%,
               95% CI: ϭϬϯйоϭϯϰйͿ͘

               Based on the articles discussed above, removal of the in-person dispensing requirement from
               the Mifepristone REMS Program (as discussed below in section 3.2.3) could significantly
               increase the number of providers to a larger group of practitioners. The Patient Agreement
               Form is an important part of standardizing the medication information on the use of
               mifepristone that prescribers communicate to their patients, and also provides the information
               in a brief and understandable format for patients. The requirement to counsel the patient, to
               provide the patient with the Patient Agreement Form, and to have the healthcare provider and
               patient sign the Patient Agreement Form, ensures that each provider, including new providers,
               informs each patient of the appropriate use of mifepristone, risks associated with treatment,
               and what to do if the patient experiences symptoms that may require emergency care. The
               single-page Patient Agreement Form is in line with other elements of this REMS, in that it
               supports the requirement that certified prescribers be able to accurately assess a patient,
               counsel a patient appropriately and recognize and manage potential complications. The form is
               placed in the patient’s medical record to document the patient’s acknowledgment of receiving
               the information from the prescriber and a copy is provided to the patient. We determined,
               consistent with section 505-1(f)(2) of the FD&C Act, that this does not impose an unreasonable
               burden on providers or patients, and that the Patient Agreement Form remains necessary to
               assure the safe use of Mifepristone.

               After considering potential burden on healthcare providers and patients and considering the
               available data discussed above, including the potential for increased prescribing of mifepristone
               if in-patient dispensing is removed from the REMS, we conclude that the Patient Agreement
               Form should remain a safe use condition in the REMS.


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                        3.2.3. Evaluation of the requirement for drug to be dispensed only in certain
                             healthcare settings (ETASU C)
               Mifepristone applicants must ensure that mifepristone is available to be dispensed to patients
               only in clinics, medical offices, and hospitals by or under the supervision of a certified
               prescriber. This creates what we refer to in this document as an in-person dispensing
               requirement under the REMS; i.e., the patient must be present in person in the clinic, medical
               office or hospital when the drug is dispensed. The mifepristone REMS document states that
               mifepristone may not be distributed to or dispensed through retail pharmacies or settings other
               than these.

               The following information contributed to our analysis of this requirement: Mifepristone REMS
               Program year-one assessment data, postmarketing safety information and literature review.
               REMS Assessment Data
               Reporting period for the Mifepristone REMS Program - April 11, 2019 through February 29, 2020
               We evaluated information included in the one-year (1st) j REMS assessment reports
               for the Mifepristone REMS Program, which included healthcare provider certification data,
               program utilization data, compliance data, audit results and patient exposure data. 13 The
               assessment reports were submitted on April 10, 2020 by the NDA Applicant and April 15, 2020
               by the ANDA Applicant and cover a reporting period from April 11, 2019 through February 29,
                                                                                         (b) (4)
               2020. During this reporting period, the NDA Applicant reported                    newly certified healthcare
                                                               (b) (4)
               providers, and the ANDA Applicant reported              newly certified healthcare providers in the
                                                                                                   (b) (4)
               Mifepristone REMS Program. The NDA Applicant reported a total of                            certified healthcare
               providers (includes new and previously certified) ordered mifepristone during the assessment
                                                                                    (b) (4)
               reporting period, and the ANDA Applicant reported a total of                  certified healthcare providers
               ordered mifepristone during the assessment reporting period. The NDA Applicant estimated
                                  (b) (4)
               that a total of            patients were exposed to mifepristone during the assessment reporting
                                                                                      (b) (4)
               period. The ANDA Applicant reported an estimated total of                       patients were exposed to
               mifepristone during the reporting period.
               During the reporting period, a small number of non-compliance events were reported. The
               authorized distributor for the NDA applicant reported to the NDA Applicant that they
               experienced deviations with scanning of the product serial numbers which were confirmed
               during the February 2020 audit. The authorized distributor conducted a root cause analysis and
               developed a corrective and preventive action (CAPA) on February 12, 2020. The CAPA was

               j
                This REMS assessment report was the first to be submitted following the approval of the single, shared system
               REMS for mifepristone.

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               validated and deployed with monitoring of the system through April 10, 2020. The corrective
               action will prevent similar events from occurring in the future.
               January 27, 2020 through September 30, 2021
               During the timeframe from January 27, 2020 through September 30, 2021, there were periods
               when the in-person dispensing requirement was not being enforced.

                      x   On July 13, 2020, the United States District Court for the District of Maryland granted a
                          preliminary injunction in the ACOG case to temporarily bar enforcement of the in-
                          person dispensing requirement during the COVID-19 PHE.
                      x   On January 12, 2021, the United States Supreme Court issued a stay of the injunction.
                      x   On April 12, 2021, the FDA issued a General Advice Letter informing the applicants of
                          the Agency’s intent to exercise enforcement discretion during the COVID-19 public
                          health emergency regarding the in-person dispensing requirement in the Mifepristone
                          REMS Program. k, l
               To better understand whether there was any impact on safety or noncompliance during the
               periods when the in-person dispensing requirement was not being enforced, we requested
               additional information from the Applicants to provide for more comprehensive assessment of
               the REMS for the time period from January 27, 2020 (the effective date of the COVID-19 PHE) to
               September 30, 2021. We requested the Applicants provide a summary and analysis of any
               program deviation or noncompliance events from the REMS requirements and any adverse
               events that occurred during this time period that had not already been submitted to FDA. As
               part of an additional request for information for the REMS assessment report, the Applicants
               were also asked to submit the adverse events to FAERS and to notify FDA that the reports were
               submitted.
                                                                                                                            (b) (4)
               Between January 27, 2020 and September 30, 2021, the NDA Applicant distributed
                                               (b) (4)                                                                   (b)
               shipments representing                  tablets. The NDA Applicant reported that there were (4)
                                                        (b) (4)                 (b)
               shipments representing a total of                tablets sent to (4) non-certified healthcare providers. m,n
                (b) (4)                                                                                (b) (4)                  (b) (4)
                        of these healthcare providers subsequently became certified while                      did not. Of the
                                                                                       (b) (4)                                 (b) (4)
               healthcare providers who were not subsequently certified,                       returned a total of


               k
                   FDA General Advice Letter for NDA 20687, April 12, 2021.
               l
                   FDA General Advice Letter for ANDA 091178, April 12, 2021.
               m
                   NDA 020687 September 9, 2021 response to the FDA’s September 2, 2021 Information Request.
               n
                   NDA 020687 October 8, 2021 response to the FDA’s June 30, 2021 Information Request.

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               A total of eight cases that met the search criteria were identified in FAERS and no additional
               case reports were identified in the medical literature. Two of the eight cases reported adverse
               events that occurred when the in-person dispensing requirement in the REMS was being
               enforced (i.e., January 27, 2020 - July 12, 2020 & January 13, 2021 - April 12, 2021). These two
               cases reported the occurrence of uterine/vaginal bleeding (case 1) and uterine/vaginal bleeding
               and sepsis (case 2). Of note, uterine/vaginal bleeding and sepsis are labeled adverse events.
               Five of the eight cases reported adverse events that occurred when the in-person dispensing
               requirement was not being enforced (i.e., July 13, 2020 - January 12, 2021 & April 13, 2021 -
               September 30, 2021). These five cases reported the occurrence of ongoing pregnancy (case 3),
               drug intoxication and death approximately 5 months after ingestion of mifepristone (case 4),
               death [cause of death is currently unknown] (case 5), sepsis and death (case 6), and pulmonary
               embolism (case 7). Although these adverse events occurred during the period when the in-
               person dispensing requirement was not being enforced, the narratives provided in the FAERS
               reports for cases 5, 6, and 7 explicitly stated that mifepristone was dispensed in-person. Of
               note, ongoing pregnancy, and sepsis, including the possibility of fatal septic shock, are labeled
               adverse events. The remaining case from July 2021 reported the occurrence of oral
               pain/soreness (case 8) but did not provide sufficient information to determine the exact date of
               the adverse event. Based upon the U.S. postmarketing data reviewed, no new safety concerns
                                    (b) (6)
               were identified by
                                                                      (b) (6)
               In addition to the FAERS data provided above,           routinely monitors adverse events reported
               to FAERS and published in the medical literature for mifepristone for medical termination of
                            (b) (6)
               pregnancy.           has not identified any new safety concerns with the use of mifepristone for
               medical termination of pregnancy.

               To enable additional review of adverse events, the Applicants were requested q to provide a
               summary and analysis of adverse events reported with incomplete medical abortion requiring
               surgical intervention to complete abortion, blood transfusion following heavy bleeding or
               hemorrhage, ectopic pregnancies, sepsis, infection without sepsis, hospitalization related to
               medical abortion, and emergency department (ED)/urgent care encounter related to medical
               abortion. The Applicant for Mifeprex provided a summary of postmarketing safety information
               from March 29, 2016, when S-020 was approved, through September 30, 2021, on August 27
                                                                               (b) (4)
               and October 8, 2021. During the time period in question,                tablets were shipped, and


               q
                On August 5, 2021, an IR was sent to the Applicants requesting a summary and analysis of adverse events from
               March 29, 2016 through June 30, 2021 and from July 1, 2021 through September 30, 2021.

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               48 adverse events were received. The 48 adverse events included 4 deaths (one of which
               occurred in 2010 but was reported in 2017), 25 incomplete abortions requiring surgical
               intervention, 17 blood transfusions following heavy vaginal bleeding, 2 ectopic pregnancies, 7
               infections (1 sepsis and 6 infection without sepsis), 13 hospitalizations, and 43 ED or urgent
               care visits related to medical abortion. For the period between January 27, 2020 and
               September 30, 2021, a time frame that includes the entire period when the COVID-19 public
               health emergency (PHE) has been in effect, there were three adverse events reported
                                                                              (b) (6)
               corresponding to the above cases from FAERS identified by              case 1 (uterine/vaginal
               bleeding), case 2 (uterine/vaginal bleeding and sepsis), and case 4 (drug intoxication and
               death).

               The ANDA Applicant provided a summary of postmarketing safety information from April 11,
               2019 (date of ANDA approval) through September 30, 2021. On August 26, 2021, the Applicant
               provided distribution and adverse event information from April 11, 2019 through June 30,
                                                              (b) (4)
               2021. During this time period, a total of              tablets were shipped. There were 7 adverse
               events including 3 deaths (1 from sepsis, 1 from bilateral pulmonary artery thromboemboli, 1 in
               a patient who complained of not being able to breathe), 1 ongoing pregnancy treated with
               uterine aspiration, 2 blood transfusions, 1 sepsis (with death), 1 hospitalization, and 3 ED or
               urgent care visits related to medical abortion. On October 12, 2021 the Applicant provided
               information from July 1, 2021 to September 30, 2021; there were no additional adverse events.
               For the period between January 27, 2020 and September 30, 2021, there were four adverse
                                                                                                  (b) (6)
               events reported corresponding to the above cases from FAERS identified by                  case 3
               (ongoing pregnancy), case 5 (death unknown cause), case 6 (sepsis and death), and case 7
               (pulmonary embolism). r
                                                                                  (b) (6)
               The postmarketing data from FAERS were analyzed by        to determine if there was a
               difference in adverse events between periods when the in-person dispensing requirement was
               being enforced and periods when the in-person dispensing requirement was not being
               enforced. Based on this review, we conclude that there does not appear to be a difference in
               adverse events between periods when the in-person dispensing requirement was being
               enforced and periods when the in-person dispensing requirement was not being enforced. This
               suggests that mifepristone may be safely used without an in-person dispensing requirement.



               r
                The eighth FAERS case, oral pain/soreness, was not within the scope of the August 5, 2021 IR and was not
               considered for this review of postmarketing safety information submitted by the Applicants in response to the IRs.

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                             (b) (6)
                                review of the Applicants’ IR responses, which included the same cases identified by
                   (b) (6)
                             from FAERS, did not change our conclusion. s

               Literature Review
               Published studies have described alternatives in location and method for dispensing
               mifepristone by a certified prescriber (or an equivalent healthcare provider in countries other
               than the US). Some studies have examined replacing in-person dispensing in certain health care
               settings with dispensing at retail pharmacies (Grossman2, Wiebe7, Rocca6) and dispensing
               mifepristone from pharmacies by mail (Grossman1, Upadhyay 14, Hyland 15). Other studies have
               evaluated two modes of dispensing by prescribers: (1) prescribers mailing the medications to
               women (Gynuity study [Raymond 16, Chong3, Anger 17], Kerestes4, Aiken5 (2021)) and (2)
               prescribers using couriered delivery of medications (Reynolds-Wright 18). Other studies have
               evaluated dispensing mifepristone by mail by an entity described as “a partner organization”
               (Aiken 19 (2017), Norton 20, Endler 21). For ease of review, in the sections below that describe
               these studies, we have separated relevant references by the methodology used to dispense
               mifepristone.

               Retail pharmacy dispensing

               Three studies report medical abortion outcomes for retail pharmacy dispensing of mifepristone
               after clinical evaluation. Grossman2 conducted a US-based study in which mifepristone and
               misoprostol were dispensed from a pharmacy partnered with the clinic where the participant
               had an evaluation by ultrasound and counseling. Of the 266 participants enrolled, 260 had
               known abortion outcomes. Complete abortion without additional procedure occurred in 243
               participants (93.5% of those with known outcomes). Seventeen participants (6.5% of those with
               known outcomes) were diagnosed with incomplete abortion and underwent uterine aspiration.
               The reported proportion of complete abortion is within the range described in the approved
               mifepristone labeling. However, the finding represents a lower-than-expected efficacy based on
               the cohort’s GA (84% of ƉĂƌƚŝĐŝƉĂŶƚƐǁĞƌĞĂƚчϱϲĚĂǇƐGA, a cohort for which the labeled
               success rate is 96.8%). No participants experienced a serious adverse event, were hospitalized,
               or required transfusion. Three participants had ED visits with treatment (intravenous hydration,
               pain medication, pelvic infection after uterine aspiration for incomplete abortion). The study’s


               s
                The reporting period of (b) (6) assessment of the adverse events in FAERS is not identical to the time period for
               summaries of adverse events in the IRs to the Applicants. Therefore, the numbers of cases and adverse events
               summarized in (b) (6) assessment may differ from the numbers of cases and adverse events summarized by the
               Applicants in their responses to IRs (note that each case report may include more than one adverse event).

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               safety and efficacy outcomes are consistent with labeled frequencies. The majority of
               participants (65%) were very satisfied with the experience. There were some complaints from
               participants about not receiving all prescribed medications at the initial pharmacy visit, privacy
               not being adequately maintained, and perceived negative pharmacist attitude.

               Overall, we conclude that this study has limited generalizability because it was conducted in
               two US states and involved partnered pharmacies, some of which were in the same building as
               the clinic. Additionally, all participating pharmacies in this study were required to have a
               pharmacist on duty during clinic hours who had been trained in the study protocol and was
               willing to dispense mifepristone. The study conditions may not be generalizable to US retail
               pharmacies; there is insufficient information to assess this. Rocca6 conducted an observational
               study evaluating 605 participants Ăƚчϲϯdays GA who obtained medical abortions in Nepal by
               comparing the provision of medical abortion service by newly trained nurse midwives in
               pharmacies to medical abortion provided in government-certified clinics. Participants who
               presented to pharmacy study sites underwent clinical screening including a pelvic exam by
               trained nurse midwives at the pharmacy (which was equipped with an examination room) and
               if eligible for medical abortion, were dispensed mifepristone and misoprostol in the pharmacy
               at the time of their visit. Participants who presented to public health facilities underwent
               clinical screening including pelvic examination by abortion providers including trained nurse
               midwives and if eligible for medical abortion were dispensed mifepristone and misoprostol in
               the clinic at the time of their visit. The authors reported that, with respect to complete abortion
               (>97%) and complications (no hospitalizations or transfusions), evaluation and dispensing in
               pharmacy was non-inferior to in-clinic evaluation and dispensing.

               Wiebe,7 in a retrospective, chart review study conducted in Canada, compared abortion
               ŽƵƚĐŽŵĞƐŽĨϭϴϮǁŽŵĞŶĂƚчϳϬĚĂǇƐ'ǁŚŽƵŶĚĞƌǁĞŶƚŵĞĚŝĐĂůĂďŽƌƚŝŽŶ with telemedicine
               consult, and either received medications by courier or picked them up at a local pharmacy, with
               outcomes of a matched control cohort of 199 women who received the medications at a
               pharmacy after an in-clinic visit. The groups had similar documented complete medical abortion
               outcomes (90%, calculated maintaining subjects with unknown outcomes in the denominator; ш
               95% calculated with known outcomes only). The telemedicine group had one case of
               hemorrhage (0.5%) and one case of infection requiring antibiotics (0.5%) compared with no
               cases of hemorrhage or infection requiring antibiotics in the in-clinic cohort. The telemedicine
               group had more ED visits (3.3% compared to 1.5% in-clinic cohort). Both models of dispensing
               mifepristone resulted in efficacy and safety outcomes within labeled frequency.


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               None of the three studies described above allow a determination regarding differences in
               safety between in-person dispensing by a certified prescriber in a health care setting and
               dispensing through a retail pharmacy, due to limitations on the generalizability of the studies to
               the current retail pharmacy environment in the US. The outcome findings from the one US
               study (Grossman2), in which the pharmacies were partnered with prescribers, may not be
               generalizable to much of the US as they do not reflect typical prescription medication
               availability with use of retail pharmacy dispensing. Although retail pharmacy dispensing of
               mifepristone and misoprostol in Canada has been described in the literature, there are
               important differences in healthcare systems between Canada and the US that render the
               findings from studies in Canada (Wiebe7) not generalizable to the US. In the Wiebe study, timely
               provision of medication from the retail pharmacy was accomplished by either courier to the
               woman or faxed prescription to the woman’s pharmacy. It is unknown whether conditions that
               allow timely access to medications for medical abortion would occur in retail pharmacies
               throughout the US. Canada’s federal government has reaffirmed that abortion is an essential
               health service t which may have implications affecting access to medical abortion from retail
               pharmacies in Canada. The Rocca6 study evaluated medical abortion provided in Nepali
               pharmacies and essentially moved the abortion provider and clinical examination into the
               pharmacy, a scenario that is not, at this time, applicable to the US retail setting.

               Mail order pharmacy
               Grossman1 published an interim analysis of an ongoing prospective cohort study evaluating
               medical abortion with mifepristone and misoprostol dispensed by mail-order pharmacy after in-
               person clinical assessment. All participants were evaluated for eligibility during a clinic visit with
               GA up to 63 days confirmed with either an ultrasound or examination; instead of receiving
               medication at the clinic visit, participants received medications from a mail-order pharmacy. A
               total of 240 participants have been enrolled; three participants did not take either medication.
               A total of 227 (94.6%) provided some outcome information, of whom 224 provided abortion
               outcome information. Complete abortion without additional procedures occurred in 217
               participants (96.9% of those with known outcomes). Two (0.9%) participants experienced
               serious adverse events (SAE); one received a blood transfusion, and one was hospitalized
               overnight. Nine (4%) participants attended 10 ED visits. In this interim analysis, the outcomes
               are consistent with labeled frequencies. With respect to the time interval between a


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                As noted in Mark23 and Martin24, most provincial and federal health insurance programs in Canada cover medical
               abortion, and covered services are free at the point of care.

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               participant’s clinic visit and receipt of medications, of the 224 participants with known abortion
               outcomes, 184 (82.1%) received medication within 3 days. However, 17% received between 4-7
               days and one participant waited over 7 days for receipt. Seven of 216 (3.2%) participants who
               completed the day-3 survey reported compromised confidentiality (e.g., someone found their
               medication, privacy concerns).

               Upadhyay14 reports findings from a retrospective cohort study of 141 women undergoing
               medical abortion in the US without a consultation or visit. Eligibility was assessed based on a
               participant-completed online form collecting pregnancy and medical history. Participants who
               were considered eligible received medication delivered by a mail-order pharmacy. Three
               interactions via text, messaging or telephone occurred to confirm medication administration,
               assessment of expulsion and pregnancy symptoms, and results of a 4-week home pregnancy
               test. Abortion outcome was determined by either the day 3 assessment or the 4-week
               pregnancy test. The investigators reported a complete abortion rate without additional
               procedures of 95% (105 participants out of 110 for whom outcomes were known) and stated
               that no participants had any major adverse events. The proportion of abortion outcomes
               assessed at 3 days versus 4 weeks is not reported. Regardless, determining outcomes at 3 days
               is insufficient to determine outcome rates or safety findings because a 3-day follow-up period is
               too short. Additionally, a substantial number of participants (31) provided no outcomes
               information. Among the 141 participants enrolled, 128 had any follow-up contact with the
               study staff, and 110 provided outcomes information. Excluding outcomes of 22% of the cohort
               is a limitation of this study. This study used a model with numerous deviations from standard
               provision of medical abortion in the US, such as no synchronous interaction with the prescriber
               during informed consent or prior to prescribing medication, no confirmation of self-reported
               medical, surgical, and menstrual history. Further, follow-up information based on a 3-day
               period is insufficient to determine outcome rates or safety findings. These deviations, limited
               follow-up information, and small sample size limit the usefulness of this study.

               Hyland15 describes findings from a cohort study in Australia evaluating medical abortion
               outcomes utilizing telemedicine and a central mail order pharmacy. All participants obtained
               screening tests including ultrasound confirmation of GA. A total of 1010 participants completed
               the screening process and were provided mifepristone and misoprostol. Abortion outcomes
               were determined for 754 (75%) of the 1010. Outcomes for the remaining 256 participants (25%)
               were not included because 31 provided no relevant information after shipment, 14 reported
               not taking misoprostol, and 211 did not have "full follow up” (i.e., known outcome of either
               complete medical abortion, uterine evacuation, or ongoing pregnancy with plan to continue).

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               Complete abortions without additional procedures occurred in 727 participants (96% of those
               with definitively documented outcomes) and is consistent with labeled efficacy. Of the 754
               participants included in the analysis 717 (95%) had no face-to-face clinical encounters after
               medications were mailed while 21 (3%) were admitted to the hospital and 16 (2%) had an
               outpatient encounter. One participant who was hospitalized and underwent a surgical uterine
               evacuation received a transfusion. Not included in the findings are 7 hospitalizations occurring
               in 7 participants who did not have “full follow up”. The authors do not report any other adverse
               events and conclude use of the telemedicine medical abortion service is safe. The reasons for
               hospitalization are not discussed by the authors; therefore, it is unknown why the patients
               were hospitalized. Although the reported number of hospitalizations (3%) is higher than the
               less than 1% in the FDA-approved mifepristone labeling, conclusions regarding the safety
               findings in this study cannot be made in the absence of information about the reasons for
               hospitalization. Other limitations of this study include incomplete information about outcomes
               with face-to-face encounters, and not reporting outcomes of 25% of the enrolled cohort.

               Overall, the three studies evaluating mail order pharmacy dispensing suggest that the efficacy
               of medical abortion is maintained with mail order pharmacy dispensing. In the Grossman1
               study, the interim analysis, although small, does not raise serious safety concerns. We note that
               18% of participants did not receive medications within 3 days; the potential for delay in
               receiving medication by mail could limit the GA eligible for medical abortion through mail order
               pharmacy dispensing, because women at GA closer to 70 days might not receive medication in
               time. A small proportion (3%) of participants raised concerns regarding the issues of
               confidentiality and privacy. Safety findings from the Hyland15 study are difficult to interpret.
               Although only one transfusion is reported, and the authors state the findings demonstrate
               safety, the higher hospitalization rates, and lack of information on the reasons for
               hospitalization do not allow any conclusions about safety findings. Lastly, the Upadhyay14 study
               had no reported adverse events, but the findings are less useful because of the limited follow-
               up, and because medical abortions were provided using a model with numerous deviations
               from standard provision of medical abortion in the US.

               Clinic dispensing by mail
               A total of five studies evaluated clinic dispensing by mail.3,4,5,16, 17 Gynuity Health Projects
               conducted a prospective cohort study (the “TelAbortion” study) evaluating use of telemedicine
               for remote visits and mifepristone being dispensed from clinics via overnight or regular tracked
               mail. Three publications reviewed have reported outcomes for the Gynuity population


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               exclusively: Raymond16 from May 2016 to December 2018, Chong3 from May 2016 to
               September 2020 and Anger17 from March 2020 to September 2020. Due to the pandemic, the
               Gynuity study deviated from the protocol requirement of confirmation of GA by examination or
               ultrasound for many participants treated from March 2020 onward (although none of the three
               publications reported on the single element of dispensing mifepristone from the healthcare
               setting by mail). A fourth study, Kerestes,4 reports outcomes of medical abortion at the
               University of Hawai’i from April 2020 to November 2020: seventy-five (of whom 71 were
               enrolled in the Gynuity study) of the 334 participants in Kerestes were dispensed mifepristone
               by mail after a telemedicine consult. The section below discusses these four studies from the
               US as well as a large UK study by Aiken5 (2021).

               Raymond 16 (2019) reported outcomes from the Gynuity study prior to the pandemic. In the
               TelAbortion study, participants were not required to have an in-person clinic visit; rather, they
               obtained screening tests at laboratories and radiology offices and then communicated with the
               abortion provider by videoconference. If the participant was eligible for treatment, the provider
               dispensed the medications by mail. Of 433 women screened, 165 (38%) either declined to
               schedule the videoconference or did not keep the videoconference appointment. Among the
               268 participants evaluated via videoconference, medication packages were sent to 248.
               Abortion outcomes were determined for 190 (77%) of the 248; outcomes for 58 (23%)
               participants were unknown. Complete abortion without additional procedures occurred in 177
               participants (93% of those with known outcomes). The investigators obtained follow-up
               information from 217 participants after package shipment; there were two hospitalizations
               (one received a transfusion for severe anemia despite having had a complete abortion), and 16
               other participants (7%) had clinical encounters in ED and urgent care centers. The reported
               outcomes in Raymond16 (2019) are similar to outcomes described in approved labeling except
               the combined ED/urgent care center encounters (7%) exceeded the ED visits in approved
               labeling (2.9-4.6%). The authors note that half of the ED/urgent care visits did not entail any
               medical treatment and opine that the increased number of visits may have been due to the
               study participants living farther from the abortion providers.16 All participants received
               medications within 8 days.

               Chong3 updated the findings from the Gynuity study described in Raymond16 and reported on
               1157 medical abortion outcomes, of which approximately 50% occurred during the period of
               the COVID-19 PHE. Although a screening ultrasound was required per the protocol, sites
               determined in 52% (346/669) of abortions that occurred during the period of the COVID-19 PHE
               that, in order to avoid potential exposure to COVID-19 at a health care facility, those

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               participants were not required to obtain a screening ultrasound. Use of urine pregnancy test to
               confirm abortion completion also increased from 67% (144/214) in the 6 months prior to the
               pandemic to 90% (602/669) in the 6 months during the pandemic. Of the 1390 participants to
               whom medicine packages (containing both mifepristone and misoprostol) were mailed, 1157
               (83.2%) had known abortion outcomes. Complete abortion without a procedure occurred in
               1103 participants (95% of the those with a known outcome). Ten women experienced an SAE (5
               transfusions (0.4%) and 7 hospitalizations (0.7%)) and 70 (6%) participants had unplanned
               clinical encounters in ED/urgent care. Surgical interventions were required in 47 participants
               (4.1% of 1390) to complete abortion. The reported outcomes in this study are similar to
               outcomes described in approved labeling, except that the combined ED/urgent care center
               encounters (6%) exceeded the ED visits in approved labeling (2.9-4.6%).

               Anger17 compared outcomes among participants enrolled in the Gynuity study who did versus
               did not have confirmation of GA/intrauterine location with an examination or ultrasound from
               10 jurisdictions across the US. These participants were screened for enrollment from March 25
               through September 15, 2020. All participants had a telemedicine consultation and received
               mifepristone and misoprostol by mail from the healthcare facility. Determination of which
               participants did not require confirmation of GA by examination or ultrasound to be eligible
               depended on the study clinician’s assessment of eligibility for “no-test medication abortion” u
               based on a sample protocol published by Raymond 22 (2020). There were two key differences
               between the two groups. Participants for whom the study clinician determined a pre-abortion
               ultrasound was required were more likely than the participants who had no ultrasound or
               examination to live further than 150 miles from the clinic (51.2% vs. 31.7%) and were more
               likely to have a GA above 63 days (12.0% vs. 1.7%). The study sites shipped 503 medication
               packages during the analysis period; 344 packages went to the “no test” group while 159 went
               to the “test” medical abortion cohort (see figure below). However, because the two cohorts
               were not randomized in this study, they had different baseline characteristics. Consequently,
               findings based on the comparisons between the two cohorts should be interpreted carefully.




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                 “No-test medication abortion” refers to medical abortion provided without a pretreatment ultrasound, pelvic
               examination, or laboratory tests when, in the judgment of the provider, doing so is medically appropriate
               (appropriateness based on history and symptoms); “no-test medication abortion” does include post-abortion follow
               up. A sample protocol is described by Raymond et al.22

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               Source: Figure 1 in this publication. MA= medical abortion.


               The investigators’ analyses excluded 91 (18% of 503; 57 in the no-test group and 34 in the test
               group) participants because they did not provide a date of the last menstrual period (LMP), did
               not take mifepristone, or did not have a recorded abortion outcome. Overall, 410 participants
               (81.5% of 503) provided outcomes data. There were no reported ectopic pregnancies in either
               group. The number of ED/urgent care visits and the proportion of unplanned clinical encounters
               that led to medical treatment were not reported. In the no-test group, complete medical
               abortion was confirmed in 271 participants who took medications (94% among those with
               known outcome). In the no-test cohort, two participants were “hospitalized and/or blood
               transfusion,” and 36 (12.5%) had an unplanned clinical encounter (participant sought in-person
               medical care related to abortion and the visit was not planned prior to abortion).

               In the test medical abortion group, complete abortion was confirmed in 123 participants (of
               125 with known outcomes); the completion rate was 98% among those with known outcomes.
               In the test medical abortion group, one participant was “hospitalized and/or blood transfusion,”
               and 10 (8.0%) had an unplanned clinical encounter. The authors concluded that, compared to
               participants who had an ultrasound prior to medical abortion, those without an examination
               prior to medical abortion were more likely to require procedural interventions and had more
               unplanned clinical encounters.

               Kerestes4 was the only publication that linked outcomes of medical abortion with different
               delivery models. Participants included in the report had GA up to 77 days and received

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               medications in Hawaii between April 2020 and January 2020. A total of 334 medication
               packages (to 330 unique participants) were dispensed containing mifepristone and misoprostol;
               three different delivery models were used concurrently: 110 (32.9%) had traditional in-person
               visits, 149 (44.6%) had telemedicine consultation with in-person pick-up of medications, and 75
               (22.5%) were sent medications by mail (71 of these were enrolled through Gynuity’s
               TelAbortion study). Seven participants of the 330 participants who received 334 medication
               packages reported that they did not take them and were excluded from analysis of the
               outcomes. Among participants with follow-up data, the rates of successful medical abortion
               without surgery were 93.6%, 96.8%, and 97.1% in the in-clinic group, telemedicine + in-person
               pickup group, and telemedicine + mail group, respectively; these were consistent with
               outcomes in approved labeling. Blood transfusion was given to two participants (both in the
               telemedicine + in-person pickup group). Eleven participants went to an ED. Although ED visits
               occurred the most frequently in the telemedicine + mail group (four participants or 5.8%) and
               the least in the in-person group (two participants or 2.1%), the study reported no increases in
               other serious adverse events.

               Taken together, the three Gynuity study reports3,16,17 and Kerestes4 support dispensing
               mifepristone and misoprostol by mail after a telemedicine visit. Efficacy was maintained in all
               four studies. All of the studies reported SAEs frequencies comparable to labeled rates, except
               two of the Gynuity study reports (Raymond16, Chong3) and Kerestes4 report a higher frequency
               of ED/urgent care visits than the labeled frequency of ED visits. We do not know whether the
               reporting of combined ED and urgent care visits represents an increased rate of ED visits
               compared to the labeled rate of ED visits (2.9-4.6%). Other labeled SAEs (e.g., transfusion) occur
               infrequently (< 1%).

               Aiken5 (2021) reports outcomes of medical abortion up to 70 days GA in the UK before and
               during the pandemic in a retrospective cohort study. In the UK, prior to the COVID-19
               pandemic, all patients attended an in-clinic visit where they received an ultrasound, were
               administered mifepristone in the clinic, and given misoprostol in-clinic for use at home
               (traditional model). During the pandemic, medical abortion consultations were performed
               remotely by telephone or video. Based on the consultation and questionnaire (including date of
               last menstrual period; menstrual, contraceptive and medical history; symptoms; risk for ectopic
               pregnancy), an assessment of eligibility for treatment via telemedicine was made. If eligible,
               medications were delivered to participants via mail or were made available for collection from
               the clinic for use at home. If the participant was assessed to be ineligible for treatment via


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               telemedicine, an in-person assessment with ultrasound was performed and medications were
               provided from the clinic for home use (hybrid model).

               The study compared the two cohorts: 22,158 obtained medical abortion before the pandemic
               and had in-person visits and dispensing (traditional model) and 29,984 obtained medical
               abortion during the pandemic with either in-person visit and in-person dispensing, or a
               telemedicine visit and dispensing by mail or picked up from the clinic (hybrid model). Outcomes
               were obtained from electronic records and incident databases. Outcomes of all hospitalizations
               related to abortion, ED visits, infection without sepsis, and hemorrhage without transfusion
               were not reported. The investigators’ analysis for non-inferiority determined the efficacy and
               safety were comparable between both cohorts. Complete abortion occurred in > 98% in both
               cohorts. Hemorrhage requiring transfusion was reported in 0.04% and 0.02% of the traditional
               and hybrid cohorts, respectively; this is lower than the labeled 0.5% transfusion rate. There
               were no severe infections requiring hospitalization, major surgery or deaths reported.

               A secondary analysis of the hybrid cohort was reported. Within the 29,984-person hybrid model
               cohort, 11,549 (39%) abortions were conducted in-person (in-person assessment with
               ultrasound was performed and medications provided from the clinic for home use) and 18,435
               (61%) abortions were provided by telemedicine visit, without tests or confirmation of
               GA/intrauterine position by ultrasound, and medications either mailed or picked up from the
               clinic. Outcomes stratified by type of mifepristone dispensing were not reported. The rate of
               complete abortion was slightly higher in the telemedicine group (99.2%) than that in the in-
               person group (98.1%). There were no significant differences in the rates of reported SAEs.
               Adjustments for clinical and demographic characteristics were made because the two groups
               differed in baseline characteristics, including a higher proportion of pregnancies with GA over 6
               weeks in the in-person group (68.2% compared with 55.1%). The authors conclude a hybrid
               model for medical abortion that includes no-test medical abortionu (no ultrasound, no pelvic
               exam, no pregnancy test) is effective and safe.


               We conclude that although the Aiken5 (2021) study has a large sample size and includes 85% of
               all medical abortions performed in England and Wales during the study period, the study has
               limitations. The authors acknowledge the main limitation of their study was that analysis was
               based on deidentified information in the NHS database and the investigators were unable to
               verify the outcomes extracted. Other limitations included that their search only captured


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               outcomes in electronic records and incident databases that met the authors’ defined threshold
               for SAE reporting, and that the labeled abortion outcomes considered serious, such as
               hospitalizations related to abortion, infection without sepsis, hemorrhage without transfusion,
               or ED/urgent care visits, were not all included in the authors’ definition of serious adverse
               event.

               Data from the mail order dispensing studies with telemedicine visits from Gynuity (Raymond,
               Chong and Anger),3,16,17 Kerestes4, and Aiken5 (2021) support that efficacy of medical abortion
               was maintained. The Aiken5 study appears to be of sufficient sample size to determine whether
               safety outcomes with mail dispensing differ from in-person dispensing; however, the study’s
               design did not capture all serious safety outcomes, thus limiting the certainty of the findings.
               Study reports of Raymond16 Chong3, and Kerestes4 all suggest there may be an increase in
               ED/urgent care visits with telemedicine visits and dispensing by mail without increases in other
               adverse events. Anger’s17 comparative analysis suggests a pre-abortion examination may
               decrease the occurrence of procedural intervention and decrease the number of unplanned
               visits for postabortion care. Overall, despite the limitations noted, these studies support that
               dispensing by mail is safe and effective. Although the literature suggests there may be more
               frequent ED/urgent care visits related to the use of mifepristone when dispensed by mail from
               the clinic, there are no apparent increases in other SAEs related to mifepristone use. One
               reason for the increase in frequent ED/urgent care visits in the Raymond16 publication,
               according to its authors, may have been that a substantial proportion of participants lived
               significant distances from their providers and increased distances have been associated with
               higher use of ED following treatment. Raymond16 reported that half of the participants who had
               an ED/urgent care visit did not require medical treatment.

               Clinic dispensing by courier
               Reynolds-Wright18 reported findings from a prospective cohort study of 663 women at less than
               12 weeks’ GA in Scotland undergoing medical abortion at home with use of telemedicine during
               the pandemic (from April 1 to July 9, 2020). The majority of medical abortions (78.7%) used
               telemedicine visits, eliminated pre-abortion ultrasound, and provided mifepristone for pick up
               at the service or by couriered delivery to woman’s home. The number of couriered deliveries
               was not reported; thus, this study does not provide abortion outcomes separately for couriered
               delivery of mifepristone and misoprostol. With access to NHS regional hospital databases, the
               investigators were able to verify pregnancy outcomes and complications. Of the 663
               participants, 642 (98.2%) were under 10 weeks GA, 21 (1.8%) were between 10 and 12 weeks


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               GA, and one participant was never pregnant. A total of 650 participants had complete abortion
               without requiring surgical intervention (98%), 5 (0.8%) an ongoing pregnancy and 4 (0.6%) an
               incomplete abortion. The outcomes from this study in Scotland are consistent with labeled
               mifepristone outcomes. The study shares the same limitations as the Aiken5 (2021) study.

               Partner organization dispensing by mail
               Women on Web (WoW), an internet group, connects patients and providers outside of the US
               and provides medical abortion globally, dispensing mifepristone through “a partner
               organization” by mail. v Medical abortion eligibility is determined using an online questionnaire
               with asynchronous physician review. If eligible, medications are mailed to the women. WoW
               provides help and support by email or instant messaging.

               Aiken19 (2017) conducted a population-based study analyzing findings from 1,636 women in the
               Republic of Ireland and Northern Ireland who were sent medications between 2010 and 2012.
               Receipt of medications was confirmed for 1,181 women, among whom 1,023 confirmed use of
               mifepristone and misoprostol; outcome information was available for 1,000 (61% of women
               sent medications). Of the 1,000 women, the majority (781, 78%) were less than 7 weeks GA and
               219 (22%) were at 7-9 weeks. Complete abortion without surgical intervention occurred in 947
               (94.7% of 1,000 with known outcome); 7 (0.7%) women received a blood transfusion, 26 (2.6%)
               received antibiotics (route of administration undetermined) and 87 (8.7%) sought medical care
               at a hospital or clinic for symptoms related to medical abortion. Hospitalizations related to
               abortion were not reported. The reported proportion of complete abortion is within the range
               labeled for medical abortion up to 70 days (92.7-98.1%). However, the finding of 94.7%
               complete abortion represents a lower-than-expected efficacy based on the cohort’s GA (almost
               80% less than 7 weeks, labeled success for medical abortion чϰϵĚĂǇƐŝƐ98.1%). This study has
               limitations, including outcomes based on self-report without validation of completed abortion
               by examination or laboratory testing, and no known outcomes for 39% of study cohort.
               Additionally, the authors noted medical abortion was provided in a legally-restrictive setting,
               where the law provided a maximum penalty of life imprisonment for the woman undergoing
               the abortion, which may affect participants’ self-reporting.




               v
                In March 2019, FDA sent a WL to Aidaccess.org, a group affiliated with WoW. Aidaccess.org received this WL
               because it was introducing misbranded and unapproved new drugs into the U.S. In the context of this REMS
               review, studies involving WoW are included solely for purposes of evaluating of data regarding the methods of
               dispensing mifepristone.

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               Endler21 and Norten20 have reported outcomes from WoW cohorts but do not provide relevant
               information on mifepristone dispensing by mail, because neither provide meaningful outcomes
               data for consideration. Endler21 compared the outcomes of self-reported heavy bleeding and
               clinical visits occurring during the “first or second day of abortion” that occurred in women
               undergoing medical abortion at 9 weeks GA or less, with outcomes from women at more than 9
               weeks GA. Outcome data from day 1 or 2 is of limited usefulness. Norten20 describes findings
               from a survey of women who were sent medical abortion medication through WoW and
               provided self-reported outcomes. Results were based on surveys returned from only 37% of
               participants, a return rate that is too low for the study to be considered valid.

               WoW uses a model with numerous deviations from the standard provision of medical abortion
               in the US. For example, this model has no synchronous interaction with the prescriber during
               informed consent or prior to prescribing medication and no confirmation of self-reported
               medical, surgical, and menstrual history or confirmed pregnancy testing. Further, although
               Aiken19 (2017) is a large cohort study, the outcomes are self-reported with no verification of
               complete abortion by laboratory or clinical evaluation and 39% of outcomes are unaccounted
               for. These limitations in the Aiken study result in the data being insufficient to determine the
               safety of dispensing mifepristone by mail through a partner organization.

               4. Discussion

               After review of the published literature, safety information collected during the COVID-19 PHE,
               postmarketing data, information from the first Mifepristone REMS Program assessment report,
               responses to information requests to the Applicants, and information provided by advocacy
               groups, individuals and the plaintiffs in the Chelius v. Becerra litigation, we conclude that the
               REMS can be modified to reduce burden without compromising patient safety.
               Prescriber Certification
               None of the publications we reviewed would support a conclusion that a healthcare provider
               who prescribes mifepristone does not need to meet the qualifications included in the
               Mifepristone REMS Program as described above in section 3.2.1. Absent these provider
               qualifications, serious complications associated with medical abortion, including missed ectopic
               pregnancy and heavy bleeding from incomplete abortion, would not be detected or
               appropriately managed.




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               We conclude that prescriber certification (ETASU A) should be maintained. The current process
               requires the prescriber to agree to the requirements of the Mifepristone REMS Program and to
               attest that they meet the qualifications described in section 3.2.1 above. The REMS has been
               structured to minimize burden to prescribers by requiring only a one-time certification by the
               prescriber for each Applicant. We have determined that healthcare provider certification
               continues to be necessary to ensure the benefits outweigh the risks, especially considering that,
               if the in-person dispensing requirement is removed from the Mifepristone REMS Program, the
               number of new providers may increase (see discussion in section 3.2.2 above).

               Drug to be dispensed with evidence or other documentation of safe use conditions
               The requirement to counsel the patient and provide them with the Patient Agreement Form
               ensures that each patient is informed of the appropriate use of mifepristone, the risks
               associated with treatment, and what to do if they experience symptoms that may require
               emergency care.

               In 2016, we initially recommended eliminating the Patient Agreement Form (see section 3.2.2),
               though the form was ultimately maintained as part of the REMS. As discussed above, our
               current literature review has indicated that there is no basis to remove the Patient Agreement
               Form from the REMS. In addition, surveys we reviewed suggest that if the in-person dispensing
               requirement for mifepristone is removed, there could be a potential doubling of medical
               abortion providers. This potential doubling of medical abortion providers supports the
               continued need to ensure that patients are consistently provided patient education under the
               Mifepristone REMS Program regarding the use and risks of mifepristone. The Patient
               Agreement Form is an important part of standardizing the medication information that
               prescribers communicate to their patients, including new prescribers, and also provides the
               information in a brief and understandable format to patients. We determined, in accordance
               with section 505-1(f)(2) of the FD&C Act, that this does not impose an unreasonable burden on
               providers or patients. w

               Given the likelihood of a potential increase in new prescribers if the in-person dispensing
               requirement is removed from the Mifepristone REMS Program, we conclude that maintaining
               the Patient Agreement Form remains necessary to assure safe use at this time.


               w
                   The Patient Agreement Form can be signed in person or through other means.

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               Drug to be dispensed only in certain healthcare settings
               As discussed above in section 3.2.3, our evaluation of information submitted by the applicants
               in the one-year (1st) REMS assessment report for the Mifepristone REMS Program and in
               response to follow-up requests from the Agency indicates that the number of adverse events
               reported to FDA during the COVID-19 PHE with mifepristone use is small, and the data provide
               no indication that any program deviation or noncompliance with the Mifepristone REMS
               Program contributed to these adverse events. We further conclude, based our review of the
               postmarketing safety data from FAERS during the COVID-19 PHE and information submitted by
               the applicants for the timeframe of January 27, 2020 through September 30, 2021, that there
               does not appear to be a difference in adverse events between periods during the COVID-19 PHE
               when the in-person dispensing requirement was being enforced and periods when the in-
               person dispensing requirement was not being enforced; nor have we identified any new safety
               concerns with the use of mifepristone for medical termination of early pregnancy.

               Alternatives to in-person dispensing of mifepristone have been investigated in several studies
               and countries. The literature review identified 15 publications x that assessed safety outcomes
               from various medication delivery models (US, UK, Canada, Ireland, Australia, Nepal), including
               dispensing by retail and mail order pharmacies, prescribers mailing medications or using
               couriered service to deliver medications, and dispensing by “partner organizations”. The ability
               to generalize the results of these studies to the US population is hampered by differences in
               pre-abortion care (e.g., telemedicine versus in-person, testing), and the usefulness of the
               studies is limited in some instances by small sample sizes and lack of follow-up information on
               outcomes with regard to both safety and efficacy.

                In addition, there are factors which complicate the analysis of the dispensing element alone.
               Some of these factors are: (1) only a few studies have evaluated alternatives for in-person
               dispensing of mifepristone in isolation; for example, most studies on mail dispensing of
               mifepristone also include telemedicine consultation, and (2) because most SAEs with medical
               abortion are infrequent, though they can be life threatening, further evaluation of changes in
               dispensing would require studies with larger numbers of participants. We did not find any large
               clinical studies that were designed to collect safety outcomes in healthcare systems similar to
               the US.




               x
                   The 15 publications correspond to endnote numbers: 1-7, 14-21.

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               Based on the literature identified by our review, dispensing mifepristone by mail from the clinic
               or from a mail order pharmacy does not appear to jeopardize the efficacy of medical abortion.
               The studies we reviewed are not adequate on their own to establish the safety of the model of
               dispensing mifepristone by mail, although the safety and efficacy outcomes reported in these
               studies remain within the ranges described in mifepristone labeling except for increased
               numbers of ED/urgent care visits and hospitalizations.

               Four publications (Raymond16, Chong3, Anger17 and Kerestes4), describe a relevant US cohort
               where dispensing mifepristone from the clinic by mail was paired with telemedicine visits.
               These studies showed that efficacy was maintained and there was no increased frequency of
               SAEs except for higher ED/urgent care visits. The increased ED/urgent care visits were not
               associated with increases of other SAEs, and in the view of one study’s authors (Raymond16),
               may be associated with participants being located significant distances from their providers.
               The Aiken5 (2021) study of a large UK cohort where the clinics mailed mifepristone report small
               (lower than labeled) occurrences of transfusion and no significant infections requiring
               hospitalization. In Grossman1 and Hyland15, where the pharmacies mailed mifepristone after
               prescribers confirmed GA, efficacy is maintained. Grossman’s1 interim analysis found no
               increases in SAEs. Hyland15 reported higher numbers of hospitalizations but did not report
               increases of other SAEs. Overall, while the studies assessing mifepristone dispensing by mail
               suggest more frequent encounters with healthcare providers, they generally support a
               conclusion that dispensing by mail is safe. Despite the limitations of the studies we reviewed,
               we conclude that overall, the outcomes of these studies are not inconsistent with our
               conclusion that, based on the 1st year REMS assessment report and postmarketing safety data,
               mifepristone will remain safe, and efficacy will be maintained if the in-person dispensing
               requirement is removed from the Mifepristone REMS Program.

               Based on the REMS assessment data, FAERS data from the time period when the in-person
               dispensing requirement was not being enforced, our review of the literature, and information
               provided by advocacy groups, individuals, the Applicants, and the plaintiffs in the Chelius v.
               Becerra litigation, we conclude that mifepristone will remain safe and effective for medical
               abortion if the in-person dispensing requirement is removed, provided all the other
               requirements of the REMS are met, and pharmacy certification is added as described below.

               Removing the in-person dispensing requirement will render the REMS less burdensome to
               healthcare providers and patients and provided all other requirements of the REMS are met,
               including the additional requirement for pharmacy certification, the REMS will continue to

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               ensure that the benefits of mifepristone for medical abortion outweigh the risks. Therefore, to
               reduce the burden imposed by the REMS, the Mifepristone REMS Program should be modified
               to remove the in-person dispensing requirement, which would allow, for example, dispensing
               of mifepristone by mail via certified prescribers or pharmacies, in addition to in-person
               dispensing in clinics, medical offices and hospitals as currently outlined in ETASU C.

               New requirement to be added for pharmacy certification

               The current distribution model requires the certified prescriber to dispense mifepristone
               directly to the patient in a clinic, medical office, or hospital. During the periods when the in-
               person dispensing requirement was not being enforced, both applicants used mail order
               pharmacies to receive and hold mifepristone on behalf of the certified healthcare providers
               who had purchased the product.j,y,z Pursuant to a prescription for mifepristone, the mail order
               pharmacy would ship the product to a named patient.

               The Mifepristone REMS Program continues to require that mifepristone be prescribed only by
               certified prescribers. With the removal of the in-person dispensing requirement, however, the
               drug is no longer required to be dispensed only in a clinic, medical office or hospital. Under the
               REMS as modified, mifepristone can be dispensed through a pharmacy, provided the product is
               prescribed by a certified prescriber and all other requirements of the REMS are met. Given this
               modification to the dispensing requirements in the REMS, it is necessary to add a requirement
               for certification of pharmacies under ETASU B. Adding the pharmacy certification requirement
               incorporates pharmacies into the REMS, ensures that pharmacies are aware of and agree to
               follow applicable REMS requirements, and ensures that mifepristone is only dispensed pursuant
               to prescriptions that are written by certified prescribers. Without pharmacy certification, a
               pharmacy might dispense product that was not prescribed by a certified prescriber. Adding
               pharmacy certification ensures that ETASU A is met prior to dispensing the product to a patient;
               certified prescribers, in turn, have agreed to meet all the conditions of the REMS, including
               ensuring that the Patient Agreement Form (ETASU D) is completed. In addition, wholesalers and
               distributors can only ship to certified pharmacies. Based on our review of the safety data and
               our consideration of the distribution model implemented by the Applicants during the periods


               y ANDA 091178: September 23, 2021 response to the September 15, 2021 information request; October 11 and 16,
               2021 responses to the June 30, 2021 and July 15, 2021 information requests; October 26, 2021 response to the
               October 22, 2021 information request; October 29, 2021 response to the October 27 information request.
               z NDA 020687: September 20, 2021 response to the September 15, 2021 information request; October 26, 2021
               response to the October 22 information request.

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               when the in-person dispensing requirement was not being enforced, as well as REMS
               assessment data and published literature, we conclude that provided all other requirements of
               the REMS are met, the REMS program, with the removal of the in-person dispensing
               requirement and the addition of a requirement for pharmacy certification, will continue to
               ensure the benefits of mifepristone for medical abortion outweigh the risks while minimizing
               the burden imposed by the REMS on healthcare providers and patients. As modified, the REMS
               would allow, for example, dispensing by mail order or specialty pharmacies, similar to the
               distribution model used by applicants during the periods when the in-person dispensing
               requirement was not being enforced. aa
                                                                                                              (b) (6)   (b) (6)
               The above recommendations were discussed with the                                        (     and
                                                                           (b) (6)   (b) (4)
               senior leadership from CDER on November 2, 2021. The                          along with senior CDER
               leadership, concurred with removing the in-person dispensing requirement provided that all of
               the remaining REMS requirements are met, including but not limited to prescriber certification
               where prescribers need to attest to having certain qualifications, and maintaining the Patient
                                      (b) (6)   (b) (4)
               Agreement Form. The                      and senior leadership from CDER were also in favor of
               adding pharmacy certification to assure the safe use of mifepristone.

               5. Conclusions and Recommendations

               Based on the results of REMS assessments; our review of safety data collected during the PHE
               as well as data from FAERS; our literature search; and information provided by advocacy
                                                                                                             (b) (6)
               groups, individuals, the Applicants, and the plaintiffs in the Chelius v. Becerra litigation,
                      (b) (6)
               and            have concluded that a REMS modification is necessary and should include the
               following changes:

                    x   Removing the requirement under ETASU C that mifepristone be dispensed only in
                        certain healthcare settings, specifically clinics, medical offices, and hospitals.
                    x   Adding a requirement under ETASU B that pharmacies that dispense the drug be
                        specially certified.


               aa
                 Our current conclusion that the REMS would allow dispensing by mail order or specialty pharmacies is based on
               data received from Applicants relating to the periods when the in-person dispensing requirement was not enforced
               and mail-order pharmacies were used to dispense the product, as well as our analysis of postmarketing safety data
               and available literature. At this time we do not have data (from the Applicants or from other sources) to assess the
               certification of retail pharmacies under the REMS. We have not yet determined the details of pharmacy certification
               requirements, including whether any limitations on the types of pharmacies that may dispense the product are
               necessary.

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                   (b) (6)   (b) (6)
                     and       recommend the Applicants be issued a REMS Modification Notification Letter
               that requests submission within 120 days from the date of the letter.

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               online.
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               under 12 weeks’ gestation: a prospective observational cohort study during the COVID-19
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               abortion through online telemedicine: population based study in the Republic of Ireland and
               Northern Ireland. BMJ 2017;357:j2011.
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                 Norten H, Ilozumba O, Wilkinson J, et.al. 10-year evaluation of the use of medical abortion
               through telemedicine: a retrospective cohort study. BJOG 2021; https://doi.org/10.1111/1471-
               0528.16765.
               21
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               abortion through telemedicine after 9 weeks of gestation: a population-based cohort study.
               BJOG 2019;126:609–618.
               22
                 Raymond EG, Grossman D, Mark A, et.al. Commentary: No-test medication abortion: A
               sample protocol for increasing access during a pandemic and beyond. Contraception
               2020;101:361-366
               23
                 Mark A, Foster A, Perritt J. The future of abortion is now: Mifepristone by mail and in-clinic
               abortion access in the United States. Contraception 2021;104:38-42
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                 Martin D, Miller A, Quesnel-Vallee, A, et al. Canada’s global leadership on health 1. Canada’s
               universal health care system: achieving its potential. Lancet 2018; 391:1718-35




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               7. Appendix A

               References Cited in Letters from Plaintiffs
                 References cited in letter from Chelius v. Becerra Plaintiffs (September 29, 2021)
                  References included in the REMS review
                    Aiken A et al. BJOG 2021: 128 (9): 1464-1474

                    Chong, et al. Contraception 2021; 104(1) 43-48

                    Daniel S. et al. Contraception 2021; 104(1): 73-76

                   References excluded from the REMS review                                  Rationale for Exclusion
                    Am. Coll. of Obstetricians & Gynecologists, Position Statement:          Policy/advocacy statement
                    Improving Access to Mifepristone for Reproductive Health Indications
                    (June 2018), https://www.acog.org/clinical-information/policy-and-
                    position-statements/position-statements/2018/improving-access-to-
                    mifepristone-for-reproductive-health-indications

                    House of Delegates, Am. Med. Ass’n., Memorial Resolutions Adopted        Policy/advocacy statement
                    Unanimously No. 504 (2018) https://www.ama-assn.org/sites/ama-
                    assn.org/files/corp/media-browser/public/hod/a18-resolutions.pdf

                    Cong. Of Delegates, Am. Acad. Of Fam. Physicians, Resolution No.         Policy/advocacy statement
                    506 (CoSponsored C) Removing Risk Evaluation and Mitigation
                    Strategy (REMS) Categorization of Mifepristone (May 24, 2018)
                    https://www.reproductiveaccess.org/wp-
                    content/uploads/2019/02/Resolution-No.-506-REMS.pdf

                    Schummers L et al, Contraception 2020; 102(4): 273                       Abstract

                    Upadhyay UD et al.) Obstet & Gynecol 2015; 125: 175                      Published prior to March 29, 2016-
                                                                                             July 26, 2021 timeframe for current
                                                                                             literature review. We note that the
                                                                                             extensive literature review
                                                                                             conducted as part of the 2016
                                                                                             review, which was consistent with
                                                                                             the division’s standard approach for
                                                                                             reviewing an efficacy supplement



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                                                                                           and encompassed 90 references,
                                                                                           did not capture this publication.
                                                                                           However, the authors’ conclusion in
                                                                                           this publication is consistent with
                                                                                           our review of the safety data in
                                                                                           2016.
                    Kapp N et al. Best Pract Clin Obstet Gynaecol. 2020;63:37-44           Abstract. Also outside the scope of
                                                                                           first trimester medical abortion.
                    Fuentes L et al. J Women’s Health 2019; 28 (12): 1623, 1625            Focused on the logistics of
                                                                                           accessing abortion care.
                    Bearak JM, Lancet Pub Health 2017 Nov;2(11): e493, e495-96

                    Cartwright A et al 20 J Med Internet Res 2018 20(5):e10235

                    Barr-Walker J, et al PLoS One 2019;14(4): e0209991

                    Grossman et al JAMA Network 2017;317(4):437, 437-438

                    Dobie S et al 31 Fam Plan Persp 1999; 31(5): 241-244

                    Shelton JD 8 Fam Plan Persp 1976; 8(6):260, 260-262

                    Norris AH et al Am J Pub Health 2020; 110 (8): 1228,1232

                    Upadhyay UD et al Am J Pub Health 2014; 104(9):1687, 1689

                    CDC MMWR Abortion Surveillance – United States, 2018                   Contains primarily general statistics
                    https://www.cdc.gov/mmwr/volumes/69/ss/ss6907a1.htm#T5 down            on abortion care by state.




                 References cited in appendix from Chelius v. Becerra Plaintiffs (September 29, 2021)

                 References included in the REMS review

                 None




                                                                                                                               46


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                 References excluded from the REMS review                           Rationale for Exclusion

                 Jones RK et al Guttmacher Institute Abortion Incidence and         Contains primarily general statistics on
                 Service Availability in the United States, 2017 (2019)             abortion care and logistics of accessing
                                                                                    abortion care.
                 Guttmacher Inst, Induced Abortion in the United States (2019)

                 University of Minnesota Healthy Youth Dev. Prevention Rsch         Not related specifically to abortion care.
                 Ctr, 2019 Minnesota Adolescent Sexual Health Report 3 (2019)

                 Jerman J et al Guttmacher Inst, Characteristics of U.S. Abortion   Contains figures on patient characteristics
                 Patients in 2014 and Changes since 2008 (2016)                     from 2008-2014.



                 Roberts CM et al Women’s Health Issues 2014; 24:e211, e215         Focused on cost of abortion.



                 CDC MMWR Abortion Surveillance 2018                                Contains primarily statistics on number of
                                                                                    abortions in the US.
                 https://www.cdc.gov/mmwr/volumes/69/ss/ss6907a1.htm#T7
                 down (last updated Nov. 7, 2020)

                 Jones RK Persp on Sexual & Reprod Health 2017; 49:17, 20           Focused on abortion incidence and service
                                                                                    availability.


                 Fuentes L et al (as above)                                         Focused on logistics of accessing abortion
                                                                                    care.
                 Bearak JM et al (as above)

                 Cartwright A et al (as above)

                 Johns NE et al. BMC Health Serv Res 2017; 17: 287, 294



                 References cited in letter from Society of Family Planning (August 11, 2021)

                 References included in the REMS review

                 Grossman D. Obstet Gynecol 2019;133 (3): 477-483




                                                                                                                                  47


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                 Grossman D et al. Obstet Gynecol 2021; 137 (4): 613-622.

                 Winikoff B et al. Obstet Gynecol 2012; 120: 1070-1076 reviewed in 2016 clinical memo

                 Chen MJ et al. Obstet Gynecol 2015;126(1):12-21 reviewed in 2016 memo

                 Chong et al. Contraception 2021;104(1): 43-48

                 Aiken A et al. BJOG 2021; 128 (9): 1464 -1474

                 Hyland 2018 et al. Aust New Zeal J Obstet Gynaecol 2018; 58 (3): 335-340

                 References excluded from the REMS review                   Rationale for Exclusion

                 Schummers L et al. BMJ Sex Reprod Heal 2021;47(e1)         Abstract

                 Kapp et al. 2020 (as above)                                Abstract

                 Upadhyay et al. 2015 (as above)                            (See rationale above)

                 Srinivasulu et al. Contraception 2021; 104(1):92-97        Survey on clinician perspectives on access to
                                                                            mifepristone.

                 Calloway D et al. Contraception 2021; 104(1): 24-28        Primarily addresses provider stigma around abortion
                                                                            care.

                 Rasmussen et al. Contraception; 104(1): 98-103             Opinion/commentary

                 Cleland et al. Obstet Gynecol 2013;121(1):166-171          Published prior to March 29, 2016 - July 26, 2021
                                                                            timeframe for current literature review. We note that
                                                                            the extensive literature search conducted as part of
                                                                            the 2016 clinical review, which was consistent with
                                                                            the division’s standard approach for reviewing an
                                                                            efficacy supplement and encompassed 90 references,
                                                                            did not capture this publication. However, the
                                                                            authors’ conclusion in this publication is consistent
                                                                            with our review of the safety data in 2016.

                 National Academy of Sciences, Engineering, and             General information about abortion care in the US.
                 Medicine. Safety and Quality of Abortion Care in the       Did not provide safety data relevant to the elements
                 US 2018                                                    of the REMS

                 Raymond EG. Obstet Gynecol 2012: 119(2): 215-219           Does not separate out medical and surgical abortion.



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                 Bartlett LA et al. Obstet Gynecol 2004; 103(4): 729-737   Focused on surgical abortion.

                 Jones RK, Jerman J. Time to appointment and delays in     Focused on logistics of accessing abortion care.
                 accessing care among U.S. abortion patients,
                 Guttmacher 2016

                 Foster DG et al. Perspect Sex Reprod Health 2013;         Focused on second trimester abortion.
                 45(4):210-218

                 Ely G et al. Heal Soc Work 2019;44(1):13-21               Focused on logistics of accessing abortion care.



                 Munro S et al. Ann Fam Med 2020; 18(5):413-421.           Survey on physician perspectives on implementing
                                                                           medical abortion with mifepristone.




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                                                                                   Signature Page 1 of 1

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          This is a representation of an electronic record that was signed
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          EXHIBIT D
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   Executive Director
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   Quentin L. Van Meter, M.D., FCP
   President
   American College of Pediatricians
   P.O. Box 357190
   Gainesville, FL 32635-7190
                                                                                  December 16, 2021
                     Re: Docket No. FDA-2019-P-1534

   Dear Drs. Harrison and Van Meter:

   This letter responds to your citizen petition submitted to the Food and Drug Administration (FDA
   or Agency) on March 29, 2019, on behalf of the American Association of Pro-Life Obstetricians
   and Gynecologists and the American College of Pediatricians (Petition). In the Petition, you
   request that FDA: (1) restore and strengthen elements of the Mifeprex regimen and prescriber
   requirements approved in 2000, and (2) retain the Mifeprex Risk Evaluation and Mitigation
   Strategy (REMS) and continue limiting the dispensing of Mifeprex to patients in clinics, medical
   offices, and hospitals, by or under the supervision of a certified prescriber.

   Specifically, in your Petition you request that the Agency:

       (1) Restore and strengthen elements of the Mifeprex regimen and prescriber requirements
           approved in 2000, to include the following:

          •    Indications and Usage - Mifeprex, in a regimen with misoprostol, for the termination of
               intrauterine pregnancy, should be limited to 49 days gestation.

          •    Dosage and Administration:
                o Mifeprex should be administered by or under the supervision of a physically present
                   and certified physician who has ruled out ectopic pregnancy.

                o The use of Mifeprex and misoprostol for the termination of pregnancy should
                  require three office visits by the patient.

   U.S. Food & Drug Administration
   10903 New Hampshire Avenue
   Silver Spring, MD 20993
   w ww.fda.gov
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             •   Contraindications - Mifeprex use is contraindicated for patients who do not have
                 convenient access to emergency medical care.

             • Adverse Event Reporting - Certified prescribers, emergency medical personnel,
               physicians treating complications, and Danco Laboratories should report to FDA’s
               MedWatch Reporting system any deaths, hospitalizations, blood transfusions, emergency
               room visits, failures requiring surgical completion, ongoing pregnancy, or other major
               complications following the use of Mifeprex and misoprostol.

             • Additional studies - The Mifeprex REMS should require a formal study of outcomes for
               at-risk populations, including: patients under the age of 18; patients with repeat Mifeprex
               abortions; patients who have limited access to emergency room services; and patients
               who self-administer misoprostol.

         (2) Retain the Mifeprex REMS and continue limiting the dispensing of Mifeprex to patients in
             clinics, medical offices, and hospitals, by or under the supervision of a certified prescriber.

   We have carefully considered the information submitted in your Petition and other relevant data
   available to the Agency. Based on our review of this information, your Petition is granted in part
   and denied in part.

   I.         BACKGROUND

         A. Mifeprex

   On September 28, 2000, FDA approved Mifeprex for the medical termination of intrauterine
   pregnancy through 49 days’ pregnancy (new drug application (NDA) 020687). The application
   was approved under part 314, subpart H (21 CFR part 314, subpart H), “Accelerated Approval of
   New Drugs for Serious or Life-Threatening Illnesses” (subpart H). Specifically, § 314.520 of
   subpart H provides for approval with restrictions that are needed to assure the safe use of the drug
   product. In accordance with § 314.520, FDA restricted the distribution of Mifeprex as specified in
   the September 2000 approval letter.1

   Subsequently, Mifeprex was identified as one of the products that was deemed to have in effect an
   approved REMS under the Food and Drug Administration Amendments Act of 2007 (FDAAA)
   because on the effective date of Title IX, subtitle A of FDAAA (March 28, 2008), Mifeprex had in
   effect elements to assure safe use.2 Accordingly, in June 2011, we approved a REMS for
   Mifeprex, consisting of a Medication Guide, elements to assure safe use (ETASU), an
   implementation system, and a timetable for submission of assessments of the REMS.

   Elements to assure safe use included: (1) prescriber certification (ETASU A); (2) that Mifeprex is
   dispensed only in certain healthcare settings by or under the supervision of a certified prescriber

   1
       See https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2000/20687appltr.pdf.
   2
       73 FR 16313 (Mar. 27, 2008).



                                                          2
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   (ETASU C); and (3) that Mifeprex is dispensed only with documentation of safe use conditions
   (ETASU D). Documentation of safe use conditions consists of a Patient Agreement Form between
   the prescriber and the patient indicating that the patient has received counseling from the prescriber
   regarding the risk of serious complications associated with Mifeprex.

   On March 29, 2016, we approved an efficacy supplement (S-020) to NDA 020687 for Mifeprex
   submitted by the applicant Danco Laboratories, LLC (S-020 efficacy supplement). The approval
   included changes in the dose of Mifeprex and the dosing regimen for taking Mifeprex and
   misoprostol (including the dose of misoprostol and a change in the route of misoprostol
   administration from oral to buccal (in the cheek pouch); the interval between taking Mifeprex and
   misoprostol; and the location at which the patient may take misoprostol). The approval also
   modified the gestational age up to which Mifeprex has been shown to be safe and effective, as well
   as the process for follow-up after administration of the drug.

   Specifically, the following changes, among others, were made as part of the 2016 approval:3

       •   Revised the dosing regimen to consist of 200 mg of Mifeprex taken by mouth, followed in
           24-48 hours by 800 mcg of misoprostol taken buccally (in the cheek pouch). This differs
           from the originally approved dosing regimen of 600 mg of oral Mifeprex followed 48 hours
           later by 400 mcg of oral misoprostol.

       •   Revised the indication for use of Mifeprex, in a regimen with misoprostol, to extend the
           maximum gestational age for the medical termination of intrauterine pregnancy from 49
           days to 70 days.

       •   Reduced the number of office visits by the patient under the approved regimen from three
           to one.

       •   Replaced the term “physician” with the term “healthcare provider.”

   In addition, after reviewing the data and information submitted by the applicant in the S-020
   efficacy supplement, and after taking into consideration the safety data that had become available
   since the initial approval of Mifeprex in 2000, we determined the Mifeprex REMS continued to be
   necessary to ensure the benefits of the product outweigh the risks. However, we approved
   modifications to the Mifeprex REMS that reflected the changes approved in the efficacy
   supplement. These changes to the REMS included, among others:4

       •   Updating the Prescriber Agreement Form to reflect the revised indication and dosing
           regimen.

       •   Removing the Medication Guide as a REMS element (but retaining the Medication Guide
           as labeling).


   3
     See https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2016/020687Orig1s020ltr.pdf and
   https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf.
   4
     See https://www.accessdata.fda.gov/drugsatfda_docs/nda/2016/020687Orig1s020RemsR.pdf.


                                                      3
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       •    Removing the requirement that certified prescribers report certain enumerated adverse
            events to the applicant (specifically, any hospitalization, transfusion or other serious
            adverse events), but retaining the requirement that certified prescribers report all deaths to
            the sponsor.

   Under the March 2016 approval, the Mifeprex REMS also continued to require that Mifeprex be
   dispensed to patients only in certain healthcare settings, specifically, clinics, medical offices, and
   hospitals, by or under the supervision of a certified prescriber.5

       B. Generic Version of Mifeprex

   On April 11, 2019, we approved GenBioPro, Inc.’s generic version of Mifeprex, Mifepristone
   Tablets, 200 mg (abbreviated new drug application (ANDA) 091178). This action took place after
   this Petition was submitted to the Agency. As required by 21 CFR 314.94(a)(8), GenBioPro’s
   approved generic version of Mifeprex, Mifepristone Tablets, 200 mg, has the same labeling (with
   certain permissible differences) as the brand product it references, Mifeprex. Accordingly,
   although we refer to the Mifeprex labeling in several sections of this response, our discussions in
   this response apply equally to both the NDA and the generic product labeling, unless otherwise
   specifically noted.6

   GenBioPro’s generic version of Mifeprex is subject to the same ETASU as its listed drug (21
   U.S.C. -1(i)). At the time we approved GenBioPro’s generic version of Mifeprex, that ANDA
   product was required to use a single, shared system for the ETASU with the brand drug product,
   Mifeprex, unless the requirement was waived by FDA (21 U.S.C. 355-1(i)). FDA did not waive
   this requirement. Accordingly, at the same time that FDA approved GenBioPro’s generic version
   of Mifeprex in 2019, FDA approved a supplemental new drug application (sNDA) for Mifeprex,
   approving modifications to the existing, approved REMS for Mifeprex to establish a single, shared
   system REMS for mifepristone products for the medical termination of intrauterine pregnancy
   through 70 days gestation (referred to as the Mifepristone REMS Program). In establishing the
   single, shared system REMS in 2019, no substantive changes were made to the ETASU in the
   March 2016 Mifeprex REMS. References to the REMS in this response refer to the Mifepristone
   REMS Program established in 2019, unless otherwise noted.

       C. In-Person Dispensing Requirement During the COVID-19 PHE



   5
     See https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2016/020687Orig1s020ltr.pdf.
   6
     We note that Korlym and the generic version of Korlym (Mifepristone Tablets, 300 mg) contain the same
   active ingredient – mifepristone - as Mifeprex and the generic version of Mifeprex (Mifepristone Tablets, 200
   mg). Although these drug products contain the same active ingredient, their intended uses target different
   receptors, and the products have different strengths and use different dosing regimens. Korlym and the
   generic version of Korlym are approved for the control of hyperglycemia (high blood sugar levels) due to
   hypercortisolism in adult patients with endogenous Cushing’s syndrome who have type 2 diabetes or glucose
   intolerance, and have failed surgery or are not candidates for surgery. References to mifepristone in this
   response refer to the use of mifepristone for the medical termination of intrauterine pregnancy through 70
   days gestation, unless otherwise noted.




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   FDA has recognized that during the COVID-197 public health emergency (PHE),8 certain REMS
   requirements for various products may be difficult to comply with because patients may need to
   avoid public places and patients suspected of having COVID-19 may be self-isolating and/or
   subject to quarantine. The Agency has also received queries concerning products with REMS that
   have ETASUs, including REMS with ETASUs that restrict distribution, and the impact of such
   ETASUs on patient access when patients self-isolate or are subject to quarantine.

   In April 2021, FDA communicated its intent to exercise enforcement discretion during the
   COVID-19 PHE regarding the requirement in the Mifepristone REMS Program that mifepristone
   used for medical termination of intrauterine pregnancy through 70 days gestation be dispensed to
   patients by or under the supervision of a certified prescriber only in certain healthcare settings,
   specifically clinics, medical offices, and hospitals (referred to as the “in-person dispensing
   requirement”).

   Specifically, FDA communicated that provided all other requirements of the Mifepristone REMS
   Program are met, the Agency intends to exercise enforcement discretion with respect to the in-
   person dispensing requirement of the Mifepristone REMS Program, including any in-person
   requirements that may be related to the Patient Agreement Form, during the COVID-19 PHE. This
   determination, which FDA made on April 12, 2021, was effective immediately. We also note that
   from July 13, 2020 to January 12, 2021, per a court order, FDA was enjoined from enforcing the
   in-person dispensing requirement of the Mifepristone REMS Program.9

   Further, and as we also communicated on April 12, 2021, to the extent all of the other requirements
   of the Mifepristone REMS Program are met, the Agency intends to exercise enforcement discretion
   during the COVID-19 PHE with respect to the dispensing of Mifeprex or the approved generic
   version of Mifeprex, Mifepristone Tablets, 200 mg, through the mail, either by or under the
   supervision of a certified prescriber, or through a mail-order pharmacy when such dispensing is
   done under the supervision of a certified prescriber.

   FDA’s intent to exercise enforcement discretion with respect to these requirements during the
   COVID-19 PHE was the result of a thorough scientific review by experts within FDA’s Center for
   Drug Evaluation and Research (CDER), who evaluated relevant information, including available
   clinical outcomes data and adverse event reports.

       D. Minor Modification



   7
     The virus has been named “SARS-CoV-2” and the disease it causes has been named “Coronavirus Disease
   2019” (COVID-19).
   8
     Secretary of Health and Human Services, Determination that a Public Health Emergency Exists (originally
   issued Jan. 31, 2020, and subsequently renewed), available at
   https://www.phe.gov/emergency/news/healthactions/phe/Pages/default.aspx.
   9
     Am. Coll. of Obstetricians & Gynecologists v. FDA, 472 F. Supp. 3d 183, 233 (D. Md. July 13, 2020), order
   clarified, 2020 WL 8167535 (D. Md. Aug. 19, 2020) (preliminarily enjoining FDA from enforcing the in-
   person dispensing requirement and any other in-person requirements of the Mifepristone SSS REMS); FDA v.
   Am. Coll. of Obstetricians & Gynecologists, 141 S. Ct. 578 (Jan. 12, 2021) (staying the preliminary injunction
   imposed by the District Court).


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   In response to a request submitted by the applicants, FDA approved a minor modification to the
   Mifepristone REMS Program on May 14, 2021. This minor modification revised the Patient
   Agreement Form to use gender neutral language. Specifically, the pronouns “she” and “her” in the
   Patient Agreement Form were replaced with “the patient.” The minor modification also included
   revisions to the REMS document to be consistent with the revisions to the Patient Agreement
   Form. These changes did not affect the substance of the Patient Agreement Form, the REMS
   document, or the Mifepristone REMS Program.

        E. Review of the Mifepristone REMS Program

   In 2021, FDA also undertook a full review of the Mifepristone REMS Program.10 In conducting
   this review, FDA reviewed multiple different sources of information, including published
   literature, safety information submitted to the Agency during the COVID-19 PHE, FDA Adverse
   Event Reporting System (FAERS) reports, the first REMS assessment report for the Mifepristone
   REMS Program, and information provided by advocacy groups, individuals, and the Plaintiffs in
   ongoing litigation, as well as information submitted by the sponsors of the NDA and the ANDA
   (together, the Applicants). As discussed in more detail below, based on our review of this
   information, FDA has determined that certain elements of the Mifepristone REMS Program remain
   necessary to assure the safe use of mifepristone for medical termination of intrauterine pregnancy
   through 70 days gestation; and therefore, the Mifepristone REMS Program continues to be
   necessary to ensure the benefits outweigh the risk. Specifically, we find that the healthcare
   provider certification and dispensing of mifepristone to patients with evidence or other
   documentation of safe use conditions continue to be necessary components of the REMS to ensure
   the benefits of mifepristone outweigh the risks for this indication.

   We also find that the in-person dispensing requirement is no longer necessary to assure the safe use
   of mifepristone for medical termination of intrauterine pregnancy through 70 days gestation. We
   have concluded that mifepristone will remain safe and effective for medical abortion if the in-
   person dispensing requirement is removed, provided all the other requirements of the REMS are
   met and pharmacy certification is added.11 Removing the in-person dispensing requirement will
   render the REMS less burdensome to healthcare providers and patients, and provided all other
   requirements of the REMS are met, including the additional requirement for pharmacy
   certification, the REMS will continue to ensure that the benefits of mifepristone for medical
   abortion outweigh the risks. Accordingly, today we are sending a REMS Modification
   Notification letter to both Applicants in the Mifepristone REMS Program. As stated in that letter,
   FDA has concluded that a modification is necessary and must include the following changes:

        •   Removing the requirement that mifepristone be dispensed only in certain healthcare
            settings, specifically clinics, medical offices, and hospitals.

   10
      We note that the Agency is in litigation regarding the Mifepristone REMS Program and committed to
   conducting a full review of the Mifepristone REMS Program, including reviewing any relevant data and
   evidence submitted to the Agency by the Plaintiffs in that litigation (Chelius et al v. Becerra, Joint Mot. to
   Stay Case Pending Agency Review, ECF No. 148, May 7, 2021, Civ. No. 1:17-00493 (D. Haw.)).
   11
      Although we have determined that the Mifepristone REMS Program must be modified to add a requirement
   for pharmacy certification, this was not raised in your Petition and therefore is not discussed further in this
   response.


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         •   Adding a requirement that pharmacies that dispense the drug be specially certified.


   II.       DISCUSSION OF ISSUES RAISED

                A. Mifeprex Regimen

             1. Indications and Usage

   In the Petition, you ask FDA to restore and strengthen elements of the Mifeprex regimen
   and prescriber requirements approved in 2000, to limit Mifeprex, in a regimen with
   misoprostol, for the termination of intrauterine pregnancy, to 49 days gestation (Petition at
   1 and 3). For the reasons explained below, we deny this request.

   Citing to a 2011 study and a practice bulletin issued by the American College of
   Obstetricians and Gynecologists (ACOG), you state that medical abortion12 regimens
   demonstrate an increase in complications and failures, including serious risks of
   hemorrhage, infection, and ongoing pregnancy, after 49 days gestation (Petition at 3-4).

   Our review of the S-020 efficacy supplement in 2016 concluded that Mifeprex, in a
   regimen with misoprostol, is safe and effective for medical termination of intrauterine
   pregnancy through 70 days gestation.13 Complete medical abortion rates from the pivotal
   clinical trials relied on for the initial approval of Mifeprex (with an indication for medical
   termination of intrauterine pregnancy through 49 days gestation) were 92.1 percent and
   95.5 percent in the United States and French trials, respectively.14 The studies reviewed in
   support of the 2016 approval for Mifeprex (with an indication for medical termination of
   intrauterine pregnancy through 70 days gestation) showed comparable efficacy. The 2016
   Clinical Review of the S-020 efficacy supplement summarized clinical outcomes and
   adverse effects from 22 studies (7 in the United States and 15 from outside the United
   States) through 70 days gestation, using the currently approved regimen of 200 mg oral
   mifepristone with 800 mcg buccal misoprostol. The ranges of complete medical abortion
   rates calculated by the clinical reviewer were 93.2 percent to 98.7 percent in the United
   States studies, and 92 percent to 98 percent in the non-United States studies.15

   Serious adverse events associated with the use of mifepristone through 70 days gestational
   age are rare. Per the current mifepristone labeling, the rates of serious adverse events are
   low: transfusions are 0-0.1 percent, sepsis is less than 0.01 percent, hospitalization related
   to medical abortion is 0-0.7 percent, and hemorrhage is 0.1 percent.16 As discussed

   12
      In this response, the terms “medical abortion” and “medication abortion” both refer to the use of
   mifepristone, in a regimen with misoprostol, for the medical termination of intrauterine pregnancy.
   13
       See 2016 Clinical Review available at
   https://www.accessdata.fda.gov/drugsatfda_docs/nda/2016/020687Orig1s020MedR.pdf, at 32-38 and 47-47.
   14
      See 1999 Medical Officer’s Review, available at
   http://www.accessdata.fda.gov/drugsatfda_docs/nda/2000/20687_Mifepristone_medr_P1.pdf, at 11 (Table 1)
   and 16.
   15
      See 2016 Clinical Review, supra n. 13, at 28-31.
   16
      See https://www.accessdata.fda.gov/drugsatfda_docs/label/2019/020687s022lbl.pdf.


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   throughout this response, the benefit/risk assessment supported our 2016 conclusion that
   the product is safe and effective through 70 days gestation.

   In support of your assertion that medical abortion demonstrates an increase in
   complications after 49 days gestation, you cite to Mentula, et al.,17 a register-based,
   retrospective cohort study that included 18,248 women in Finland who underwent medical
   abortion between January 1, 2003, and December 31, 2006 (Petition at 3). As an initial
   matter, we note that the Mentula study was primarily designed to assess the immediate
   adverse events following medical abortion in the second trimester (13 to 24 gestational
   weeks as defined by the authors) and then compare those events to those identified with
   medical abortion in the first trimester (up to 12 gestational weeks as defined by the
   authors). The study was not designed to compare rates of complications across gestational
   weeks within the first trimester. It is true that the Mentula publication includes information
   on the percentages of women who had surgical evacuation following medical abortion and
   the percentages of women who had infection following medical abortion, based on weekly
   gestational age, from 5 weeks to 20 weeks gestation.18 However, the data in the Mentula
   study are relatively old (2003-2006); in our 2016 review of the S-020 efficacy supplement,
   we conducted an extensive review of more recent data19 and concluded that Mifeprex, in a
   regimen with misoprostol, is safe and effective for medical termination of intrauterine
   pregnancy through 70 days gestation.

   You also cite to ACOG Practice Bulletin No. 143, which states: “the risk of clinically
   significant bleeding and transfusion may be lower in women who undergo medical abortion
   of gestations up to 49 days compared with those who undergo medical abortion of
   gestations of more than 49 days.”20 This statement is based on a 1998 publication which
   evaluated patients undergoing medical abortion with mifepristone 600 mg and then oral
   misoprostol 400 mcg two days later.21 The regimen studied in this 1998 publication is not
   the currently approved regimen for mifepristone in the United States. Further, ACOG
   Practice Bulletin No. 143 has been withdrawn and replaced by Practice Bulletin No. 225,
   which was published in October 2020 and no longer contains this statement.22

   You also state that the failure rate of the approved regimen (which you refer to as the
   “buccal misoprostol regimen”) increases as the gestational age increases, especially at

   17
      Mentula MJ, Niinimake M, Suhonen S, et al. Immediate Adverse Events After Second Trimester Medical
   Termination of Pregnancy: Results of a nationwide registry study, Human Reproduction. 2011;26(4):927-932.
   18
      Id. at Fig. 2 and Fig. 3. Surgical intervention after medical abortion and infection after medical abortion are
   two distinct adverse events. The calculation of abortion completion rates accounts for the need for surgical
   intervention. In clinical studies we reviewed, success of medical abortion was defined as the complete
   expulsion of the products of conception without the need for surgical intervention.
   19
      See 2016 Cross-Discipline Team Leader Review, available at
   https://www.accessdata.fda.gov/drugsatfda_docs/nda/2016/020687Orig1s020CrossR.pdf, at 37 (Table 4).
   20
      Petition at 3. See Medical Management of First-Trimester Abortion. ACOG Practice Bulletin Number 143.
   March 2014 (Reaffirmed 2016. Replaces Practice Bulletin Number 67, October 2005); Obstet Gynecol. 2014
   Mar;123(3):676-692 at 680.
   21
      Spitz I, Bardin CW, Benton L, Robbins A. Early pregnancy termination with mifepristone and misoprostol
   in the United Sates, NEJM. 1998;338 (18):1241-1247.
   22
      See ACOG Practice Bulletin No. 225. Medication Abortion Up to 70 Days of Gestation. Obstetrics and
   Gynecology 2020; 136(4); e31 to e47.


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   gestational ages greater than 49 days, relying on a 2015 meta-analysis,23 and that the
   gestational limit should not have been increased (Petition at 3-4). We agree that the failure
   rate of medical abortion regimens, including the currently approved regimen, generally
   increases with increasing gestational age. However, the increase in failure rate with each
   incremental week of gestation, as described in approved mifepristone labeling and in this
   2015 meta-analysis, is small, and we believe that the benefit/risk profile for medical
   termination of intrauterine pregnancy between 49 and 70 days gestation remains acceptable.

   For these reasons, we deny your request that FDA limit mifepristone, in a regimen with
   misoprostol for the termination of intrauterine pregnancy, to 49 days gestation.

        2. Dosage and Administration

                a. Prescriber Qualifications

   You state that FDA should limit the “ability” to prescribe and dispense Mifeprex to
   qualified, licensed physicians, rather than permitting non-physicians to apply to be certified
   prescribers, because of the regimen’s serious risks and because physicians are better trained
   to diagnose patients who have contraindications to Mifeprex and to verify gestational age
   (Petition at 4). We do not agree.

   Healthcare providers who are licensed to prescribe can become certified in REMS
   programs if they are able to meet the applicable REMS requirements. To become certified
   to prescribe mifepristone under the Mifepristone REMS Program, the prescriber must
   review the prescribing information for mifepristone and complete a Prescriber Agreement
   Form. By signing the form, the prescriber agrees that they meet certain qualifications,
   including the ability to date pregnancies accurately and to diagnose ectopic pregnancies.
   These healthcare providers must also: (1) be able to provide any necessary surgical
   intervention or have made arrangements for others to provide for such care; or (2) be able
   to assure patient access to medical facilities equipped to provide blood transfusions and
   resuscitation, if necessary.24

   In our review of the S-020 efficacy supplement in 2016, we determined that available data
   support that Mifeprex is safe and effective when prescribed by midlevel providers, such as
   physician assistants and nurse practitioners, as well as by physicians.25 Our 2016 review
   included four studies that evaluated the safety and efficacy of medical abortion when
   performed by non-physician healthcare providers. Two trials evaluated the currently




   23
      Petition at 4, fn. 6 (citing Chen MJ, Creinin MD, Mifepristone with Buccal Misoprostol for Medical
   Abortion, Obstet. Gynecol 126 (1) July 2015 12-21).
   24
      See https://www.accessdata.fda.gov/drugsatfda_docs/label/2019/020687s022lbl.pdf; see also
   https://www.accessdata.fda.gov/scripts/cder/rems/index.cfm?event=RemsDetails.page&REMS=390.
   25
      See 2016 Clinical Review, supra n. 13, at 79; see also 2016 Cross-Discipline Team Leader Review, supra n.
   19, at 17-18. We also note that in most states, midlevel clinicians, such as physician assistants and nurse
   practitioners, are licensed to prescribe medications.


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   approved Mifeprex and buccal misoprostol regimen (Olavarrieta and Kopp Kallner);26,27
   one trial studied a regimen using vaginal misoprostol (Warringer);28 a fourth study did not
   specify the route of misoprostol administered (Puri).29 Olavarrieta reported a completion
   rate of 97.9 percent when medical abortion was provided by nurses as compared with 98.4
   percent with physicians. Kopp Kallner reported a completion rate of 99 percent with
   certified nurse midwives versus 97.4 percent with physicians. Warriner reported an
   abortion completion rate of 97.4 percent with nurses as compared with 96.3 percent with
   physicians. Puri reported an abortion completion rate of 96.8 percent when the service was
   provided by nurse-midwives as compared with 97.4 percent in the “standard care” group.30
   Our 2016 review also included a systematic review of six controlled clinical studies by
   Renner;31 the authors concluded that the evidence “indicates that trained mid-level
   providers may effectively and safely provide first trimester surgical and medical
   termination of pregnancy services.” Additionally, Barnard et al., in a Cochrane systematic
   review, assessed the safety and effectiveness of abortion procedures administered by mid-
   level providers (nurse practitioners, midwives, other non-physician healthcare providers)
   compared to doctors.32 The authors concluded, based in part on two of the studies that we
   had reviewed in 2016,33 that there was no statistically significant difference in the risk of
   failure for medical abortions performed by mid-level providers compared with doctors.

   We also believe that the identification of patients for whom the use of mifepristone is
   contraindicated can be done by mid-level healthcare providers, as well as physicians.
   Mifepristone in a regimen with misoprostol for medical termination of intrauterine
   pregnancy through 70 days gestation is contraindicated in patients with any of the
   following conditions:34

                •    Confirmed or suspected ectopic pregnancy or undiagnosed adnexal mass

   26
      Olavarrieta CD, Ganatra B, Sorhaindo A, et al. Nurse versus Physician-provision of Early Medical
   Abortion in Mexico: A Randomized Controlled Non-Inferiority Trial. Bull World Health Organ.
   2015;93:249-258.
   27
      Kopp Kallner H, Gomperts R, Salomonsson E, et al. The efficacy, safety and acceptability of medical
   termination of pregnancy provided by standard care by doctors or by nurse-midwives: a randomised
   controlled equivalence trial. BJOG. 2015; 122: 510-517.
   28
      Warriner IK, Wang D, et al. Can midlevel health-care providers administer early medical abortion as safely
   and effectively as doctors? A randomized controlled equivalence trial in Nepal. Lancet. 2011; 377: 1155-61.
   29
      Puri M, Tamang A, Shrestha P, et al. The role of auxiliary nurse-midwives and community health
   volunteers in expanding access to medical abortion in rural Nepal. Reproductive Health Matters. 2015; 22(44)
   94-103.
   30
      2016 Clinical Review, supra n. 13, at 43.
   31
      Renner RM, Brahmi D, Kapp N. Who can provide effective and safe termination of pregnancy care? A
   systematic review. BJOG 2013 Jan;120(1):23-31.
   32
      Barnard S, Kim C, Park MN, Ngo TD. Doctors or mid-level providers for abortion (Review). Cochran
   Database of Systematic Reviews. 2015, Issue 7.
   33
      Of the medical abortion studies reviewed by Barnard et al (Id.), two were reviewed by the Agency as part of
   the review of the S-020 supplement in 2016. See Warriner et al (supra n. 28) and Kopp Kallner et al (supra n.
   27). The third used a different dose of misoprostol than the currently approved regimen. See Jejeebhoy SJ,
   Kalyanwalaa S, Zaviera AJF, Kumara R, Mundleb S, Tankc J, et al. Feasibility of expanding the medication
   abortion provider based in India to include avurvedic physicians and nurses. International Perspectives on
   Sexual and Reproductive Health 2012;38(3)133-42)
   34
      See https://www.accessdata.fda.gov/drugsatfda_docs/label/2019/020687s022lbl.pdf.


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                •   An intrauterine device in place
                •   Chronic adrenal failure
                •   Concurrent long-term corticosteroid therapy
                •   History of allergy to mifepristone, misoprostol, or other prostaglandins
                •   Hemorrhagic disorder or concurrent anticoagulant therapy
                •   Inherited porphyrias

   These contraindications can be assessed by trained healthcare providers who prescribe
   mifepristone by obtaining a medical history, from medical records, and/or from physical
   examination or ultrasound if appropriate. We continue to believe that available data
   support the conclusion that mid-level healthcare providers, as well as physicians, possess
   the clinical and counseling skills necessary to provide medical abortion. We note this is
   consistent with ACOG’s statement in its current practice bulletin that “[i]n addition to
   physicians, advanced practice clinicians, such as nurse-midwives, physician assistants, and
   nurse practitioners, possess the clinical and counseling skills necessary to provide first-
   trimester medical abortion.”35 Further, if necessary, ultrasound training and certification is
   available to nurse practitioners and physician assistants, as well as physicians.36 In sum,
   available information supports that mid-level healthcare providers as well as physicians can
   determine whether mifepristone is an appropriate treatment for a particular patient and
   dispense it.

   You also assert that FDA should strengthen the requirement that providers accurately assess
   the duration of the pregnancy by mandating that gestational age be assessed by ultrasound
   (Petition at 5). We refer you to FDA’s 2016 Response to the citizen petition submitted to
   Docket No. FDA-2002-P-0364 (the “2016 CP Response”), where FDA stated that the
   determination of gestational age does not always require an ultrasound. In the 2016 CP
   Response, FDA stated it had “determined that it was inappropriate for us to mandate how
   providers clinically assess women for duration of pregnancy and for ectopic pregnancy.
   These decisions should be left to the professional judgment of each provider, as no method
   (including TVS [transvaginal ultrasound]) provides complete accuracy. The approved
   labeling for Mifeprex recommended ultrasound evaluation as needed, leaving this decision
   to the judgment of the provider.”37

   In the Petition, you reference the Prescriber Agreement Form, in which the provider must
   attest they have the ability to: (1) accurately assess the duration of the pregnancy; (2)
   diagnose ectopic pregnancies; and (3) provide surgical intervention if needed (or have made
   plans to provide such care through others), and you state that a provider who does not
   physically meet with and examine a patient, but simply consults with the patient over the
   Internet, is not capable of fulfilling these requirements, or of ruling out additional

   35
      ACOG Practice Bulletin No. 225, supra n. 22.
   36
      American Institute of Ultrasound in Medicine. Accessed November 26, 2021.
   https://www.aium.org/officialStatements/70.
   37
      FDA’s citizen petition response dated March 29, 2016, to the citizen petition submitted by the American
   Association of Pro-Life Obstetricians and Gynecologists, the Christian Medical and Dental Association, and
   Concerned Women for America on August 20, 2002, Docket No. FDA-2002-P-0364 at 18. See
   https://www.regulations.gov/document/FDA-2002-P-0364-0002.


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   contraindications (Petition at 5-6). You state that FDA should require certified prescribers
   to be physically present when Mifeprex is dispensed so that they can appropriately examine
   patients and rule out contraindications to the use of Mifeprex (Petition at 4).

   Certified prescribers do not have to be physically present with the patient as long as they
   have confirmed the patient’s gestational age and intrauterine pregnancy. As noted above,
   in the 2016 CP response, FDA “determined that it was inappropriate for us to mandate how
   providers clinically assess women for duration of pregnancy and for ectopic pregnancy.”38
   Moreover, the evaluation of patients for contraindications to medical abortion does not
   necessarily require direct physical contact with the certified prescriber and can be done in
   different types of healthcare settings. A certified prescriber can also review the Patient
   Agreement Form39 with the patient, fully explain the risks of the mifepristone treatment
   regimen, and answer any questions, as in any consent process, without physical proximity.
   See also section II.B.1.c (ETASU C – In-person Dispensing).

   With respect to providing surgical intervention in cases of incomplete abortion or severe
   bleeding and assuring patient access to medical facilities equipped to provide blood
   transfusions and resuscitation (if necessary), the Prescriber Agreement Form does not
   reflect a requirement that the certified prescriber must provide such care personally; rather,
   the prescriber must agree that they have the ability to provide such care or that they have
   made plans to provide such care through others, and that they have the ability to assure the
   patient has access to appropriate medical facilities. It is common practice for healthcare
   providers to provide emergency care coverage for other healthcare providers’ patients, and
   in many places, hospitals employ “hospitalists” to provide care to all hospitalized patients.
   We also note ACOG’s statement that “[i]n rare cases, a patient who undergoes a medication
   abortion may need to obtain an additional intervention, such as uterine aspiration. If the
   prescribing clinician does not perform the intervention, it is medically appropriate to
   provide a referral.”40

   For these reasons, we deny your request that FDA limit the “ability” to prescribe and
   dispense mifepristone to licensed physicians, and we deny your request that FDA require
   certified providers to physically meet with and examine the patient.

               b. Office Visits and Administration of Mifepristone/Misoprostol

   In the Petition, you state that the use of mifepristone and misoprostol should require three
   office visits by the patient (Petition at 7). In support of this position, you state the
   following:

        •   Drug-induced abortion is contraindicated for patients who are not available for
            follow-up contact or evaluation (Petition at 10).



   38
      Id.
   39
      See https://www.accessdata.fda.gov/scripts/cder/rems/index.cfm?event=RemsDetails.page&REMS=390.
   40
      ACOG Practice Bulletin Number 225 supra n. 22.


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        •   Abortion complications are more frequent when women abort at home and more
            healthcare oversight is needed (Petition at 8).

        •   Home administration of misoprostol does not permit healthcare providers to control
            when their patients take misoprostol and without monitoring:

                o a patient may take buccal misoprostol before the minimum 24-hour period
                  after taking Mifeprex, which leads to a significantly increased failure rate
                  (Petition at 7).

                o a patient may swallow misoprostol rather than administer it buccally, and
                  oral administration is not as effective as buccal administration in ending the
                  pregnancy (Petition at 7).

        •   Because providers may now “confirm” that a patient’s drug-induced abortion was
            successful without a clinic visit, this increases the threat that Rh-negative patients
            will not receive Rhogam, which is necessary to prevent serious risks in subsequent
            pregnancies (Petition at 7 and 9).

   We address each of these points below.

                              i. Follow-up Care

   The safe use of mifepristone when used in the approved regimen with misoprostol is not
   contingent on a specific number of office visits being made by the patient undergoing a
   medical termination of pregnancy. The 2016 labeling change for Mifeprex regarding post-
   treatment assessment, including the change to the approved regimen to reduce the number
   of offices visits from three to one, was based on evidence reviewed in the S-020 efficacy
   supplement. We concluded, upon reviewing the data, that three office visits were not
   necessary to assure the safe use of Mifeprex.41

   In your Petition, you point to statements by ACOG that medical abortion is contraindicated
   for patients who are not available for follow-up contact or evaluation (Petition at 8, 10).
   The ACOG statements you point to are from ACOG Practice Bulletin No. 143, which has
   been withdrawn and replaced by Practice Bulletin No. 225.42 Neither of the statements
   from the withdrawn Practice Bulletin nor Practice Bulletin No. 225 contraindicate medical
   abortion in women who are not available for an in-clinic follow-up visit. The current
   ACOG recommendations indicate that for medical abortion, “[f]ollow-up can be performed
   by telephone at 1 week, with subsequent at-home urine pregnancy testing at 4 weeks after
   treatment, which avoids the need for the patient to go to a facility.”43 The patient and their
   healthcare provider should determine the best option for follow-up as part of the
   consultation and consent process.44 As reflected in ACOG’s guidance, appropriate follow-

   41
      See 2016 Clinical Review, supra n. 13, at 44 and 64-67.
   42
      ACOG Practice Bulletin Number 225, supra n. 22.
   43
      Id.
   44
      Id.


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   up after medical termination of a pregnancy may be accomplished in multiple ways and not
   all require an in-clinic visit.

   You also question findings in multiple studies that evaluated the effectiveness of
   semiquantitative urine pregnancy tests (multi-level pregnancy tests, or MLPT) and low
   sensitivity urine pregnancy tests (LSPT) to rule out on-going pregnancies and assessed the
   ability of patients to self-administer these tests and interpret the test results (Petition at 9-
   10). Overall, these studies concluded that in the majority of women, it is feasible to use a
   simplified test to determine if further follow-up is necessary. A recent systematic review
   and meta-analysis by Baiju assessed the effectiveness and safety of self-assessment of the
   outcome of medical abortion completed at home versus routine clinic follow-up after
   medical abortion, concluding self-assessment was not inferior to routine clinic follow-up.45
   We note that this is consistent with current ACOG recommendations, which state that
   “follow-up can be performed by telephone at 1 week, with subsequent at-home urine
   pregnancy testing at 4 weeks after treatment, which avoids the need for the patient to go to
   a facility.”46

   You also assert that it is important for a patient to be under observation after taking
   misoprostol to ensure that they are appropriately monitored and provided sufficient pain
   medication (Petition at 8). You cite the World Health Organization (WHO)’s statement in
   guidance that up to 90 percent of women will abort within 4-6 hours after taking
   misoprostol; you further state that the 2000 regimen permitted patients to be in the clinic
   during this time period (Petition at 8). Your reference to the WHO guidance document47
   appears to be out of context. The WHO guidance takes no position on whether women
   should return to and remain in the clinic during a follow-up visit for purposes of taking
   misoprostol; in fact, it explicitly recognizes that post-abortion care may not require a
   follow-up visit if the patient is adequately counseled.48 In the United States, and as
   reflected in the approved labeling, medical termination of pregnancy usually involves
   patients terminating the pregnancy at home, with appropriate follow-up that may not
   include a return visit.

                              ii. At Home Medical Abortion and Healthcare Oversight

   In addition, you cite a 2018 study to support your statement that abortion complications are
   more frequent when women abort at home (Petition at 8). The study evaluated
   complications following medical abortion (both less than 12 weeks and more than 12 weeks
   gestation) as well as following surgical abortion, at one hospital in Sweden between 2008
   and 2015.49 For the years 2008 to 2010, data were collected retrospectively; for the years

   45
      Baiju, N, Acharya, G, D’Antonio, F, et al. 2019. Effectiveness, safety and acceptability of self-assessment
   of the outcome of first-trimester medical abortion: a systematic review and meta-analysis. BJOG; 126:1536-
   1544.
   46
      ACOG Practice Bulletin Number 225, supra n. 22.
   47
      World Health Organization, Safe Abortion: technical and policy guidance for health systems – 2nd edition.
   2012. Page 45 and Section 2.2.2.1 Medication for pain.
   48
      Id. at Section 2.3 Post-abortion care and follow-up, at 52.
   49
      Carlsson I, Breding K, Larsson PG, 2018, Complications Related to Induced Abortion: A Combined
   Retrospective and Longitudinal Follow-up Study, BMC Women’s Health 18:158.


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   2011 to 2015, data were collected prospectively. In this study, medical abortions after 12
   gestational weeks all occurred at the hospital. The authors report that, among medical
   abortions less than 12 weeks, the complication frequency increased from 5.4 percent (2008
   to 2010) to 8.2 percent (2015). However, the authors also compared the complications
   related to medical abortions that occurred at less than 12 gestational weeks between “at
   home” abortions (managed as an outpatient) and “at the hospital” abortions, in 2015 and
   found no statistically significant difference (8.2 percent “at home” versus 8.0 percent at the
   hospital). For pregnancies less than or equal to 9 gestational weeks, the rates are similar for
   the “at home” group (10.0 percent) and the “at the hospital” group (9.3 percent). Notably,
   as part of our review and approval of the S-020 efficacy supplement in 2016, we assessed
   serious adverse events by gestational age, including hospitalizations, serious infection
   requiring hospitalization or intravenous antibiotics, bleeding requiring transfusion, and
   ectopic pregnancy, as reported in the literature submitted by the Applicant. We concluded
   that these serious adverse events are rarely reported in the literature and that the regimen of
   mifepristone 200 mg followed by buccal misoprostol 800 mcg in 24-48 hours is safe to
   approve for use through 70 days gestation.50

   You also state that medical abortion is a longer process than surgical abortion and that it
   requires more attention and care from healthcare providers (Petition at 10). We agree that
   medical abortion can be a longer process than surgical abortion,51 but we disagree that
   medical abortion always requires in-person follow-up with a healthcare provider. Not all of
   the complications associated with medical abortion necessarily require more intensive
   management from healthcare providers during a follow-up visit. The question of whether
   to include an in-person follow-up visit should be discussed by the healthcare provider and
   the patient. We have concluded that medical abortions are safe and effective for patients
   who are appropriate candidates and reducing the number of clinic visits does not
   compromise patient safety.

   The current approved labeling for mifepristone for medical termination of pregnancy states
   that complete pregnancy termination “can be confirmed by medical history, clinical
   examination, human Chorionic Gonadotropin (hCG) testing, or ultrasonographic scan.”
   Not all these modalities require an in-clinic assessment during a follow-up visit. Our
   review of the S-020 efficacy supplement concluded that “available data support … that
   there are a variety of follow-up modalities that can adequately identify the need for
   additional intervention.”52 We note that these findings are also consistent with ACOG
   guidelines, which state that “[r]outine in-person follow-up is not necessary after
   uncomplicated medication abortion” and recommend several methods for post-treatment
   follow-up, as appropriate, including serial serum hCG testing alone or telephone follow-up
   at one week after treatment followed by urine pregnancy testing at four weeks after
   treatment.53 Because there is more than one effective method to detect an on-going
   pregnancy, we conclude that the way in which post-treatment follow-up is performed may
   be determined by the healthcare provider and the patient.

   50
      2016 Clinical Review, supra n. 13, at 51-57.
   51
      See ACOG Practice Bulletin Number 225, supra note 22.
   52
      2016 Cross Discipline Team Leader Review, supra n. 19, at 17.
   53
      ACOG Practice Bulletin Number 225, supra note 22.


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                    iii.     Misoprostol

   In the Petition, you make a number of assertions regarding the use of misoprostol. We
   address each in turn.

   First, you assert that a patient may take misoprostol before the prescribed minimum 24-
   hour period after taking Mifeprex, thereby rendering the regimen ineffective, and that home
   administration of misoprostol does not permit health providers to control when their
   patients take misoprostol (Petition at 7). You similarly assert that the use of buccal
   misoprostol sooner than 24 hours after administering mifepristone leads to significantly
   increased failure rates (Petition at 7).

   As an initial matter, our review of the S-020 efficacy supplement in 2016 included data that
   evaluated the home use of misoprostol in over 30,000 women. The data showed that
   Mifeprex was safe and effective in a regimen with misoprostol when misoprostol was self-
   administered at home.54 Therefore, any incorrect administration resulting in a failed
   abortion was infrequent and did not significantly affect the safety and efficacy of medical
   abortion. Furthermore, because the process of expelling the pregnancy may begin as soon
   as 2 hours after taking misoprostol, there is a benefit in allowing patients to choose when
   and where to start this process, to maximize the possibility of their being at a safe place at a
   convenient time to experience cramping and bleeding.55

   In support of your assertion of significantly increased failure rates, you cite a pilot study by
   Lohr et al.56 Lohr et al. assessed the complete abortion rate using simultaneous oral
   mifepristone and buccal misoprostol in three gestational age groupings (less than or equal
   to 49 days, 50-56 days, 57-63 days) and compared the rates with those published in
   previous pilot investigations57 using simultaneous oral mifepristone and vaginal
   misoprostol in the same three gestational age groupings. The complete abortion rates
   reported by Lohr at 24 hours for oral mifepristone and buccal misoprostol were 72.5
   percent, 69.2 percent, and 72.5 percent, respectively; the complete abortion rates at two
   weeks, however, were 97.5 percent, 100 percent, and 94.9 percent, respectively (and are
   consistent with the completion rates as described in the approved labeling).58 The
   published complete abortion rates at 24 hours for simultaneous oral mifepristone and
   vaginal misoprostol administration were 90 percent, 88 percent, and 83 percent,
   respectively, for the gestational age groupings and the complete abortion rates at 2 weeks
   were 98 percent, 93 percent, 90 percent, respectively. Based on the data presented in Lohr,

   54
      See 2016 Clinical Review, supra n. 13, at 41 and 48.
   55
      Id. at 38.
   56
      Petition at 7 (referencing Lohr PA, Reeves MF, Hayes JL, et al., 2007, Oral Mifepristone and Buccal
   Misoprostol Administered Simultaneously for Abortion: A Pilot Study, Contraception, 76:215-220).
   57
      Schreiber CA, Creinin MD, Harwood B, Murthy AS. A pilot study of mifepristone and misoprostol
   administered at the same time for abortion in women with gestation from 50 to 63 days. Contraception
   2005;71:447–50; Murthy AS, Creinin MD, Harwood B, Schreiber C. A pilot study of mifepristone and
   misoprostol administered at the same time for abortion up to 49 days gestation. Contraception 2005;71:333–6.
   58
      See https://www.accessdata.fda.gov/drugsatfda_docs/label/2019/020687s022lbl.pdf.


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   the use of buccal misoprostol at the same time as oral mifepristone does not adversely
   affect efficacy, although expulsion may be delayed. As recommended in Section 2.3 of the
   approved labeling, follow-up at 7-14 days after administration of mifepristone is more
   appropriate to evaluate efficacy.59 It is misleading to only reference the abortion
   completion rates observed at the 24-hour timepoint from Lohr. Therefore, we do not agree
   that data from Lohr indicate higher failure rate with misoprostol taken before the prescribed
   minimum 24-hour period after taking mifepristone.

   Although we disagree that Lohr demonstrates a higher failure rate with misoprostol taken
   before 24-hours after taking mifepristone, we note that our 2016 review of the S-020
   efficacy supplement referenced a 2013 systematic review by Raymond, which concluded
   that if the interval between mifepristone and misoprostol interval is less than or equal to 24
   hours, the procedure is less effective compared to an interval of 24-48 hours.60 As
   explained above, the data reviewed in 2016 showed that Mifeprex, in a regimen with
   misoprostol administered at home, was safe and effective. Therefore, incorrect
   administration, if it occurred, was infrequent and did not significantly affect the safety and
   efficacy of medical abortion. However, in light of the data reviewed, section 2.1 of the
   labeling approved in 2016 (as well as the currently approved labeling and Medication
   Guide) states that there should be a “minimum 24-hour interval between” mifepristone and
   misoprostol (emphasis included in the labeling).61 The approved dosing regimen also states
   that misoprostol is taken within 24 to 48 hours after taking mifepristone and acknowledges
   that the effectiveness of the regimen may be lower if misoprostol is administered less than
   24 hours after mifepristone administration.

   In addition to your concerns that a woman may take misoprostol too soon after
   administering mifepristone, you also state that waiting until 24 hours after administering
   mifepristone does not guarantee success (Petition at 7-8). In support of this concern, you
   cite a 2015 review by Chen and Creinin. You state that this review found “women taking
   misoprostol earlier than 48 hours after Mifeprex are more likely to fail the regimen”
   (Petition at 8). Chen and Creinin included studies in which the intervals between
   mifepristone and buccal misoprostol were 24 hours or 24-48 hours and stated that “based
   on the available literature, the overall efficacy of regimens with a 24-hour interval between
   mifepristone and buccal misoprostol is significantly lower than those with a 24- to 48-hour
   interval (94.2 percent compared with 96.8 percent).”62 The rate differences were
   statistically significant, but both regimens were more effective than the 92 percent efficacy
   rate of the original regimen approved in 2000 (administering misoprostol 48 hours after
   taking mifepristone).

   Finally, you also express concern that if misoprostol is self-administered, a woman may
   swallow it rather than keep the pill between her cheek and gum, and oral administration of

   59
      See https://www.accessdata.fda.gov/drugsatfda_docs/label/2019/020687s022lbl.pdf.
   60
      2016 Clinical Review, supra n. 13, at 31 (citing 8 Raymond EG, et al. First-trimester medical abortion with
   mifepristone 200 mg and misoprostol: a systematic review. Contraception 2013;87(1):26-37.)
   61
      See https://www.accessdata.fda.gov/drugsatfda_docs/label/2019/020687s022lbl.pdf.
   62
      See Chen MJ and Creinin MD. Mifepristone with buccal misoprostol for medical abortion. Obstet
   Gynecol. 2015;126(1):12-21; see also 2016 Clinical Review, supra n. 13, at 21.


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   misoprostol (i.e., swallowing the pill) following the lower dose of mifepristone in the
   current regimen is not as effective in ending the pregnancy (Petition at 7). Winikoff et al.
   specifically studied the use of oral compared to buccal misoprostol 24-36 hours after
   mifepristone 200 mg with overall success rates of 91.3 percent and 96.2 percent,
   respectively.63 Both regimens resulted in a greater than 91 percent successful medical
   abortion. Although the study showed decreased efficacy with oral versus buccal
   administration in 57-63 days gestational age, there were no statistical differences in other
   gestational age groupings. Even assuming there is a small proportion of women who are
   57-63 days gestational age and use oral administration of misoprostol (rather than buccal as
   labeled), a small decrease in the reported efficacy in that population would not justify
   requiring a clinic visit for all women undergoing medical abortion.

   Overall, studies support the efficacy of the mifepristone, in a regimen with misoprostol
   when taken by the patient at home, Therefore, we do not agree that an in-person visit is
   necessary to manage administration of misoprostol.


                             iii.     Rh-Negative Patients

   In the Petition, you state that a follow-up examination is particularly critical for Rh-
   negative patients and that without that follow-up examination, women will not receive
   Rhogam after the abortion, increasing their risk of subsequent Rh isoimmunization, which
   can endanger future pregnancies (Petition at 9). You suggest that a clinic visit after the
   administration of Mifeprex is important for Rh-negative women to receive Rhogam and
   that removing the required follow-up visit puts Rh-negative women at risk for
   isoimmunization. We do not agree.

   Rh testing is standard of care in the United States and RhD immunoglobulin (such as
   Rhogam) should be administered if indicated. Further, administration of RhD
   immunoglobulin should be given within 72 hours of a sensitizing event (e.g., medical
   abortion).64 However, the facility where the RhD immunoglobulin injection occurs (clinic,
   hospital or laboratory) is not critical. A shift from medical clinics to hospitals for
   administration of injections has occurred over the years due to shortages of RhD
   immunoglobulin and poor reimbursement for RhD immunoglobulin injection from third-
   party payers.65 This has resulted in pregnant women frequently obtaining routine 28-week
   RhD immunoglobulin injections at hospitals/laboratories with a prescription provided by
   their healthcare providers. This same process of obtaining RhD immunoglobulin via
   prescription is available to patients after medical termination of pregnancy and does not
   require a follow-up clinic visit.




   63
      Winikoff B, Dzuba, IG, Creinin MD, et al, 2008, Two Distinct Oral Routes of Misoprostol in Mifepristone
   Medical Abortion, Obstet Gynecol 112(6):1303-1310.
   64
      ACOG Practice Bulletin No. 181. Prevention of Rh D Alloimmunization. August 2017.
   65
      See https://www.mdedge.com/obgyn/article/61083/practice-management/rhogam-injections-payment-
   levels-vary-among-insurers.


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   In summary, the totality of data on the efficacy and safety of medical abortion at less than
   70 days gestation, derived from numerous studies, has characterized the complications and
   rates of complications for completing medical abortion at home, and the findings show
   medical abortion at home is both safe and effective without three office visits. We
   therefore deny your request that the use of mifepristone in a regimen with misoprostol
   require three office visits by the patient.

                c.   Contraindications

   In the Petition, you assert that critical language contraindicating Mifeprex for patients
   without access to appropriate emergency medical care was excluded from the 2016
   Mifeprex labeling. You cite to a study66 and ACOG statements as evidence that medical
   abortions have greater risks and more need for emergency “operation” than a surgical
   abortion, particularly for patients in rural areas with limited access to emergency medical
   care (Petition at 11).

   Although inadequate access to medical facilities for appropriate care was removed from the
   list of contraindications in section 4 of the approved labeling when we approved the S-020
   efficacy supplement, the 2016 Mifeprex labeling and the currently approved mifepristone
   labeling, as well as the Mifepristone REMS Program, continue to include appropriate
   instructions for providers regarding patient access to appropriate medical care.67 For
   example, the Boxed Warning includes language directing healthcare providers to ensure
   that the patient knows whom to call and what to do, including potentially going to an
   emergency room, if the patient experiences serious events associated with the use of
   mifepristone. The labeling also directs healthcare providers, as part of the dosing regimen,
   to give the patient the name and phone number of a healthcare provider who will be
   handling emergencies.68 In addition, one of the required qualifications listed in the
   Prescriber Agreement Form is the “[a]bility to provide surgical intervention in cases of
   incomplete abortion or severe bleeding, or to have made plans to provide such care through
   others, and ability to assure patient access to medical facilities equipped to provide blood
   transfusions and resuscitation, if necessary.”69 Therefore, although certain language about
   access to medical facilities was removed from the approved labeling in 2016, we disagree
   that critical language about access to appropriate emergency medical care is lacking from
   the approved labeling.




   66
      See Petition Reference Document No. 17 (Harrison Affidavit: Donna Harrison, M.D., Aff. Okla. Coalition
   for Reproductive Justice v. Cline, Case No. CV-2014-1886 (Feb. 24, 2015), ¶115 (referencing M. Niinimaki
   et al., Immediate Complications after Medical compared with Surgical Termination of Pregnancy, Obstet.
   Gynecol. 114:795 (Oct. 2009)).
   67
      See Mifeprex labeling, approved 2016.
   https://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf. See also current labeling at
   https://www.accessdata.fda.gov/drugsatfda_docs/label/2019/020687s022lbl.pdf.
   68
      Id.
   69
      Mifepristone REMS Program,
   https://www.accessdata.fda.gov/scripts/cder/rems/index.cfm?event=RemsDetails.page&REMS=390.
   Emphasis added.


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   You also cite information in Box 1, Features of Medical and Surgical Abortion (page 3) in
   the ACOG Practice Bulletin No. 143.70 As mentioned above, the ACOG Practice Bulletin
   No. 143 has been withdrawn and the language you cite is not included in the current
   Practice Bulletin No. 225.

                    d.      Adverse Event Reporting

   In the Petition, you assert that even under the regimen approved in 2000, it was difficult to
   collect accurate and complete adverse event information for Mifeprex, and that collecting
   such information is virtually impossible under the regimen approved in 2016 because
   prescribers only are required to report deaths associated with Mifeprex (Petition at 12).
   You also assert that FDA cannot adequately assess the safety of the current Mifeprex
   regimen without comprehensive information on adverse events (Petition at 12). You state
   that certified prescribers should at a minimum be required to report the following to FDA’s
   MedWatch reporting system and to the sponsor: deaths, hospitalizations, blood
   transfusions, emergency room visits, failures requiring surgical completion, ongoing
   pregnancy, or other major complications, including detailed information on these events
   (Petition at 13).

   We acknowledge that there is always a possibility with any drug that some adverse events
   are not being reported, because reporting to the Agency’s MedWatch program by health
   care professionals and patients is voluntary. We do not agree, however, that the 2016
   changes to the prescriber reporting requirements limit our ability to adequately monitor the
   safety of mifepristone for medical termination of pregnancy. Prior to the 2016 approval of
   the S-20 efficacy supplement, we assessed approximately 15 years of adverse event reports
   both from the Applicant and through the MedWatch program and determined that certain
   ongoing additional reporting requirements under the Mifeprex REMS, such as
   hospitalization and blood transfusions, were not warranted. This assessment was based on
   the well-characterized safety profile of Mifeprex, with known risks occurring rarely, along
   with the essentially unchanged safety profile of Mifeprex during this 15-year period of
   surveillance. Accordingly, the Prescriber Agreement Form was amended as part of our
   2016 approval of the S-20 efficacy supplement to require, with respect to adverse event
   reporting, only that prescribers report any cases of death to the Applicant.

   We also note that the reporting changes to the Prescriber Agreement Form as part of our
   2016 approval do not change the adverse event reporting requirements for the Applicants.
   Like all other holders of approved NDAs and ANDAs, the Applicants are required to report
   all adverse events, including serious adverse events, to FDA in accordance with the
   requirements set forth in FDA’s regulations (see 21 CFR 314.98, 21 CFR 314.80, and 21
   CFR 314.81). FDA also routinely reviews the safety information provided by the
   Applicants in the Annual Reports. As with all drugs, FDA continues to closely monitor the
   postmarketing safety data on mifepristone for the medical termination of pregnancy.


   70
    Petition at 11. Medical Management of First-Trimester Abortion. ACOG Practice Bulletin Number 143.
   March 2014 (Reaffirmed 2016. Replaces Practice Bulletin Number 67, October 2005); Obstet Gynecol. 2014
   Mar;123(3):676-692 at 680.


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   You state that FDA should provide guidance to emergency healthcare providers and
   physicians so that they know how to distinguish complications following drug-induced
   abortion from complications following spontaneous miscarriage (Petition at 13). We
   disagree that specific guidance is needed at this time. In the past, when appropriate, FDA
   has worked with the NDA Applicant to issue communications to healthcare providers and
   emergency department providers concerning certain serious adverse events.71 Furthermore,
   the approved Medication Guide advises patients to take the Medication Guide with them if
   they need to go to the emergency room or seek care from a healthcare provider other than
   the one who dispensed the medication to them, so the emergency room or healthcare
   provider understands the patient is having a medical abortion. We have not identified a
   change in the safety profile of mifepristone that would warrant additional communications
   to healthcare providers and emergency department providers concerning complications
   following medical abortion. If we become aware of safety information that merits further
   communications with emergency department providers or healthcare providers, or that
   warrants revisions to the approved labeling, we will act as appropriate.

   You also assert that many Mifeprex prescribers “violate FDA protocol,” instructing their
   patients to lie to emergency medical personnel, and that this prevents emergency healthcare
   providers from appropriately caring for their patients and further decreases the likelihood
   that adverse events will be reported (Petition at 12). Your only support for this claim is a
   reference to instructions from the organization Aid Access72 to patients that they can tell
   emergency room staff that they had a miscarriage and do not need to tell medical staff that
   they had a medical abortion. The Petition does not provide any data or additional
   information establishing “many Mifeprex prescribers violate FDA protocol, instructing
   their patients to lie,” or that these providers thereby prevented appropriate care and
   decreased the number of adverse events reported.

        B. REMS

        1. Request to Retain Mifeprex REMS

   In your Petition, you request that FDA retain the Mifeprex REMS (Petition at 14). We
   agree that a REMS is necessary to ensure that the benefits of mifepristone in a regimen with
   misoprostol outweigh the risks. FDA’s determination as to whether a REMS is necessary

   71
      See Historical Information on Mifepristone (Marketed as Mifeprex), available at
   http://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProviders/ucm11133
   4.htm. For example, the NDA applicant and FDA agreed that there was a need to issue a Dear Health Care
   Provider letter in April 2002 and a Dear Emergency Room Director letter in September 2004. The fact that
   these letters were issued does not imply that the approved mifepristone regimen is unsafe; it is not
   uncommon for drug sponsors to issue “Dear Health Care Provider” letters, and, as noted in the Mifepristone
   Q&A document posted on our Web site in April 2002, “[w]hen FDA receives and reviews new information,
   the agency provides appropriate updates to doctors and their patients so that they have essential information
   on how to use a drug safely.”
   72
      We note that Aid Access facilitated the sale of unapproved mifepristone and misoprostol to U.S. consumers
   and that FDA sent Aid Access a warning letter asking it to promptly cease causing the sale of unapproved and
   misbranded drugs to U.S. consumers. US FDA Warning Letter to Aidaccess.org, dated March 8, 2019.
   https://www.fda.gov/inspections-compliance-enforcement-and-criminal-investigations/warning-
   letters/aidaccessorg-575658-03082019.


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   to ensure that the benefits of a drug outweigh its risks is a complex, drug-specific inquiry,
   reflecting an analysis of multiple, interrelated factors and of how those factors apply in a
   particular case.73 In conducting this analysis, FDA considers whether (based on
   premarketing or postmarketing risk assessments) there is a particular risk or risks associated
   with the use of the drug that, on balance, outweigh its benefits and whether additional
   interventions beyond FDA-approved labeling are necessary to ensure that the drug’s
   benefits outweigh its risks.74

   As described in the background section of this response (see section I.A.), FDA determined
   that interventions in addition to the FDA-approved labeling were necessary to ensure that
   the benefits of Mifeprex outweighed its risks when the drug was initially approved in 2000,
   and periodic re-evaluations of the REMS since that time have reached the same conclusion.
   As further described in the background section of this response (see section I.E.), FDA
   recently undertook a review of the Mifepristone REMS Program. As explained below, the
   Mifepristone REMS Program continues to be necessary to ensure the benefits outweigh the
   risks.
   After review of multiple different sources of information, including published literature,
   safety information submitted to the Agency during the COVID-19 PHE, FAERS reports,
   the first REMS assessment report for the Mifepristone REMS Program, and information
   provided by advocacy groups, individuals, and the Plaintiffs in ongoing litigation,75 as well
   as information submitted by the Applicants, we have concluded that the REMS can be
   modified to reduce the burden on the health care delivery system without compromising
   patient safety. As explained below, we agree that the healthcare provider certification
   (ETASU A) and dispensing of mifepristone to patients with evidence or other
   documentation of safe use conditions (ETASU D) continue to be necessary components of
   the REMS to ensure the benefits outweigh the risks. However, we have concluded that the
   Mifepristone REMS Program must be modified to remove the requirement under ETASU C
   that mifepristone be dispensed only in certain healthcare settings, specifically clinics,
   medical offices, and hospitals.
   Below, we discuss each of these elements of the Mifepristone REMS Program.

                        a. ETASU A – Prescriber Certification/Qualifications

   ETASU A under the Mifepristone REMS Program requires healthcare providers who
   prescribe mifepristone to be certified. In order to become certified, prescribers must: 1)
   review the prescribing information for mifepristone and 2) complete the Prescriber
   Agreement Form. In signing the Prescriber Agreement Form, prescribers agree they meet
   the qualifications listed below:


   73
      See FDA Guidance for Industry, REMS: FDA’s Application of Statutory Factors in Determining When a
   REMS Is Necessary (Apr. 2019).
   74
      Id.
   75
      See supra n. 10.


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      •   Ability to assess the duration of pregnancy accurately
      •   Ability to diagnose ectopic pregnancies
      •   Ability to provide surgical intervention in cases of incomplete abortion or severe
          bleeding, or to have made plans to provide such care through others, and ability to
          assure patient access to medical facilities equipped to provide blood transfusions
          and resuscitation, if necessary.
      •   Has read and understood the Prescribing Information of mifepristone (which the
          provider can access by phone or online).


   In addition to meeting these qualifications, as a condition of certification the healthcare
   provider also agrees to follow the guidelines for use below:

      •   Review the Patient Agreement Form with the patient and fully explain the risks of
          the mifepristone treatment regimen. Answer any questions the patient may have
          prior to receiving mifepristone.
      •   Sign and obtain the patient’s signature on the Patient Agreement Form.
      •   Provide the patient with a copy of the Patient Agreement Form and the Medication
          Guide.
      •   Place the signed Patient Agreement Form in the patient’s medical record.
      •   Record the serial number from each package of mifepristone in each patient’s
          record.
      •   Report deaths to the Applicant, identifying the patient by a non-identifiable patient
          reference and the serial number from each package of mifepristone.

   Our review of the published literature did not identify any studies comparing healthcare
   providers who met these qualifications with healthcare providers who did not. In the
   absence of such studies, there is no evidence to contradict our previous finding that
   prescribers’ ability to accurately date pregnancies, diagnose ectopic pregnancies, and
   provide surgical intervention either personally or through others, is necessary to mitigate
   the serious risks associated with the use of mifepristone in a regimen with misoprostol.
   Therefore, our conclusion continues to be that a healthcare provider who prescribes
   mifepristone in a regimen with misoprostol should meet the above qualifications. Absent
   these provider qualifications, we are concerned that serious and potentially fatal
   complications associated with medical abortion, including missed ectopic pregnancy and
   heavy bleeding from incomplete abortion, may not be detected or appropriately managed.

   Accordingly, we have determined that ETASU A must remain an element of the
   Mifepristone REMS Program to ensure the benefits outweigh the risks. Maintaining the
   requirement for prescriber certification ensures that providers meet the necessary
   qualifications and adhere to the guidelines for use listed above. The burden of prescriber
   certification has been minimized to the extent possible by requiring prescribers to certify
   only one-time for each applicant.


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   Although we agree with your request to retain the REMS for mifepristone (now the
   Mifepristone REMS Program) insofar as it pertains to ETASU A, as discussed in section
   II.A.2.a of this response, we do not agree with your request that the healthcare provider
   needs to be a licensed physician to meet this requirement.

                  b. ETASU D – Requirement For The Drug To Be Dispensed With
                     Evidence Or Other Documentation Of Safe-Use Conditions

   ETASU D under the Mifepristone REMS Program requires mifepristone to be dispensed
   with evidence or other documentation of safe-use conditions. To receive mifepristone for
   medical termination of intrauterine pregnancy through 70 days gestation, the patient must
   sign a Patient Agreement Form indicating that the patient has received, read, and been
   provided a copy of the Patient Agreement Form and received counseling from the
   prescriber regarding the risk of serious complications associated with mifepristone for this
   indication. The Patient Agreement Form ensures that patients are informed of the risks of
   serious complications associated with mifepristone for this indication. In a number of
   approved REMS, Patient Agreement Forms or Patient Enrollment Forms ensure that
   patients are counseled about the risks of the product and/or informed of appropriate safe use
   conditions.76

   As a condition of certification under the Mifepristone REMS Program, healthcare providers
   must follow the guidelines for use of mifepristone, including reviewing the Patient
   Agreement Form with the patient, fully explaining the risks of the treatment regimen and
   answering any questions the patient may have before receiving the medication. With this
   form, the patient acknowledges that they have received and read the form, and that they
   have received the counseling regarding when to take mifepristone, the risk of serious
   complications associated with mifepristone and what to do if they experience adverse
   events (e.g., fever, heavy bleeding). Both the healthcare provider and patient must sign the
   document and the patient must receive a copy of the signed form. In addition to the
   counseling described in the Patient Agreement Form, patients also receive a copy of the
   Medication Guide for mifepristone. Ultimately, the Patient Agreement Form serves as an
   important counseling component, and documentation that the safe use conditions of the
   Mifepristone REMS Program have been satisfied, as the prescriber is required to place the
   signed Patient Agreement Form in the patient’s medical record.

   In addition, we conducted an updated review of published literature since 2016 to assess the
   utility of maintaining the Patient Agreement Form as part of the Mifepristone REMS
   Program, and these studies do not provide evidence that would support removing ETASU
   D. For these reasons, we have determined that ETASU D must remain an element of the
   Mifepristone REMS Program to ensure the benefits outweigh the risks.




   76
        REMS@FDA, https://www.accessdata.fda.gov/scripts/cder/rems/index.cfm, Accessed November 15, 2021.


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                c. ETASU C – In-Person Dispensing

   ETASU C under the Mifepristone REMS Program currently requires mifepristone to be
   dispensed to patients only in certain healthcare settings, specifically clinics, medical
   offices, and hospitals, by or under the supervision of a certified prescriber. This creates
   what we refer to in this response as an in-person dispensing requirement under the REMS;
   i.e., the patient must be present in person in the clinic, medical office, or hospital when the
   drug is dispensed. The mifepristone REMS document currently states that mifepristone
   may not be distributed to or dispensed through retail pharmacies or settings other than a
   clinic, medical office, or hospital. As explained below, based on a recent review of the
   REMS, we believe that the Mifepristone REMS Program must be modified to remove the
   requirement that mifepristone be dispensed only in certain healthcare settings, specifically
   clinics, medical offices, and hospitals, because this requirement is no longer necessary to
   ensure that the benefits of the drug outweigh the risks. This conclusion is based on our
   review of information from the Mifepristone REMS Program one-year (1st) REMS77
   assessment data and postmarketing safety information, and supported by our review of the
   published literature.

                             i. Assessment Data

   As part of our review of the REMS, we evaluated information included in the 1st REMS
   assessment report for the Mifepristone REMS Program, which included healthcare provider
   certification data, program utilization data, and non-compliance data. This 1st REMS
   assessment report covers a reporting period between April 11, 2019 through February 29,
   2020. During this reporting period, a small number of non-compliance events were
   reported.

   As described in section I.C. of this response, during the timeframe from January 27, 2020
   through September 30, 2021, there were periods when the in-person dispensing requirement
   was not enforced. To better understand whether there was any impact on safety or non-
   compliance during the periods when the in-person dispensing requirement was not
   enforced, we requested additional information from the Applicants to provide for more
   comprehensive assessment of the REMS for the time period from January 27, 2020 (the
   effective date of the COVID-19 PHE) to September 30, 2021. We requested the Applicants
   provide a summary and analysis of any program deviation or non-compliance events from
   the REMS requirements and any adverse events that occurred during this time period that
   had not already been submitted to FDA. The NDA and the ANDA Applicants reported a
   total of eight cases reporting adverse events between January 27, 2020 and September 30,
   2021. These eight cases were also identified in the FAERS database and are described
   below.

   The number of adverse events reported to FDA during the COVID-19 PHE with
   mifepristone use for medical termination of pregnancy is small, and the data provide no


   77
    This REMS assessment report was the first submitted following the approval of the single, shared system
   REMS for mifepristone.


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   indication that any program deviation or noncompliance with the Mifepristone REMS
   Program contributed to these reported adverse events.


                             ii. FAERS/Postmarketing Safety Data

   FDA routinely monitors postmarketing safety data for approved drugs through adverse
   events reported to our FAERS database,78 through our review of published medical
   literature, and when appropriate, by requesting applicants submit summarized
   postmarketing data. For our recent review of the REMS, we searched our FAERS
   database, reviewed the published medical literature for postmarketing adverse event reports
   for mifepristone for medical termination of pregnancy, and requested that the Applicants
   submit a summary and analysis of certain adverse events. Our review of this postmarketing
   data indicates there have not been any new safety concerns with the use of mifepristone for
   medical termination of pregnancy through 70 days gestation, including during the time
   when in-person dispensing was not enforced.

   In order to evaluate the periods when in-person dispensing was and was not enforced, we
   conducted a search of the FAERS database and the published medical literature to identify
   U.S. postmarketing adverse events that reportedly occurred from January 27, 2020 through
   September 30, 2021 with mifepristone use for medical termination of pregnancy. The data
   for this time period were then further divided into the date ranges when in-person
   dispensing was enforced per the REMS (January 27, 2020 - July 12, 2020 and January 13,
   2021 - April 12, 2021) versus when in-person dispensing was not enforced: July 13, 2020 -
   January 12, 2021 (in-person dispensing enforcement was temporarily enjoined) and April
   13, 2021 - September 30, 2021 (enforcement discretion for in-person dispensing because of
   the COVID-19 PHE).

   Based on the above search, a total of eight cases were identified in FAERS and no
   additional case reports were identified in the medical literature. Two of the eight cases
   reported adverse events that occurred when in-person dispensing was being enforced (i.e.,
   January 27, 2020-July 12, 2020 and January 13, 2021-April 12, 2021). These two cases
   reported the occurrence of uterine/vaginal bleeding (case 1) and uterine/vaginal bleeding
   and sepsis (case 2). Of note, uterine/vaginal bleeding and sepsis are labeled adverse events.
   Five of the eight cases reported adverse events that occurred when in-person dispensing
   was not enforced (i.e., July 13, 2020-January 12, 2021 and April 13, 2021-September 30,
   2021); however, the narratives provided in the FAERS reports for three of the five cases
   explicitly stated that mifepristone was dispensed in-person. These five cases reported the
   occurrence of ongoing pregnancy (case 3), drug intoxication and death approximately 5
   months after ingestion of mifepristone (case 4), death [cause of death is currently unknown]
   (case 5), sepsis and death (case 6), and pulmonary embolism (case 7). Of note, ongoing
   pregnancy and sepsis, including the possibility of fatal septic shock, are labeled adverse
   events. The remaining case reported the occurrence of oral pain/soreness (case 8) in July

   78
     FAERS is a database that contains adverse event reports, medication error reports and product quality
   complaints resulting in adverse events that were submitted to FDA. The database is designed to support
   FDA's post-marketing safety surveillance program for drug and therapeutic biologic products.


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   2021, but did not provide sufficient information to determine the exact date of the adverse
   event.

   As discussed in section II.A.2.d., the Applicants report adverse events, including serious
   adverse events, to FDA in accordance with applicable regulations.79 To enable additional
   review of adverse events, Applicants were requested to provide a summary and analysis for
   adverse events reported with incomplete medical abortion requiring surgical intervention to
   complete abortion, blood transfusion following heavy bleeding or hemorrhage, ectopic
   pregnancies, sepsis, infection without sepsis, hospitalization related to medical abortion,
   and emergency department/urgent care encounter related to medical abortion. The
   Applicant for Mifeprex provided the requested summary of postmarketing safety
   information from March 29, 2016, when S-020 was approved, through September 30, 2021.
   The Applicant for the generic provided the requested summary of postmarketing safety
   information from April 11, 2019 (date of initial approval) through September 30, 2021.
   The information provided by the Applicants included the same cases identified in FAERS,
   as discussed above.

   We analyzed the FAERS data referenced above to determine if there was a difference in
   adverse events when in-person dispensing was and was not enforced. Based on FDA’s
   review of this data, we concluded that there does not appear to be a difference in adverse
   events when in-person dispensing was and was not enforced and that mifepristone may be
   safely used without in-person dispensing. FDA’s review of the summary and analysis data
   submitted by the Applicants (which, as noted above, included the same cases identified
   from FAERS) did not change this conclusion.

                               iii. Published Literature

   As noted above, we also conducted an extensive review of the published literature since
   March 29, 2016 (the date the S-020 efficacy supplement for Mifeprex was approved)
   through September 30, 2021.80 Published studies have described alternatives in location and
   method for dispensing mifepristone by a certified prescriber (or equivalent healthcare
   provider in countries other than the United States). Some studies have examined replacing
   in-person dispensing in certain healthcare settings with dispensing at retail pharmacies81

   79
      See 21 CFR 314.98, 21 CFR 314.80, and 21 CFR 314.81.
   80
      In support of your request that we retain the REMS and continue limiting the dispensing of Mifeprex to
   patients in clinics, medical offices, and hospitals by or under the supervision of a certified prescriber, you
   reference two studies that you assert do not comply with the REMS (Petition at 19-22). Outcomes from both
   of the studies you reference have been reported in the published literature and are addressed in the discussion
   that follows. We note that as a general matter, a clinical investigation of an approved drug that is subject to a
   REMS can take place in healthcare settings outside those provided for in the REMS. When an approved drug
   that is subject to a REMS is studied in a clinical trial, the REMS does not apply to the use of the drug in that
   clinical trial. However, FDA reviews the protocol to ensure that it will be conducted in a manner that
   adequately addresses the risks that the REMS is intended to mitigate, such that the trial participants will not
   be exposed to an unreasonable and significant risk of illness or injury. See 21 CFR 312.42(b)(1)(i) and
   (b)(2)(i).
   81
      Grossman D, Baba CF, Kaller S, et al. Medication Abortion With Pharmacist Dispensing of Mifepristone.
   Obstet Gynecol 2021;137:613–22; Rocca CH, Puri M, et al. Effectiveness and safety of early medication



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   and dispensing mifepristone from pharmacies by mail.82 Other studies have evaluated two
   modes of dispensing by prescribers: (1) prescribers mailing the medications to patients,83
   and (2) prescribers using couriered delivery of medications.84 Different studies have
   evaluated dispensing mifepristone by mail by an entity described as “a partner
   organization.”85

   We note that the ability to generalize the results of these studies to the United States
   population is hampered by differences between the studies with regard to pre-abortion care
   (e.g., telemedicine versus in-person). In addition, the usefulness of the studies is limited in
   some instances by small sample sizes and lack of follow-up information on outcomes with
   regard to both safety and efficacy. There are also factors which complicate the analysis of
   the dispensing element alone. Some of these factors are: (1) only a few studies have
   evaluated alternatives for in-person dispensing of mifepristone in isolation (for example,
   most studies on mail dispensing of mifepristone also include telemedicine consultation);
   and (2) because most serious adverse events with medical abortion are infrequent, further
   evaluation of changes in dispensing would require studies with larger numbers of
   participants. We did not find any large clinical studies that were designed to collect safety
   outcomes in healthcare systems similar to the United States. Despite the limitations of the
   studies we reviewed, we have concluded that overall the outcomes of these studies are not
   inconsistent with our conclusion that, based on the 1st year REMS assessment report and
   postmarketing safety data, mifepristone will remain safe and efficacy will be maintained if
   the in-person dispensing requirement is removed from the Mifepristone REMS Program.



   abortion provided in pharmacies by auxiliary nurse-midwives: A non-inferiority study in Nepal. PLoS ONE
   13(1): e0191174. https://doi.org/10.1371/journal.pone.019117; Wiebe ER, Campbell M, et al. Comparing
   telemedicine to in-clinic medication abortions induced with mifepristone and misoprostol. Contracept X.
   2020; 2: 100023.
   82
      Grossman D, Raifman S, Morris N, et.al. Mail-order pharmacy dispensing of mifepristone for medication
   abortion after in-person clinical assessment. Contraception 2021, ISSN 0010-7824,
   https://doi.org/10.1016/j.contraception.2021.09.008, Available online 20 September 2021; Upadhyay UD,
   Koenig LR, Meckstroth KR. Safety and Efficacy of Telehealth Medication Abortion in the US During the
   COVID-19 Pandemic. JAMA Network Open. 2021;4(8):e2122320,
   doi:10.1001/jamanetworkopen.2021.22320; Hyland P, Raymond EG, Chong E. A direct-to-patient
   telemedicine abortion service in Australia: Retrospective analysis of the first 18 months. Aust N Z J Obstet
   Gynaecol 2018;58: 335-340.
   83
      See Anger HA, Raymond EG, et al. Clinical and service delivery implications of omitting ultrasound before
   medication abortion provided via direct-to-patient telemedicine and mail. Contraception 2021 Jul 28;S0010-
   7824(21)00342-5. doi: 10.1016/j.contraception.2021.07.108. Published online. Raymond E, Chong E, et al.
   TelAbortion: evaluation of a direct to patient telemedicine abortion service in the United States.
   Contraception 2019; 100:173-177. See also Chong et al., infra n. 103 Kerestes et al., infra n. 105, and Aiken
   et al., infra n. 106.
   84
      Reynolds-Wright JJ, et al. BMJ Sex Reprod Health 2021;0:1–6. doi:10.1136/bmjsrh-2020-200976.
   85
      Endler M, Beets L, Gemzell Danielsson K, Gomperts R. Safety and acceptability of medical abortion
   through telemedicine after 9 weeks of gestation: a population-based cohort study. BJOG 2019;126;609-618.
   Norten H, Ilozumba O, Wilkinson J, Gemzell Danielsson K, Gomperts R. 10-year evaluation of the use of
   medical abortion through telemedicine: a retrospective cohort study. BJOG 2021;
   https://doi.org/10.1111/1471-0528.16765; Aiken ARA, Digol I, Trussell J, Gomperts R. Self-reported
   outcomes and adverse events after medical abortion through online telemedicine: population based study in
   the Republic of Ireland and Northern Ireland. BMJ 2017;357:j2011 http://dx.doi.org/10.1136/bmj.j2011.


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   Below is a summary of our review of the literature, organized by the methods of dispensing
   mifepristone that were studied.


        (a) Retail pharmacy dispensing

   Three studies reported medical abortion outcomes for retail pharmacy dispensing of
   mifepristone after clinical evaluation (Grossman,86 Rocca,87 Wiebe88). Grossman
   conducted a US-based study in which mifepristone and misoprostol were dispensed from a
   pharmacy partnered with the clinic. Complete abortion without additional procedures
   occurred in 93.5 percent of participants with known outcomes. The reported proportion of
   complete abortion is within the range described in the approved mifepristone labeling. No
   participants experienced a serious adverse event, were hospitalized or required transfusion.
   Three participants had emergency department (ED) visits with treatment (intravenous
   hydration, pain medication, pelvic infection after uterine aspiration for incomplete
   abortion). The study safety and efficacy outcomes are consistent with labeled outcome
   frequencies. The study has limited generalizability because it was conducted in two US
   states and involved partnered pharmacies, some of which were in the same building as the
   clinic. Additionally, all participating pharmacies in this study were required to have a
   pharmacist on duty during clinic hours who had been trained in the study protocol and was
   willing to dispense mifepristone. The study conditions may not be generalizable to United
   States retail pharmacies; there is insufficient information to assess this.

   Rocca89 conducted an observational study evaluating participants who obtained medical
   abortions in Nepal by comparing the provision of medical abortion service by newly trained
   nurse midwives in pharmacies to medical abortion provided in government-certified clinics.
   The authors reported that, with respect to complete abortion (greater than 97 percent) and
   complications (no hospitalizations or transfusions), evaluation and dispensing in pharmacy
   was non-inferior to in-clinic evaluation and dispensing.

   Wiebe,90 in a retrospective, chart review study conducted in Canada, compared abortion
   outcomes of women who underwent medical abortion with telemedicine consult, and either
   received medications by courier or picked them up at a local pharmacy, with outcomes of a
   matched control cohort of women who received the medications at a pharmacy after an in-
   clinic visit. The groups had similar documented complete medical abortion outcomes
   (equal to or greater than 95 percent participants with known outcomes). The telemedicine
   group had one case of hemorrhage (0.5 percent) and one case of infection requiring
   antibiotics (0.5 percent) compared with no cases of hemorrhage or infection requiring
   antibiotics in the in-clinic cohort. The telemedicine group had more ED visits (3.3 percent
   compared to 1.5 percent in-clinic cohort). Both models of dispensing mifepristone resulted
   in efficacy and safety outcomes within labeled frequency.

   86
      Grossman et al., supra n. 81.
   87
      Rocca et al., supra n. 81.
   88
      Wiebe et al., supra n. 81.
   89
      Rocca et al., supra n. 81.
   90
      Wiebe et al., supra n. 81.


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   None of the three studies allow a determination regarding differences in safety between in-
   person dispensing by a certified prescriber in a health care setting and dispensing through a
   retail pharmacy, due to limitations on the generalizability of the results of the studies to the
   current retail pharmacy environment in the United States. The outcome findings from the
   one United States study (Grossman)91, in which the pharmacies were partnered with
   prescribers, are unlikely to be broadly generalizable to the current retail pharmacy
   environment and do not reflect typical prescription medication availability with use of retail
   pharmacy dispensing. For the retail pharmacy dispensing study in Canada (Wiebe),92
   timely provision of medication from the retail pharmacy was accomplished by either
   courier to the woman or faxed prescription to the woman’s pharmacy. It is unknown
   whether conditions that would allow timely access to medications for medical abortion
   would occur in retail pharmacies throughout the United States, suggesting the findings from
   that study may not be broadly generalizable. The third study (Rocca)93 evaluated medical
   abortion provided in Nepali pharmacies and essentially moved the abortion provider and
   clinical examination into the pharmacy, a scenario that is not, at this time, applicable to the
   United States retail setting.

        (b) Mail order pharmacy

   Three studies evaluated mail order pharmacy dispensing (Grossman,94 Upadhyay,95
   Hyland96). Grossman published an interim analysis of an ongoing prospective cohort study
   evaluating medical abortion with mifepristone and misoprostol dispensed by mail-order
   pharmacy after in-person clinical assessment. Complete abortion without additional
   procedures occurred in 96.9 percent of participants with known outcomes. Two (0.9
   percent) participants experienced serious adverse events; one received a blood transfusion
   and one was hospitalized overnight. Nine (4 percent) participants attended 10 ED visits. In
   this interim analysis, the outcomes are consistent with labeled frequencies.

   Upadhyay97 reports findings from a retrospective cohort study of women undergoing
   medical abortion in the United States without a consultation or visit. Eligibility was
   assessed based on a participant-completed online form collecting pregnancy and medical
   history. Participants who were considered eligible received medication delivered by a
   mail-order pharmacy. Abortion outcome was determined by either an assessment on day 3
   or a 4-week pregnancy test. The investigators reported a complete abortion rate without
   additional procedures of 95 percent for participants with known outcomes and stated that
   no participants had any major adverse events. The proportion of abortion outcomes
   assessed at 3 days versus 4 weeks is not reported. Regardless, determining outcomes at 3
   days is insufficient to determine outcome rates or safety findings because a 3-day follow-up
   period is too short. As recommended in Section 2.3 of the approved labeling, follow-up at
   91
      Grossman et al., supra n. 81.
   92
      Wiebe et al., supra n. 81.
   93
      Rocca et al., supra n. 81.
   94
      Grossman et al, supra n. 82.
   95
      Upadhyay et al., supra n. 82.
   96
      Hyland et al., supra n. 82.
   97
      Upadhyay et al., supra n. 82.


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   7-14 days after administration of mifepristone is more appropriate to evaluate safety and
   efficacy. This study used a model with numerous deviations from standard provision of
   medical abortion in the United States, such as no synchronous interaction with the
   prescriber during informed consent or prior to prescribing medication and no confirmation
   of self-reported medical, surgical, and menstrual history. These deviations, limited follow-
   up information, and small sample size limit the usefulness of this study.

   Hyland98 describes findings from a cohort study in Australia evaluating medical abortion
   outcomes utilizing telemedicine and a central mail order pharmacy. Complete abortions
   without additional procedures occurred in 96 percent of participants with documented
   outcomes and is consistent with labeled efficacy. Of the participants included in the
   analysis, 95 percent had no face-to-face clinical encounters after medications were mailed
   while 3 percent were admitted to the hospital and 2 percent had an outpatient encounter.
   One participant who was hospitalized and underwent a surgical uterine evacuation received
   a transfusion. Not included in the findings are 7 hospitalizations occurring in 7 participants
   who did not have “full follow up.” The authors do not report any other adverse events and
   conclude use of the telemedicine medical abortion service is safe. However, the reasons for
   hospitalization are not discussed by the authors; therefore, it is unknown why the patients
   were hospitalized. Although the reported frequency of hospitalizations (3 percent) is higher
   than the less than 1 percent in the FDA-approved mifepristone labeling, conclusions on the
   safety findings cannot be made in the absence of information about the reasons for
   hospitalization. Other limitations of this study include incomplete information about
   outcomes with face-to-face encounters.

   Overall, the three studies evaluating mail order pharmacy dispensing suggest that efficacy
   of medical abortion is maintained with mail order pharmacy dispensing. With respect to
   safety, in the Grossman study99 the interim analysis, although small, does not raise serious
   safety concerns. Safety findings from the Hyland100 study are difficult to interpret.
   Although only one transfusion is reported and the authors state the findings demonstrate
   safety, a higher hospitalization rate and lack of information on the reasons for
   hospitalization preclude reaching any conclusions about the safety findings. Lastly, the
   Upadhyay101 study had no reported adverse events, but the findings are less useful because
   of the limited follow-up, and because medical abortions were provided using a model with
   numerous deviations from standard provision of medical abortion in the United States.

        (c) Clinic dispensing by mail

   A total of five studies evaluated clinic dispensing by mail. Gynuity Health Projects
   conducted a prospective cohort study (the “TelAbortion” study) evaluating use of
   telemedicine for remote visits and mifepristone being dispensed from clinics via overnight
   or regular tracked mail. Three publications reviewed have reported outcomes for the
   Gynuity population exclusively: Raymond (outcomes from May 2016 to December

   98
      Hyland et al., supra n. 82.
   99
      Grossman et al., supra n. 82.
   100
       Upadhyay et al., supra n. 82.
   101
       Hyland et al., supra n. 82.


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   2018),102 Chong (outcomes from May 2016 to September 2020)103 and Anger (outcomes
   from March 2020 to September 2020).104 A fourth study, Kerestes,105 reports outcomes of
   medical abortion at the University of Hawai’i from April 2020 to November 2020 and a
   fifth study, Aiken (2021)106 reports outcomes of medical abortion up to 70 days gestational
   age in the United Kingdom before and during the COVID-19 PHE in a retrospective cohort
   study.

   In Raymond,107 complete abortion without additional procedures occurred in 93 percent of
   participants with known outcomes. There were two hospitalizations (one participant
   received a transfusion for severe anemia despite having had a complete abortion) and 7
   percent of participants had clinical encounters in ED/urgent care centers. The reported
   outcomes are similar to outcomes described in approved labeling except the combined
   ED/urgent care center encounters (7 percent) exceeded the ED visits in approved labeling
   (2.9-4.6 percent).108 Of note, the authors state that half of the ED/urgent care visits did not
   entail any medical treatment. In Chong,109 approximately 50 percent of the medical
   abortions occurred during the period of the COVID-19 PHE. Complete abortion without an
   additional procedure occurred in 95 percent of those with known outcomes. Transfusions
   were 0.4 percent and hospitalizations were 0.7 percent; 6 percent of participants had
   unplanned clinical encounters in ED/urgent care. Surgical interventions were required in
   4.1 percent to complete abortion. The reported outcomes in Chong (which updated the
   findings described in Raymond) are similar to outcomes described in approved labeling
   except that (as with the Raymond study it updated) the combined ED/urgent care center
   encounters (6 percent) exceeded the ED visits in approved labeling (2.9-4.6 percent).

   Anger,110 which compared outcomes among participants enrolled in the Gynuity study who
   did (“test medical abortion cohort”) versus did not (“no-test medical abortion cohort”)111

   102
       Raymond et al., supra n. 83.
   103
       Chong E, Shochet T, et al. Expansion of a direct-to-patient telemedicine abortion service in the United
   States and experience during the COVID-19 pandemic. Contraception 2021;104:43-48.
   104
       Anger et al., supra n. 83.
   105
       Kerestes C, Murayama S, et al. Provision of medication abortion in Hawai‘i during COVID-19: Practical
   experience with multiple care delivery models. Contraception 2021 Jul;104(1):49-53.
   doi:10.1016/j.contraception.2021.03.025. Epub 2021 Mar 28.
   106
       Aiken ARA, Lohr PA, et al. Effectiveness, safety and acceptability of no-test medical abortion
   (termination of pregnancy) provided via telemedicine: a national cohort study. BJOG 2021;128:1464–1474.
   107
       Raymond, supra n. 83.
   108
       The authors reported the combined frequency of emergency department/urgent care visits, whereas the
   approved labeling includes the frequency for emergency department (emergency room) visits. Therefore it is
   unknown whether the frequency of emergency department visits in the trial, as distinct from the combined
   frequency of emergency department/urgent care visits, is comparable to the frequency of emergency
   department visits reflected in approved labeling.
   109
       Chong et al., supra n. 103.
   110
       Anger et al., supra n. 83.
   111
       “No-test medication abortion” refers to medical abortion provided without a pretreatment ultrasound,
   pelvic examination or laboratory tests when, in the judgment of the provider, doing so is medically
   appropriate (appropriateness based on history and symptoms); “no-test medication abortion” does include
   post-abortion follow up. A sample protocol is described by Raymond et al.” (Raymond EG, Grossman D,
   Mark A, et.al. Commentary: No-test medication abortion: A sample protocol for increasing access during a
   pandemic and beyond. Contraception 2020;101:361-366)


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   have confirmation of gestational age/intrauterine location with an examination or
   ultrasound, found that those without an examination or ultrasound prior to medical abortion
   were more likely to require procedural interventions and had more unplanned clinical
   encounters.112 There were no reported ectopic pregnancies in either group. The number of
   ED/urgent care visits and the proportion of unplanned clinical encounters that led to
   medical treatment were not reported. In the “test” group, complete medical abortion was
   confirmed in 98 percent of participants with known outcomes; one participant was
   “hospitalized and/or blood transfusion” and 8 percent had an unplanned clinic encounter
   (participant sought in-person medical care related to abortion and the visit was not planned
   prior to abortion). In the “no-test” group, complete medical abortion was confirmed in 94
   percent of participants with known outcomes; two participants were “hospitalized and/or
   blood transfusion” and 12.5 percent had an unplanned clinical encounter.

   Kerestes113 included three different delivery models: traditional in-person visits,
   telemedicine consultation with in-person pick-up of medications, and telemedicine
   consultation with delivery of medications by mail (most of the latter were enrolled through
   Gynuity’s TelAbortion study). Among participants with follow-up data, the rates of
   successful medical abortion without surgery were consistent with outcomes in approved
   labeling. Blood transfusion was given to two participants (both in the telemedicine plus in-
   person pickup group). Although ED visits occurred the most frequently in the telemedicine
   plus mail group (four participants or 5.8 percent) and the least in the in-person group (two
   participants or 2.1 percent), the study reported no increases in other serious adverse events.
   Aiken (2021)114 reported outcomes before and during the pandemic in a retrospective
   cohort study in the United Kingdom. The study compared the two cohorts: one before the
   pandemic with in-person visits and dispensing (traditional model) and one during the
   pandemic with either an in-person visit and in-person dispensing or a telemedicine visit and
   dispensing by mail or picked up from the clinic (hybrid model). Complete abortion
   occurred in greater than 98 percent in both cohorts; the rate was slightly higher in the
   telemedicine group than in the in-person group. There were no significant differences in
   the rates of reported serious adverse events. The investigators’ analysis determined that the
   efficacy and safety were comparable between both cohorts and concluded the hybrid model
   for medical abortion is effective and safe.

   Taken together, data from the three Gynuity study reports (Raymond, Chong, and Anger),
   Kerestes, and Aiken (2021) support that efficacy of medical abortion was maintained when
   mifepristone was dispensed by mail from the clinic. Study reports of Raymond, Chong,
   and Kerestes all suggest there may be an increase in ED/urgent care visits with
   telemedicine visits and dispensing by mail from the clinic, but without increases in other
   serious adverse events. Anger’s comparative analysis suggests a pre-abortion examination
   may decrease the occurrence of procedural intervention and decrease the number of
   unplanned visits for postabortion care. The Aiken (2021) study appears to be of sufficient

   112
       We note that the two cohorts were not randomized in the Anger study; they had different baseline
   characteristics. Consequently, findings based on the comparisons between the two cohorts should be
   interpreted carefully.
   113
       Kerestes et al., supra n. 105.
   114
       Aiken et al., supra n. 106.


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    sample size to determine whether safety outcomes with mail dispensing differ from in-
    person dispensing; however, significant limitations include that the analysis was based on
    deidentified information and the investigators were unable to verify the outcomes extracted.
    Further, the study’s design did not capture all serious safety outcomes, thus limiting the
    certainty of the findings.

    Notwithstanding the limitations discussed above, these studies overall support that
    dispensing by mail from the clinic is safe and effective. Although the literature suggests
    there may be more frequent ED/urgent care visits related to the use of mifepristone when
    dispensed by mail from the clinic, there are no apparent increases in other serious adverse
    events related to mifepristone use.

           (d) Clinic dispensing by courier

    Reynolds-Wright115 reported findings from a prospective cohort study of participants at less
    than 12 weeks gestational age in Scotland undergoing medical abortion at home that
    provided mifepristone for pick up at the service or by couriered delivery to woman’s home.
    The outcomes from this study in Scotland are consistent with the outcomes in the approved
    mifepristone labeling. However, the number of couriered deliveries was not reported. Thus
    this study does not provide abortion outcomes separately for couriered delivery of
    mifepristone and misoprostol. The study shares the same limitations as the Aiken (2021)
    study; the study’s design did not capture all serious safety outcomes, thus limiting the
    certainty of the findings.

           (e) Partner organization dispensing by mail

    Women on Web (WoW), an internet group, connects patients and providers outside of the
    US and provides medical abortion globally, dispensing mifepristone through “a partner
    organization” by mail. WoW uses a model with numerous deviations from the standard
    provision of medical abortion in the United States. For example, this model has no
    synchronous interaction with the prescriber during informed consent or prior to prescribing
    medication and no confirmation of self-reported medical, surgical, and menstrual history or
    confirmed pregnancy testing. Three studies (Endler, Norten, and Aiken (2017))116 reported
    outcomes based on dispensing through this model. Endler and Norten reported outcomes
    from WoW cohorts but do not provide relevant information on mifepristone dispensing by
    mail because neither provide meaningful outcomes data for consideration. Although Aiken
    (2017) is a large cohort study, the outcomes are self-reported and an unusually high rate of
    outcomes are unaccounted for; these limitations result in the data being insufficient to
    determine the safety of dispensing mifepristone by mail though a partner organization.

    In sum, there are insufficient data from the literature we have reviewed to determine the
    safety and efficacy of dispensing from a retail pharmacy, by courier, or by a partner
    organization. With respect to dispensing mifepristone by mail, our review of the literature
    indicates that dispensing mifepristone by mail from the clinic or from a mail order

    115
          Reynolds-Wright JJ, et al. BMJ Sex Reprod Health 2021;0:1–6. doi:10.1136/bmjsrh-2020-200976.
    116
          Endler et al., Norten et al., and Aiken et al., supra n. 85.


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    pharmacy does not appear to jeopardize the efficacy of mifepristone for medical abortion.
    While the studies we reviewed are not adequate on their own to establish the safety of the
    model of dispensing mifepristone by mail, the safety and efficacy outcomes reported in
    these studies remain within the ranges labeled for the approved mifepristone products.
    Although the literature suggests there may be more frequent ED/urgent care visits related to
    the use of mifepristone when dispensed by mail from the clinic, there are no apparent
    increases in other significant adverse events related to mifepristone use.

    Based on the REMS assessment data, FAERS data from the time period when the in-person
    dispensing requirement was not being enforced, and our review of the literature, we
    conclude that mifepristone will remain safe and effective if the in-person dispensing
    requirement is removed, provided all the other requirements of the REMS are met and
    pharmacy certification is added. Removing the in-person dispensing requirement will
    render the REMS less burdensome to healthcare providers and patients, and provided all
    other requirements of the REMS are met, including the additional requirement for
    pharmacy certification, the REMS will continue to ensure that the benefits of mifepristone
    for medical abortion outweigh the risks. Therefore, to reduce the burden imposed by the
    Mifepristone REMS Program, the REMS must be modified to remove the in-person
    dispensing requirement, which would allow, for example, dispensing of mifepristone by
    mail via certified prescribers or pharmacies, in addition to in-person dispensing in clinics,
    medical offices and hospitals as currently outlined in ETASU C.

    In your Petition, you state that “[e]liminating or relaxing the REMS to facilitate Internet or
    telephone prescriptions would be dangerous to women and adolescent girls” and that
    “health care providers prescribing abortion-inducing drugs over the Internet or phone or
    before a patient is even pregnant cannot adequately evaluate patients for contraindications
    to the drugs” (Petition at 18-19).

    We do not agree that eliminating the REMS requirement for the dispensing of Mifeprex in
    certain healthcare settings will be dangerous to patients, nor do we agree that doing so will
    affect the ability of healthcare providers to evaluate women for contraindications to
    mifepristone in a regimen with misoprostol for medical termination of intrauterine
    pregnancy through 70 days gestation. There are many factors that contribute to patient
    safety, including evaluation of a patient, informed consent, development of a follow-up
    plan, and provision of a contact for emergency care. All of these can occur in many types
    of healthcare settings. The evaluation of patients for contraindications to medical abortion
    does not necessarily require direct physical contact with the certified prescriber.

    You also assert that telemedicine abortion absolves abortion providers of responsibility for
    the well-being of their patients (Petition at 19). We do not agree. Healthcare providers
    who prescribe mifepristone are responsible for the well-being of their patients regardless of
    mode of evaluation or dispensing of medication. The Agency agrees with the American
    Medical Association that a healthcare provider-patient relationship is entered when the
    “physician serves a patient’s medical needs;”117 in the context of medical abortion, this


    117
          See www.ama-assn.org/delivering-care/ethics/patient-physician-relationships.


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    healthcare provider-patient relationship continues until resolution of the pregnancy or
    transfer of care to another healthcare provider.118

    We also note that patients who are not pregnant at the time of evaluation would not be
    appropriate candidates for being prescribed mifepristone for medical termination of
    pregnancy because they do not fulfill the approved indication of having an intrauterine
    pregnancy of up to 70 days gestation.


             2.       Other Safety Issues and Additional Studies

    In support of your request that we retain the Mifeprex REMS, you cite the Council for
    International Organizations of Medical Sciences’ (CIOMS) definition of “rare” to assert
    that because “about 1 out of 100 women” using Mifeprex and misoprostol require surgery,
    serious complications are common, not rare (Petition at 15-16).119 Although we agree that
    certain elements of the Mifepristone REMS Program are necessary to assure the safe use of
    mifepristone, we do not agree with your assertion.

    In the Petition, you state that the Medication Guide improperly downplays the risks of the
    use of Mifeprex in a regimen with misoprostol and you cite the Medication Guide as stating
    “‘rarely, serious and potentially life-threatening bleeding, infections, and other problems
    can occur following . . . medical abortion.’ Specifically, ‘in about 1 out of 100 women
    [administered Mifeprex and misoprostol] bleeding can be so heavy that it requires a
    surgical procedure.” (Petition at 15). Using these two separate statements in the
    Medication Guide, you argue that the CIOMS’s definition of rare (“1 out of 1000”) means
    that if 1 out of 100 women using Mifeprex in a regimen with misoprostol require surgery,
    serious complications are common, not rare. (Petition at 16). However, your reference to
    the two sentences in the Medication Guide conflates two different clinical scenarios: (1) the
    adverse event of serious and potentially life-threatening bleeding, and (2) treatment failure.

    The first sentence you reference states: “Although cramping and bleeding are an expected
    part of ending a pregnancy, rarely, serious and potentially life-threatening bleeding,
    infections, or other problems can occur following a miscarriage, surgical abortion, medical
    abortion, or childbirth.” This statement refers to life-threatening adverse events that can
    occur during termination regardless of gestational age or during miscarriage or childbirth
    regardless of the mode of delivery (e.g., vaginal delivery or cesarean section). At the time
    of our review of the clinical studies submitted to support the S-020 efficacy supplement, the
    reported rate of death in the studies reviewed, based on one death, was 0.007 percent (very
    rare under the CIOMS definition).120 The rate of infections requiring hospitalization or



    118
        See https://www.ama-assn.org/delivering-care/ethics/ethical-practice-telemedicine.
    119
        Council for International Organizations of Medical Sciences. Guidelines for Preparing Core Clinical Safety
    Information on Drugs Second Edition. 1999. https://cioms.ch/wp-content/uploads/2018/03/Guidelines-for-
    Preparing-Core-Clinical-Safety-Info-Drugs-Report-of-CIOMS-Working-Group-III-and-V.pdf. Accessed
    December 13, 2021 (CIOMS).
    120
        Id. at 36 (defining the “very rare” standard category of frequency as less than 0.01 percent).


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    intravenous antibiotics was less than 0.1 percent (rare under the CIOMS definition),121 and
    rates of transfusion were 0.03-0.7 percent (rare to uncommon under the CIOMS
    definition).122 Therefore, “rarely” accurately refers to the frequency of the adverse events
    referenced in this statement.

    The second sentence you reference from the Medication Guide states: “In about 1 out of
    100 women, bleeding can be so heavy that it requires a surgical procedure (surgical
    aspiration or D&C).” This statement refers to the rate of surgical procedures for bleeding
    following treatment with mifepristone. Heavy bleeding or hemorrhage after medical
    abortion is a small subset of bleeding and can require a surgical procedure due to ongoing
    pregnancy or incomplete expulsion; these are considered failed treatment rather than
    adverse events and are not characterized using the CIOMS definitions. Even if heavy,
    bleeding after medical abortion may not be considered a serious adverse event unless
    clinically diagnosed as hemorrhage or requiring a transfusion. Furthermore, in the vast
    majority of medical abortions, surgical intervention is not necessary.

    You also cite a 2009 study and a 2018 study to assert that medical abortions carry greater
    risks than surgical abortions (Petition at 16). The 2009 Niinimaki, et al.123 study reported
    overall incidences of immediate adverse events (up to 42 days) in medical and surgical
    abortions performed in women undergoing induced abortion from 2000-2006 based on data
    from the Finnish national registries. We agree that the overall incidence of adverse events
    for medical abortion was fourfold higher when compared with surgical abortion (20.0
    percent versus 5.6 percent). Specifically, the incidence of hemorrhage, incomplete
    abortion, and surgical (re)evacuation were higher for medical abortion. However, the
    authors specifically noted that because medical abortion is associated with longer uterine
    bleeding, the high rate of events, which were pulled from a national registry reflecting both
    inpatient and outpatient visits, is not surprising. They opined that uterine bleeding
    requiring surgical evacuation probably better reflects the severity of bleeding after
    termination of pregnancy; the incidence of such bleeding was relatively low, although it
    was more common with medical abortion. In addition, the authors acknowledged there are
    inherent weaknesses in registry-based studies; there is variable reliability both of diagnoses
    and of severity of diagnoses. Nevertheless, the authors concluded that both methods are
    generally safe and recommended discussing the adverse event profiles of different methods
    when counseling women seeking pregnancy termination.

    We note that Ireland, et al.124 reported findings from a more recent retrospective cohort
    study of 30,146 United States women undergoing pregnancy termination before 64 days of
    gestation from November 2010 to August 2013. Efficacy of pregnancy termination was
    99.6 percent and 99.8 percent for medical and surgical abortion, respectively.

    121
        Id. at 36 (defining the “rare” standard category of frequency as greater than or equal to 0.01 percent and
    less than 0.1 percent).
    122
        Id. at 36 (defining the “uncommon” standard category of frequency as greater than or equal to 0.1 percent
    and less than 1 percent); see also 2016 Clinical Review, supra n. 13, at 47 and 51.
    123
        Niinimaki M, Pouta A, Bloigu A, et al. Immediate complications after medical compared with surgical
    termination of pregnancy. Obstet Gynecol. 2009;114(4):795-804.
    124
        Ireland LD, Gatter, M, Chen, A. 2015. Medical Compared with Surgical Abortion for Effective Pregnancy
    Termination in the Frist Trimester. Obstetrics & Gynecology 126;22-28.


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    Unanticipated aspiration for persistent pain, bleeding or both were 1.8 percent and 0.4
    percent for medical and surgical abortion respectively. These findings are compatible with
    the Niinimaki study findings. There was no difference in major adverse events as defined
    by the authors (emergency department visit, hospitalization, uterine perforation, infection,
    hemorrhage requiring transfusion) between the groups. The authors conclude medical and
    surgical abortion before 64 days of gestation are both highly effective with low
    complication rates.

    The 2018 Carlsson study is addressed above in section II.A.2.b.ii. of this response; as
    discussed above, that study showed no statistically significant difference between the
    overall complication rates between an “at home” and “at the hospital” abortion.125

    We acknowledge that medical abortion is known to have more days of bleeding and
    increased rates of incomplete abortion compared to surgical abortion. However, as noted
    above, in the vast majority of medical abortions, surgical intervention is not necessary.
    Thus, medical abortion and surgical abortion are two options; both have benefits, side
    effects, and potential complications. Patients and their healthcare providers should discuss
    which method is preferable and safer according to each woman’s unique situation.

    You state that the Mifeprex REMS should require a formal study for at-risk populations,
    including: patients under the age of 18; patients with repeat Mifeprex abortions; patients
    with limited access to emergency room services; and patients who self-administer
    misoprostol (Petition at 13-14). As we explain below, additional studies are not needed at
    this time.

    In justifying your assertion that a formal study is required in patients under the age of 18,
    you state that Mifeprex was approved for use in the pediatric population in 2000 after the
    requirement for studies in the pediatric population was waived (Petition at 13-14). The
    approved indication for mifepristone does not limit its use by age. Although patients age
    17 and under were not included in the clinical trials supporting the initial approval of
    Mifeprex in 2000, we stated at the time that the safety and efficacy were expected to be the
    same for postpubertal (i.e., post-menarchal) adolescents. Our conclusion in 2000 that
    pediatric studies of Mifeprex were not needed for approval was consistent with FDA’s
    implementation of the regulations in effect at that time. Because we determined that there
    were sufficient data from studies of mifepristone, the original Mifeprex approval should
    have reflected the Agency’s conclusion that the pediatric study requirements were waived
    for pre-menarchal females and that the pediatric study requirements were met for post-
    menarchal adolescents, rather than stating that the Agency was waiving the requirements
    for all pediatric age groups.

    As currently required by the Pediatric Research Equity Act (PREA),126 certain applications
    or supplemental applications must include pediatric assessments of the safety and
    effectiveness of the drug for the claimed indication(s) in all relevant pediatric


    125
          Carlsson et al., supra n. 49.
    126
          Section 505B of the FD&C Act (21 U.S.C. 355c).


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    subpopulations, unless that requirement is waived or deferred.127 In accordance with
    PREA, when FDA reviewed the S-020 efficacy supplement, a partial waiver was granted
    for pediatric studies in pre-menarchal females because pregnancy does not occur in
    premenarchal females. We also determined that the applicant had fulfilled the pediatric
    study requirement in post-menarchal adolescents. This determination was based on data
    extrapolated from adults and information in literature. Review of these findings found the
    safety and efficacy in this population to be similar to the safety and efficacy in the adult
    population.128 Therefore, we do not agree that a formal study is required in patients under
    18.

    With regard to your concerns about repeat abortions and your assertion that a study is
    necessary in this population, we acknowledge that published data concerning adverse
    reproductive health outcomes in U.S. women who undergo repeat medical abortions are
    limited. We concluded in our 2016 review of the S-020 efficacy supplement that there is
    no evidence that repeated medical or surgical abortion is unsafe or that there is a tolerance
    effect. We also noted that return to fertility after the use of mifepristone is well
    documented. 129 This is reflected both in Section 17 of the approved labeling, Patient
    Counseling Information, which states that the provider should “inform the patient that
    another pregnancy can occur following medical abortion and before resumption of normal
    menses,” and in the Medication Guide, which states “You can become pregnant again right
    after your pregnancy ends.” Although you state that more than one out of every three
    abortions in the United Sates is a repeat abortion (Petition at 14),130 we are not aware of
    reports suggesting greater safety concerns in repeat abortions than a first-time abortion.
    Therefore, we do not agree that a study is necessary in this population. You also cite a
    published study, using a mouse model, of repeated medical termination of pregnancy that
    showed repeat medical abortion impaired the reproductive function of female mice
    (Petition at 14).131 Per our 2016 review, there is no evidence in available clinical data that
    repeated medical or surgical abortion is unsafe, or that fertility is impaired by the use of
    mifepristone; therefore, data from a single non-clinical study in mice are not persuasive.132

    With respect to your request for a formal study of mifepristone for medical abortion in
    women without access to emergency care, we disagree that such a study is necessary. In
    order to become a certified prescriber, a healthcare provider must agree that they have the
    ability to provide surgical intervention in cases of incomplete abortion or severe bleeding or
    have made plans to provide such care through others, and that they have the ability to
    assure patient access to medical facilities equipped to provide blood transfusions and
    resuscitation, if necessary. These prescriber qualifications ensure that mifepristone is
    prescribed to women for whom emergency care is available.


    127
        Section 505B(a)(2) of the FD&C Act (21 U.S.C. 355c(a)(2)).
    128
        2016 Clinical Review, supra n. 13, at 74-76.
    129
        Id. at 47.
    130
        In support of this assertion, you cite Jones R, Jerman J, Ingerick M. Which abortion patients have had a
    prior abortion? Findings from the 2014 U.S. Abortion Patient Survey. J Womens Health.
    131
        Lv F, Xu X, Zhang S, et al. Repeated abortion affects subsequent pregnancy outcomes in BALB/c mice.
    PLoS One. 2012;7(10):e48384. doi:10.1371/journal.pone.0048384.
    132
        2016 Clinical Review, supra n. 13, at 47.


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    Finally, you assert that FDA should require a formal study in patients who self-administer
    misoprostol. As explained in section II.A.2.b.ii of this response, FDA conducted a literature
    review of self-administration of misoprostol at home as part of its review of the S-020
    efficacy supplement and found no safety or efficacy concerns with home self-
    administration of misoprostol. Therefore, we disagree that a formal study is required in this
    population.

    With regard to safety generally, in addition to the FAERS data provided above (see section
    II.B.1.c.ii. in this response), FDA routinely monitors adverse events reported to FAERS and
    published in the medical literature for mifepristone for medical termination of pregnancy
    through 70 days gestation. We have not identified any new safety concerns with the use of
    mifepristone for this indication.


             3.       Other Articles

    In your Petition, you reference several documents that discuss alternative models of
    providing abortion medications and advocate for the lifting of the REMS on mifepristone
    (Petition at 23-24). You assert that these recent publications demonstrate how abortion
    advocates will continue to pressure FDA to eliminate the REMS and move towards over-
    the-counter access for Mifeprex.133
    We agree that the overarching message in the publications you reference appears to be
    advocating self-management of medical abortion. Nonetheless, as discussed in this
    response, we have determined that the Mifepristone REMS Program continues to be
    necessary for the safe use of this drug product, with some modifications.


    III.     CONCLUSION

    For the reasons set forth above, we deny your request that FDA restore and strengthen elements of
    the Mifeprex regimen and prescriber requirements approved in 2000; and we grant in part and deny
    in part your request to retain the Mifepristone REMS Program. As with all approved drug
    products, we will continue to monitor the safety of mifepristone for the approved indication and
    take any appropriate actions.

                                                           Sincerely,
                                                           Patrizia A.              Digitally signed by Patrizia A.
                                                                                    Cavazzoni -S
                                                           Cavazzoni -S             Date: 2021.12.16 15:05:41 -05'00'


                                                           Patrizia Cavazzoni, M.D.
                                                           Director
                                                           Center for Drug Evaluation and Research

    133
       You also reference clinical trials relating to the use of mifepristone for spontaneous miscarriage
    management and question the results of studies related to this use (Petition at 16-18). The use of mifepristone
    for the management of early miscarriage is not an approved indication for this drug product and is outside the
    scope of the Mifepristone REMS Program. Therefore, we do not address it in this response.


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           EXHIBIT E
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               NOA 020687
                                                                 REMS MODIFICATION NOTIFICATION

               Danco Laboratories, LLC
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               P. . ox    f6
               New York, NY 10185
                            (bl (<I). (bl (61.
               Dear

               We refer to you r new drug application (NOA) submitted under section 505(b) of the
               Federal Food, Drug, and Cosmetic Act (FDCA) for Mifeprex (mifepristone) Tablets.

               RISK EVALUATION AND MITIGATION STRATEGY (REMS) REQUIREMENTS

               The REMS for mifepristone was originally approved on June 8, 2011 , and you r single
               shared system REMS (SSS REMS) was approved on April 11, 2019. Your last SSS
               REMS modification was approved May 14, 2021. The SSS REMS consists of elements
               to assure safe use, an implementation system , and a timetable for submission of
               assessments of the REMS.

               In accordance with section 505-1(g)(4)(8) of the Federal Food , Drug, and Cosmetic Act
               (FDCA), we have determined that your approved REMS for mifepristone must be
               modified to minimize the bu rden on the healthcare delivery system of complying with the
               REMS and to ensure that the benefits of the drug outweigh the risks.

               Th is determination is based on a review of published literature, safety information
               collected duri ng the COVID-19 PHE , FDA Adverse Event Reporting System (FAERS)
               reports , REMS assessment reports, and information provided by advocacy groups,
               ind ivid uals, the Applicants, and plaintiffs in ongoing litigation.

               Your approved REMS must be mod ified as follows:

               Elements to Assure Safe Use: We have determined that the requ irement that
               mifepristone be dispensed only in certain healthcare settings, specifically clinics,
               medical offices, and hospitals (i.e. , the "in-person dispensing requ irement") is no longer
               necessary to ensure the benefits of mifepristone outweigh the risks of serious
               compl ications associated with mifepristone that are listed in the labeling of the drug .
               Removal of the requ irement for in-person dispensing will also minimize the burden on
               the healthcare delivery system of complying with the REMS.

               Elements to Assure Safe Use: Pursuant to 505-1 (f)(1 ), we have also determined that
               an additional element to assure safe use is necessary to mitigate the risk of serious




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               complications associated with mifepristone listed in the labeling of the drug. Modification
               of the Mifepristone REMS to allow dispensing of mifepristone by pharmacies requires
               the addition of certification of pharmacies that dispense the drug.

               Your REMS must include elements to mitigate this risk, including at least the following:
                  Healthcare providers have particular experience or training, or are specially
                     certified

                       Pharmacies, practitioners, or health care settings that dispense the drug are
                        specially certified

                       The drug is dispensed to patients with evidence or other documentation of safe
                        use conditions.

                        The REMS must include an implementation system to monitor, evaluate, and
                        work to improve the implementation of the elements to assure safe use (outlined
                        above). Include an intervention plan to address any findings of non-compliance
                        with the ETASU.

               The proposed REMS must include a timetable for submission of assessments.
               The proposed REMS modification submission should include a new proposed REMS
               document and appended REMS materials, as appropriate, that show the complete
               previously approved REMS with all proposed modifications highlighted and revised
               REMS materials.

               In addition, the submission should also include an update to the REMS supporting
               document that includes a description of all proposed modifications and their potential
               impact on other REMS elements. Revisions to the REMS supporting document should
               be submitted with all changes marked and highlighted.

               Because we have determined that a REMS modification as described above is
               necessary to minimize the burden on the health care delivery system of complying with
               the REMS, and to ensure that the benefits of the drug outweigh the risks, you must
               submit a proposed REMS modification within 120 days of the date of this letter.

               Submit the proposed modified REMS as a Prior Approval supplement (PAS) to your
               NDA.




               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov

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               NDA 020687
               Page 3


               Because FDA is requiring the REMS modifications in accordance with section 505-
               1(g)(4)(B), you are not required to submit an adequate rationale to support the proposed
               modifications, as long as the proposals are consistent with the modifications described
               in this letter. If the proposed REMS modification supplement includes changes that
               differ from the modifications described in this letter, an adequate rationale is required for
               those additional proposed changes in accordance with section 505-1(g)(4)(A).

               Prominently identify the submission with the following wording in bold capital letters at
               the top of the first page of the submission:

                        NEW SUPPLEMENT FOR NDA 020687/S-000
                        PRIOR APPROVAL SUPPLEMENT
                        PROPOSED MAJOR REMS MODIFICATION

               Prominently identify subsequent submissions related to the proposed REMS
               modification with the following wording in bold capital letters at the top of the first page
               of the submission:

                    NDA 020687/S-000
                    PROPOSED REMS MODIFICATION-AMENDMENT

               To facilitate review of your submission, we request that you submit your proposed
               modified REMS and other REMS-related materials in Microsoft Word format. If certain
               documents, such as enrollment forms, are only in PDF format, they may be submitted
               as such, but the preference is to include as many as possible in Word format.

               SUBMISSION OF REMS DOCUMENT IN SPL FORMAT

               In addition to submitting the proposed modified REMS as described above, you can
               also submit the REMS document in Structured Product Labeling (SPL) format. If you
               intend to submit the REMS document in SPL format, include the SPL file with your
               proposed REMS modification submission.

               For more information on submitting REMS in SPL format, please email
               FDAREMSwebsite@fda.hhs.gov.




               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov

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               NOA 020687
               Page4


               If you have any questions, call
                                                 ------<bHsr, at

                                                    Sincerely,
                                                                   -----(b)(6 '




                                                    {See appended electronic signature page}
                                                                       (b)(6f




                                                    Center for Drug Evaluation and Research




               U.S. Food and Drug Administration
              Silver Spring, MD 20993
              www.fda.gov

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                                                                                             Page 1 of 1

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          This is a representation of an electronic record that was signed
          electronically. Following this are manifestations of any and all
          electronic signatures for this electronic record.
          --------------------------------------------------------------------------------------------
          /s/
          ------------------------------------------------------------

                                    (b) (6)


          12/16/2021 03:09:07 PM




Reference ID: 4906335
Case 3:23-cv-00019-RSB Document 26-1 Filed 06/05/23 Page 113 of 226 Pageid#: 733




           EXHIBIT F
Case 3:23-cv-00019-RSB Document 26-1 Filed 06/05/23 Page 114 of 226 Pageid#: 734
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               ANDA 091178
               Page 2




                    serious complications associated with mifepristone listed in the labeling of the drug.
                    Modification of the Mifepristone REMS to allow dispensing of mifepristone by
                    pharmacies requires the addition of certification of pharmacies that dispense the
                    drug.

               Your REMS must include elements to mitigate this risk, including at least the following:
                        Healthcare providers who prescribe the drugs have particular experience
                          or training, or are specially certified
                        Pharmacies, practitioners, or health care settings that dispense the drug
                          are specially certified
                        The drug is dispensed to patients with evidence or other documentation of
                          safe use conditions

               The REMS must include an implementation system to monitor, evaluate, and work to
               improve the implementation of the ETASU (as outlined above). Include an intervention
               plan to address any findings of non-compliance with the ETASU.

               The proposed REMS modification submission should include a new proposed REMS
               document and appended REMS materials, as appropriate, that show the complete
               previously approved REMS with all proposed modifications highlighted and revised
               REMS materials.

               In addition, the submission should also include an update to the REMS supporting
               document that includes a description of all proposed modifications and their potential
               impact on other REMS elements. Revisions to the REMS supporting document should
               be submitted with all changes marked and highlighted.

               Because we have determined that a REMS modification as described above is
               necessary to minimize the burden on the health care delivery system of complying with
               the REMS and to ensure that the benefits of the drug outweigh the risks, you must
               submit a proposed REMS modification within 120 days of the date of this letter.

               Submit the proposed modified REMS as a Prior Approval supplement (PAS) to your
               ANDA.

               Because FDA is requiring the REMS modifications in accordance with section 505-
               1(g)(4)(B) of the FD&C Act, you are not required to submit an adequate rationale to
               support the proposed modifications, as long as the proposals are consistent with the
               modifications described in this letter. If the proposed REMS modification supplement
               includes changes that differ from the modifications described in this letter, an adequate
               rationale is required for those additional proposed changes in accordance with section
               505-1(g)(4)(A) of the FD&C Act.



               U.S. Food & Drug Administration
               10903 New Hampshire Avenue
               Silver Spring, MD 20903
               www.fda.gov


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               ANDA 091178
               Page 3




               Prominently identify the submission with the following wording in bold capital letters at
               the top of the first page of the submission:

                        NEW SUPPLEMENT FOR ANDA 091178/S-000
                        PRIOR APPROVAL SUPPLEMENT
                        PROPOSED MAJOR REMS MODIFICATION

               Prominently identify subsequent submissions related to the proposed REMS
               modification with the following wording in bold capital letters at the top of the first page
               of the submission:

                        ANDA 091178/S-000
                        PROPOSED REMS MODIFICATION-AMENDMENT

               To facilitate review of your submission, we request that you submit your proposed
               modified REMS and other REMS-related materials in Microsoft Word format. If certain
               documents, such as enrollment forms, are only in PDF format, they may be submitted
               as such, but the preference is to include as many as possible in Word format.

               SUBMISSION OF REMS DOCUMENT IN SPL FORMAT

               In addition to submitting the proposed modified REMS as described above, you can
               also submit the REMS document in Structured Product Labeling (SPL) format. If you
               intend to submit the REMS document in SPL format, include the SPL file with your
               proposed REMS modification submission.

               For more information on submitting REMS in SPL format, please email
               REMS_Website@fda.hhs.gov.
                                                                           (b) (6)
               If you have any questions, call
                     .

                                                   Sincerely,

                                                   {See appended electronic signature page}
                                                                         (b) (6)




                                                   Center for Drug Evaluation and Research



               U.S. Food & Drug Administration
               10903 New Hampshire Avenue
               Silver Spring, MD 20903
               www.fda.gov


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                                                                                             Page 1 of 1

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          This is a representation of an electronic record that was signed
          electronically. Following this are manifestations of any and all
          electronic signatures for this electronic record.
          --------------------------------------------------------------------------------------------
          /s/
          ------------------------------------------------------------

                        (b) (6)


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Reference ID: 4906129
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          EXHIBIT G
Case 3:23-cv-00019-RSB Document 26-1 Filed 06/05/23 Page 119 of 226 Pageid#: 739


     CENTER FOR DRUG EVALUATION AND
                RESEARCH

                       APPLICATION NUMBER:


                         020687Orig1s025


                     SUMMARY REVIEW
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               EXECUTIVE SUMMARY
               This is a review of the proposed modification to the single, shared system Risk Evaluation and Mitigation
               Strategy (REMS) for mifepristone 200 mg (hereafter referred to as the Mifepristone REMS Program)
               submitted by Danco Laboratories, LLC (Danco) for new drug application (NDA) 020687 and by
               GenBioPro, Inc. (GBP) for abbreviated new drug application (ANDA) 091178. The Sponsors submitted
               proposed modification to the Mifepristone REMS Program on June 22, 2022, and amended their
               submissions on October 19, 2022 (Danco), October 20, 2022 (GBP), November 30, 2022 (both),
               December 9, 2022 (both) and December 16, 2022 (both).
               The Mifepristone REMS Program was originally approved on April 11, 2019, to mitigate the risk of
               serious complications associated with mifepristone 200 mg. The most recent REMS modification was
               approved on May 14, 2021. a The Mifepristone REMS Program consists of elements to assure safe use
               (ETASU) A, C and D, an implementation system, and a timetable for submission of assessments of the
               REMS.
               The Sponsors submitted the proposed modification to the REMS in response to the Agency’s REMS
               Modification Notification letters dated December 16, 2021, which required removal of the requirement
               that mifepristone be dispensed only in certain healthcare settings, specifically clinics, medical offices,
               and hospitals (i.e., the “in-person dispensing requirement”) and the addition of certification of
               pharmacies that dispense the drug.
               In addition, the following were addressed during the course of the review:
                   x revisions to the REMS goal to align with the updated REMS requirements.
                   x replacing serial number with recording of NDC and lot number of mifepristone dispensed.
                   x additional edits for clarification and consistency in the REMS Document and REMS materials
                        (Prescriber Agreement Forms, Patient Agreement Form, and Pharmacy Agreement Forms).
               The review team finds the proposed modification to the Mifepristone REMS Program last submitted on
               December 16, 2022, to be acceptable and recommends approval of the REMS modification. The
               proposed REMS modification includes changes to the REMS goal, additional REMS requirements for
               prescribers to incorporate dispensing from certified pharmacies and new REMS requirements for
               pharmacy certification.
               The proposed goal of the modified REMS for mifepristone 200 mg is to mitigate the risk of serious
               complications associated with mifepristone by:
                        D  Requiring healthcare providers who prescribe mifepristone to be certified in the
                            Mifepristone REMS Program.
                        E  Ensuring that mifepristone is only dispensed by or under the supervision of certified
                            prescribers, or by certified pharmacies on prescriptions issued by certified
                            prescribers.
                        F  Informing patients about the risk of serious complications associated with mifepristone.




               a
                The May 14, 2021 REMS modification approved the inclusion of gender neutral language in the Patient
               Agreement Form as well as corresponding minor changes to the REMS document to be consistent with the
               changes made to the Patient Agreement Form.

                                                                                                                            3


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               The timetable for submission of assessments of the REMS was modified to one year from the date of the
               approval of the modified REMS and annually thereafter. The assessment plan was revised to align with
               the changes to the REMS and capture additional metrics for drug utilization and REMS operations.
               The modified REMS includes ETASU A, B and D, an implementation system, and a timetable for
               submission of assessments of the REMS. Mifepristone will no longer be required to be dispensed only in
               certain healthcare settings, specifically clinics, medical offices, and hospitals (referred to as the “in-
               person dispensing requirement” for brevity) and will be able to be dispensed from certified pharmacies.

               1. Introduction
               This review evaluates the proposed modification to the single, shared system Risk Evaluation and
               Mitigation Strategy (REMS) for mifepristone 200 mg (hereafter referred to as the Mifepristone REMS
               Program) submitted by Danco Laboratories, LLC (Danco) for new drug application (NDA) 020687 and by
               GenBioPro, Inc. (GBP) for abbreviated new drug application (ANDA) 091178.
               The Sponsors initially submitted proposed modification to the Mifepristone REMS Program on June 22,
               2022, in response to the Agency’s REMS Modification Notification letters issued on December 16, 2021,
               to Danco and GBP, requiring the following modification to minimize the burden on the healthcare
               delivery system of complying with the REMS and to ensure that the benefits of the drug outweigh the
               risks:
                     x removal of the requirement that mifepristone be dispensed only in certain healthcare settings,
                        specifically clinics, medical offices, and hospitals (i.e., the “in-person dispensing requirement”)
                     x addition of certification of pharmacies that dispense the drug
               Per the Agency’s December 16, 2021, REMS Modification Notification letters, the proposed REMS was
               required to include the following ETASU to mitigate the risk of serious complications associated with
               mifepristone, including at least the following:
                     •   healthcare providers have particular experience or training, or are specially certified
                     •   pharmacies, practitioners, or health care settings that dispense the drug are specially certified
                     •   the drug is dispensed to patients with evidence or other documentation of safe use conditions
               The REMS was also required to include an implementation system and timetable for submission of
               assessments.


               2. Background
                     2.1. Product Information and REMS Information

               Mifepristone is a progestin antagonist indicated, in a regimen with misoprostol, for the medical
               termination of intrauterine pregnancy (IUP) through 70 days gestation. Mifepristone is available as 200
               mg tablets for oral use.

               Mifeprex (mifepristone) was approved on September 28, 2000, with a restricted distribution
               program under 21 CFR 314.520 (subpart H) b to ensure that the benefits of the drug outweighed

               b
                   NDA approval letter Mifeprex (NDA 020687) dated September 28, 2000.

                                                                                                                              4


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               the risk of serious complications associated with mifepristone when used for medical abortion. c
               Mifeprex was deemed to have in effect an approved REMS under section 505-1 of the Federal Food,
               Drug, and Cosmetic Act with the passage of the Food and Drug Administration Amendments Act of 2007
               (FDAAA), and the Mifeprex REMS was approved on June 8, 2011.

               On March 29, 2016, FDA approved an efficacy supplement for Mifeprex, which included changes in the
               dose of Mifeprex and the dosing regimen for taking Mifeprex and misoprostol, as well as a modification
               of the gestational age up to which Mifeprex has been shown to be safe and effective and a modification
               to the process for follow-up after administration of the drug. FDA also approved modification to the
               Mifeprex REMS that reflected the changes approved in the efficacy supplement.1-5 On April 11, 2019,
               FDA approved ANDA 091178 and the Mifepristone REMS Program.6-7 The Mifepristone REMS Program is
               a single, shared system REMS that includes NDA 020687 and ANDA 091178. The goal of the approved
               Mifepristone REMS Program is to mitigate the risk of serious complications associated with mifepristone
               by:
                    a) Requiring healthcare providers who prescribe mifepristone to be certified in the Mifepristone
                        REMS Program (under ETASU A).
                    b) Ensuring that mifepristone is only dispensed in certain healthcare settings by or under the
                        supervision of a certified prescriber (under ETASU C).
                    c) Informing patients about the risk of serious complications associated with mifepristone (under
                        ETASU D).
               The Mifepristone REMS Program was last modified and approved in 2021 to revise the Patient
               Agreement Form to include gender-neutral language; however, the goal of the Mifepristone REMS
               Program has not changed since the initial approval in 2019.

               Under ETASU A, to become specially certified to prescribe mifepristone, a healthcare provider
               must review the prescribing information, complete and sign the Prescriber Agreement Form,
               and agree to follow the guidelines for use of mifepristone. Under ETASU C, in the Mifepristone REMS
               Program as approved prior to today’s action, mifepristone was required to be
               dispensed to patients only in certain healthcare settings, specifically clinics, medical offices, and
               hospitals, by or under the supervision of a certified prescriber. Under ETASU D, mifepristone
               must be dispensed to patients with evidence or other documentation of safe use conditions
               (i.e., the patient must sign a Patient Agreement Form). The approved Mifepristone REMS Program
               includes an implementation system, and a timetable for assessments (one year from the date of the
               initial approval of the REMS on April 11, 2019, and every three years thereafter).
               In April 2021, FDA communicated its intent to exercise enforcement discretion during the COVID-19
               public health emergency (PHE) regarding the in-person dispensing requirement in the Mifepristone
               REMS Program. Specifically, FDA communicated that provided all other requirements of the
               Mifepristone REMS Program are met, the Agency intended to exercise enforcement discretion with
               respect to the in-person dispensing requirement of the Mifepristone REMS Program, including any in-
               person requirements that may be related to the Patient Agreement Form, during the COVID-19 PHE.
               This determination, which FDA made on April 12, 2021, was effective immediately. We also note that
               from July 13, 2020, to January 12, 2021, per a court order, FDA was enjoined from enforcing the in-
               person dispensing requirement of the Mifepristone REMS Program.8


               c
                Mifepristone is also approved in approximately 80 other countries.
               https://gynuity.org/assets/resources/biblio_ref_lst_mife_en.pdf

                                                                                                                       5


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               Further, and as we also communicated on April 12, 2021, to the extent all of the other requirements of
               the Mifepristone REMS Program are met, the Agency intended to exercise enforcement discretion
               during the COVID-19 PHE with respect to the dispensing of Mifeprex or the approved generic version of
               Mifeprex, Mifepristone Tablets, 200 mg, through the mail, either by or under the supervision of a
               certified prescriber, or through a mail-order pharmacy when such dispensing is done under the
               supervision of a certified prescriber.


                    2.2. Regulatory History

               The following is a summary of the regulatory history relevant to this review:
                    x 04/11/2019: Approval of the Mifepristone REMS Program, a single, shared system REMS that
                       includes NDA 020687 and ANDA 091178.
                    x 04/12/2021: The Agency issued a General Advice letter to both the NDA and ANDA Applicants,
                       explaining that FDA intended to exercise enforcement discretion during the COVID-19 PHE with
                       respect to the in-person dispensing requirement in the Mifepristone REMS Program, including
                       any in-person requirements that may be related to the Patient Agreement Form.
                    x 05/07/2021: The Agency stated that it would be reviewing the elements of the Mifepristone
                       REMS Program in accordance with section 505-1 of the FD&C Act.
                    x 12/16/2021: The Agency completed its review of the Mifepristone REMS Program and
                       determined, among other things, that the REMS must be modified to remove the in-person
                       dispensing requirement and add pharmacy certification.9
                    x 12/16/2021: REMS Modification Notification letters were sent to both Sponsors stating that the
                       approved Mifepristone REMS Program must be modified to minimize the burden on the
                       healthcare system of complying with the REMS and ensure that the benefits of the drug
                       outweigh the risks.
                    x 04/08/2022: Final written responses to a Type A meeting request were provided to Danco, the
                       point of contact for the Mifepristone REMS Program. The questions pertained to the
                       12/16/2021 REMS Modification Notification letter requirements.
                    x 04/13/2022: The Sponsors requested an extension to 6/30/2022, to submit a proposed REMS
                       modification in response to the Agency’s 12/16/2021 REMS Modification Notification letters.
                    x 04/15/2022: The Agency granted the Sponsors’ request for an extension to submit a proposed
                       REMS modification and conveyed that the modification must be submitted no later than
                       06/30/2022.10
                    x 06/22/2022: Danco and GBP submitted a proposed REMS modification to their respective
                       applications in response to the 12/16/2021 REMS Modification Notification letters.
                    x 07/22/2022: An Information Request was sent to the Sponsors requesting clarification of the
                       proposed prescriber and dispenser requirements and additional rationale to support their
                       proposal.
                    x 08/26/2022: Sponsors submitted responses to 07/22/2022 Information Request.
                    x 09/19/2022: Teleconference was held between Agency and Sponsors where the Agency
                       communicated the REMS requirements that are necessary to support the addition of pharmacy


                                                                                                                        6


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                        certification. The Agency proposed focusing on the pharmacy settings where a closed system d
                                                                                                                     (b) (4)
                        REMS could be implemented using the existing email and facsimile based system,
                                                                                        , as the best strategy for an
                        approvable modification by the goal date.
                    x 09/22/2022: An Information Request was sent to Sponsors requesting confirmation that the
                       Sponsors agree with the pharmacy distribution approach outlined in the 09/19/2022
                       teleconference so that the Agency’s feedback could be appropriately tailored.
                    x 09/23/2022: The Sponsors confirmed via email that they were willing to pursue
                                                                                                                       (b) (4)


                                , as discussed in the 09/19/2022 teleconference. The Sponsors also requested a
                                                                                                                                 (b) (4)
                       teleconference to discuss the current modification
                                  .
                    x 09/27/2022: Comments from the 09/19/2022 teleconference sent to Sponsors with additional
                       comments and requests regarding what will be necessary for pharmacy certification.
                    x 09/29/2022: An Information request was sent to the Sponsors asking for agenda items,
                       questions, and a request to walk through their proposed system for pharmacy certification,
                       including dispensing through mail-order or specialty pharmacies, at the 10/06/2022 scheduled
                       teleconference.
                    x 10/04/2022: Sponsors emailed that they will focus the 10/06/2022 teleconference on the
                       09/27/2022 Agency comments and their mail order and specialty pharmacy distribution model.
                    x 10/06/2022: Teleconference was held between Agency and Sponsors where Sponsors outlined
                       their proposal for pharmacy certification, including dispensing through mail order and specialty
                       pharmacies, as well as their concerns with certain requirements and general timelines.
                    x 10/19/2022: Danco submitted a REMS amendment to their pending sNDA, which included a
                       REMS document and REMS materials. They did not submit a REMS Supporting Document.
                    x 10/20/2022: GBP submitted a REMS amendment to their pending sANDA, which included a
                       REMS document and REMS materials. They did not submit a REMS Supporting Document.
                    x 10/25/2022: Teleconference was held between Agency and Sponsors to discuss the Patient
                       Agreement Form and timing related to shipping a mifepristone prescription from a certified
                       pharmacy to the patient.
                    x 11/23/2022: An Information Request was sent to Sponsors with comments on their proposed
                       REMS Document, submitted on 10/19/2022 (Danco) and 10/20/2022 (GBP).
                    x 11/30/2022: Danco and GBP submitted REMS amendments, which included the REMS
                       Document, to their respective pending supplemental applications.
                    x 12/01/2022: Teleconference was held between Agency and Sponsors to discuss the REMS
                       Document.
                    x 12/05/2022: An Information Request was sent to Sponsors with comments on their proposed
                       REMS Document submitted on 11/30/2022 and discussed at the teleconference on 12/01/2022,
                       and REMS materials submitted to their applications on 10/19/2022 and 10/20/2022.

               d
                “Closed system” in this case refers to a system where prescribers, pharmacies, and distributors are certified or
               authorized in the REMS and the certification of the stakeholder must be verified prior to distribution or dispensing,
               as per the REMS.

                                                                                                                                       7


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                     x 12/07/2022: Teleconference was held between Agency and Sponsors to discuss the REMS
                        Document and REMS materials the Agency sent to the Sponsors on 12/05/22.
                     x 12/08/2022: Danco and GBP submitted REMS amendments, including the REMS Document,
                        Prescriber Agreement Form, Pharmacy Agreement Form, Patient Agreement Form and REMS
                        Supporting Document, to their respective pending applications.
                     x 12/09/2022: An Information Request was sent to Sponsors with the Agency’s comments on the
                        REMS assessment plan.
                     x 12/14/2022: An Information Request was sent to Sponsors with the Agency’s comments on the
                        REMS Document, Prescriber Agreement Form, Pharmacy Agreement Form, and REMS
                        Supporting Document.
                     x 12/15/2022: Two teleconferences were held between Agency and Sponsors to discuss the
                        proposed REMS Document and REMS materials the Agency sent to the Sponsors on 12/14/22.
                     x 12/16/2022: Sponsors submitted a REMS amendment to their respective applications.


               3. Review of Proposed REMS Modification
                (b) (6)
                     has discussed the Sponsors’ proposed modification with the review team, which includes members
                                                                         (b) (6)                                    (b) (6)
               of the                                                            and the
                                                            ; hereafter referred to as the review team. This review
               includes their input and concurrence with the analysis and proposed changes to the Mifepristone REMS
               Program.


                     3.1. REMS Goal

               The Sponsors proposed modification to the goal for the Mifepristone REMS Program to add that
               mifepristone can also be dispensed from certified pharmacies on prescriptions issued by certified
               prescribers. The proposed REMS goal is:
               The goal of the REMS for mifepristone is to mitigate the risk of serious complications associated with
               mifepristone by:
                          D  Requiring healthcare providers who prescribe mifepristone to be certified in the
                              Mifepristone REMS Program.
                          E  Ensuring that mifepristone is only dispensed by or under the supervision of certified
                              prescribers, or by certified pharmacies on prescriptions issued by certified
                              prescribers.
                          F  Informing patients about the risk of serious complications associated with mifepristone.
               Reviewer Comment: We agree with the Sponsors’ proposal.


                     3.2. REMS Document

               The proposed REMS Document is not in the format as outlined in the 2017 Draft Guidance for Industry,
               Format and Content of a REMS Document.11


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               Reviewer Comment: To avoid the misperception that this REMS modification is making major changes
               to the REMS document that go beyond our December 16, 2021, determination that the REMS must be
               modified to remove the in-person dispensing requirement and add pharmacy certification, CDER staff
               and management discussed whether to change the format of the REMS document to that described in
               the 2017 draft guidance.11 After internal discussion, CDER staff and management aligned not to
               transition the REMS document at this time to the format described in the 2017 draft guidance.

                    3.3. REMS Requirements

                        3.3.1. Addition and Removal of ETASU
               The December 16, 2021, REMS Modification Notification letters specified that the ETASU must be
               modified to minimize the burden on the healthcare delivery system of complying with the REMS and to
               ensure the benefits of the drug outweigh the risks by:
                    x Removing the requirement that mifepristone be dispensed only in certain healthcare settings,
                       specifically clinics, medical offices and hospitals (i.e., the “in-person dispensing requirement”),
                       and;
                    x Adding a requirement that pharmacies that dispense the drug be specially certified.
               The Sponsors proposed changes to the REMS as reflected in the subsections below.


                        3.3.2. REMS Participant Requirements and Materials
                            3.3.2.1. Prescriber Requirements
               Consistent with the approved Mifepristone REMS Program prescribers must be specially certified. To
               become specially certified to prescribe mifepristone, healthcare providers who prescribe must
               review the Prescribing Information for mifepristone and complete the Prescriber Agreement Form.
               In signing the Prescriber Agreement Form, prescribers agree they meet certain qualifications and will
               follow the guidelines for use of mifepristone. The guidelines for use include ensuring i) that the
               Patient Agreement Form is reviewed with the patient and the risks of the mifepristone treatment
               regimen are fully explained; ii) that the healthcare provider (HCP) and the patient sign the Patient
               Agreement Form, iii) the patient receives a copy of the Patient Agreement Form and Medication
               Guide, iv) the Patient Agreement Form is placed in the patient’s medical record; v) that any patient
               deaths are reported to the Mifepristone Sponsor that provided the mifepristone, identifying the
               patient by a non-identifiable reference and including the NDC and lot number from the package of
               mifepristone that was dispensed to the patient. The language on the guidelines for use was revised
               from the Mifepristone REMS Program approved in 2021 to clarify that, if the certified prescriber
               supervises the dispensing of mifepristone, they must ensure the guidelines for use of mifepristone
               are followed by those under their supervision. This clarification reflects the ongoing implementation
               of the approved Mifepristone REMS Program. For example, consistent with the approved REMS, the
               Patient Agreement Form does not require the certified prescriber’s signature, but rather the
               signature of the healthcare provider counseling the patient on the risks of mifepristone. Additional
               changes were made globally to provide consistency and clarity of the requirements for certified
               prescribers and healthcare providers who complete tasks under the supervision of certified
               prescribers.
               A certified prescriber may submit the Prescriber Agreement Form to an authorized distributor if the
               certified prescriber wishes to dispense or supervise the dispensing of mifepristone; this is consistent
               with the current requirements of the Mifepristone REMS Program. Additional requirements were


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               added to incorporate mifepristone dispensing by a certified pharmacy. If a healthcare provider
               wishes to prescribe mifepristone by sending a prescription to a certified pharmacy for dispensing,
               the healthcare provider must become certified by providing the pharmacy a Prescriber Agreement
               Form signed by the provider. A certified prescriber must also assess the appropriateness of
               dispensing mifepristone when contacted by a certified pharmacy about patients who will receive
               mifepristone more than four calendar days after the prescription was received by the certified
               pharmacy.
               The NDC and lot number of the dispensed drug will be recorded in the patient’s record when
               mifepristone is dispensed by or under the supervision of a certified prescriber, replacing the
               requirement that serial numbers from each package of mifepristone be recorded in the patient’s
               record. If prescribers become aware of the death of a patient for whom the mifepristone was
               dispensed from a certified pharmacy, the prescribers will be required to obtain the NDC and lot
               number of the package of mifepristone the patient received from the pharmacy.
               The following materials support prescriber requirements:
                   x Prescriber Agreement Form for Danco Laboratories, LLC
                   x Prescriber Agreement Form for GenBioPro, Inc.
                   x Patient Agreement Form
               Reviewer Comment: We agree with the Sponsors’ proposal.
               Although certain activities (review of the Patient Agreement Form with patients and answering any
               questions about treatment, signing, providing a copy to the patient and retaining the Patient Agreement
               Form, providing a copy of the Medication Guide, and ensuring any deaths are reported to the
               Mifepristone Sponsor, recording the NDC and lot number from drug dispensed from the certified
               prescriber or those under their supervision) may be conducted by healthcare providers under the
               supervision of a certified prescriber, the certified prescriber remains responsible for ensuring compliance
               with the requirements of the Mifepristone REMS Program. We agree with the additional language to
               further clarify that the certified prescriber must ensure the guidelines for use of mifepristone are
               followed.
               As proposed, certified prescribers may either, 1) continue to submit the Prescriber Agreement Form to an
               authorized distributor if the certified prescriber is dispensing or supervising the dispensing of the drug
               (as already required in the REMS), or 2) if the drug will be dispensed from a certified pharmacy, submit
               the Prescriber Agreement Form to the certified pharmacy that will dispense the drug (as proposed in the
               modification). Regarding #2, the pharmacy can only fill prescriptions written by a certified prescriber.
               Based on our review of the proposed changes, the review team finds it acceptable for prescribers to
               submit their Prescriber Agreement Form directly to the certified pharmacy. Although certified prescribers
               still have the option of in-person dispensing of the drug, not all prescribers may want to stock
               mifepristone. Typically due to the number of drugs that are available and the expense associated with
               stocking prescription medications intended for outpatient use, most prescribers do not stock many
               medications, if they stock medications at all.
               The proposal to submit a Prescriber Agreement Form to a certified pharmacy provides another option for
               dispensing mifepristone. The burden of providing the Prescriber Agreement Form prior to or when the
               prescription is provided to a certified pharmacy does not create unreasonable burden for prescribers. The
               burden of prescriber certification has been minimized to the extent possible. The Prescriber Agreement
               Form is designed to require minimal time to complete and requires that the prescriber submit it to the
               authorized distributor once, and if the prescriber chooses to use a certified pharmacy to dispense
               mifepristone, they will need to submit the form to the certified pharmacy.

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               There is an additional requirement added for certified pharmacies and certified prescribers in the event
               that a patient will not receive their medication from the certified pharmacy within four calendar days of
               the pharmacy’s receipt of the prescription (for example, if the medication is not in stock). In this
               circumstance, the pharmacy will be required to contact the certified prescriber to make them aware of
               the delay and will be required to obtain from the prescriber confirmation that it is appropriate to
               dispense mifepristone to the patient even though they will receive mifepristone more than four calendar
               days after the prescription was received by the certified pharmacy. This confirmation is intended to
               ensure timeliness of delivery in light of the labeled indication and gestational age. Additional details and
               rationale on the pharmacy requirements to dispense and ship drug in a timely manner are described in
               section 3.3.2.3.
               If a certified prescriber becomes aware of a patient death that occurs subsequent to the use of
               mifepristone dispensed from a pharmacy, the certified prescriber must obtain the NDC and lot number of
               the package of mifepristone the patient received from the pharmacy. This information will be reported to
               the appropriate Mifepristone Sponsor in the same manner prescribers have done previously. This
               additional requirement to obtain the NDC and lot number from the pharmacy is needed to ensure
               consistent adverse event reporting when mifepristone is dispensed from a certified pharmacy.
               Prescriber Agreement Form
               The Sponsors’ proposed changes to the Prescriber Agreement Form aligned with those described above.
               The proposed Prescriber Agreement Form explains the two methods of certification which are: 1)
               submitting the form to the authorized distributor and 2) submitting the form to the dispensing certified
               pharmacy. Further clarification was added that healthcare settings, such as medical offices, clinics, and
               hospitals, where mifepristone will be dispensed by or under the supervision of a certified prescriber in
               the Mifepristone REMS Program do not require pharmacy certification. The statement that certified
               prescribers are responsible for overseeing implementation and compliance with the REMS Program was
               also added. The following statement was added to the form: “I understand that the pharmacy may
               dispense mifepristone made by a different manufacturer than that stated on the Prescriber Agreement
               Form.” The account set up information was removed and replaced with prescriber information response
               fields.
               Reviewer Comment: We agree with the Sponsors’ proposal. Changes in the above prescriber
               requirements were incorporated in the Prescriber Agreement Form.


                           3.3.2.2.     Patient Requirements
               The Patient Agreement Form was updated to clarify that the signatures may be written or electronic, to
               reorganize the risk information about ectopic pregnancy, and to remove the statement that the
               Medication Guide will be taken to an emergency room or provided to a healthcare provider who did not
               prescribe mifepristone so that it is known that the patient had a medical abortion with mifepristone.
               The following materials support patient requirements:
               x Patient Agreement Form
               Reviewer Comment: We agree with the Sponsors’ proposal.
               The Patient Agreement Form continues to be an important part of standardizing the medication
               information on the use of mifepristone that prescribers communicate to their patients, and also provides
               the information in a brief and understandable format for patients. The requirement to counsel the

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               patient, to provide the patient with the Patient Agreement Form, and to have the healthcare provider
               and patient sign the Patient Agreement Form, ensures that each provider, including new providers,
               informs each patient of the appropriate use of mifepristone, risks associated with treatment, and what
               to do if the patient experiences symptoms that may require emergency care. The form is signed by the
               patient and the provider and placed in the patient’s medical record, and a copy is provided to the
               patient, to document the patient’s acknowledgment of receiving the information from the prescriber.
               The Agency agrees that the further clarification that signatures can be written or electronic is
               appropriate for the continued use of the form.
               The reference to ectopic pregnancy has been reorganized in the document since it is not a risk of the
               drug. The signs and symptoms of an untreated ectopic pregnancy that may persist after mifepristone use
               have been clarified in the section of the form that explains the signs and symptoms of potential problems
               that may occur after mifepristone use.
               The review team agrees with removing the patient’s agreement to take the Medication Guide with them
               if they visit an emergency room or HCP who did not give them mifepristone so the emergency room or
               HCP will understand that the patient is having a medical abortion. Although this statement has been in
               the Medication Guide for a number of years, upon further consideration, the Agency has concluded that
               patients seeking emergency medical care are not likely to carry a Medication Guide with them, the
               Medication Guide is readily available online, and information about medical conditions and previous
               treatments can be obtained at the point of care.


                           3.3.2.3.     Pharmacy Requirements
               The Sponsors proposed that certified pharmacies, in addition to certified prescribers and HCPs under the
               supervision of certified prescribers, can dispense mifepristone. In order for a pharmacy to become
               certified, the pharmacy must designate an authorized representative to carry out the certification
               process and oversee implementation and compliance with the Mifepristone REMS Program on behalf of
               the pharmacy. The Authorized Representative must certify that they have read and understood the
               Prescribing Information for mifepristone. Each location of the pharmacy must be able to receive
               Prescriber Agreement Forms by email and fax and be able to ship mifepristone using a shipping service
               that provides tracking information.
               Additionally, each dispensing pharmacy location must put processes and procedures in place to fulfill
               the REMS requirements. Certified pharmacies must verify prescriber certification by confirming they
               have obtained a copy of the prescriber’s signed Prescriber Agreement Form before dispensing. Certified
               pharmacies must dispense mifepristone such that it is received by the patient within four days from the
               day of prescription receipt by the pharmacy. If the pharmacy will not be able to deliver mifepristone to
               the patient within four days of receipt of the prescription, the pharmacy must contact the prescriber to
               confirm the appropriateness of dispensing mifepristone and document the certified prescriber’s
               decision. The pharmacy must also record the NDC and lot number from each package of mifepristone
               dispensed in the patient’s record, track and verify receipt of each shipment of mifepristone, dispense
               mifepristone in its original package, and only distribute, transfer, loan, or sell mifepristone to certified
               prescribers or between locations of the certified pharmacy. The pharmacy must also report any patient
               deaths to the prescriber, including the NDC and lot number from the package dispensed to the patient,
               and remind the prescriber of their obligation under the REMS to report patient deaths to the Sponsor
               that supplied the mifepristone; the certified pharmacy also must notify the Sponsor that supplied the
               mifepristone that the pharmacy submitted a report of a patient death to the prescriber and include the
               name and contact information for the prescriber as well as the NDC and lot number of the dispensed


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               product. Record-keeping requirements of the pharmacy include records of Prescriber Agreement Forms,
               mifepristone dispensing and shipping, and all processes and procedures and compliance with those
               processes and procedures. Pharmacies must train all relevant staff and participate in compliance audits.
               Pharmacies must also maintain the identity of patients and providers as confidential, including limiting
               access to patient and provider identity only to those personnel necessary to dispense mifepristone in
               accordance with the Mifepristone REMS Program requirements, or as necessary for payment and/or
               insurance purposes. The requirement that mifepristone not be dispensed from retail pharmacies was
               removed.
               The following materials support pharmacy requirements:
               x Pharmacy Agreement Form for Danco Laboratories, LLC
               x Pharmacy Agreement Form for GenBioPro, Inc.
               Reviewer Comment: We agree with the Sponsors’ proposal. The Mifepristone REMS Program continues
               to require that mifepristone be prescribed only by certified prescribers. With the removal of the in-person
               dispensing requirement, however, mifepristone can be dispensed from a pharmacy, provided the product
               is prescribed by a certified prescriber and all other requirements of the REMS are met. Given this
               modification to the dispensing requirements in the REMS, it is necessary to add a requirement for
               certification of pharmacies. Adding the pharmacy certification requirement incorporates pharmacies into
               the REMS, ensures that pharmacies are aware of and agree to follow applicable REMS requirements, and
               ensures that mifepristone is only dispensed pursuant to prescriptions that are written by certified
               prescribers. Without pharmacy certification, a pharmacy might dispense product that was not prescribed
               by a certified prescriber. Adding pharmacy certification ensures that the prescriber is certified prior to
               dispensing the product to a patient; certified prescribers, in turn, have agreed to meet all the conditions
               of the REMS, including ensuring that the Patient Agreement Form is completed. In addition, wholesalers
               and distributors can only ship to certified pharmacies. Based on our review and our consideration of the
               distribution model implemented by the Sponsors during the periods when the in-person dispensing
               requirement was not being enforced, as well as REMS assessment data and published literature, we
               conclude that provided all other requirements of the REMS are met, the REMS program, with the
               removal of the in-person dispensing requirement and the addition of a requirement for pharmacy
               certification, will continue to ensure the benefits of mifepristone for medical abortion outweigh the risks
               while minimizing the burden imposed by the REMS on healthcare providers and patients.

               The requirement to maintain confidentiality, including limiting access to patient and provider identity
               only to those personnel necessary for dispensing under the Mifepristone REMS Program or as necessary
               for payment and/or insurance purposes, is included to avoid unduly burdening patient access.

               The Sponsors proposed inclusion of this requirement because of concerns that patients may be reluctant
               or unwilling to seek to obtain mifepristone from pharmacies if they are concerned that confidentiality of
               their medical information could be compromised, potentially exposing them to intimidation, threats, or
               acts of violence by individuals opposed to the use of mifepristone for medical abortion. e Further,
               unwillingness on the part of prescribers to participate in the Mifepristone REMS Program on the basis of

               e
                See e.g., 2020 Violence and Disruption Statistics, National Abortion Federation (Dec. 16, 2021),
               https://prochoice.org/national-abortion-federation-releases-2020-violence-disruption-statistics/;
               Amanda Musa, CNN, Wyoming Authorities Search for a Suspect Believed to Have Set an Abortion Clinic on Fire,
               CNN WIRE (June 10, 2022), https://abc17news.com/news/2022/06/10/wyoming-authorities-search-for-a-suspect-
               believed-to-have-set-an-abortion-clinic-on-fire/.

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               similar confidentiality concerns may unduly burden patient access by limiting the number of prescribers
               who are willing to send prescriptions to certified pharmacies. Addition of this requirement protects
               patient access by requiring the pharmacy to put processes and procedures in place to limit access to
               confidential information to only those individuals who are essential for dispensing mifepristone under the
               Mifepristone REMS Program or as necessary for payment or insurance purposes. Inclusion of this
               requirement for certified pharmacies is consistent with the requirement in the current Mifepristone
               REMS Program, that distributors maintain secure and confidential records.

               Reference to mifepristone not being available in retail pharmacies was removed from the REMS. There is
               no single definition of the term "retail pharmacy” and therefore the scope of the exclusion in the REMS
               was not well defined. Including a restriction in the Mifepristone REMS Program that retail pharmacies
               cannot participate in the REMS may unintentionally prohibit the participation of mail order and specialty
               pharmacies that could, under one or more definitions, also be considered a “retail pharmacy.”

               After reconsideration of the term, “retail,” the Agency concluded that a more appropriate approach was
               to articulate the specific requirements that would be necessary for pharmacy certification. As modified,
               the REMS will not preclude the participation of any pharmacy that meets the certification requirements.
               However, we acknowledge that the provision in the REMS related to pharmacies’ verification of
               prescriber enrollment will likely limit the types of pharmacies that will choose to certify in the REMS. The
               REMS requires that pharmacies dispense mifepristone only after verifying that the prescriber is certified.
               The REMS further requires that pharmacies be able to receive the Prescriber Agreement Forms by email
                                                                                                                   (b) (4)
               and fax.




               The pharmacy certification requirements include that the drug reach patients within four days of the
               certified pharmacy receiving the prescription. During the course of the review, the review team
               concluded that requiring medication delivery to the patient within four days of the pharmacy’s receipt of
               a prescription is acceptable based on the labeled indication and literature,13 while taking into account
               practical shipping considerations (e.g., shipping over weekends and holidays). For patients who will not
               receive the drug within four calendar days of the date the pharmacy receives the prescription, the
               pharmacy must notify the certified prescriber and the certified prescriber must determine if it is still
               appropriate for the certified pharmacy to dispense the drug. The pharmacy must document the certified
               prescriber’s decision. A prescriber’s confirmation that it is appropriate to dispense mifepristone when it
               will not be delivered to the patient within the allotted four days is intended to ensure timeliness of
               delivery in light of the labeled indication and gestational age.




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               Pharmacy Agreement Form
               The proposed Pharmacy Agreement Form is a new form and is the means by which a pharmacy becomes
               certified to dispense mifepristone. The form, which is submitted by an authorized representative on
               behalf of a pharmacy seeking certification, outlines all requirements proposed above. Clarification is
               included in the form that healthcare settings, such as medical offices, clinics, and hospitals, where
               mifepristone will be dispensed by or under the supervision of a certified prescriber in the Mifepristone
               REMS Program, do not require pharmacy certification. Any new authorized representative must
               complete and submit the Pharmacy Agreement Form. Spaces for specific authorized representative
               information and pharmacy name and address are included. The completed form can be submitted by
               email or fax to the authorized distributor.
               Reviewer Comment: We agree with the Sponsors’ proposal. The Pharmacy Agreement Form aligns with
               the pharmacy requirements discussed above.


                           3.3.2.4.     Distributor Requirements
               The Sponsors proposed that the distributors’ processes and procedures in the approved Mifepristone
               REMS Program be updated to ensure that mifepristone is only shipped to clinics, medical offices and
               hospitals identified by certified prescribers and to certified pharmacies. Distributors will continue to
               complete the certification process for any Prescriber Agreement Forms they receive and also will
               complete the certification process for pharmacies upon receipt of a Pharmacy Agreement Form,
               including notifying pharmacies when they become certified. FDA was removed as a potential auditor for
               distributors.

               Reviewer Comment: We agree with the Sponsors’ proposal. At this time, FDA does not audit distributors
               directly, it carries out inspections of Sponsors to monitor industry compliance with REMS requirements.

                        3.3.3. REMS Sponsor Requirements
                            3.3.3.1. Sponsor Requirements to Support Prescriber Certification
               The Sponsors proposed additions to this section of the REMS document, including that Sponsors will
               ensure prescribers can complete the certification process by email or fax to an authorized distributor
               and/or certified pharmacy, and that Sponsors will ensure annually with each certified prescriber that
               their locations for receiving mifepristone are up to date. Sponsors will also ensure prescribers previously
               certified in the Mifepristone REMS Program complete the new Prescriber Agreement Form: (1) within
               120 days after approval of this modification, for those previously certified prescribers submitting
               prescriptions to certified pharmacies, or (2) within one year after approval of this modification, if
               previously certified and ordering from an authorized distributor.
               Reviewer Comment: We agree with the Sponsors’ proposal. The requirement to confirm that the
               locations associated with the certified prescriber are current is parallel to the pharmacy requirement that
               the authorized representative’s contact information is up to date. In determining the pharmacy
               requirement, which is necessary to ensure program compliance and is consistent with other approved
               REMS that include pharmacy certification, the Agency also concluded that a parallel requirement for
               certified prescribers should be added.
               With respect to recertification, it is important that active certified prescribers are informed of and agree
               to new REMS requirements to ensure the continued safe use of mifepristone. There is minimal burden to
               recertification and the timelines allow sufficient time to accomplish recertification.


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                           3.3.3.2.    Sponsor Requirements to Support Pharmacy Certification
               The Sponsors proposed the addition of Sponsor requirements to support pharmacy certification and
               compliance, including ensuring that pharmacies are certified in accordance with the requirements in the
               Mifepristone REMS Program, de-certifying pharmacies that do not maintain compliance with the
               certification requirements, and ensuring that pharmacy certification can be completed by email and fax
               to an authorized distributor. Annually, the authorized representative’s name and contact information
               will be verified to ensure it corresponds to that of the current designated authorized representative for
               the certified pharmacy, and if different, a new authorized representative must certify for the pharmacy.
               All reference to the requirement in the 2021 Mifepristone REMS Program that mifepristone to be
               dispensed to patients only in clinics, medical offices and hospitals by or under the supervision of a
               certified prescriber, and not from retail pharmacies, was removed.
               Reviewer Comment: We agree with the Sponsors’ proposal. Changes are in line with the REMS
               Modification Notification letters sent December 16, 2021. Refer to section 3.3.2.3 Reviewer Comments
               on Pharmacy Certification for rationale for removing the statement that mifepristone is not distributed
               to or dispensed from retail pharmacies. Ensuring that the authorized representative’s contact
               information is up to date is necessary to ensure that there is always a point person who is responsible for
               implementing the Mifepristone REMS Program in their pharmacy and can address any changes that are
               needed if pharmacy audits identify a need for improvement.


                           3.3.3.3.    Sponsor Implementation Requirements
               The Sponsors proposed that they will ensure that adequate records are maintained to demonstrate that
               REMS requirements have been met (including but not limited to records of mifepristone distribution,
               certification of prescribers and pharmacies, and audits of pharmacies and distributors), and that the
               records must be readily available for FDA inspections. The distributor audit requirement was updated to
               audit new distributors within 90 calendar days of becoming authorized and annually thereafter (a one-
               time audit requirement was previously required). The Sponsors also proposed a pharmacy audit
               requirement whereby certified pharmacies that order mifepristone are audited within 180 calendar days
               after the pharmacy places its first order of mifepristone, and annually thereafter for pharmacies that
               ordered in the previous 12 months.
               Reviewer’s Comment: We agree with the Sponsors’ proposal.
               The number of pharmacies that will certify in the REMS is uncertain; therefore, to obtain a reliable
               sample size for the audits, the Sponsors will need to audit all certified pharmacies within 180 calendar
               days after the pharmacy places its first order and annually thereafter for pharmacies that have ordered
               mifepristone in the previous 12 months. Audits performed at 180 days should allow time for
               establishment and implementation of audit protocols and for the Sponsors to perform the audits. With
               the addition of more stakeholders (i.e., certified pharmacies), it is also necessary to audit distributors
               annually to ensure the REMS requirements are followed. The requirement to conduct audits annually
               may be revisited if assessment data shows that the REMS is meeting its goal.


                    3.4. REMS Assessment Timetable

               The Sponsors proposed that assessments must be submitted one year from the approval of the modified
               REMS and annually thereafter, instead of every three years as per the previous requirement.


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               Reviewer’s Comment: We agree with the Sponsors’ proposal. With the addition of new pharmacy
               stakeholders and removal of the in-person dispensing requirement, more frequent assessment after this
               REMS modification is needed to ensure REMS processes are being followed and that the REMS is meeting
               its goal. The requirement can be revisited at a later date if assessment data shows that the modified
               REMS is meeting its goal. The NDA applicant is required to submit assessment reports as outlined in the
               timetable for submission of assessments. These reports address requirements for the Mifepristone REMS
               Program. The Sponsors have indicated that some data will be submitted as separate reports when
               Sponsor-specific information is needed to address the assessment metrics.


               4. Supporting Document
               The Sponsors’ REMS Supporting Document was substantially updated to include information regarding
               the proposed modification under review. Background and rationale from the 12/16/21 REMS
               Modification Notification letters was included. An updated description of the REMS goal and the ETASU
               was also included to align with the changes in the REMS Document and provide further clarification.
               Further explanation of prescriber requirements and rationale for various pharmacy requirements was
               also included.
               Regarding implementation of the modified REMS, the Sponsors additionally proposed that pharmacies
               that received and shipped mifepristone during the Agency’s exercise of enforcement discretion during
               the COVID-19 PHE, that wish to continue to dispense mifepristone, will be required to comply with the
               pharmacy certification requirements within 120 days of approval of the modified REMS.
               The communication strategy to alert current and future prescriber and pharmacy stakeholders was
               outlined. Distributors, certified prescribers that purchased mifepristone in the last twelve months, and
               various professional organizations will receive information about REMS changes within 120 days of
               modification approval. The Sponsors proposed to list pharmacies that agree to be publicly disclosed on
               their respective product websites but disclosure of this nature is not a requirement of the REMS. The
               Sponsors indicated that they anticipate certified pharmacies that do not agree to public disclosure will
               communicate with the certified prescribers they wish to work with.
               The REMS Assessment Plan is discussed in the following section.
               Reviewer’s Comment: We agree with the Sponsors’ proposal. The Supporting Document addresses all
               REMS requirements and provides sufficient clarification of implementation and maintenance of the
               REMS. The implementation requirements for pharmacies currently dispensing mifepristone under FDA’s
               exercise of enforcement discretion during the COVID-19 PHE provide for continued use of these
               pharmacies without breaks in service. The communication strategy is also adequate given the efforts to
               reach both established certified prescribers and potentially new prescribers through professional
               organizations.
               The Sponsors’ plan to communicate which pharmacies are certified to certified prescribers is adequate.
               For the reasons listed in section 3.3.2.3, confidentiality is a concern for REMS stakeholders. Disclosure of
               pharmacy certification status should be a choice made by individual certified pharmacies. The Sponsors
               have indicated that there will be some certified pharmacies that have agreed to publicly disclose their
               status, making this information available to certified prescribers who wish to use a pharmacy to dispense
               mifepristone.

               5. REMS Assessment Plan

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               The REMS Assessment Plan is summarized in the REMS Supporting Document and will be included in the
               REMS Modification Approval letter.
               The REMS Assessment Plan was revised to align with the modified REMS goal and objectives.
               The goal of the Mifepristone REMS Program is to mitigate the risk of serious complications associated
               with mifepristone by:
                    a. Requiring healthcare providers who prescribe mifepristone to be certified in the
                        Mifepristone REMS Program.
                            x This objective will be assessed using REMS Certification Statistics and REMS
                               Compliance metrics.
                    b. Ensuring that mifepristone is only dispensed by or under the supervision of certified
                        prescribers, or by certified pharmacies on prescriptions issued by certified
                        prescribers.
                            x This objective will be assessed using REMS Certification Statistics and REMS
                               Compliance metrics.
                    c. Informing patients about the risk of serious complications associated with mifepristone.
                            x This objective will be indirectly assessed using REMS Certification Statistics to avoid
                                compromising patient and prescriber confidentiality. As part of the certification
                                process, healthcare providers agree to:
                                x Ensure that the Patient Agreement Form is reviewed with the patient and the risks
                                    of the mifepristone treatment regimen are fully explained
                                x Ensure that the Patient Agreement Form is signed by the healthcare provider and
                                    the patient
                                x Ensure that the patient is provided with a copy of the Patient Agreement Form and
                                    the Medication Guide
                                x Ensure that the signed Patient Agreement Form is placed in the patient’s medical
                                    record

               The following revisions were made from the Mifepristone REMS Assessment Plan in the April 11, 2019,
               Supplement Approval letter:

               The Assessment Plan Categories of 1) Program Implementation and Operations and 2) Overall
               Assessment of REMS Effectiveness were added.

               REMS Certification Statistics metrics were added to capture certification numbers for program
               stakeholders to assess the first objective of requiring healthcare providers who prescribe mifepristone
               to be certified and the second objective of ensuring that mifepristone is only dispensed by or under the
               supervision of certified prescribers, or by certified pharmacies on prescriptions issued by certified
               prescribers. The total number of certified prescribers who certified with the wholesaler/distributor and
               the total number of certified prescribers who submitted a Prescriber Agreement Form to certified
               pharmacies were added to capture the additional method of prescriber certification. The number of
               newly certified prescribers and the number of active certified prescribers (i.e., those who ordered
               mifepristone or submitted a prescription during the reporting period) were added. Metrics were also
               added to capture the total number of certified, newly certified, and active certified pharmacies as well
               as the total number of authorized, newly authorized, and active authorized wholesaler/distributors.


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               Drug Utilization Data metrics were added to obtain information on shipment and dispensing of
               mifepristone. Metrics were added to capture the total number of tablets shipped by the
               wholesaler/distributor and the number of prescriptions dispensed.

               REMS Compliance Data metrics were added to assess the first objective of requiring healthcare
               providers who prescribe mifepristone to be certified and the second objective of ensuring that
               mifepristone is only dispensed by or under the supervision of certified prescribers, or by certified
               pharmacies on prescriptions issued by certified prescribers. These metrics capture program deviations
               and evaluate overall if the REMS is operating as intended. Metrics include certified pharmacies and
               wholesaler/distributor audit results and a summary of instances of non-compliance and actions taken to
               address non-compliance. Prescriber compliance metrics were added to assess if prescribers are
               decertified along with reasons why. Pharmacy compliance metrics were added to assess if prescriptions
               were dispensed that were written by non-certified prescribers or if mifepristone tablets were dispensed
               by non-certified pharmacies as well as the number of pharmacies that were decertified along with
               reasons why. Wholesaler/distributor metrics were added to assess if shipments were sent to non-
               certified prescribers and non-certified pharmacies and corrective actions taken. The audit plan and non-
               compliance plans will be submitted for FDA review within 60 days after the REMS modification approval.

               The Sponsors were asked to develop an assessment of prescription delivery timelines to determine what
               percentage of prescriptions were delivered on time (within four calendar days) and what percentage
               were delivered late (more than four calendar days) along with the length of the delay and reasons for
               the delay (e.g., mifepristone is out of stock shipment issues, other). The protocol for this assessment
               will be submitted for FDA review within 60 days after the REMS modification approval.

               The revised REMS Assessment Plan is in the Appendix.
               Reviewer’s Comment: We agree with the Sponsors’ proposed REMS Assessment Plan.

               6. Discussion
               The Sponsors submitted changes to the REMS to remove the requirement that mifepristone be
               dispensed only in certain healthcare settings (i.e., the “in-person dispensing requirement”) and to add
               that certified pharmacies can dispense the drug in order to minimize the burden on the healthcare
               delivery system of complying with the REMS and to ensure that the benefits of the drug outweigh the
               risks. The REMS goal was updated to this effect. Changes were required for prescriber requirements and
               Sponsors to support the change in ETASU, and new pharmacy requirements were introduced.
               The qualifications to become a certified prescriber have not changed as a result of the modification to
               the Mifepristone REMS Program; however, clarification has been provided for certain prescriber
               requirements and new prescriber requirements have been added to support pharmacy dispensing.
               Although certain responsibilities may be conducted by staff under the supervision of a certified
               prescriber, the certified prescriber remains responsible for ensuring compliance with the requirements
               of the Mifepristone REMS Program. In order to clarify this, revisions were made throughout the
               prescriber requirements and REMS materials to reflect that the certified prescriber is responsible for
               ensuring that the prescriber requirements are met. Additionally, the review team finds it acceptable that
               certified prescribers who wish to use a certified pharmacy to dispense mifepristone submit their
                                                                                                                    (b) (4)
               Prescriber Agreement Form to the dispensing certified pharmacy
                                                                                         . The burden to prescriber and

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               pharmacy stakeholders of having certified prescribers submit the form directly to the certified pharmacy
               that will be dispensing the mifepristone is not unreasonable and has been minimized to the extent
               possible; it does not impact the safe use of the product. Prescriber requirements necessitated by the
               addition of some pharmacy requirements were added as well and include prescriber responsibilities in
               deciding whether or not mifepristone should be dispensed if the patient will receive the drug from the
               certified pharmacy more than four days after the pharmacy receives the prescription, and prescriber
               adverse event reporting requirements if a prescriber becomes aware of a patient death and the
               mifepristone was dispensed from a certified pharmacy. The addition of the latter requirements will
               ensure consistent adverse event data is relayed to the relevant Mifepristone Sponsor.
               Changes were made to the Patient Agreement Form. Changes to the form were added to improve clarity
               of the safety messages. After further consideration, the patient’s agreement to take the Medication
               Guide with them if they visit an emergency room or HCP who did not give them mifepristone so the
               emergency room or HCP will understand that the patient is having a medical abortion has been removed
               from the Patient Agreement Form. The Medication Guide is not typically carried by patients and this
               information can be obtained at the point of care. Changes align with updates to labeling submitted with
               this modification.13, 14
               The Agency and Sponsors agreed during this modification to focus on certification of pharmacies that
               can receive Prescriber Agreement Forms via email or fax to complete the prescriber certification process.
               The proposed pharmacy certification requirements also support timely dispensing of mifepristone. If the
               mifepristone is shipped to the patient, the REMS requires that it must be delivered within four calendar
               days from the receipt of the prescription by the pharmacy; if the patient will receive the mifepristone
               more than four calendar days from pharmacy receipt of prescription, the REMS requires the pharmacist
               to confirm with the certified prescriber that it is still appropriate to dispense the drug to the patient.
               This allows prescribers to make treatment decisions based on individual patient situations. A
               requirement to maintain confidentiality was also added to avoid unduly burdening patient access since
               patients and prescribers may not utilize pharmacy dispensing if they believe their personal information
               is at risk. Ultimately, the addition of pharmacy distribution with the proposed requirements will offer
               another option for dispensing mifepristone, alleviating burden associated with the REMS.
                                                                                                                  (b) (4)




                        .
               The Agency reviewed the REMS in 2021, and per the review team’s conclusions, a REMS modification
               was necessary to remove the in-person dispensing requirement and add a requirement that pharmacies
               that dispense the drug be specially certified; the review team concluded that these changes could occur
               without compromising patient safety. There have been no new safety concerns identified relevant to the
               REMS ETASUs that the applicants proposed modifying in their June 22, 2022 submissions since the REMS
               Modification Notification letters dated 12/16/2021. It is still the position of the review team that the
               proposed modification is acceptable.
               Because the modification proposed include changes to the ETASU of the Mifepristone REMS Program,
               the assessment plan and timetable of assessments were changed. The assessment plan will capture
               information on pharmacy dispensing and provide valuable insight as to whether the program is
               operating as intended Annual assessments are consistent with other approved REMS modifications for
               major modifications necessitating extensive assessment plan changes.

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               As part of the REMS Assessment Plan, the REMS goal and objectives are assessed using Program
               Implementation and Operations Metrics, including REMS Certification Statistics and REMS Compliance
               Data. The metrics will provide information on the number of certified prescribers, certified pharmacies,
               and authorized wholesalers/distributors as well as if mifepristone is dispensed by non-certified
               prescribers or pharmacies. The Sponsors will use the indirect measure of healthcare provider
               certification to address the objective of informing patients of the risk of serious complications of
               mifepristone, due to concerns with prescriber and patient confidentiality. Although we typically assess
               whether patients are informed of the risks identified in a REMS through patient surveys and/or focus
               groups, we agree that the Sponsors’ continued use of the indirect measure of healthcare provider
               certification adequately addresses the Mifepristone REMS Program objective of informing patients. In
               addition, because of these prescriber and patient confidentiality concerns, we believe it is unlikely that
               the Agency would be able to use the typical methods of assessment of patient knowledge and
               understanding of the risks and safe use of mifepristone.


               7. Conclusions and Recommendations
               The review team finds the proposed REMS modification for the Mifepristone REMS Program, as
               submitted on June 22, 2022, and amended on October 19, 2022 (Danco) and October 20, 2022 (GBP),
               November 30, 2022 (both), December 9 (both), and December 16 (both) acceptable. The REMS
               materials were amended to be consistent with the revised REMS document. The review team
               recommends approval of the Mifepristone REMS Program, received on June 22, 2022, and last amended
               on December 16, 2022, and appended to this review.


               8. References
                                                   (b) (6)
               1.                          Clinical Review of SE-2 Efficacy Supplement for mifepristone, NDA
               020687. March 29, 2016. DARRTS Reference ID: 3909590.
                                    (b) (6)
               2.                 Summary Review for Regulatory Action for mifepristone, NDA 020687. March 29,
               2016. DARRTS Reference ID: 3909594.
                                     (b) (6)
               3.                              REMS Review for mifepristone, NDA 020687. March 29, 2016. DARRTS Reference
               ID: 3909588.
                                     (b) (6)
               4.                              REMS Review for mifepristone, NDA 020687. March 29, 2016. DARRTS Reference
               ID: 3909587.
               5.    Approval Letter for SE-2 Efficacy Supplement for mifepristone, NDA 020687. March 29, 2016.
               DARRTS Reference ID: 3909592.
                          (b) (6)
               6.                   REMS Review for mifepristone, NDA 020687. February 22, 2018. DARRTS Reference ID:
               4224674.
               7.    Approval Letter for SE-20 REMS Supplement for mifepristone, NDA 020687. March 29, 2016.
               DARRTS Reference ID: 4418041.
               8.      Am. Coll. of Obstetricians & Gynecologists v. FDA, 472 F. Supp. 3d 183, 233 (D. Md. July 13,
               2020), order clarified, 2020 WL 8167535 (D. Md. Aug. 19, 2020) (preliminarily enjoining FDA from
               enforcing the in-person dispensing requirement and any other in-person requirements of the



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               Mifepristone SSS REMS); FDA v. Am. Coll. of Obstetricians & Gynecologists, 141 S. Ct. 578 (Jan. 12, 2021)
               (staying the preliminary injunction imposed by the District Court).
                                           (b) (6)
               9.                           REMS Modification Rationale Review for mifepristone, NDA 020687.
               December 16, 2021. DARRTS Reference ID: 4905882.
               10.    General Advice Letter for the single, shared system Risk Evaluation and Mitigation Strategy
               (REMS) for mifepristone, NDA 020687, April 15, 2022. DARRTS ID 4969358.
               11.     Format and Content of a REMS Document Guidance for Industry
               https://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/UCM18
               4128.pdf. Accessed on December 18, 2022.
               12.     Grossman D, Raifman S, Morris N, et.al. Mail-order pharmacy dispensing of mifepristone for
               medication abortion after in-person clinical assessment. Contraception 2022; 107:36-41.
               https://doi.org/10.1016/j.contraception.2021.09.008. This article was included in the literature review
               for the December 16, 2021 REMS Modification Rationale Review, while the article was still in press.


               9. Appendices
               REMS Document

               Prescriber Agreement Form for Danco Laboratories, LLC

               Prescriber Agreement Form for GenBioPro, Inc.

               Patient Agreement Form

               Pharmacy Agreement Form for Danco Laboratories, LLC

               Pharmacy Agreement Form for GenBioPro, Inc.

               Mifepristone REMS Assessment Plan




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                                      RISK EVALUATION AND MITIGATION STRATEGY (REMS)
                                       SINGLE SHARED SYSTEM FOR MIFEPRISTONE 200 MG

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                              xPrescriber Agreement Form for GenBioPro, Inc.
                              xPatient Agreement Form



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                                  &RPSOHWHDPharmacy Agreement Form%\VLJQLQJDPharmacy Agreement FormWKH
                                    DXWKRUL]HGUHSUHVHQWDWLYHDJUHHVWKDWWKHSKDUPDF\ZLOOSXWSURFHVVHVDQGSURFHGXUHVLQ
                                    SODFHWRHQVXUHWKHIROORZLQJUHTXLUHPHQWVDUHFRPSOHWHG
                                   D  9HULI\WKDWWKHSUHVFULEHULVFHUWLILHGE\FRQILUPLQJWKHLUFRPSOHWHGPrescriber
                                       Agreement FormZDVUHFHLYHGZLWKWKHSUHVFULSWLRQRULVRQILOHZLWKWKHSKDUPDF\
                                   E  'LVSHQVHPLIHSULVWRQHVXFKWKDWLWLVGHOLYHUHGWRWKHSDWLHQWZLWKLQFDOHQGDUGD\VRI
                                       WKHGDWHWKHSKDUPDF\UHFHLYHVWKHSUHVFULSWLRQH[FHSWDVSURYLGHGLQF EHORZ
                                   F  &RQILUPZLWKWKHSUHVFULEHUWKHDSSURSULDWHQHVVRIGLVSHQVLQJPLIHSULVWRQHIRU
                                       SDWLHQWVZKRZLOOUHFHLYHWKHGUXJPRUHWKDQFDOHQGDUGD\VDIWHUWKHGDWHWKH
                                       SKDUPDF\UHFHLYHVWKHSUHVFULSWLRQDQGGRFXPHQWWKHSUHVFULEHU¶VGHFLVLRQ
                                   G  5HFRUGLQWKHSDWLHQW¶VUHFRUGWKH1'&DQGORWQXPEHUIURPHDFKSDFNDJHRI
                                       PLIHSULVWRQHGLVSHQVHG
                                   H  7UDFNDQGYHULI\UHFHLSWRIHDFKVKLSPHQWRIPLIHSULVWRQH
                                   I  'LVSHQVHPLIHSULVWRQHLQLWVSDFNDJHDVVXSSOLHGE\WKH0LIHSULVWRQH6SRQVRU
                                   J  5HSRUWDQ\SDWLHQWGHDWKVWRWKHSUHVFULEHULQFOXGLQJWKH1'&DQGORWQXPEHUIURP
                                       WKHSDFNDJHRIPLIHSULVWRQHGLVSHQVHGWRWKHSDWLHQWDQGUHPLQGWKHSUHVFULEHURI
                                       WKHLUREOLJDWLRQWRUHSRUWWKHGHDWKVWRWKH0LIHSULVWRQH6SRQVRUWKDWSURYLGHGWKH
                                       PLIHSULVWRQH1RWLI\WKH0LIHSULVWRQH6SRQVRUWKDWSURYLGHGWKHGLVSHQVHG
                                       PLIHSULVWRQHWKDWWKHSKDUPDF\VXEPLWWHGDUHSRUWRIGHDWKWRWKHSUHVFULEHU
                                       LQFOXGLQJWKHQDPHDQGFRQWDFWLQIRUPDWLRQIRUWKHSUHVFULEHUDQGWKH1'&DQGORW
                                       QXPEHURIWKHGLVSHQVHGSURGXFW
                                   K  1RWGLVWULEXWHWUDQVIHUORDQRUVHOOPLIHSULVWRQHH[FHSWWRFHUWLILHGSUHVFULEHUVRU
                                       RWKHUORFDWLRQVRIWKHSKDUPDF\
                                   L  0DLQWDLQUHFRUGVRIPrescriber Agreement Forms
                                   M  0DLQWDLQUHFRUGVRIGLVSHQVLQJDQGVKLSSLQJ
                                   N  0DLQWDLQUHFRUGVRIDOOSURFHVVHVDQGSURFHGXUHVLQFOXGLQJFRPSOLDQFHZLWKWKRVH
                                       SURFHVVHVDQGSURFHGXUHV
                                   O  0DLQWDLQWKHLGHQWLW\RIWKHSDWLHQWDQGSUHVFULEHUDVFRQILGHQWLDOLQFOXGLQJOLPLWLQJ
                                       DFFHVVWRSDWLHQWDQGSUHVFULEHULGHQWLW\RQO\WRWKRVHSHUVRQQHOQHFHVVDU\WRGLVSHQVH
                                       PLIHSULVWRQHLQDFFRUGDQFHZLWKWKH0LIHSULVWRQH5(063URJUDPUHTXLUHPHQWVRUDV
                                       QHFHVVDU\IRUSD\PHQWDQGRULQVXUDQFHSXUSRVHV
                                   P  7UDLQDOOUHOHYDQWVWDIIRQWKH0LIHSULVWRQH5(063URJUDPUHTXLUHPHQWV




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                                   Q  &RPSO\ZLWKDXGLWVFDUULHGRXWE\WKH0LIHSULVWRQH6SRQVRUVRUDWKLUGSDUW\DFWLQJ
                                       RQEHKDOIRIWKH0LIHSULVWRQH6SRQVRUVWRHQVXUHWKDWDOOSURFHVVHVDQGSURFHGXUHV
                                       DUHLQSODFHDQGDUHEHLQJIROORZHG
                        E 0LIHSULVWRQH6SRQVRUVPXVW
                            L (QVXUHWKDWSKDUPDFLHVDUHVSHFLDOO\FHUWLILHGLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVGHVFULEHG
                                 DERYHDQGGHFHUWLI\SKDUPDFLHVWKDWGRQRWPDLQWDLQFRPSOLDQFHZLWKFHUWLILFDWLRQ
                                 UHTXLUHPHQWV
                            LL (QVXUHWKDWSKDUPDFLHVFDQFRPSOHWHWKHFHUWLILFDWLRQSURFHVVE\HPDLODQGID[WRDQ
                                 DXWKRUL]HGGLVWULEXWRU
                            L 9HULI\DQQXDOO\WKDWWKHQDPHDQGFRQWDFWLQIRUPDWLRQIRUWKHSKDUPDF\¶VDXWKRUL]HG
                                UHSUHVHQWDWLYHFRUUHVSRQGVWRWKDWRIWKHFXUUHQWGHVLJQDWHGDXWKRUL]HGUHSUHVHQWDWLYHIRUWKH
                                FHUWLILHGSKDUPDF\DQGLIGLIIHUHQWUHTXLUHWKHSKDUPDF\WRUHFHUWLI\ZLWKWKHQHZ
                                DXWKRUL]HGUHSUHVHQWDWLYH
                            7KHIROORZLQJPDWHULDOVDUHSDUWRIWKH0LIHSULVWRQH5(063URJUDP
                              xPharmacy Agreement Form for Danco Laboratories, LLC
                              xPharmacy Agreement Form for GenBioPro, Inc.
                0LIHSULVWRQHPXVWEHGLVSHQVHGWRSDWLHQWVZLWKHYLGHQFHRURWKHUGRFXPHQWDWLRQRIVDIHXVH
                   FRQGLWLRQVDVHQVXUHGE\WKHFHUWLILHGSUHVFULEHULQVLJQLQJWKHPrescriber Agreement Form
                        D 7KHSDWLHQWPXVWVLJQDPatient Agreement Form LQGLFDWLQJWKDWWKHSDWLHQWKDV
                            L 5HFHLYHGUHDGDQGEHHQSURYLGHGDFRS\RIWKHPatient Agreement Form
                            LL 5HFHLYHGFRXQVHOLQJIURPWKHKHDOWKFDUHSURYLGHUUHJDUGLQJWKHULVNRIVHULRXVFRPSOLFDWLRQV
                                 DVVRFLDWHGZLWKPLIHSULVWRQH

               B. Implementation System
                0LIHSULVWRQH6SRQVRUVPXVWHQVXUHWKDWWKHLUPLIHSULVWRQHLVRQO\GLVWULEXWHGWRFHUWLILHGSUHVFULEHUVDQG
                   FHUWLILHGSKDUPDFLHVE\
                        D (QVXULQJWKDWGLVWULEXWRUVZKRGLVWULEXWH WKHLUPLIHSULVWRQHFRPSO\ZLWKWKHSURJUDP
                            UHTXLUHPHQWVIRUGLVWULEXWRUV 
                            L 7KHGLVWULEXWRUVPXVWSXWSURFHVVHVDQGSURFHGXUHVLQSODFHWR
                                  &RPSOHWHWKHFHUWLILFDWLRQSURFHVVXSRQUHFHLSWRIDPrescriber Agreement FormRU
                                    Pharmacy Agreement Form
                                  1RWLI\KHDOWKFDUHSURYLGHUVDQGSKDUPDFLHVZKHQWKH\KDYHEHHQFHUWLILHGE\WKH
                                    0LIHSULVWRQH5(063URJUDP
                                  6KLSPLIHSULVWRQHRQO\WRFHUWLILHGSKDUPDFLHVRUORFDWLRQVLGHQWLILHGE\FHUWLILHG
                                    SUHVFULEHUV
                                  1RWVKLSPLIHSULVWRQHWRSKDUPDFLHVRUSUHVFULEHUVZKREHFRPHGHFHUWLILHGIURPWKH
                                    0LIHSULVWRQH5(063URJUDP
                                  3URYLGHWKH3UHVFULELQJ,QIRUPDWLRQDQGWKHLU3UHVFULEHU$JUHHPHQW)RUPWRKHDOWKFDUH
                                    SURYLGHUVZKR  DWWHPSWWRRUGHUPLIHSULVWRQHDQGDUHQRW\HWFHUWLILHGRU  LQTXLUH
                                    DERXWKRZWREHFRPHFHUWLILHG
                            LL 3XWSURFHVVHVDQGSURFHGXUHVLQSODFHWRPDLQWDLQDGLVWULEXWLRQV\VWHPWKDWLVVHFXUH



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                                 FRQILGHQWLDODQGIROORZVDOOSURFHVVHVDQGSURFHGXUHVLQFOXGLQJWKRVHIRUVWRUDJHKDQGOLQJ
                                 VKLSSLQJWUDFNLQJSDFNDJHVHULDOQXPEHUV1'&DQGORWQXPEHUVSURRIRIGHOLYHU\DQG
                                 FRQWUROOHGUHWXUQVRIPLIHSULVWRQH
                             LLL7UDLQDOOUHOHYDQWVWDIIRQWKH0LIHSULVWRQH5(063URJUDPUHTXLUHPHQWV
                             LY &RPSO\ZLWKDXGLWVE\0LIHSULVWRQH6SRQVRUVRUDWKLUGSDUW\DFWLQJRQEHKDOIRI
                                 0LIHSULVWRQH6SRQVRUVWRHQVXUHWKDWDOOSURFHVVHVDQGSURFHGXUHVDUHLQSODFHDQGDUHEHLQJ
                                 IROORZHGIRUWKH0LIHSULVWRQH5(063URJUDP,QDGGLWLRQGLVWULEXWRUVPXVWPDLQWDLQ
                                 DSSURSULDWHGRFXPHQWDWLRQDQGPDNHLWDYDLODEOHIRUDXGLWV
                        E (QVXULQJWKDWGLVWULEXWRUVPDLQWDLQVHFXUHDQGFRQILGHQWLDOGLVWULEXWLRQUHFRUGVRIDOOVKLSPHQWV
                            RIPLIHSULVWRQH
                0LIHSULVWRQH6SRQVRUVPXVWPRQLWRUWKHLUGLVWULEXWLRQGDWDWRHQVXUHFRPSOLDQFHZLWKWKH
                   0LIHSULVWRQH5(063URJUDP
                0LIHSULVWRQH6SRQVRUVPXVWHQVXUHWKDWDGHTXDWHUHFRUGVDUHPDLQWDLQHGWRGHPRQVWUDWHWKDWWKH
                   0LIHSULVWRQH5(063URJUDPUHTXLUHPHQWVKDYHEHHQPHWLQFOXGLQJEXWQRWOLPLWHGWRUHFRUGVRI
                   PLIHSULVWRQHGLVWULEXWLRQFHUWLILFDWLRQRISUHVFULEHUVDQGSKDUPDFLHVDQGDXGLWVRISKDUPDFLHVDQG
                   GLVWULEXWRUV7KHVHUHFRUGVPXVWEHUHDGLO\DYDLODEOHIRU)'$LQVSHFWLRQV
                0LIHSULVWRQH6SRQVRUVPXVWDXGLWWKHLUQHZGLVWULEXWRUVZLWKLQFDOHQGDUGD\VDQGDQQXDOO\
                   WKHUHDIWHUDIWHUWKHGLVWULEXWRULVDXWKRUL]HGWRHQVXUHWKDWDOOSURFHVVHVDQGSURFHGXUHVDUHLQSODFH
                   DQGIXQFWLRQLQJWRVXSSRUWWKHUHTXLUHPHQWVRIWKH0LIHSULVWRQH5(063URJUDP0LIHSULVWRQH
                   6SRQVRUVZLOOWDNHVWHSVWRDGGUHVVWKHLUGLVWULEXWRUFRPSOLDQFHLIQRQFRPSOLDQFHLVLGHQWLILHG
                0LIHSULVWRQH6SRQVRUVPXVWDXGLWWKHLUFHUWLILHGSKDUPDFLHVZLWKLQFDOHQGDUGD\VDIWHUWKH
                   SKDUPDF\SODFHVLWVILUVWRUGHURIPLIHSULVWRQHDQGDQQXDOO\WKHUHDIWHUDXGLWFHUWLILHGSKDUPDFLHVWKDW
                   KDYHRUGHUHGPLIHSULVWRQHLQWKHSUHYLRXVPRQWKVWRHQVXUHWKDWDOOSURFHVVHVDQGSURFHGXUHVDUH
                   LQSODFHDQGIXQFWLRQLQJWRVXSSRUWWKHUHTXLUHPHQWVRIWKH0LIHSULVWRQH5(063URJUDP
                   0LIHSULVWRQH6SRQVRUVZLOOWDNHVWHSVWRDGGUHVVWKHLUSKDUPDF\FRPSOLDQFHLIQRQFRPSOLDQFHLV
                   LGHQWLILHG
                0LIHSULVWRQH6SRQVRUVPXVWWDNHUHDVRQDEOHVWHSVWRLPSURYHLPSOHPHQWDWLRQRIDQGFRPSOLDQFHZLWK
                   WKHUHTXLUHPHQWVRIWKH0LIHSULVWRQH5(063URJUDPEDVHGRQPRQLWRULQJDQGDVVHVVPHQWRIWKH
                   0LIHSULVWRQH5(063URJUDP
                0LIHSULVWRQH6SRQVRUVPXVWUHSRUWWR)'$DQ\GHDWKDVVRFLDWHGZLWKPLIHSULVWRQHZKHWKHURUQRW
                   FRQVLGHUHGGUXJUHODWHGDVVRRQDVSRVVLEOHEXWQRODWHUWKDQFDOHQGDUGD\VIURPWKHLQLWLDOUHFHLSW
                   RIWKHLQIRUPDWLRQE\WKH0LIHSULVWRQH6SRQVRU7KLVUHTXLUHPHQWGRHVQRWDIIHFWWKHVSRQVRUV¶RWKHU
                   UHSRUWLQJDQGIROORZXSUHTXLUHPHQWVXQGHU)'$UHJXODWLRQV

               C. Timetable for Submission of Assessments
               7KH1'$6SRQVRUPXVWVXEPLW5(06DVVHVVPHQWVWR)'$RQH\HDUIURPWKHGDWHRIWKHDSSURYDORIWKH
               PRGLILHG5(06  DQGDQQXDOO\WKHUHDIWHU7RIDFLOLWDWHLQFOXVLRQRIDVPXFKLQIRUPDWLRQDV
               SRVVLEOHZKLOHDOORZLQJUHDVRQDEOHWLPHWRSUHSDUHWKHVXEPLVVLRQWKHUHSRUWLQJLQWHUYDOFRYHUHGE\HDFK
               DVVHVVPHQWVKRXOGFRQFOXGHQRHDUOLHUWKDQFDOHQGDUGD\VEHIRUHWKHVXEPLVVLRQGDWHIRUWKDW
               DVVHVVPHQW7KH1'$6SRQVRUPXVWVXEPLWHDFKDVVHVVPHQWVRWKDWLWZLOOEHUHFHLYHGE\WKH)'$RQRU
               EHIRUHWKHGXHGDWH




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                                               MIFEPREX® (Mifepristone) Tablets, 200 mg

                                                   PRESCRIBER AGREEMENT FORM
               0LIHSUH[  0LIHSULVWRQH 7DEOHWVPJLVLQGLFDWHGLQDUHJLPHQZLWKPLVRSURVWROIRUWKHPHGLFDO
               WHUPLQDWLRQRILQWUDXWHULQHSUHJQDQF\WKURXJKGD\VJHVWDWLRQ3OHDVHVHH3UHVFULELQJ,QIRUPDWLRQDQG
               0HGLFDWLRQ*XLGHIRUFRPSOHWHVDIHW\LQIRUPDWLRQ
               7Rbecome a certified prescriber\RXPXVW
                 x If you submit Mifeprex prescriptions for dispensing from certified pharmacies
                    o   6XEPLWWKLVIRUPWRHDFKFHUWLILHGSKDUPDF\WRZKLFK\RXLQWHQGWRVXEPLW0LIHSUH[SUHVFULSWLRQV
                         7KHIRUPPXVWEHUHFHLYHGE\WKHFHUWLILHGSKDUPDF\EHIRUHDQ\SUHVFULSWLRQVDUHGLVSHQVHGE\
                         WKDWSKDUPDF\
                  x If you order Mifeprex for dispensing by you or healthcare providers under your supervision:
                    o   6XEPLWWKLVIRUPWRWKHGLVWULEXWRU7KLVIRUPPXVWEHUHFHLYHGE\WKHGLVWULEXWRUEHIRUHWKHILUVW
                         RUGHUZLOOEHVKLSSHGWRWKHKHDOWKFDUHVHWWLQJ
                    o   +HDOWKFDUHVHWWLQJVVXFKDVPHGLFDORIILFHVFOLQLFVDQGKRVSLWDOVZKHUH0LIHSUH[ZLOOEH
                         GLVSHQVHGE\RUXQGHUWKHVXSHUYLVLRQRIDFHUWLILHGSUHVFULEHULQWKH0LIHSULVWRQH5(06
                         3URJUDPGRQRWUHTXLUHSKDUPDF\FHUWLILFDWLRQ
               Prescriber Agreement: %\VLJQLQJWKLVIRUP\RXDJUHHWKDW\RXPHHWWKHTXDOLILFDWLRQVEHORZDQGZLOO
               IROORZWKHJXLGHOLQHVIRUXVH<RXDUHUHVSRQVLEOHIRURYHUVHHLQJLPSOHPHQWDWLRQDQGFRPSOLDQFHZLWKWKH
               0LIHSULVWRQH5(063URJUDP<RXDOVRXQGHUVWDQGWKDWLIWKHJXLGHOLQHVEHORZDUHQRWIROORZHGWKH
               GLVWULEXWRUPD\VWRSVKLSSLQJPLIHSULVWRQHWRWKHORFDWLRQVWKDW\RXLGHQWLI\DQGFHUWLILHGSKDUPDFLHVPD\
               VWRSDFFHSWLQJ\RXUPLIHSULVWRQHSUHVFULSWLRQV
               Mifepristone must be provided by or under the supervision of a certified prescriber who meets the
               following qualifications:
                 x $ELOLW\WRDVVHVVWKHGXUDWLRQRISUHJQDQF\DFFXUDWHO\
                 x $ELOLW\WRGLDJQRVHHFWRSLFSUHJQDQFLHV
                 x $ELOLW\WRSURYLGHVXUJLFDOLQWHUYHQWLRQLQFDVHVRILQFRPSOHWHDERUWLRQRUVHYHUHEOHHGLQJRUKDYH
                    PDGHSODQVWRSURYLGHVXFKFDUHWKURXJKRWKHUVDQGEHDEOHWRDVVXUHSDWLHQWDFFHVVWRPHGLFDO
                    IDFLOLWLHVHTXLSSHGWRSURYLGHEORRGWUDQVIXVLRQVDQGUHVXVFLWDWLRQLIQHFHVVDU\
                 x +DVUHDGDQGXQGHUVWRRGWKH3UHVFULELQJ,QIRUPDWLRQIRUPLIHSULVWRQH7KH3UHVFULELQJ,QIRUPDWLRQLV
                    DYDLODEOHE\FDOOLQJ($5/<237,21 WROOIUHH RUE\YLVLWLQJ
                    ZZZHDUO\RSWLRQSLOOFRP

               In addition to meeting these qualifications, you also agree to follow these guidelines for use:
                 x (QVXUHWKDWWKHPatient Agreement FormLVUHYLHZHGZLWKWKHSDWLHQWDQGWKHULVNVRIWKHPLIHSULVWRQH
                    WUHDWPHQWUHJLPHQDUHIXOO\H[SODLQHG(QVXUHDQ\TXHVWLRQVWKHSDWLHQWPD\KDYHSULRUWRUHFHLYLQJ
                    PLIHSULVWRQHDUHDQVZHUHG
                 x (QVXUHWKHKHDOWKFDUHSURYLGHUDQGSDWLHQWVLJQWKHPatient Agreement Form
                 x (QVXUHWKDWWKHSDWLHQWLVSURYLGHGZLWKDFRS\RIWKHPatient Agreement FormDQG0HGLFDWLRQ*XLGH
                 x (QVXUHWKDWWKHVLJQHGPatient Agreement FormLVSODFHGLQWKHSDWLHQW VPHGLFDOUHFRUG
                 x (QVXUHWKDWDQ\GHDWKVRISDWLHQWVZKRUHFHLYHG0LIHSUH[DUHUHSRUWHGWR'DQFR/DERUDWRULHV//&
                    LGHQWLI\LQJWKHSDWLHQWE\DQRQLGHQWLILDEOHUHIHUHQFHDQGLQFOXGLQJWKH1'&DQGORWQXPEHUIURPWKH
                    SDFNDJHRI0LIHSUH[WKDWZDVGLVSHQVHGWRWKHSDWLHQW


                                                                  *MIFEPREX is a registered trademark of Danco Laboratories, LLC
                                                                                               P.O. Box 4816-New York, NY 10185
                                                               1-877-4-EARLY-OPTION (1-877-432-7596) www.earlyoptionpill.com

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               (QVXUHWKDWKHDOWKFDUHSURYLGHUVXQGHU\RXUVXSHUYLVLRQIROORZWKHJXLGHOLQHVOLVWHGDERYH
                   x ,I0LIHSUH[ZLOOEHGLVSHQVHGWKURXJKDFHUWLILHGSKDUPDF\
                     o   $VVHVVDSSURSULDWHQHVVRIGLVSHQVLQJ0LIHSUH[ZKHQFRQWDFWHGE\DFHUWLILHGSKDUPDF\DERXW
                          SDWLHQWVZKRZLOOUHFHLYH0LIHSUH[PRUHWKDQFDOHQGDUGD\VDIWHUWKHSUHVFULSWLRQZDVUHFHLYHG
                          E\WKHFHUWLILHGSKDUPDF\
                     o   2EWDLQWKH1'&DQGORWQXPEHURIWKHSDFNDJHRI0LIHSUH[WKHSDWLHQWUHFHLYHGLQWKHHYHQWWKH
                          SUHVFULEHUEHFRPHVDZDUHRIWKHGHDWKRIDSDWLHQW
                   x ,I0LIHSUH[ZLOOEHGLVSHQVHGE\\RXRUE\KHDOWKFDUHSURYLGHUVXQGHU\RXUVXSHUYLVLRQ
                     o   (QVXUHWKH1'&DQGORWQXPEHUIURPHDFKSDFNDJHRI0LIHSUH[DUHUHFRUGHGLQWKHSDWLHQW¶V
                          UHFRUG
               
               ,XQGHUVWDQGWKDWDFHUWLILHGSKDUPDF\PD\GLVSHQVHPLIHSULVWRQHPDGHE\DGLIIHUHQWPDQXIDFWXUHUWKDQ
               WKDWVWDWHGRQWKLV3UHVFULEHU$JUHHPHQW)RUP
               
               3ULQW1DPH                                                        7LWOH                                   
               6LJQDWXUH                                                        'DWH                                
               0HGLFDO/LFHQVH                                                   6WDWH                                    
               13,                                                              
               3UDFWLFH6HWWLQJ$GGUHVV                                                                                   
               5HWXUQFRPSOHWHGIRUPWR0LIHSUH[#GDQFRGLVWULEXWRUFRPRUID[WR
               
               $SSURYHG>'RFFRQWURO,'@




                                                                 *MIFEPREX is a registered trademark of Danco Laboratories, LLC
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               PRESCRIBER AGREEMENT FORM                                                   Mifepristone Tablets, 200 mg
               0LIHSULVWRQH7DEOHWVPJLVLQGLFDWHGLQDUHJLPHQZLWKPLVRSURVWROIRUWKHPHGLFDOWHUPLQDWLRQ RI
               LQWUDXWHULQHSUHJQDQF\WKURXJKGD\VJHVWDWLRQ3OHDVHVHH3UHVFULELQJ,QIRUPDWLRQDQG0HGLFDWLRQ
               *XLGHIRUFRPSOHWHVDIHW\LQIRUPDWLRQ
               7Rbecome a certified prescriber\RXPXVW
                 x If you submit mifepristone prescriptions for dispensing from certified pharmacies
                    o    6XEPLWWKLVIRUPWRHDFKFHUWLILHGSKDUPDF\WRZKLFK\RXLQWHQGWRVXEPLWPLIHSULVWRQH
                         SUHVFULSWLRQV7KHIRUPPXVWEHUHFHLYHG E\WKHFHUWLILHGSKDUPDF\ EHIRUHDQ\SUHVFULSWLRQVDUH
                         GLVSHQVHGE\WKDWSKDUPDF\
                  x If you order mifepristone for dispensing by you or healthcare providers under your
                    supervision:
                    o    6XEPLWWKLVIRUP WRWKHGLVWULEXWRU7KLVIRUPPXVWEHUHFHLYHG E\WKHGLVWULEXWRU EHIRUHWKHILUVW
                         RUGHUZLOOEHVKLSSHGWRWKHKHDOWKFDUHVHWWLQJ
                    o    +HDOWKFDUHVHWWLQJVVXFKDVPHGLFDORIILFHVFOLQLFVDQGKRVSLWDOVZKHUH PLIHSULVWRQH ZLOOEH
                         GLVSHQVHGE\RU XQGHUWKHVXSHUYLVLRQRIDFHUWLILHGSUHVFULEHULQWKH0LIHSULVWRQH5(06
                         3URJUDPGRQRWUHTXLUHSKDUPDF\FHUWLILFDWLRQ
               Prescriber Agreement: %\VLJQLQJWKLVIRUP\RXDJUHHWKDW\RXPHHWWKHTXDOLILFDWLRQVEHORZDQG ZLOO
               IROORZWKHJXLGHOLQHVIRUXVH<RXDUHUHVSRQVLEOHIRURYHUVHHLQJLPSOHPHQWDWLRQDQGFRPSOLDQFHZLWKWKH
               0LIHSULVWRQH5(063URJUDP<RX DOVR XQGHUVWDQG WKDWLI WKHJXLGHOLQHVEHORZDUHQRWIROORZHG WKH
               GLVWULEXWRU PD\ VWRS VKLSSLQJ PLIHSULVWRQH WRWKHORFDWLRQVWKDW\RXLGHQWLI\DQGFHUWLILHGSKDUPDFLHVPD\
               VWRSDFFHSWLQJ\RXUPLIHSULVWRQH SUHVFULSWLRQV
               Mifepristone must be provided by or under the supervision of a certified prescriber who meets the
               following qualifications:
                 x $ELOLW\WRDVVHVVWKHGXUDWLRQRISUHJQDQF\DFFXUDWHO\
                 x $ELOLW\WRGLDJQRVHHFWRSLFSUHJQDQFLHV
                 x $ELOLW\WRSURYLGHVXUJLFDOLQWHUYHQWLRQLQFDVHVRILQFRPSOHWHDERUWLRQRUVHYHUHEOHHGLQJ RUKDYH
                   PDGHSODQVWRSURYLGHVXFKFDUHWKURXJKRWKHUVDQGEHDEOHWRDVVXUHSDWLHQWDFFHVVWRPHGLFDO
                   IDFLOLWLHVHTXLSSHGWRSURYLGHEORRGWUDQVIXVLRQVDQGUHVXVFLWDWLRQLIQHFHVVDU\
                 x +DVUHDGDQGXQGHUVWRRGWKH3UHVFULELQJ,QIRUPDWLRQIRU PLIHSULVWRQH7KH3UHVFULELQJ,QIRUPDWLRQLV
                   DYDLODEOHE\FDOOLQJ 0,)(,1)2 ²WROOIUHH RU E\YLVLWLQJ ZZZ0LIH,QIRFRP

               In addition to meeting these qualifications, you also agree to follow these guidelines for use:
                 x (QVXUHWKDWWKHPatient Agreement Form LVUHYLHZHGZLWKWKHSDWLHQWDQGWKHULVNVRIWKHPLIHSULVWRQH
                   WUHDWPHQWUHJLPHQDUHIXOO\H[SODLQHG(QVXUHDQ\TXHVWLRQVWKHSDWLHQWPD\KDYHSULRUWRUHFHLYLQJ
                   PLIHSULVWRQHDUHDQVZHUHG
                 x (QVXUHWKHKHDOWKFDUHSURYLGHUDQGSDWLHQWVLJQWKHPatient Agreement Form
                 x (QVXUHWKDWWKHSDWLHQWLVSURYLGHGZLWKDFRS\RIWKHPatient Agreement Form DQG0HGLFDWLRQ*XLGH
                 x (QVXUHWKDWWKHVLJQHGPatient Agreement Form LVSODFHGLQWKHSDWLHQW VPHGLFDOUHFRUG
                 x (QVXUHWKDWDQ\GHDWKVRI SDWLHQWVZKR UHFHLYHGPLIHSULVWRQH DUHUHSRUWHGWR*HQ%LR3UR,QFWKDW
                   SURYLGHGWKHPLIHSULVWRQHLGHQWLI\LQJWKHSDWLHQWE\DQRQLGHQWLILDEOHUHIHUHQFHDQGLQFOXGLQJWKH
                   1'&DQGORWQXPEHUIURPWKHSDFNDJHRIPLIHSULVWRQHWKDWZDVGLVSHQVHGWRWKHSDWLHQW
               (QVXUHWKDWKHDOWKFDUHSURYLGHUVXQGHU\RXUVXSHUYLVLRQIROORZWKHJXLGHOLQHVOLVWHGDERYH




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                PUTTING ACCESS INTO PRACTICE                       1-855-MIFE-INFO (1-855-643-3463) - www.MifeInfo.com

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                 x ,IPLIHSULVWRQH ZLOOEHGLVSHQVHGWKURXJKDFHUWLILHGSKDUPDF\
                    o    $VVHVVDSSURSULDWHQHVVRIGLVSHQVLQJPLIHSULVWRQH ZKHQFRQWDFWHGE\DFHUWLILHGSKDUPDF\
                         DERXWSDWLHQWVZKR ZLOOUHFHLYHPLIHSULVWRQH PRUH WKDQFDOHQGDUGD\VDIWHUWKHSUHVFULSWLRQ
                         ZDVUHFHLYHGE\WKHFHUWLILHGSKDUPDF\
                    o    2EWDLQWKH1'&DQGORWQXPEHURIWKHSDFNDJHRIPLIHSULVWRQH WKHSDWLHQWUHFHLYHGLQWKHHYHQW
                         WKHSUHVFULEHUEHFRPHVDZDUHRIWKHGHDWKRID SDWLHQW
                 x ,IPLIHSULVWRQH ZLOOEHGLVSHQVHGE\\RX RUE\ KHDOWKFDUHSURYLGHUV XQGHU\RXU VXSHUYLVLRQ
                    o    (QVXUHWKH1'&DQGORWQXPEHUIURPHDFKSDFNDJHRIPLIHSULVWRQH DUHUHFRUGHGLQWKHSDWLHQW¶V
                         UHFRUG

               ,XQGHUVWDQGWKDWDFHUWLILHGSKDUPDF\PD\GLVSHQVHPLIHSULVWRQHPDGHE\DGLIIHUHQWPDQXIDFWXUHUWKDQ
               WKDWVWDWHGRQWKLV3UHVFULEHU$JUHHPHQW)RUP


               3ULQW1DPH                                                       7LWOH
               6LJQDWXUH                                                        'DWH
               0HGLFDO/LFHQVH                                                6WDWH
               13,
               3UDFWLFH6HWWLQJ$GGUHVV
               5HWXUQFRPSOHWHGIRUPWRRxAgreements@GenBioPro.com RUID[WR


               $SSURYHG >'RFFRQWURO,'@




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                PUTTING ACCESS INTO PRACTICE                     1-855-MIFE-INFO (1-855-643-3463) - www.MifeInfo.com

Reference ID: 5103819
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                 3$7,(17$*5((0(17)250                                            0LIHSULVWRQH7DEOHWVPJ
                 Healthcare Providers: Counsel the patient on the risks of mifepristone. Both you and the patient must
                 provide a written or electronic signature on this form.
                 Patient Agreement:
               1.       ,KDYHGHFLGHGWRWDNHPLIHSULVWRQHDQGPLVRSURVWROWRHQGP\SUHJQDQF\DQGZLOOIROORZP\
                        KHDOWKFDUHSURYLGHU VDGYLFHDERXWZKHQWRWDNHHDFKGUXJDQGZKDWWRGRLQDQHPHUJHQF\
               2.       ,XQGHUVWDQG
                        a. ,ZLOOWDNHPLIHSULVWRQHRQ'D\
                        b. ,ZLOOWDNHWKHPLVRSURVWROWDEOHWVWRKRXUVDIWHU,WDNHPLIHSULVWRQH
               3.       0\KHDOWKFDUHSURYLGHUKDVWDONHGZLWKPHDERXWWKHULVNVLQFOXGLQJ
                         • KHDY\EOHHGLQJ
                         • LQIHFWLRQ
               4.       ,ZLOOFRQWDFWWKHFOLQLFRIILFHSURYLGHUULJKWDZD\LILQWKHGD\VDIWHUWUHDWPHQW,KDYH
                          • DIHYHURI)RUKLJKHUWKDWODVWVIRUPRUHWKDQIRXUKRXUV
                          • KHDY\EOHHGLQJ VRDNLQJWKURXJKWZRWKLFNIXOOVL]HVDQLWDU\SDGVSHUKRXUIRUWZRKRXUVLQD
                               URZ 
                          • VHYHUHVWRPDFKDUHD DEGRPLQDO SDLQRUGLVFRPIRUWRU,DP³IHHOLQJVLFN´LQFOXGLQJZHDNQHVV
                               QDXVHDYRPLWLQJRUGLDUUKHDPRUHWKDQKRXUVDIWHUWDNLQJPLVRSURVWRO
                               ²WKHVHV\PSWRPVPD\EHDVLJQRIDVHULRXVLQIHFWLRQRUDQRWKHUSUREOHP LQFOXGLQJDQ
                               HFWRSLFSUHJQDQF\DSUHJQDQF\RXWVLGHWKHZRPE 
                         0\KHDOWKFDUHSURYLGHUKDVWROGPHWKDWWKHVHV\PSWRPVOLVWHGDERYH FRXOGUHTXLUHHPHUJHQF\
                         FDUH,I,FDQQRWUHDFKWKHFOLQLFRIILFHSURYLGHUULJKWDZD\P\KHDOWKFDUHSURYLGHUKDVWROGPHZKR
                         WRFDOODQGZKDWWRGR
               5.       ,VKRXOGIROORZXSZLWKP\KHDOWKFDUHSURYLGHUDERXWWRGD\VDIWHU,WDNHPLIHSULVWRQHWREHVXUH
                        WKDWP\SUHJQDQF\KDVHQGHGDQGWKDW,DPZHOO
               6.       ,NQRZWKDWLQVRPHFDVHVWKHWUHDWPHQWZLOOQRWZRUN7KLVKDSSHQVLQDERXWWRRXWRI
                        ZRPHQZKRXVHWKLVWUHDWPHQW,IP\SUHJQDQF\FRQWLQXHVDIWHUWUHDWPHQWZLWKPLIHSULVWRQHDQG
                        PLVRSURVWRO,ZLOOWDONZLWKP\SURYLGHUDERXWDVXUJLFDOSURFHGXUHWRHQGP\SUHJQDQF\
               7.       ,I,QHHGDVXUJLFDOSURFHGXUHEHFDXVHWKHPHGLFLQHVGLGQRWHQGP\SUHJQDQF\RUWRVWRSKHDY\
                        EOHHGLQJP\KHDOWKFDUHSURYLGHUKDVWROGPHZKHWKHUWKH\ZLOOGRWKHSURFHGXUHRUUHIHUPHWR
                        DQRWKHUKHDOWKFDUHSURYLGHUZKRZLOO
               8.       ,KDYHWKH0(',&$7,21*8,'(IRUPLIHSULVWRQH
               9.       0\KHDOWKFDUHSURYLGHUKDVDQVZHUHGDOOP\TXHVWLRQV



               Patient Signature:                               Patient Name SULQW                        Date       




               Provider Signature:                              Provider Name SULQW                       Date       

               Patient Agreement Forms may be provided, completed, signed, and transmitted in paper or electronically.
                         01/2023                                                                                                  




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                                              MIFEPREX®(Mifepristone) Tablets, 200mg
                                                PHARMACY AGREEMENT FORM
           3KDUPDFLHVPXVWGHVLJQDWHDQDXWKRUL]HGUHSUHVHQWDWLYHWRFDUU\RXWWKHFHUWLILFDWLRQSURFHVVDQGRYHUVHH
           LPSOHPHQWDWLRQDQGFRPSOLDQFHZLWKWKH0LIHSULVWRQH5(063URJUDPRQEHKDOIRIWKHSKDUPDF\
           +HDOWKFDUHVHWWLQJVVXFKDVPHGLFDORIILFHVFOLQLFVDQGKRVSLWDOVZKHUHPLIHSULVWRQHZLOOEHGLVSHQVHGE\RU
           XQGHUWKHVXSHUYLVLRQRIDFHUWLILHGSUHVFULEHULQWKH0LIHSULVWRQH5(063URJUDPGRQRWUHTXLUHSKDUPDF\
           FHUWLILFDWLRQ
           By signing this form, as the Authorized Representative I certify that:
           x (DFKORFDWLRQRIP\SKDUPDF\WKDWZLOOGLVSHQVH0LIHSUH[LVDEOHWRUHFHLYHPrescriber Agreement FormsE\
              HPDLODQGID[
           x (DFKORFDWLRQRIP\SKDUPDF\WKDWZLOOGLVSHQVH0LIHSUH[LVDEOHWRVKLS0LIHSUH[XVLQJDVKLSSLQJVHUYLFH
              WKDWSURYLGHVWUDFNLQJLQIRUPDWLRQ
           x ,KDYHUHDGDQGXQGHUVWRRGWKH3UHVFULELQJ,QIRUPDWLRQIRU0LIHSUH[7KH3UHVFULELQJ,QIRUPDWLRQLVDYDLODEOH
              E\FDOOLQJ($5/<237,21 WROOIUHH RURQOLQHDWZZZHDUO\RSWLRQSLOOFRPDQG
           x (DFKORFDWLRQRIP\SKDUPDF\WKDWZLOOGLVSHQVH0LIHSUH[ZLOOSXWSURFHVVHVDQGSURFHGXUHVLQSODFHWR
              HQVXUHWKHIROORZLQJUHTXLUHPHQWVDUHFRPSOHWHG,DOVRXQGHUVWDQGWKDWLIP\SKDUPDF\GRHVQRWFRPSOHWH
              WKHVHUHTXLUHPHQWVWKHGLVWULEXWRUPD\VWRSDFFHSWLQJ0LIHSUH[RUGHUV
              o 9HULI\WKDWWKHSUHVFULEHULVFHUWLILHGLQWKH0LIHSULVWRQH5(063URJUDPE\FRQILUPLQJWKHLUFRPSOHWHG
                  Prescriber Agreement FormZDVUHFHLYHGZLWKWKHSUHVFULSWLRQRULVRQILOHZLWK\RXUSKDUPDF\
              o 'LVSHQVH0LIHSUH[VXFKWKDWLWLVGHOLYHUHGWRWKHSDWLHQWZLWKLQFDOHQGDUGD\VRIWKHGDWHWKHSKDUPDF\
                  UHFHLYHVWKHSUHVFULSWLRQH[FHSWDVSURYLGHGLQWKHIROORZLQJEXOOHW
              o &RQILUPZLWKWKHSUHVFULEHUWKHDSSURSULDWHQHVVRIGLVSHQVLQJ0LIHSUH[IRUSDWLHQWVZKRZLOOUHFHLYHWKH
                  GUXJPRUHWKDQFDOHQGDUGD\VDIWHUWKHGDWHWKHSKDUPDF\UHFHLYHVWKHSUHVFULSWLRQDQGGRFXPHQWWKH
                  SUHVFULEHU¶VGHFLVLRQ
              o 5HFRUGLQWKHSDWLHQW¶VUHFRUGWKH1'&DQGORWQXPEHUIURPHDFKSDFNDJHRI0LIHSUH[GLVSHQVHG
              o 7UDFNDQGYHULI\UHFHLSWRIHDFKVKLSPHQWRI0LIHSUH[
              o 'LVSHQVHPLIHSULVWRQHLQLWVSDFNDJHDVVXSSOLHGE\'DQFR/DERUDWRULHV//&
              o 5HSRUWDQ\SDWLHQWGHDWKVWRWKHSUHVFULEHULQFOXGLQJWKH1'&DQGORWQXPEHUIURPWKHSDFNDJHRI
                  0LIHSUH[GLVSHQVHGWRWKHSDWLHQWDQGUHPLQGWKHSUHVFULEHURIWKHLUREOLJDWLRQWRUHSRUWWKHGHDWKVWR
                  'DQFR/DERUDWRULHV//&1RWLI\'DQFRWKDW\RXUSKDUPDF\VXEPLWWHGDUHSRUWRIGHDWKWRWKHSUHVFULEHU
                  LQFOXGLQJWKHQDPHDQGFRQWDFWLQIRUPDWLRQIRUWKHSUHVFULEHUDQGWKH1'&DQGORWQXPEHURIWKH
                  GLVSHQVHGSURGXFW
              o 1RWGLVWULEXWHWUDQVIHUORDQRUVHOOPLIHSULVWRQHH[FHSWWRFHUWLILHGSUHVFULEHUVRURWKHUORFDWLRQVRIWKH
                  SKDUPDF\
              o 0DLQWDLQUHFRUGVRIPrescriber Agreement FormsGLVSHQVLQJDQGVKLSSLQJDQGDOOSURFHVVHVDQG
                  SURFHGXUHVLQFOXGLQJFRPSOLDQFHZLWKWKRVHSURFHVVHVDQGSURFHGXUHV
              o 0DLQWDLQWKHLGHQWLW\RI0LIHSUH[SDWLHQWVDQGSUHVFULEHUVDVFRQILGHQWLDODQGSURWHFWHGIURPGLVFORVXUH
                  H[FHSWWRWKHH[WHQWQHFHVVDU\IRUGLVSHQVLQJXQGHUWKLV5(06RUDVQHFHVVDU\IRUSD\PHQWDQGRU
                  LQVXUDQFH
              o 7UDLQDOOUHOHYDQWVWDIIRQWKH0LIHSULVWRQH5(063URJUDPUHTXLUHPHQWV
              o &RPSO\ZLWKDXGLWVFDUULHGRXWE\WKH0LIHSULVWRQH6SRQVRUVRUDWKLUGSDUW\DFWLQJRQEHKDOIRIWKH
                  0LIHSULVWRQH6SRQVRUVWRHQVXUHWKDWDOOSURFHVVHVDQGSURFHGXUHVDUHLQSODFHDQGDUHEHLQJIROORZHG

           $Q\QHZDXWKRUL]HGUHSUHVHQWDWLYHPXVWFRPSOHWHDQGVXEPLWWKHPharmacy Agreement Form.
           $XWKRUL]HG5HSUHVHQWDWLYH1DPH                                            7LWOH                      


                                                                   *MIFEPREX is a registered trademark of Danco Laboratories, LLC
                                                                                                P.O. Box 4816-New York, NY 10185
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           6LJQDWXUH                                                               'DWH                       
           (PDLO                              3KRQH                           3UHIHUUHGBBHPDLOBBSKRQH
           3KDUPDF\1DPH                                                                                           
           3KDUPDF\$GGUHVV                                                                                        
           5HWXUQFRPSOHWHGIRUPWR0LIHSUH[#GDQFRGLVWULEXWRUFRPRUID[WR.




                                                                 *MIFEPREX is a registered trademark of Danco Laboratories, LLC
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                                                              1-877-4-EARLY-OPTION (1-877-432-7596) www.earlyoptionpill.com


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           PHARMACY AGREEMENT FORM                                                                 Mifepristone Tablets, 200 mg
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           By signing this form, as the Authorized Representative I certify that:
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                                                                             GenBioPro Inc. - PO Box 32011 - Las Vegas, NV 89103
                PUTTING ACCESS INTO PRACTICE                              1-855-MIFE-INFO (1-855-643-3463) - www.MifeInfo.com
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          EXHIBIT H
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      CENTER FOR DRUG EVALUATION AND
                 RESEARCH




                        APPLICATION NUMBER:
                         202107Orig1s000



 RISK ASSESSMENT and RISK MITIGATION
             REVIEW(S)
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                                   Department of Health and Human Services
                                         Food and Drug Administration
                                   Center for Drug Evaluation and Research
                                    Office of Surveillance and Epidemiology
                         Office of Medication Error Prevention and Risk Management

                                     RISK MANAGEMENT REVIEW


              Date:                      January 27, 2012

              Risk Management Analyst:   Suzanne Robottom, Pharm.D.
                                         Division of Risk Management (DRISK)

              Team Leader:               Cynthia LaCivita, Pharm.D., DRISK

              Division Director:         Claudia Karwoski, Pharm.D., DRISK

              Drug Name:                 Korlym (mifepristone)

              Dosage and Route:          300 mg tablets; by mouth

              Application Type/Number:   NDA 202-107

              Applicant/sponsor:         Corcept

              OSE RCM #:                 2011-2351




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              EXECUTIVE SUMMARY
              The purpose of this review is to document DRISK’s determination that a risk evaluation
              and mitigation strategy (REMS) with elements to assure safe use (ETASU) is not
              necessary for the approval of mifepristone for the treatment of the signs and symptoms of
              endogenous Cushing’s syndrome.
              Corcept submitted a 505(b)(2) application for approval of Korlym (mifepristone) for the
              treatment of the signs and symptoms of endogenous Cushing’s syndrome. Mifepristone
              (Mifeprex) is currently approved for pregnancy termination with a REMS with ETASU.
              Based on FDA feedback provided at the September 14, 2010 pre-NDA meeting, Corcept
              proposed a REMS with ETASU with their NDA submission.
              After extensive research and multiple discussions with the review team, DRISK and the
              Division of Metabolism and Endocrinology Products (DMEP) determined that:
                        A REMS with ETASU is not necessary to ensure that the benefits outweigh the
                         risks of Korlym in the Cushing’s population.
                        A REMS with ETASU for Korlym would not improve the benefit/risk balance for
                         the intended use (Cushing’s) population and would add burden.
                        Use of Korlym outside of Cushing’s syndrome cannot be prospectively
                         quantified.
              The REMS Oversight Committee and the Center Director provided additional guidance
              and affirmed that although a REMS is required for Mifeprex, a REMS for Korlym is not
              necessary to ensure that the benefits of the drug outweigh its risks at this time. Korlym’s
              safety and drug utilization should use be monitored through post marketing requirements
              (PMR). If data indicate that the current approach compromises the integrity of the
              Mifeprex REMS and results in serious adverse events, or additional serious safety signals
              arise, further regulatory action must be considered.

              1     INTRODUCTION
              The purpose of this review is to document DRISK’s determination that a REMS with
              ETASU is not necessary for the approval of mifepristone for the treatment of the signs
              and symptoms of endogenous Cushing’s syndrome.

              1.1       BACKGROUND
              Corcept submitted a 505(b)(2) application on April 15, 2011 for approval of Korlym
              (mifepristone) to treat the clinical and metabolic effects of hypercortisolism in adult
              patients (≥ 18 years of age) with endogenous Cushing’s syndrome including:
                     Patients with Cushing’s disease who have not adequately responded to or relapsed
                     after surgery
                     Patients with Cushing’s disease who are not candidates for surgery
                                                                                       (b) (4)




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              Korlym is manufactured as 300 mg tablets. The proposed dosing for the aforementioned
              indication is 300 to 1200 mg daily by mouth.

              1.2 REGULATORY HISTORY
              Mifepristone if currently marketed as Mifeprex and approved on September 28, 2000
              under 21 CFR 314 Subpart H for the medical termination of intrauterine pregnancy
              through 49 days’ pregnancy. The approved dosing is 600 1 mg (three (3), 200 mg tablets)
              followed by misoprostol on Day 4. Since approval, mifepristone is available only through
              a restricted distribution program that requires prescribers to be enrolled to be able to
              order Mifeprex and should only be distributed to/through a clinic, medical office, or
              hospital, by or under the supervision of a specially certified prescriber. Mifeprex is not
              distributed to or dispensed through retail pharmacies. The restricted distribution program
              was approved as a REMS on June 8, 2011. 2
              In 2007, Corcept initiated a clinical development program to evaluate the clinical benefit
              of mifepristone in patients with Cushing’s syndrome and received orphan drug
              designation on July 5, 2007.

              A pre-NDA meeting with Corcept was held on September 14, 2010. Corcept informed
              the FDA that they intended to submit a REMS and requested comments on the draft
              REMS. The FDA informed Corcept that for this NDA/indication, a REMS with restricted
              distribution would be necessary to address the risk of termination of pregnancy. The
              proposed REMS must be sufficient to maintain the integrity of the current Mifeprex
              restricted distribution program. The sponsor was instructed that a complete review of the
              proposed REMS, and REMS materials would be done in conjunction with the full clinical
              review after the NDA is submitted.

              On April 15, 2011 Corcept submitted NDA 202107 for review with a proposed REMS.

              2       MATERIALS REVIEWED

              The following materials were reviewed:

                       Weber J. Pre-NDA Meeting Preliminary Comments for September 14, 2010.
                        Signed under IND 76480 on September 9, 2010 by Weber J.
                       NDA 202107 submitted on April 15, 2011 and received on April 18, 2011 with a
                        proposed REMS with ETASU.
                       Bhatnagar U. Maternal Health Team review for Mifepristone. Signed September
                        15, 2011 by Bhatnagar U, Feibus K, and Mathis L.
                       Greene P. Drug use review of Mifeprex. Signed September 19, 2011 by Greene P,
                        Chai G, and Governale L.

              1
                Standard practice is to dispense a single, 200 mg tablet of mifepristone, not 600 mg. In addition, the
              standard misoprostol dose is 800μg (4 tablets), not 400 μg.
              2
                Mifepristone was included on the list of products deemed to have in effect an approved risk evaluation
              and mitigation strategy (REMS) under section 505-1 of the Federal Food, Drug, and Cosmetic Act with the
              passage of the Food and Drug Administration Amendments Act (FDAAA) of 2007.


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                          November 3, 2011 Center Director Briefing on Mifepristone for Cushing’s
                           syndrome. Signed into DAARTS for NDA 202107 on November 15, 2011 by
                           Egan A.
                                       Division of Reproductive and Urology Products consult response.
                                (b) (6)


                           Signed November 18, 2011 by                                          .
                                                                                        (b) (6)




              3        RISK BENEFIT CHARACTERIZATION

              3.1         CUSHING’S SYNDROME AND TREATMENT OPTIONS
              Cushing’s syndrome is a serious, multisystem disorder that results from overproduction
              of cortisol by the adrenal glands. For those not cured by surgery, it is a chronic and
              debilitating condition.4 If left untreated, Cushing’s syndrome limits survival to 4 to 5
              years following initial diagnosis.3

              Surgical resection of the offending tumor remains first line treatment, and initial cure or
              remission is obtained in 65-85% of patients with Cushing’s disease. 4 In cases that surgery
              only partially or temporarily controls glucocorticoid hypersecretion (or for patients who
              are not candidates for surgery), 5 radiation and/or pharmacologic treatment is used for
              disease control. A two to three fold increase in mortality is observed in most studies and
              this excess mortality seems confined to patients in whom initial cure was not obtained
              (the indicated population for mifepristone). 4

              There is an unmet medical need for additional drug treatment options for Cushing’s
              syndrome. The following table lists the drug treatment options, none of which are
              approved for Cushing’s syndrome:2,6

                      Steriodogenic inhibition      Adrenolytic         Neuromodulators               Glucocorticoid
                                                                        of ACTH release            receptor antagonism
                     Metyrapone (not              Mitotane^^          Cyproheptidine*           Mifepristone
                      available in US)             Etomidate           Bromocriptine*
                   Aminoglutethimide                                   Valproic acid*
                      (discontinued)^                                   Octreotide*
                   Ketoconazole
                  ^Aminogluthethimide was approved in 1980 and indicated “for the the suppression of adrenal
                  function in selected patients with Cushing’s syndrome.”
                  ^^Mitotane was approved in 1970 and indicated for “the treatment of inoperable adrenal cortical
                  carcinoma of both functional and nonfunctional types.”
                  *Agent has not demonstrated consistent clinical efficacy.3

              3
                Gums JG, Smith JD. Adrenal Gland Disorders. Pharmacotherapy: A pathophysiologic approach. 4th ed.
              Ed Dipiro JT. Stamford, Appleton & Lange, 1999. Print.
              4
                Steffensen C, Bak AM, Rubeck KZ, Jorgensen JO. Epidemiology of Cushing’s syndrome.
              Neuroendocrinology 2010;92(supp 1):1-5.
              5
                Johanssen S. Allolio B. Mifepristone (RU 486) in Cushing’s syndrome. Euro J Endocrin (2007)156; 561-
              569.
              6
                Heyn J, et al. Medical suppression of hypercortisolemia in Cushing’s syndrome with particular
              consideration for etomidate. Pituitary (online May 10, 2011).


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              3.1.1     Size of Population
              Cushing’s syndrome is a rare disorder with incidence ranging from 0.7 to 2.4 per 1
              million persons per year. 7 Ninety percent of all cases of Cushing’s syndrome occur
              during adulthood; the incidence of Cushing’s syndrome in children is estimated at
              approximately 0.2 cases per 1 million persons per year.
              It is estimated that at any given time there are approximately 20,000 patients with
              Cushing’s syndrome in the U.S. The peak incidence of Cushing’s syndrome due to an
              adrenal or pituitary tumor occurs in persons 25-40 years of age; females are 8 times more
              likely than males to develop hypercortisolemia from a pituitary tumor and 3 times more
              likely to develop a cortisol-secreting adrenal tumor.
              In the US, it is estimated that approximately 5,000 patients would be considered
              candidates for treatment with Korlym.

              3.2     EXPECTED DRUG BENEFIT

              Mifepristone works by binding to glucocorticoid receptors, preventing cortisol from
              binding, and thereby blocking cortisol’s activity and effects. It does not decrease the
              amount of circulating cortisol. It has a rapid onset of action (~90 minutes for peak plasma
              concentrations).

              According to the sponsor in Study 400 (open label, 24 week prospective trial), 60% of the
              diabetes patients met the primary endpont of at least a 25% reduction in AUCglucose, and
              antidiabetic medication use was reduced in half of the patients. The Data Review Board
              determined that 72% of patients met the secondary endpoint of a change in signs and
              symptoms at week 24.

              Mifepristone may be used as an adjunct to radiation, palliative treatment, or when rapid
              onset of anti-glucocorticoid effect is required (e.g., psychosis).

              3.3     DURATION OF TREATMENT
              Cushing’s syndrome that is not cured by surgery is a chronic condition. Patients may be
              treated indefinitely (weeks, months, years/decades) with mifepristone.

              3.4     SEVERITY OF THE RISK
              The observed risks (adverse events documented in the safety database; adrenal
              insufficiency, hyopkalemia, and endometrial hyperplasia) in patients with Cushing’s
              syndrome were considered. After discussion with DMEP, we agree that these risks can be
              adequately addressed through labeling.



              7
                Newell-Price J, Bertagna X, Grossman AB, Nieman LK. Cushing’s syndrome. Lancet. 2006 May 13;367
              (9522):1605-17.


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              Two risks were identified that are anticipated to occur in the post-marketing setting.
              These risks were the focus of the risk management discussion.

              3.4.1      Fetal Loss (unintended pregnancy termination)

              3.4.1.1 Cushing’s Syndrome Patients
              Mifepristone blocks progesterone receptors at lower doses than necessary for
              glucocorticoid receptor inhibition. Therefore, the lowest treatment dose studied for the
              treatment of Cushing’s syndrome is effective for terminating pregnancy. However,
              mifepristone alone is less effective for pregnancy termination when compared to the
              combined regimen mifepristone/prostaglandin. 8

              Women with Cushing’s syndrome are not at substantial risk for fetal loss because they
              are unlikely to be pregnant. The review by the Maternal Health Team (MHT) states that
              amenorrhea and ovulatory disturbances are associated with untreated Cushing’s
              syndrome and therefore pregnancy occurs “rarely” in this population. Pregnancy may
              occur in a small subset of patients with Cushing’s syndrome who are of childbearing age.
              MHT recommends that this possibility be noted in labeling. 9

              At the time treatment is initated with mifepristone, a woman has a low likelihood of
              conception due to her underlying disease. During treatment, if she is not compliant with
              mifepristone treatment, she would be amenorrheic due to worsened disease condition. If
              she is compliant with medication, mifepristone would prevent a sustained pregnancy.
              Therefore, the risk of fetal loss before and during treatment in the intended patient
              population appears low.

              Pregnancy tests were performed in Study 400 as part of enrollment and repeated after any
              significant interruption of treatment. No pregnancies were reported.

              3.4.1.2 Non-Cushing’s Syndrome Patients
              There are a variety of uses for mifepristone                                                      . It has been
                                                                                                      (b) (4)


              studied to treat the following:
                                                                                                                                    (b) (4)




                                                                                                         (b) (4)
                                                                                                                   .
              8
                        Division of Reproductive and Urology Products consult response. Signed November 18, 2011 by
                   (b) (6)                                                                                               (b) (6)

                                    .
              9
                Bhatnagar U. Maternal Health Team review for Mifepristone. Signed September 15, 2011 by Bhatnagar U, Feibus K,
              and Mathis L.




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              At present, mifepristone is only commercially available in blister packages (3 pills per
              carton) that are sold through the Mifeprex REMS. If Korlym is approved without
              restrictions (e.g. REMS), mifepristone will be more readily available to treat females of
              child bearing potential with other chronic conditions. The extent of off-label use of
              mifepristone, for the above conditions, in the post-marketing setting is unknown.

              3.4.2 Intended Termination of Pregnancy with Korlym
              If Korlym is approved without a REMS with restricted distribution, there will be
              increased access to mifepristone. This could lead to 1) prescribers prescribing Korlym for
              the termination of pregnancy without following the safeguards that are in place for
              Mifeprex and/or 2) misuse, pilfering, and diversion of Korlym for the termination of
              pregnancy not under the supervision of a healthcare provider.

              The risk mitigation tools for the Mifeprex REMS are physician certification and
              controlled access to assure safe use. A Mifeprex prescriber must agree that he/she meets
              the required qualifications to assure the drug is used safey and appropriately. Compliance
              with the REMS requirements is not enforced beyond a one-time completion of the
              enrollment form (e.g., signed Patient Agreements are not collected). The certification
              requirement is the tool that provides controlled access for Mifeprex. Without restricted
              distribution, a prescriber using Korlym for pregnancy termination would not have to
              attest to having certain skills, agree to document certain information/activities, or report
              adverse events. The patient would not receive a Patient Agreement or Mifeprex
              Medication Guide that would provide the most relevant and important information to her
              for pregnancy termination. The current REMS does not prevent use beyond 49 days
              gestation, termination of an ectopic pregnancy, bleeding, incomplete abortion, and
              infection.

              In considering if there is increased potential for pilfering and misuse with Korlym, we
              note that Mifeprex is distributed only to medical facilities and dispensed to the patient in
              small quantities (a single tablet) by certified prescribers. Korlym will be distributed
              directly to patients, in larger quantities and each Korlym tablet is an effective dose for
              pregnancy termination. Moreover, Korlym is proposed to be packaged in bottles of 28
              and 280, making diversion and pilfering presumably easier relative to the Mifeprex
              packaging. Similar to Korlym, there is potential for Mifeprex to be pilfered or diverted
              from a distribution facility, during shipping, or at the place of dispensing. Mifeprex has
              processes in place to prevent drug loss during distribution and shipping that can be done
              outside a REMS for Korlym. It is not known if clinics keep careful stock and dispensing
              records of Mifeprex.

              3.5   RISK IN CONTEXT OF DRUGS IN CLASS AND AMONG OTHER DRUGS USED TO
                    TREAT THE DISEASE
              There are no other glucocorticoid receptor antagonists approved in the U.S. for
              comparison.
              Ketoconazole, metapyrone (not approved in U.S.), mitotane, etomidate are anti-corticolic
              drugs that are used for the treatment of Cushing’s syndrome. Because these drugs have a


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              different mechanism of action, they are not associated with the same potential risks as
              mifepristone. These drugs are associated with serious risk(s) although none of these drugs
              have a REMS.

              3.6     HOW THE RISK(S) ARE MANAGED ACROSS OTHER PRODUCTS AND/OR DISEASES

              3.6.1     Fetal Loss
              Other drug products are associated with fetal loss (e.g., methotrexate, misoprostol; see
              Attachment 1). At present, this risk is addressed through labeling for these drugs. There
              are no REMS approved that address only fetal loss without also the accompanying risk of
              birth defect.

              3.6.2     Intended Termination of Pregnancy with Korlym
              We identified two drugs, misoprostol and methotrexate, that are associated with a risk of
              pregnancy termination and are approved for other uses. See the table in Attachment 1.
              The extent to which misoprostol and methotrexate are used off-label to terminate
              pregnancy is unknown. With each drug, the risk of termination of pregnancy is managed
              through labeling (Contraindication, Boxed Warning) and neither product has a REMS.

              3.6.3     Misuse
              Misuse has been addressed in different ways as follows:
              Voluntary Restricted Distribution:
                   Example: Egrifta/growth hormone: Growth hormones are at risk for misuse and
                    abuse. None of the growth hormone products have a REMS. However, the sponsor
                    has voluntarily decided to distribute this product through a non-REMS restricted
                    distribution system which allows tracking “of each box of Egrifta to determine the
                    volume of product dispensed and evaluate if the projected number of boxes dispensed
                    correlates with prescription use in the intended population.” 10 Egrifta was approved
                    in 2010 with no REMS and no PMR for monitoring drug use.
              Required Restricted Distribution Program
                   Example: Xyrem 11
                    o At the time Xyrem was initially approved in 2002, the Sponsor agreed as a
                       condition of approval to distribute and dispense Xyrem through a primary and
                       exclusive central pharmacy, implement a program to educate physicians and
                       patients about the risks and benefits of Xyrem, fill the initial prescription only
                       after the prescriber and patient received and read the educational materials, and
                       maintain patient and prescribing physician registries. 12



              10
                 LaCivita C. Review of REMS for Egrifta. Signed September 3, 2010.
              11
                 Xyrem was included on the list of products deemed to have in effect an approved risk evaluation and
              mitigation strategy (REMS) under section 505-1 of the Federal Food, Drug, and Cosmetic Act with the
              passage of the Food and Drug Administration Amendments Act (FDAAA) of 2007.
              12
                 Choudhry Y. REMS Interim Comment Set #1. Signed August 1, 2011 by Choudhry Y and Worthy K.


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              3.6.4     Same Active Ingredient, Different Indication and Different Risk
                        Management Approaches

              The agency evaluates an active ingredient based on the risk benefit profile for the
              intended population. To date, the Agency has not required a REMS for a product based
              only on the fact that the active ingredient already has a REMS for one population. For
              example, denosumab was originally approved under two tradenames for different
              indications. Prolia was initially approved for the treatment for post-menopausal
              osteoporosis (PMO). At that time, a REMS for Prolia was required and approved
              consisting of a Medication Guide and communication plan to “inform healthcare
              providers about the risks of serious infections, dermatologic adverse reactions, and
              suppression of bone turnover, including osteonecrosis of the jaw.” Under the tradename
              Xgeva, denosumab was approved for prevention of skeletal-related events in patients
              with bone metastases from solid tumors. A REMS was not required given the resulting
              differences in the risk benefit profile when considering the patient populations (post-
              menopausal women vs cancer patients with bone metastases) and prescribing populations
              (internists vs oncologists).

              3.7     PRODUCTS AFFECTED
              Mifeprex (and pending generics) are potentially affected because they are or will only be
              available under a restrictive REMS.

              4     RISK MANAGEMENT CONSIDERATIONS
              The following factors are important to consider:
                   Burden to the intended population
                    It is important to ensure that the intended treatment population can receive Korlym in
                    a timely, dependable manner in the least burdensome way. Any restrictions will
                    impede access with little to no benefit to Cushing’s syndrome population.

                   Confidentiality/Privacy
                    Confidentiality and patient privacy is a significant issue with Mifeprex. To what
                    extent do stakeholders who make, distribute, dispense, prescribe, and use Korlym
                    need protection from a confidentiality perspective?

                    The purpose of a REMS is to ensure the benefits of the drug outweigh its risks.
                    Confidentiality and concern regarding the safety of the prescribers, pharmacists, and
                    patients does not meet criteria. Confidentiality can be maintained without a REMS.
                    Privacy may be better maintained if there are no systems in place to track formally
                    prescribers and patients. Risk to pharmacies that stock the drug should be considered
                    but it is outside the purview of a REMS.

                   Reproductive potential for various possible Korlym off-label use populations




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                  As stated in section 3.4.1.2. above, there are a variety of uses for mifepristone
                                                    . The therapeutic areas included below are more likely to
                                            (b) (4)


                  include females of reproductive potential than other uses                           ). A formal
                                                                                              (b) (4)


                  epidemiologic review was not conducted to estimate of the proportion of females of
                  reproductive potential for each use. However, the following observations and/or
                  assumptions were made:
                                                                                                                (b) (4)




                  The degree to which Korlym will be used off label for the above uses is unknown.

                 Extent of current off-label use
                  Current Mifeprex drug utilization information is not informative in predicting broader
                  uses for Korlym. In the September 19, 2011 mifepristone drug use review using
                  commercial databases was conducted, off-label use was described as “uncommon”
                  based on information obtained through a sample of medical offices and outpatient
                  clinics. Sales distribution data was not available. The lack of findings are not
                  surprising given the design of the Mifeprex REMS.

              5    RISK MANAGEMENT OPTIONS
              DRISK analyzed more than six risk management options to address intended termination
              of pregnancy by:
                       HCPs outside of Mifeprex REMS
                       women who seek to terminate a pregnancy and are not under the care of an HCP
              Ultimately, three options were considered.

                  1. No REMS and voluntary restricted distribution through specialty
                     pharmacies/distributors

                        This REMS option may minimize diversion and subsequent misuse by
                        minimizing the number of pharmacies stocking and dispensing Korlym for
                        outpatient use. This option is in alignment with DMEP and DRISK’s assessment
                        that a REMS is not necessary to assure the safe use of mifepristone for treating
                        patients with Cushing’s syndrome because we believe the likelihood that a
                        Cushing’s patient experiences “serious complications” relating to pregnancy
                        termination are low.


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                        This approach is also consistent with misoprostol and methotrexate, both of which
                        are known abortifacents and do not have a REMS to address that risk. This
                        approach is used to prevent misuse of the growth hormone products.

                  2. REMS with ETASU – dispensing through certified specialty pharmacies

                        This REMS option may minimize diversion and subsequent misuse by
                        minimizing the number of pharmacies stocking and dispensing Korlym for
                        outpatient use. In addition, Corcept would be required to provide FDA an
                        assessment of how the REMS is achieving its goals.

                        This option does not address intended termination of pregnancy with Korlym.

                  3. REMS with ETASU – prescriber certification (agreement not to use for
                     termination of pregnancy) and distribution through certified specialty pharmacies
                     that are willing to track inventory
                        This REMS option would minimize diversion and subsequent misuse as
                        described above. In addition, certified pharmacies (for outpatient dispensing, not
                        inpatient hospital pharmacies) would verify that prescribers were certified.
                        Prescriber certification would consist of agreement not use Korlym for pregnancy
                        termination. The addition of prescriber certification would address the risk of
                        intended termination of pregnancy with Korlym.

              These options assume that the safety labeling is maximized to address Korlym use in
              pregnancy.

              6    DISCUSSION
              The issue of how to address intended termination of pregnancy was discussed at the
              REMS Oversight Committee meeting on September 29, 2011 and at a Center Director
              Briefing on November 3, 2011.
              DMEP and DRISK presented at both meetings that women with Cushing’s syndrome are
              unlikely to be or become pregnant given the effects of their disease on the reproductive
              system and the effects of daily mifepristone treatment. Therefore, addressing the risk of
              fetal loss associated with Korlym was not discussed because 1) pregnancy is not a likely
              event in the intended population and; 2) the use of Korlym for “off-label” uses (in women
              more likely to be pregnant) is unknown and available data do not indicate that
              mifepristone would be first line treatment for any diseases or conditions at this time. For
              these reasons, there was general agreement that fetal loss can be adequately addressed
              through labeling and is not necessary to require additional safe use measures through a
              REMS at this time.
              The team stated that for any risk management approach, it is important to ensure that the
              intended treatment population can receive Korlym in a timely, dependable manner in the
              least burdensome way. Any restrictions could impede access without benefit to the
              intended population.



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              The primary focus shifted to whether or not a REMS is necessary for Korlym to maintain
              the integrity of the Mifeprex REMS. While the absence of any restrictions on Korlym
              could undermine the safe use conditions required by the Mifeprex REMS, a number of
              other factors are important considerations including:
               The burden (reduced access, treatment delays) of a restrictive REMS to the Cushing’s
                  population without any benefit from the REMS for this population.
               Overall drug exposure and subsequent access is anticipated to be small given the
                  small size of the intended use population and lack of a signal for substantially broader
                  use.
               The sponsor’s plan to distribute Korlym through a specialty pharmacy regardless of
                  the REMS. If necessary, this provides the sponsor the ability to monitor use more
                  closely.
               The cost - If the cost of this orphan product is substanial, it may be expensive to
                  obtain and deter use for pregnancy termination as well as other off label uses. In
                  addition, third party payors/reimbursement may play a substantial role in influencing
                  prescribing behavior. It is unknown how much Korlym will cost and how cost will
                  impact prescribing behavior. 13
              The need for some monitoring of use was discussed. Commercial drug use databases will
              not provide FDA with adequate estimates of Korlym use because Korlym will be
              dispensed through a specialty pharmacy. As noted above, using a single specialty
              pharmacy does allow the sponsor the ability to monitor use more closely through its
              business contract with the specialty pharmacy. Similarly, commercial drug use databases
              are not able to provide an accurate estimate of Mifeprex use due to how it is distributed
              and dispensed. The first REMS assessment for Mifeprex is due June 2012 which we
              anticipate will provide a baseline to quantify current Mifeprex use. Given these
              considerations and the discussion with the Center Director, we agree that a post-
              marketing requirement (PMR) study to obtain Korlym use data (age, gender, dose,
              duration of treatment) “to better characterize the incidence rates of adverse events with
              Korlym” is prudent. Monitoring drug use data for both Mifeprex and Korlym, in
              conjunction with reports of serious adverse events resulting from pregnancy terminations
              outside of the Mifeprex REMS, will be important factors in future regulatory action to
              address any compromise to the Mifeprex REMS.

              7    CONCLUSION
              A REMS for Korlym is not necessary to ensure that the benefits of the drug outweigh its
              risks at this time. We agree that it is prudent to monitor use through a PMR. If data
              indicate that this approach compromises the integrity of the Mifeprex REMS and results
              in serious adverse events, or additional serious safety signals arise, further regulatory
              action must be considered.


              ATTACHMENTS


              13
                Planned parenthood charges $300-800 for a medical abortion (includes diagnostic testing, mifepristone, and
              misoprostol).


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               ATTACHMENT 1: Drugs with a risk associated with an off-label use

        Drug             Abortifacient             Indication       Off-label use*         Contraindication            Boxed Warning
                         Efficacy
        Misoprostol      When used alone –         NSAID-induced     Postpartum           “Cytotec should not be      “Cytotec administration to
                         variable (~40-60%);       gastric ulcers     hemorrhage           taken by pregnant           women who are pregnant
        (Cytotec)        used in combination                                               women to reduce the risk    can cause abortion …
                         with MTX or MFP                             Cervical ripening,   of ulcers induced by        Cytotec should not be taken
                         efficacy is higher                           labor induction      NSAIDs ”                    by pregnant women to
                                                                                                                       reduce the risk of ulcers
                         (Source - Micromedex)                                                                         induced by NSAIDs…
                                                                     Pregnancy
                                                                                                                       Patients must be advised of
                                                                      termination                                      the abortifacient property
                                                                                                                       and warned not to give the
                                                                                                                       drug to others … ”
                                                      Cancer
        Methotrexate     When used alone – (IM
                                                      Psoriasis     Other                “MTX can cause fetal        “MTX has been reported to
                         injxn – variable); in                        Autoimmune           death or teratogenic        cause fetal death and/or
        (MTX)            combination with             Rheumatoid                          effects when                congenital anomalies
                                                                      diseases
                         misoprostol efficacy is       arthritis                           administered to a           Therefore, it is not
                         higher (80-90%; small         including     More cancer          pregnant woman MTX          recommended for women
                         Ns)                           juvenile                            is contraindicated in       of childbearing potential
                                                                     Pregnancy            pregnant women with         unless there is clear medical
                         (Source - Micromedex)                                             psoriasis or rheumatoid     evidence that the benefits
                                                                      termination          arthritis and should be     can be expected to
                                                                                           used in the treatment of    outweigh the considered
                                                                                           neoplastic diseases only    risks Pregnant women with
                                                                                           when the potential          psoriasis or rheumatoid
                                                                                           benefit outweighs the       arthritis should not receive
                                                                                           risk to the fetus Women     MTX ”
                                                                                           of childbearing potential
                                                                                           should not be started on
                                                                                           MTX until pregnancy is
                                                                                           excluded and should be
                                                                                           fully counseled on the
                                                                                           serious risk to the fetus
                                                                                           should they become
                                                                                           pregnant while
                                                                                           undergoing treatment ”
               *The off-label uses are general and based on tertiary sources; not on a formal drug use analysis.




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     electronically and this page is the manifestation of the electronic
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     /s/
     ----------------------------------------------------
     SUZANNE C BERKMAN ROBOTTOM
     01/27/2012

     CLAUDIA B KARWOSKI
     01/27/2012
     concur




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   REMS: FDA’s Application of
        Statutory Factors in
   Determining When a REMS Is
             Necessary

                   Guidance for Industry




                   U.S. Department of Health and Human Services
                            Food and Drug Administration
                  Center for Drug Evaluation and Research (CDER)
                 Center for Biologics Evaluation and Research (CBER)

                                    April 2019
                                    Drug Safety
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   REMS: FDA’s Application of
        Statutory Factors in
   Determining When a REMS Is
             Necessary
                        Guidance for Industry
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       REMS: FDA’s Application of Statutory Factors in Determining
                     When a REMS Is Necessary

                                        Guidance for Industry 1

  This guidance represents the current thinking of the Food and Drug Administration (FDA or Agency) on
  this topic. It does not establish any rights for any person and is not binding on FDA or the public. You
  can use an alternative approach if it satisfies the requirements of the applicable statutes and regulations.
  To discuss an alternative approach, contact the FDA office responsible for this guidance as listed on the
  title page.




  I.       INTRODUCTION

  This guidance is intended to clarify how the Food and Drug Administration (FDA or Agency)
  applies the factors set forth in section 505-1 of the Federal Food, Drug, and Cosmetic Act
  (FD&C Act) (21 U.S.C. 355-1) in determining whether a risk evaluation and mitigation strategy
  (REMS) is necessary to ensure that the benefits of a drug outweigh its risks. 2 This guidance
  fulfills one of the performance goals that FDA agreed to satisfy in the reauthorization of the
  Prescription Drug User Fee Act (PDUFA) V. 3

  FDA’s guidance documents, including this guidance, do not establish legally enforceable
  responsibilities. Instead, guidances describe the Agency’s current thinking on a topic and should
  be viewed only as recommendations, unless specific regulatory or statutory requirements are
  cited. The use of the word should in agency guidances means that something is suggested or
  recommended, but not required.




  1
   This guidance has been prepared by the Office of New Drugs, Office of Surveillance and Epidemiology, Office of
  Medical Policy, and Office of Regulatory Policy in the Center for Drug Evaluation and Research (CDER), in
  cooperation with the Center for Biologics Evaluation and Research (CBER), at the Food and Drug Administration.
  2
    Section 505-1 of the FD&C Act applies to applications for prescription drugs submitted or approved under
  subsections 505(b) (i.e., new drug applications) or (j) (i.e., abbreviated new drug applications) of the FD&C Act and
  to applications submitted or licensed under section 351 (i.e., biologics license applications) of the Public Health
  Service Act (PHS Act) (42 U.S.C. 262). For the purposes of this document, unless otherwise specified, the term
  drug refers to human prescription drugs, including those that are licensed as biological products (biologics).
  3
   Section XI.A.1 of “PDUFA Reauthorization Performance Goals and Procedures Fiscal Years 2013 Through 2017”
  (PDUFA V), available at
  http://www.fda.gov/downloads/ForIndustry/UserFees/PrescriptionDrugUserFee/UCM270412.pdf.



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  II.           BACKGROUND

  The Food and Drug Administration Amendments Act of 2007 (FDAAA) 4 created section 505-1
  of the FD&C Act, which establishes FDA’s REMS authority. A REMS is a required risk
  management plan that can include one or more elements to ensure that the benefits of a drug
  outweigh its risks. 5

  If FDA determines that a REMS is necessary, the Agency may require one or more REMS
  elements, which could include a Medication Guide, 6 a patient package insert, 7 and/or a
  communication plan. 8 FDA may also require elements to assure safe use (ETASU) as part of a
  REMS. 9 ETASU may be required if the drug has been shown to be effective, but is associated
  with a specific serious risk and can be approved only if, or would be withdrawn unless, such
  elements are required as part of a strategy to mitigate a specific serious risk(s) listed in the
  labeling of the drug. ETASU may be required for approved drug products that were initially
  approved without ETASU when other elements are not sufficient to mitigate a serious risk.
  Specifically, ETASU may include one or any combination of the following requirements 10:
            •   Health care providers who prescribe the drug have particular training or experience, or
                are specially certified;
            •   Pharmacies, practitioners, or health care settings that dispense the drug are specially
                certified;
            •   The drug be dispensed to patients only in certain health care settings, such as hospitals;
            •   The drug be dispensed to patients with evidence or other documentation of safe use
                conditions, such as laboratory test results;
            •   Each patient using the drug be subject to monitoring; or
            •   Each patient using the drug be enrolled in a registry.

  If a REMS includes certain ETASU, the REMS may also include an implementation system to
  enable the applicant to monitor, evaluate, and improve the implementation of the elements (e.g.,
  development of a REMS specific Web site or call center to facilitate enrollment; establishment of
  electronic databases of certified health care settings). 11




  4
      Public Law 110-85.
  5
      See section 505-1(e) of the FD&C Act and section 505-1(f) of the FD&C Act.
  6
      See Section 505-1(e)(2) of the FD&C Act.
  7
      Id.
  8
      See Section 505-1(e)(3) of the FD&C Act.
  9
      See Section 505-1(f) of the FD&C Act.
  10
       See Section 505-1(f)(3) of the FD&C Act.
  11
       See Section 505-1(f)(4) of the FD&C Act.




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  All REMS should include one or more overall goals, and if the REMS has ETASU, the REMS
  must include one or more goals to mitigate a specific serious risk listed in the labeling of the
  drug and for which the ETASU are required. 12
  Finally, REMS generally must include a timetable for submission of assessments of the REMS. 13
  The timetable for submission of assessments of the REMS must include an assessment by the
  dates that are 18 months and 3 years after the REMS is initially approved, and an assessment in
  the 7th year after the REMS is approved, or at another frequency specified in the REMS. 14
  FDA can require a REMS before initial approval of a new drug application or, should FDA
  become aware of new safety information 15 about a drug and determine that a REMS is necessary
  to ensure that the benefits of the drug outweigh its risks, after the drug has been approved. 16

  Before FDAAA was enacted, FDA approved a small number of drugs and biologics with risk
  minimization action plans (RiskMAPs). 17 A RiskMAP is a strategic safety program designed to
  meet specific goals and objectives in minimizing the known risks of a drug while preserving the
  drug’s benefits. RiskMAPs were developed for products that had risks that required additional
  risk management strategies that went beyond the provision of FDA-approved labeling, including
  the prescribing information. 18 In 2005, FDA issued a guidance for industry, Development and
  Use of Risk Minimization Action Plans (RiskMAP Guidance). 19 Many of the principles described
  in the RiskMAP Guidance are reflected in the REMS provisions set forth in FDAAA 20 and have
  been incorporated into FDA’s REMS decision-making process. The purpose of this new
  guidance is to explain FDA’s current application of previously articulated risk management
  principles and considerations under the REMS regulatory paradigm.




  12
       See Section 505-1(f)(3) of the FD& C Act.
  13
    New Drug Applications (NDAs) and Biologics License Applications (BLAs) must include a timetable for
  submission of assessments. ANDAs are not subject to the requirement for a timetable for submission of assessments
  (Section 505-1(i)), but FDA can require any application holder, including ANDA applicants, to submit REMS
  assessments under Section 505-1(g)(2)(C).
  14
       See Section 505-1(d); see also 505-1(g)(2) of the FD&C Act.
  15
       Section 505-1(b)(3) of the FD&C Act.
  16
       See section 505-1(a)(2) of the FD&C Act.
  17
    Some of these drugs were approved pursuant to either subpart H (21 CFR 314.520) or subpart E (21 CFR 601.42)
  with restrictions on their use or distribution to assure safe use.
  18
    A drug’s prescribing information (PI) contains a summary of the essential scientific information needed for the
  safe and effective use of the drug. 21 CFR 201.56(a)(1). The PI is updated from time to time to incorporate
  information from postmarketing surveillance or studies, for example, revealing new benefits or risk concerns.
  19
    The RiskMAP Guidance is available at https://www.fda.gov/ucm/groups/fdagov-public/@fdagov-drugs-
  gen/documents/document/ucm071616.pdf.
  20
       See section 505-1(a)(1) of the FD&C Act.



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  III.       MANAGING DRUG RISKS

  The statutory standard for FDA approval of a drug is that the drug is safe and effective for its
  labeled indications under its labeled conditions of use. 21 FDA’s determination that a drug is
  safe, however, does not suggest an absence of risk. Rather, a drug is considered to be safe if the
  clinical significance and probability of its beneficial effects outweigh the likelihood and medical
  importance of its harmful or undesirable effects. In other words, a drug is considered safe if it
  has an appropriate benefit-risk balance.

  Risk management is a key factor in FDA’s risk-benefit assessment. 22 As described in previous
  guidances, risk management consists of both risk assessment and risk minimization: it is an
  iterative process involving (1) assessing a drug’s benefit-risk balance, (2) developing and
  implementing tools to minimize the drug’s risks while preserving its benefits, (3) evaluating tool
  effectiveness and reassessing the benefit-risk balance, and (4) making adjustments, as
  appropriate, to risk minimization tools to further improve the benefit-risk balance. This four-part
  process should be continuous throughout a drug’s life cycle, with the results of risk assessment
  informing the sponsor’s decisions regarding risk minimization. 23


  IV.        THE USE OF REMS IN MANAGING DRUG RISKS

  The goal of risk mitigation is to preserve a drug’s benefits while reducing its risks to the extent
  possible. For the majority of drugs, routine risk mitigation measures, such as providing health
  care providers with risk information through FDA-approved prescribing information, are
  sufficient to preserve benefits while minimizing risks. In some cases, however, FDA may
  consider whether a REMS would help ensure that the benefits of the drug outweigh its risks.

  FDA’s determination as to whether a REMS is necessary for a particular drug is a complex,
  drug-specific inquiry, reflecting an analysis of multiple, interrelated factors and of how those
  factors apply in a particular case. In conducting this analysis, FDA considers whether (based on
  premarketing or postmarketing risk assessments) there is a particular risk or risks associated with
  the use of the drug that, on balance, outweigh its benefits and whether additional interventions
  beyond FDA-approved labeling are necessary to ensure that the drug’s benefits outweigh its
  risks.

  In making these determinations, FDA may take into consideration information from a variety of
  sources, including FDA’s internal and external experts with specialized expertise relevant to a
  particular risk, input on relevant issues from other centers within FDA, other government
  21
       See section 505(d) of the FD&C Act (21 U.S.C. 355(d)).
  22
    Information about FDA’s Benefit-Risk Assessment Framework is available at
  https://www.fda.gov/ForIndustry/UserFees/PrescriptionDrugUserFee/ucm326192.htm
  23
    See the following FDA guidances for industry: Premarketing Risk Assessment, available at
  https://www.fda.gov/ucm/groups/fdagov-public/@fdagov-drugs-gen/documents/document/ucm072002.pdf;
  RiskMAP Guidance; and Good Pharmacovigilance Practices and Pharmacoepidemiologic Assessment, available at
  http://www.fda.gov/ucm/groups/fdagov-public/@fdagov-drugs-gen/documents/document/ucm071696.pdf.



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  agencies, advisory committee meetings, the Drug Safety Oversight Board, literature, and
  professional societies. For approved drugs, FDA may also gather information from post-
  approval adverse event reports and active surveillance, as well as from post-approval clinical
  trials and other post-approval studies, including epidemiological studies, when evaluating
  whether a REMS is necessary.

  If FDA determines that a REMS is necessary, the Agency considers what the goals of a proposed
  REMS to address these risks would be and what specific REMS elements, as described above,
  could help meet those goals. The REMS should be designed to meet the relevant goals, not
  unduly impede patient access to the drug, and minimize the burden on the health care delivery
  system to the extent practicable. If FDA believes that the drug’s risks would exceed its benefits
  even if FDA were to require a REMS for the drug, FDA will not approve the drug or may
  consider seeking withdrawal of the drug if it is already being marketed.


  V.       APPLICATION OF STATUTORY FACTORS IN REMS DECISION-MAKING

  Section 505-1(a)(1) of the FD&C Act, as added by FDAAA, requires FDA to consider the
  following six factors 24 in making a decision about whether to require a REMS:

       •   The seriousness of any known or potential adverse events that may be related to the drug
           and the background incidence of such events in the population likely to use the drug;

       •   The expected benefit of the drug with respect to the disease or condition;

       •   The seriousness of the disease or condition that is to be treated with the drug;

       •   Whether the drug is a new molecular entity;

       •   The expected or actual duration of treatment with the drug; and

       •   The estimated size of the population likely to use the drug.

  These six factors influence FDA’s decisions with respect to whether a REMS is required for a
  particular drug and what type of REMS might be necessary (i.e., what specific elements or tools
  should be included as part of the REMS). FDA makes decisions about requiring a REMS as part
  of a benefit-risk determination for a drug after an evaluation that includes integrated
  consideration of each of the statutory factors. All six factors are considered together to inform
  FDA’s REMS decision making process and no single factor is determinative as to whether a
  REMS is necessary. The relative importance or weight of each factor is a case specific inquiry.
  The application of these factors is discussed in the sections below.


  24
    The FD&C Act requires that FDA consider these factors in determining whether a REMS is necessary for a new
  drug. FDA also generally considers these factors in determining whether (based on new safety information) a
  REMS is necessary for a drug that is the subject of an approved application.



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           A.       Seriousness of Known or Potential Adverse Events That May Be Related to
                    the Drug and the Background Incidence of Such Events in the Population
                    Likely To Use the Drug

  The more serious 25 a drug’s known or potential associated risks relative to its benefits, the more
  likely it is that a REMS will be necessary to ensure that the benefits of the drug outweigh its
  risks. In determining whether to require a REMS, FDA considers the source, nature and
  reliability of available scientific evidence about the adverse events as well as the characteristics
  of the risks, including the reversibility, preventability, temporality, frequency, severity,
  background incidence, and likelihood of occurrence.

  For drugs associated with adverse events that are reversible or preventable if particular measures
  are taken promptly, FDA may consider requiring a REMS to help ensure that such measures are
  undertaken in a timely manner to minimize or prevent a serious adverse event. For example, for
  a drug that is associated with hepatotoxicity that is reversible with drug discontinuation, the
  REMS may require that the patient be monitored through laboratory studies so that the drug can
  be discontinued if and when hepatic enzyme elevations are observed.

  A drug that is associated with a risk of a serious adverse event that is irreversible, such as one
  that causes a permanent disability or persistent incapacity, may be particularly likely to have a
  favorable benefit-risk profile only in the presence of a REMS that helps minimize drug exposure
  and the associated occurrence of the adverse event. In such cases, a REMS may include, for
  example, a prescriber certification requirement that includes prescriber training and patient
  counseling on the nature of the associated risk and on the drug’s benefit-risk balance to facilitate
  informed patient and prescriber decisions about treatment with the drug. Such REMS are
  designed to ensure that patients are fully informed of the serious risk before beginning therapy
  and may involve patient acknowledgment forms or other methods of documenting that such
  patient-provider discussions have taken place. This kind of REMS is particularly important for
  drugs with limited available methods of preventing the actual occurrence of drug-associated
  adverse events.

  The frequency and severity of adverse events associated with the use of a drug may also affect
  FDA’s determination of whether a REMS is necessary. While a high frequency of adverse
  events may necessitate a REMS to mitigate this risk, FDA may also require a REMS for an
  infrequent adverse event, if the adverse event is particularly severe.

  As part of its assessment of whether a particular adverse event is drug-associated, FDA examines
  the rate of the adverse event in individuals exposed to the drug relative to the background
  incidence of the adverse event in the population likely to use the drug. If an adverse event is
  determined to be drug-associated, FDA may determine that treatment with the drug unacceptably


  25Section 505-1(b)(4) of the FD&C Act defines an adverse drug experience as serious if it results in death,
  immediate risk of death, inpatient hospitalization or prolongation of existing hospitalization, a persistent or
  significant incapacity or substantial disruption of the ability to conduct normal life functions, or a congenital
  anomaly/birth defect (or, based on appropriate medical judgment, may jeopardize the patient and may require a
  medical or surgical intervention to prevent the above-described outcomes).



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  increases the frequency and/or severity of the adverse event in the patient population and that
  this risk needs to be mitigated through a REMS.

  As part of its evaluation of the risks associated with the use of a drug, FDA also takes into
  consideration whether information about managing the particular risk is widely available and
  whether risk management measures are being widely implemented. FDA may also consider
  factors such as the specialties of the healthcare providers who may prescribe, dispense or
  administer the drug and whether approaches to mitigate the risk are standard and well-known by
  the health care professional or are less familiar to the health care professional when determining
  whether a REMS is needed. The Agency also takes into account the health care setting(s) in
  which the drug is used or is likely to be used. For drugs intended for use in an outpatient setting,
  FDA considers the degree to which patients can be expected to reliably recognize symptoms as
  being associated with a drug and to take necessary actions to address adverse events. If, for
  example, FDA expects that a drug will likely be used in a setting where patient monitoring and
  certain medical equipment are not available, and believes that such measures are needed to
  mitigate the risks associated with the use of the drug, FDA may require a REMS with ETASU to
  limit use of the drug to settings in which these measures are available.

         B.      Expected Benefit of the Drug With Respect to the Disease or Condition

  When assessing a drug’s expected benefits with respect to a specific disease or condition, FDA
  may evaluate information about the drug’s effectiveness, whether the drug treats a serious
  disease or condition, whether it fills an unmet medical need, and whether it can cure the disease
  or alleviate its symptoms. FDA may also consider the extent to which new dosage forms
  enhance convenience of administration and/or improve adherence to prescribed regimens, and
  whether new formulations or delivery mechanisms may extend treatment to patient populations
  who were formerly unable to use the drug.

  A drug’s expected benefits, however, are not considered in isolation. In determining whether a
  REMS is necessary, FDA’s assessment of a drug’s benefit is balanced against consideration of
  the risks associated with its use. For example, a once-a-month oral dosage form of a drug that
  was previously only available as a daily oral dosage form may offer a meaningful benefit in
  terms of convenience to the patient and adherence to medication therapy, but may have a
  different risk profile (e.g., a new risk associated with the new formulation, or with the longer
  half-life of the drug) that makes it more likely that FDA would determine that a REMS is
  necessary to ensure that the benefits of the drug outweigh its risks.




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             C.       Seriousness of the Disease or Condition To Be Treated

  The seriousness of the disease or condition 26 to be treated is a part of FDA’s overall analysis of
  the benefits of a drug: the more serious the disease or condition to be treated, the greater the
  potential benefit of the drug’s measured effect in the benefit-risk assessment. Nevertheless, even
  for drugs intended to treat serious or life-threatening diseases or conditions, the severity,
  irreversibility, or duration of an associated risk may weigh in favor of a REMS. For example, if
  a drug indicated for long-term treatment of an indolent, asymptomatic, or slowly progressing
  cancer also has a more immediate risk of serious and potentially fatal cardiac arrhythmias, FDA
  may conclude that, without a REMS, the risk of serious cardiac arrhythmias outweighs the
  potential benefits of this kind of cancer treatment. In this example, a REMS may be required to
  educate prescribers about the risk, appropriate monitoring, and management of cardiac
  arrhythmias to help minimize the occurrence of the adverse event associated with the drug.

             D.       Whether the Drug Is a New Molecular Entity

  For new molecular entities (NMEs) 27 and certain Biologics License Applications (BLAs)
  licensed under section 351(a) of the PHS Act, available information about the drug can be
  limited and, as a result, there may be greater uncertainty about risks associated with the use of
  the drug that might emerge in the post-approval setting. When available safety information
  about a NME or BLA indicates a serious risk, there may be uncertainties about the nature of the
  serious risk (e.g., the strength of the association of the adverse event with drug treatment, the
  likelihood of occurrence of the adverse event, or the accuracy and/or reliability of the data).
  Depending on the nature of the uncertainties about the risks associated with the use of the drug,
  FDA may require a REMS to help ensure that the benefits of the drug outweigh its risks.




  26   FDA has defined serious disease or condition as
             “a disease or condition associated with morbidity that has substantial impact on day-to-day
             functioning. Short-lived and self-limiting morbidity will usually not be sufficient, but the
             morbidity need not be irreversible, provided it is persistent or recurrent. Whether a disease or
             condition is serious is a matter of clinical judgment, based on its impact on such factors as
             survival, day-to-day functioning, or the likelihood that the disease, if left untreated, will progress
             from a less severe condition to a more serious one.”
  (21 CFR 312.300(b)); see also FDA’s guidance for industry on Expedited Programs for Serious Conditions – Drugs
  and Biologics, available at
  http://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/UCM358301.pdf.
  27
    FDA has defined the term “new molecular entity” as an active ingredient that contains no active moiety that has
  been previously approved by the Agency in an application submitted under section 505 of the Act (in any
  application approved or deemed approved from 1938 to the present), or has been previously marketed as a drug in
  the United States. See Manual of Policies and Procedures (MAPP) 5018.2 NDA Classification Codes, available at
  http://www.fda.gov/AboutFDA/CentersOffices/OfficeofMedicalProductsandTobacco/CDER/ManualofPoliciesProce
  dures/default.htm




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         E.      Expected or Actual Duration of Treatment With the Drug

  The duration of treatment with a drug and the impact of treatment length on the likelihood and
  severity of adverse events also affect FDA’s decision-making with regard to the need for a
  REMS. If long-term therapy with a drug appears to increase the likelihood of a serious adverse
  event, FDA may require a REMS either to limit the duration of treatment or to ensure that
  patients on long term treatment are monitored, e.g., for liver function if the drug is associated
  with liver toxicity.

  A REMS may also be required for a drug with a relatively short duration of treatment, depending
  on the nature of the associated risk if, for example, the drug is associated with a serious adverse
  event that occurs immediately after administration. Such a REMS may require that the drug only
  be administered in a setting in which monitoring is available to ensure that the adverse event can
  be appropriately managed or in a setting in which, for example, providers have received
  particular risk management training. Similarly, a REMS may be required for a drug that is only
  intended to be administered once or twice if FDA determines that specialized training is
  necessary to prevent the occurrence of an adverse event associated with improper drug
  administration. In some cases, serious adverse events may occur even after treatment with a
  drug has ended. In such cases, FDA may determine that a REMS is required to ensure proper
  monitoring of patients for a period of time following completion of treatment.

         F.      Estimated Size of Population Likely To Use the Drug

  In considering the estimated size of the population likely to use the drug, FDA considers, among
  other things, the extent to which that population includes patients expected to use the drug for
  unapproved uses and the risks associated with those uses. In certain cases, FDA may consider
  whether a REMS designed to help ensure that a drug’s use is limited to its approved indications
  is appropriate.


  VI.    ADDITIONAL CONSIDERATIONS: POTENTIAL BURDEN ON THE HEALTH
         CARE DELIVERY SYSTEM AND PATIENT ACCESS

  FDA understands that REMS, particularly those with ETASU, may impose some measure of
  burden on patients and/or health care providers. When considering this burden on patient access
  and the health care delivery system, FDA takes into account existing REMS elements for other
  drugs with similar risks and whether the REMS under consideration can be designed to be
  compatible with established medical drug distribution, procurement, and dispensing systems.
  FDA also considers how patients for whom the drug is indicated currently access health care
  (such as whether patients are in rural or medically underserved areas) and whether the REMS
  may impose additional access difficulties. FDA also takes into account the consequences of
  potential treatment interruption or delays, particularly where patients have serious or life-
  threatening conditions and/or have difficulty accessing health care. In such circumstances, FDA
  takes steps, to ensure that REMS are designed to minimize delays or interruptions in drug
  therapy that may have untoward clinical impact. Particularly for a REMS that requires additional
  procedures and controls in the patient care process, FDA also considers the characteristics,



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  experience, and size of the likely prescriber population; how the drug will likely be dispensed in
  the setting in which it will likely be used; and the patient population likely to use the drug.

  The selection of REMS elements and tools may be influenced by the extent to which they have
  already been used in the clinical trials to evaluate the drug’s safety and efficacy, and by what is
  known about the effectiveness of the elements and tools more generally. Selection of risk
  management elements and tools is also informed by any regulatory precedent for addressing
  similar risks. 28 For example, if a serious risk is common to all members of a drug class, FDA
  will consider, as appropriate, how the Agency has previously managed the riskand seek
  opportunities to standardize the approach to managing that risk. FDA also encourages sponsors
  to submit REMS proposals that are compatible with established distribution, procurement, and
  dispensing systems. Following approval of a REMS, FDA continues to evaluate the impact of
  the REMS on patient access and the health care delivery system.




  28
    In addition, the elements and tools may be driven by results of previous REMS assessments for REMS designed
  to address a similar risk, a similar patient population, or a similar drug distribution or dispensing system to the
  product under review.


                                                         10
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            EXHIBIT J
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                                                   May 19, 2020


  The Honorable Hector Balderas
  Attorney General of New Mexico
  State of New Mexico
  Office of the Attorney General
  P.O. Drawer 1508
  Santa Fe, NM 87504

  Dear Mr. Attorney General:

  Thank you for your letter, addressed to the Secretary of Health and Human Services and the
  Commissioner of the Food and Drug Administration (FDA), regarding access to reproductive health
  care during the COVID-19 pandemic. The Secretary has asked me to respond to you and your 20
  cosigners.

  At all times, including during this pandemic, the FDA is committed to protecting the public health, so
  we appreciate the concerns you raised.

  A copy of this letter has been sent to your cosigners.

                                                           Sincerely,




                                                           Anand Shah, M.D.
                                                           Deputy Commissioner for Medical and
                                                           Scientific Affairs
                                                           Food and Drug Administration
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          EXHIBIT K
Case 3:23-cv-00019-RSB Document 26-1 Filed 06/05/23 Page 192 of 226 Pageid#: 812
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               Information on submitting SPL files using eList may be found in the guidance for
               industry SPL Standard for Content of Labeling Technical Qs and As. 2

               The SPL will be accessible from publicly available labeling repositories.

               Also within 14 days, amend all pending supplemental applications that include labeling
               changes for this NDA, including CBE supplements for which FDA has not yet issued an
               action letter, with the content of labeling [21 CFR 314.50(l)(1)(i)] in Microsoft Word
               format, that includes the changes approved in this supplemental application, as well as
               annual reportable changes. To facilitate review of your submission(s), provide a
               highlighted or marked-up copy that shows all changes, as well as a clean Microsoft
               Word version. The marked-up copy should provide appropriate annotations, including
               supplement number(s) and annual report date(s).

               We request that the labeling approved today be available on your website within 10
               days of receipt of this letter.


               REQUIRED PEDIATRIC ASSESSMENTS

               Under the Pediatric Research Equity Act (PREA) (21 U.S.C. 355c), all applications for
               new active ingredients (which includes new salts and new fixed combinations), new
               indications, new dosage forms, new dosing regimens, or new routes of administration
               are required to contain an assessment of the safety and effectiveness of the product for
               the claimed indication in pediatric patients unless this requirement is waived, deferred,
               or inapplicable.

               Because none of these criteria apply to your application, you are exempt from this
               requirement.

               RISK EVALUATION AND MITIGATION STRATEGY (REMS) REQUIREMENTS

               The Mifepristone REMS Program, of which Mifeprex is a member, was originally
               approved on April 11, 2019, and the most recent REMS modification was approved on
               May 14, 2021. The Mifepristone REMS Program consists of elements to assure safe
               use, an implementation system, and a timetable for submission of assessments of the
               REMS.

               In order to ensure the benefits of Mifeprex outweigh its risks and to minimize burden on
               the healthcare delivery system of complying with the REMS, we determined that you
               were required to make the REMS modifications outlined in our REMS Modification


               2We update guidances periodically. For the most recent version of a guidance, check the FDA Guidance
               Documents Database https://www.fda.gov/RegulatoryInformation/Guidances/default.htm.

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               Notification letter dated December 16, 2021. In addition the following modifications were
               communicated during the course of the review:

                    •   Revisions to the REMS goal to align with the updated REMS requirements.

                    •   Replacing serial number with recording of NDC and lot number of mifepristone
                        dispensed.

                    •   Additional edits for clarification and consistency in the REMS Document and
                        REMS materials (Prescriber Agreement Forms, Patient Agreement Form, and
                        Pharmacy Agreement Forms).

               Your proposed modified REMS, received on June 22, 2022, amended and appended to
               this letter, is approved. The modified REMS consists of the elements to assure safe
               use, implementation system, and a timetable for submission of assessments of the
               REMS.

               The modification of the approved REMS must be fully implemented within 120 calendar
               days of this letter.

               This shared system REMS, known as the Mifepristone REMS Program, currently
               includes those products listed on the FDA REMS website 3.

               Other products may be added in the future if additional NDAs or ANDAs are approved.

               The timetable for submission of assessments of the REMS must be revised to one year
               from the date of the approval of the modified SSS REMS (1/3/2023) and annually
               thereafter.

               The revised REMS assessment plan must include, but is not limited to, the following:
                Program Implementation and Operations
                1. REMS Certification Statistics
                   a. Prescribers
                       i. Number of certified prescribers who have certified with the Sponsor’s
                          distributor(s) and number who have submitted Prescriber Agreement Forms
                          to Certified Pharmacies
                      ii. Number and percentage of newly certified prescribers
                     iii. Number and percentage of active certified prescribers (i.e., who ordered
                          mifepristone or submitted a prescription during the reporting period)

                    b. Pharmacies

               3
                https://www.accessdata.fda.gov/scripts/cder/rems/index.cfm
               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov

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                          i.
                           Number of certified pharmacies
                         ii.
                           Number and percentage of newly certified pharmacies
                        iii.
                           Number and percentage of active certified pharmacies (i.e., that dispensed
                           mifepristone during the reporting period)
                    c. Wholesalers/Distributors
                        i. Number of authorized wholesalers/distributors
                       ii. Number and percentage of newly authorized wholesalers/distributors
                      iii. Number and percentage of active authorized wholesalers/distributors (i.e. that
                           shipped mifepristone during the reporting period)

                2. Utilization Data
                   a. Total number of tablets shipped by wholesalers/distributors, stratified by Certified
                       Prescriber or Certified Pharmacy location
                   b. Number of prescriptions dispensed from pharmacies

                3. REMS Compliance Data
                   a. Audits: Summary of audit activities for each stakeholder (i.e., certified
                          pharmacies and wholesalers/distributors) including but not limited to:
                       i.    A copy of the final audit plan for each stakeholder type (provide for the current
                             reporting period)
                      ii.    The number of audits expected, and the number of audits performed
                     iii.    The number and type of deficiencies noted
                    iv.      For those with deficiencies noted, report the corrective and preventive actions
                             (CAPAs) required, if any, to address the deficiencies, including the status
                             (e.g., completed, not completed, in progress) (provide for the current reporting
                             period)
                      v.     For any stakeholders that did not complete the CAPA within the timeframe
                             specified in the audit plan, describe actions taken (provide for the current
                             reporting period)
                    vi.      A summary report of all resulting changes to processes and procedures
                             necessary to ensure compliance with the REMS requirements (provide for the
                             current reporting period)
                   b. A summary report of non-compliance, associated corrective action plans
                          (CAPAs), and the status of CAPAs including but not limited to:
                       i.    A copy of the final non-compliance plans for Pharmacies and Distributors
                             (provide for the current reporting period)
                      ii.    For each instance of noncompliance below (iii-v), report the following
                             information (provide for the current reporting period):
                             1. A unique, anonymized ID for the stakeholder(s) associated with the non-
                                 compliance event to enable tracking over time
                             2. The source of the non-compliance data (e.g., self-reported, audit, other)
                             3. A root cause analysis of the non-compliance
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                               4. Actions to prevent future occurrences and outcomes of such actions
                        iii.   Prescriber compliance
                               1. Number and percentage of certified prescribers who became decertified
                                  as a result of non- compliance
                                  • Provide a summary of reasons for decertification (provide for the
                                      current reporting period)
                               2. Summary and analysis of any program deviations and corrective actions
                                  taken (provide for the current reporting period)
                        iv.    Pharmacy compliance
                               1. Number and percentage of prescriptions dispensed that were written by
                                  prescriber(s) who did not submit a Prescriber Agreement to the dispensing
                                  Certified Pharmacy
                               2. Number and percentage of mifepristone tablets dispensed by non-certified
                                  pharmacies
                               3. Number and percentage of pharmacies that became decertified as a result
                                  of non- compliance
                                  • Provide a summary of reasons for decertification (provide for the
                                      current reporting period)
                               4. An assessment of prescription delivery timelines, including percentage
                                  delivered more than four days after receipt of the prescription, duration
                                  and causes for delay. A proposal for this assessment will be submitted
                                  within 60 days of the approval of the REMS Modification.
                               5. Summary and analysis of any program deviations and corrective actions
                                  taken (provide for the current reporting period)
                        v.     Wholesaler/distributor compliance
                               1. Number of healthcare providers who successfully ordered mifepristone
                                  who were not certified
                               2. Number of non-certified pharmacies that successfully ordered mifepristone
                               3. Number of shipments sent to non-certified prescriber receiving locations
                               4. Number of shipments sent to non-certified pharmacy receiving locations
                               5. Summary and analysis of any program deviations and corrective actions
                                  taken (provide for the current reporting period)


                Overall Assessment of REMS Effectiveness

               The requirements for assessments of an approved REMS under section 505-1(g)(3)
               include with respect to each goal included in the strategy, an assessment of the extent
               to which the approved strategy, including each element of the strategy, is meeting the
               goal or whether one or more such goals or such elements should be modified.

               We remind you that in addition to the REMS assessments submitted according to the
               timetable in the approved REMS, you must include an adequate rationale to support a

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               proposed REMS modification for the addition, modification, or removal of any goal or
               element of the REMS, as described in section 505-1(g)(4) of the FDCA.

               We also remind you that you must submit a REMS assessment when you submit a
               supplemental application for a new indication for use, as described in section 505-
               1(g)(2)(A) of the FDCA. This assessment should include:

                    a) An evaluation of how the benefit-risk profile will or will not change with the new
                       indication;

                    b) A determination of the implications of a change in the benefit-risk profile for the
                       current REMS;

                    c) If the new indication for use introduces unexpected risks: A description of those
                       risks and an evaluation of whether those risks can be appropriately managed
                       with the currently approved REMS.

                    d) If a REMS assessment was submitted in the 18 months prior to submission of the
                       supplemental application for a new indication for use: A statement about whether
                       the REMS was meeting its goals at the time of that last assessment and if any
                       modifications of the REMS have been proposed since that assessment.

                    e) If a REMS assessment has not been submitted in the 18 months prior to
                       submission of the supplemental application for a new indication for use: Provision
                       of as many of the currently listed assessment plan items as is feasible.

                    f) If you propose a REMS modification based on a change in the benefit-risk profile
                       or because of the new indication of use, submit an adequate rationale to support
                       the modification, including: Provision of the reason(s) why the proposed REMS
                       modification is necessary, the potential effect on the serious risk(s) for which the
                       REMS was required, on patient access to the drug, and/or on the burden on the
                       health care delivery system; and other appropriate evidence or data to support
                       the proposed change. Additionally, include any changes to the assessment plan
                       necessary to assess the proposed modified REMS. If you are not proposing
                       REMS modifications, provide a rationale for why the REMS does not need to be
                       modified.

               If the assessment instruments and methodology for your REMS assessments are not
               included in the REMS supporting document, or if you propose changes to the submitted
               assessment instruments or methodology, you should update the REMS supporting
               document to include specific assessment instrument and methodology information at
               least 90 days before the assessments will be conducted. Updates to the REMS
               supporting document may be included in a new document that references previous
               REMS supporting document submission(s) for unchanged portions. Alternatively,
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               updates may be made by modifying the complete previous REMS supporting document,
               with all changes marked and highlighted.

               Prominently identify the submission containing the assessment instruments and
               methodology with the following wording in bold capital letters at the top of the first page
               of the submission:

                        NDA 020687 REMS ASSESSMENT METHODOLOGY
                        (insert concise description of content in bold capital letters, e.g.,
                        ASSESSMENT METHODOLOGY, PROTOCOL, SURVEY METHODOLOGIES,
                        AUDIT PLAN, DRUG USE STUDY)

               An authorized generic drug under this NDA must have an approved REMS prior to
               marketing. Should you decide to market, sell, or distribute an authorized generic drug
               under this NDA, contact us to discuss what will be required in the authorized generic
               drug REMS submission.

               We remind you that section 505-1(f)(8) of FDCA prohibits holders of an approved
               covered application with elements to assure safe use from using any element to block
               or delay approval of an application under section 505(b)(2) or (j). A violation of this
               provision in 505-1(f) could result in enforcement action.

               Prominently identify any submission containing the REMS assessments or proposed
               modifications of the REMS with the following wording in bold capital letters at the top of
               the first page of the submission as appropriate:

                        NDA 020687 REMS ASSESSMENT

                                    or

                        NEW SUPPLEMENT FOR NDA 020687/S-000
                        CHANGES BEING EFFECTED IN 30 DAYS
                        PROPOSED MINOR REMS MODIFICATION

                                    or

                        NEW SUPPLEMENT FOR NDA 020687/S-000
                        PRIOR APPROVAL SUPPLEMENT
                        PROPOSED MAJOR REMS MODIFICATION

                                    or

                        NEW SUPPLEMENT FOR NDA 020687/S-000/
                        PRIOR APPROVAL SUPPLEMENT


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                          PROPOSED REMS MODIFICATIONS DUE TO SAFETY LABELING
                          CHANGES SUBMITTED IN SUPPLEMENT XXX

                                    or

                        NEW SUPPLEMENT (NEW INDICATION FOR USE)
                        FOR NDA 020687/S-000
                          REMS ASSESSMENT
                          PROPOSED REMS MODIFICATION (if included)

               Should you choose to submit a REMS revision, prominently identify the submission
               containing the REMS revisions with the following wording in bold capital letters at the
               top of the first page of the submission:

                        REMS REVISIONS FOR NDA 020687

               To facilitate review of your submission, we request that you submit your proposed
               modified REMS and other REMS-related materials in Microsoft Word format. If certain
               documents, such as enrollment forms, or website screenshots are only in PDF format,
               they may be submitted as such, but Word format is preferred.

               SUBMISSION OF REMS DOCUMENT IN SPL FORMAT

               FDA can accept the REMS document in Structured Product Labeling (SPL) format. If
               you intend to submit the REMS document in SPL format, as soon as possible, but no
               later than 14 days from the date of this letter, submit the REMS document in SPL format
               using the FDA automated drug registration and listing system (eLIST).

               For more information on submitting REMS in SPL format, please email
               FDAREMSwebsite@fda.hhs.gov
               .
               PATENT LISTING REQUIREMENTS

               Pursuant to 21 CFR 314.53(d)(2) and 314.70(f), certain changes to an approved NDA
               submitted in a supplement require you to submit patent information for listing in the
               Orange Book upon approval of the supplement. You must submit the patent information
               required by 21 CFR 314.53(d)(2)(i)(A) through (C) and 314.53(d)(2)(ii)(A) and (C), as
               applicable, to FDA on Form FDA 3542 within 30 days after the date of approval of the
               supplement for the patent information to be timely filed (see 21 CFR
               314.53(c)(2)(ii)). You also must ensure that any changes to your approved NDA that
               require the submission of a request to remove patent information from the Orange Book
               are submitted to FDA at the time of approval of the supplement pursuant to 21 CFR
               314.53(d)(2)(ii)(B) and 314.53(f)(2)(iv).



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               REPORTING REQUIREMENTS

               We remind you that you must comply with reporting requirements for an approved NDA
               (21 CFR 314.80 and 314.81).


               If you have any questions, call
                                                                         (b) (6)




                                                   Sincerely,

                                                   {See appended electronic signature page}
                                                                                                (b) (6)




                                                Center for Drug Evaluation and Research
               ENCLOSURE(S):
                 • Content of Labeling
                      o Prescribing Information
                      o Medication Guide
                      o REMS Document
                      o Prescriber Agreement
                      o Patient Agreement Form
                      o Pharmacy Agreement Form




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          --------------------------------------------------------------------------------------------
          This is a representation of an electronic record that was signed
          electronically. Following this are manifestations of any and all
          electronic signatures for this electronic record.
          --------------------------------------------------------------------------------------------
          /s/
          ------------------------------------------------------------

                                    (b) (6)


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                Exhibit L
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                                               CITIZEN PETITION

  April 19, 2023

          The undersigned submits this petition under 21 C.F.R. § 10.30, Section 505 of the Food
  Drug and Cosmetic Act (21 U.S.C. § 355), and Section 7 of the Endangered Species Act of 1973
  (16 U.S.C. § 1531 et seq.) (hereinafter, “ESA”) to request that the Commissioner of the Food and
  Drug Administration (“FDA”) revoke (1) the 2000 approval of the Population Council’s new drug
  application for mifepristone (Mifeprex® or RU-486), (2) the 2019 approval of GenBioPro, Inc.’s
  generic 200mg mifepristone tablet (collectively, “Mifepristone”), (3) the 2016 changes to the
  Mifepristone regimen and associated Risk Evaluation and Mitigation Strategy (“REMS”), (4) the
  2021 changes to the Mifepristone REMS; and (5) the 2023 changes to the Mifepristone REMS in
  light of the FDA’s failure to comply with the requirements of the ESA when taking these actions.

          Students for Life of America (“SFLA”) is the nation’s largest pro-life youth organization
  that uniquely represents the generation most targeted for abortion. SFLA, a 501(c)(3) charity,
  exists to recruit, train, and mobilize the Pro-Life Generation to abolish abortion and provide policy,
  legal, and community support for women and their children, born and preborn. SFLA and its
  members care about the environment, and its members nationwide have a vested interest in
  protecting the environment from pollution, protecting endangered species and habitats from
  destruction, and preserving these species and habitats for future generations to see and experience.
  SFLA seeks to prevent the dumping of Mifepristone into the waterways of the United States and
  the inevitable harm that has and will continue to result to endangered species.

                                                A. Action Requested

           This Petition makes one request. We request that the FDA revoke its actions to approve
  Mifepristone and modify the associated regimen (including the REMS) until the agency conducts
  the required consultation with the United States Fish and Wildlife Service (“FWS”) and National
  Marine Fisheries Service (“NMFS”) (collectively, “the Services”) as compelled by the ESA.
  Before allowing Mifepristone for human consumption, use outside of a medical setting, and
  disposal into the environment, the FDA must first consult with the Services to determine the extent
  and the effects that its Mifepristone actions have on listed endangered or threatened species or
  designated critical habitats in the FDA’s action area (i.e., the entire United States and its
  territories).

           Furthermore, the undersigned’s submission of this petition is within the six-year statute of
  limitations applied to the Administrative Procedures Act (APA) to challenge a final agency action,
  in this case a challenge to a new drug approval. See Am. Stewards of Liberty v. Dep’t of Interior,
  960 F.3d 223, 229 (5th Cir. 2020), cert. denied sub nom. Yearwood v. Dep’t of the Interior, 141 S.
  Ct. 1062 (2021) ([APA challenges] must be brought within six years of the final agency action
  allegedly causing a plaintiff’s injury).1 Most recently, FDA’s 2021 and 2023 modification to the

  1
   See Bennett v. Spear, 520 U.S. 154 at 175 (1997) (holding that under § 7 of the ESA, claims can be brought
  pursuant to the APA). “Although the APA itself contains no specific statute of limitations, a general six-year civil
  action statute of limitation applies to challenges under the APA. 28 U.S.C. § 2401(a)” (“[E]very civil action
  commenced against the United States shall be barred unless the complaint is filed within six years after the right of


                                                            1
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  Mifepristone REMS to formally end the requirement of in-person dispensing and approving the
  over-the-counter sale of Mifepristone re-opened the period by which interested parties may
  challenge FDA’s decision to approve Mifepristone.2 According to the D.C. Circuit Court of
  Appeals, when an agency either implicitly or explicitly alters its former decision, the period during
  which it may be challenged is likewise “altered” to begin again.3

                                             B. Statement of Grounds

         The FDA has a legal obligation to comply with the ESA. As set forth in this citizen petition,
  the FDA’s actions on Mifepristone have failed to meet the requirements of the ESA and, therefore,
  must be revoked until the agency can implement measures to ensure that its actions do not
  adversely affect listed endangered or threatened species or designated critical habitats. Failure to
  do so could lead to the extinction of these species.

           1. The FDA’s Actions on Mifepristone and Failure to Comply with the ESA

                    a. The 2000 Approval of Mifepristone

          When the FDA approved Mifepristone in 2000 to be used for chemical abortions, the
   agency did not consult the Services to determine the effects of Mifepristone on listed endangered
   or threatened species of designated critical habitats. The FDA merely relied on an environmental
   assessment that the Population Council performed under the National Environmental Policy Act.

          In a document entitled, “ENVIRONMENTAL ASSESSMENT AND FINDING OF NOT
  SIGNIFICANT IMPACT FOR NDA 20-687 MIFEPRISTONE TABLETS,” the FDA stated
  without further explanation that “[a]dverse effects are not anticipated upon endangered or
  threatened species.” This conclusion runs afoul of the requirements of the ESA.

          This conclusion also made numerous incorrect assumptions about how Mifepristone could
  enter the environment. Indeed, the FDA did not conduct an environmental study regarding the
  potential impact Mifepristone could have on the nation’s wastewater. The problem with the FDA’s
  assessment is that it only reviewed the impact that packaging, partially empty packaging,
  production waste, and pharmaceutical waste would have on the environment, and underestimated
  the impact the excretion of Mifepristone would have on the environment.4 Further, it
  underestimated the number of chemical abortions, which are abortions committed through use of
  Mifepristone.



  action first accrues.”); Sierra Club v. Penfold, 857 F.2d 1307, 1315 (9th Cir.1988) (holding that § 2401(a) applies to
  the APA). Turtle Island Restoration Network v. U.S. Dep’t of Com., 438 F.3d 937, 942–43 (9th Cir. 2006).
  2
     Under the re-opener doctrine, the 2019 establishment of a shared REMS program between the generic Mifeprex®
  and Mifepristone would have also provided a timely window by which a party may have filed a petition requesting
  FDA revisit the approval of Mifepristone related to ESA § 7(a) consultation.
  3
    “The reopener doctrine allows an otherwise untimely challenge to proceed ‘where an agency has—either explicitly
  or implicitly—undertaken to reexamine its former choice.’” Nat’l Biodiesel Bd. v. EPA, 843 F.3d 1010, 1017 (D.C.
  Cir. 2016) (quoting Nat’l Mining Ass’n v. U.S. Dept. of Interior, 70 F.3d 1345, 1351 (D.C. Cir. 1995)).
  4
    1996 Environmental Assessment and/or FONSI Application Number 20-687 page 1 of Cover Letter.


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                    b. The 2016, 2019, 2021, and 2023 Changes to the Mifepristone Regimen and
                       REMS

          When the FDA made significant changes to the Mifepristone regimen and REMS in 2016,
  2019, 2021, and 2023, the agency simply failed to conduct any ESA consultation or environmental
  assessment. This failure flies in the face of the ESA and must be corrected immediately—
  especially in light of the FDA’s removal of the in-person dispensing requirement, which opened
  up the floodgates to do-it-yourself abortions at home and disposal of Mifepristone directly into our
  nation’s water supply.

           2. The Legally Necessary Consultation with the Services Regarding the Impact of
              Mifepristone on Listed Endangered or Threatened Species or Designated
              Critical Habitats

          The purpose of the ESA is to provide a means to conserve the ecosystems upon which
  endangered and threatened species depend and provide a program for the conservation of such
  species. Section 7 of the ESA, codified at 16 U.S.C. § 1536 (“Section 7”), directs all Federal
  agencies to participate in conserving these species. Specifically, Section 7(a)(1) of the ESA
  charges Federal agencies to aid in the conservation of listed species, and Section 7(a)(2) requires
  all federal agencies cooperate and consult with the Services to aid in the conservation of listed
  species and ensure that their activities are not likely to jeopardize the continued existence of
  federally listed species or destroy or adversely modify designed critical habitats.

          First, in order to ensure compliance with the ESA, before taking action such as approving
  a drug or medication, a federal agency such as the FDA must first define the action area and submit
  a proposed list of impacted species or request from the Services a list of impacted species. The
  purpose of this is to encompass all listed species that may be impacted by the proposed agency
  action. The species list must include all listed and proposed species and designated critical habitats
  that may be present in the action area. The action area must not neglect indirect effects, such as
  stormwater run-off, or the effect felt in wastewater or wastewater effluent and the route it takes to
  public waterways. And because there are no geographical limitations to the FDA’s approval of
  mifepristone, the relevant action area is the entire United States and its territories.

          Second, the FDA must determine whether the proposed action may affect a Section 7
  resource, or a species on the aforementioned list. This is done through assessments of the direct or
  indirect effects mentioned previously.5 Every listed species or habitat must be analyzed through
  this lens. As discussed below, the “may affect” designation is a low bar. And given the nationwide
  action area and known potential effects of Mifepristone, a “no effect” determination cannot apply
  to the FDA’s actions on Mifepristone. The “no effect” determination applies only in very limited
  circumstances, such as when the species ranges and critical habitat do not overlap with the action
  area.

         Third, if the proposed action may affect a Section 7 resource, the FDA must enter into
  “information consultation” with the Services to analyze the aforementioned potential direct and

  5
   Direct effects are those that are caused by the action, while indirect effects are those that are caused by the action
  and are later in time, but still are reasonably certain to occur.


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  indirect, adverse, and beneficial effects of the action on the Section 7 resources that may be
  affected. The ESA requires clear documentation (i.e., a Biological Assessment or Biological
  Evaluation) that there is a determination being made, regardless of the effect itself. And the
  Services must expressly concur in writing with any determination that the action is not likely to
  adversely affect any Section 7 resources.

          Finally, in instances where an adverse effect is likely, the ESA requires a “formal
  consultation” between the FDA and the Services wherein the FDA would submit further
  documentation to the Services and provide a full Biological Opinion on the impact, in this case of
  Mifepristone, would have on any listed species or habitats. Beyond this, the FDA would be
  required to show Mifepristone would not jeopardize, destroy, or adversely affect listed species or
  habitats, and if it does, then either seek an exemption or provide for reasonable and prudent
  alternatives.

             3. The Section 7 Regulations and Federal Case Law on ESA Consultations

          Section 7 consultation requirements apply to federal agency actions, including actions on
  federal land and actions on private land with a federal nexus. The Services’ joint regulations6 on
  Section 7 consultations define an agency action as all activities or programs of any kind authorized,
  funded, or carried out, in whole or in part, by Federal agencies in the United States or upon the
  high seas. Examples include, but are not limited to:

             (a) actions intended to conserve listed species or their habitat;
             (b) the promulgation of regulations;
             (c) the granting of licenses, contracts, leases, easements, rights-of-way, permits, or
             grants-in-aid; or
             (d) actions directly or indirectly causing modifications to the land, water, or air.

          50 C.F.R. § 402.02 defines an “action” as anything that “includes any activity authorized,
  funded, or carried out by a federal agency, including permits and licenses.” Federal courts have
  interpreted an agency action requiring consultation in the context of the ESA to be a low threshold,
  lower than that of other Federal environmental protection statutes, including the National
  Environmental Policy Act (NEPA):

             It is instructive to compare the requirements under the ESA to those under NEPA.
             Whereas NEPA asks the agency to identify and prepare an environmental impact
             report for “significant” impacts on any aspect of the environment, the ESA
             requirements are triggered by a lower threshold, but for a narrower set of impacts.
             The agency must identify any potential effect, however small, on listed species and
             consult with the relevant agencies about the proposed action. See Karuk Tribe of
             California v. U.S. Forest Service, 681 F.3d 1006, 1027 (9th Cir. 2012).

         Inst. for Fisheries Res. v. United States Food & Drug Admin., 499 F. Supp. 3d 657, 668
  (N.D. Cal. 2020). Similarly, the D.C. Circuit found in 2021 that:


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      50 C.F.R. § 402 et seq.


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         Implementing regulations promulgated pursuant to the Endangered Species Act
         require an agency to “determine whether any action may affect listed species or
         critical habitat,” and, if so, to consult with the Services. 50 C.F.R. §
         402.14(a); see 16 U.S.C. § 1536(a)(2). Only if an agency determines that its action
         will have no effect on listed species or critical habitat can it dispense with
         consultation. Ctr. for Biological Diversity v. U.S. Dep’t of Interior, 563 F.3d 466,
         475 (D.C. Cir. 2009). “May affect” purposefully sets a low bar: “Any possible
         effect, whether beneficial, benign, adverse or of an undetermined character,
         triggers the formal consultation requirement.” Interagency Cooperation—
         Endangered Species of 1973, as Amended, 51 Fed. Reg. 19,926, 19,949 (June 3,
         1986). “Thus, actions that have any chance of affecting listed species or critical
         habitat — even if it is later determined that the actions are ‘not likely’ to do so —
         require at least some consultation under the ESA.” Karuk Tribe of Cal. v. U.S.
         Forest     Serv.,      681      F.3d    1006,      1027      (9th      Cir.     2012).

  Growth Energy v. Env’t Prot. Agency, 5 F.4th 1, 30 (D.C. Cir. 2021) (emphasis added). Likewise,
  the ESA broadly defines “take” to include a wide range of actions, such as to harass, harm, pursue,
  hunt, shoot, wound, kill, trap, capture, or collect an endangered wildlife species, or any attempt to
  engage in such conduct. 16 U.S.C. § 1532(19). The Northern District of California has stated that
  “mere harm” to a listed species can constitute a take for the purposes of the Act. What this means
  is that an action Agency proceeding without guidance from the Services puts itself at great risk for
  the substantial civil or criminal liabilities enumerated in the Act in the event their action harms an
  endangered species or listed habitat. See Pacificans for a Scenic Coast v. California Dep’t of
  Transportation, 204 F. Supp. 3d 1075 (N.D. Cal. 2016). In the above referenced Karuk case, the
  Ninth Circuit in explaining that the definition of agency “action” can cover a variety of activities
  found that:

         [t]here is “little doubt” that Congress intended agency action to have a broad definition in
         the ESA, and we have followed the Supreme Court’s lead by interpreting its plain meaning
         “in conformance with Congress’s clear intent.” Pac. Rivers Council v. Thomas, 30 F.3d
         1050, 1054–55 (9th Cir.1994) (citing Tenn. Valley Auth., 437 U.S. at 173, 98 S.Ct. 2279).

         The ESA implementing regulations limit Section 7’s application to “‘actions in which there
         is discretionary Federal involvement or control.’” Nat’l Ass’n of Home Builders v.
         Defenders of Wildlife, 551 U.S. 644, 666, 127 S.Ct. 2518, 168 L.Ed.2d 467 (2007) (quoting
         50 C.F.R. § 402.03). The Supreme Court explained that this limitation harmonizes the ESA
         consultation requirement with other statutory mandates that leave an agency no discretion
         to consider the protection of listed species. Home Builders, 551 U.S. at 665–66, 127 S.Ct.
         2518.

  Karuk at 1020–21 (9th Cir. 2012). It is clear that many courts have established that under the ESA,
  “agency action” is both a low bar that an agency will very likely cross but also a broad one. “Any


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  possible effect” triggers the FDA’s duty to consult with the Services; and there is no doubt that
  Mifepristone has “any possible effect” on an endangered species.


          Federal courts define the requirements of Section 7 as a two-fold burden. The first is a
  procedural burden: the action agency is to engage in consultation with the Services as the experts
  in the field, and the second is a more substantive requirement: to ensure that the proposed action
  will not jeopardize a listed species or its critical habitat.

           At the onset, the action agency and Services engage in “informal consultation.” Informal
  consultation is a wide-ranging term, and generally covers the conversations, correspondence, and
  discussions between the Services and action agency at the early stages to see whether or not the
  next step is necessary – formal consultation, as oftentimes the two parties can determine then and
  there that there will be no impact on a listed species or habitat. In the event the proposed action
  requires “formal” consultation, the first step in this process is to form a “biological assessment”
  followed by a biological opinion from the Services. This opinion summarizes the information
  needed to show the potential impact the agency action might have. Only at this point, if the action
  will not jeopardize an endangered species or habitat, may the action agency proceed. If there is a
  chance of endangerment, the Services will provide “reasonable and prudent” alternatives, and the
  action agency is encouraged to adopt those alternatives, or risk civil and criminal penalties for
  failing to comply with the ESA. See Pacificans generally, 204 F. Supp. 3d 1075 (N.D. Cal. 2016).

          The purpose of Section 7’s consultation provision is to determine if any agency may
  adversely affect an endangered species or habitat. By failing to conduct even an informal
  consultation, the FDA did not ensure that the approval of Mifepristone would not harm potential
  listed species.

         The purpose of the consultations is to “draw on the expertise of ‘wildlife agencies
         to determine whether [an] action is likely to jeopardize a listed species’ or its
         habitat, and ‘to identify reasonable and prudent alternatives’ to avoid those harmful
         impacts.” Ctr. for Biological Diversity, 847 F.3d at 1075 (quoting Karuk Tribe, 681
         F.3d at 1020). NMFS provides consultation on actions involving marine and
         anadromous species and habitats, and FWS for all other species and habitats.

  Ecological Rts. Found. v. Fed. Emergency Mgmt. Agency, 384 F. Supp. 3d 1111, 1115 (N.D. Cal.
  2019). The consultation process need not proceed to the formal stage, if as in the case of Shafer,
  the action agency and the wildlife agency agree it is not necessary:

         While the consultation process can take a variety of forms, the action agency often
         performs a preliminary review to determine whether the proposed action could
         affect any listed species. See 50 C.F.R. § 402.14(a); see also 16 U.S.C. § 1536(c);
         50 C.F.R. §§ 402.10–402.13. If the action agency determines—and the wildlife
         agency concurs—that no listed species or critical habitats are likely to be adversely
         affected, then no formal consultation is required. 50 C.F.R. § 402.14(b)(1). But if
         either the action agency or the wildlife agency concludes that the proposed action
         “may affect” a listed species or its critical habitat, then a formal consultation


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         begins. Id. § 402.14(a).

  Shafer & Freeman Lakes Env’t Conservation Corp. v. FERC, 992 F.3d 1071, 1079 (D.C. Cir.
  2021). The case law is clear that not every time there is an agency action will there be even a
  formal consultation, but in failing to even begin the informal process, the FDA failed to comply
  with a Congressional mandate placed upon all federal agencies.

          Federal courts have interpreted the triggering of ESA’s Section 7 protections to be a low
  bar, lower than similar federal statutory constructs, but that the Act’s mandate to protect
  endangered species and threatened habitats do require action agencies that propose new actions to
  consult in some degree with the relevant Service. In approving Mifepristone, the FDA bypassed
  this requirement. This citizen petition requests that the FDA comply with the ESA and conduct the
  appropriate consultation with the Services.

         4. Examples of Endangered Species Potentially Affected by the FDA’s Actions

          The current list of endangered species recognized by the Services contains nearly 1,500
  different species and can be found at https://ecos.fws.gov/ecp0/reports/ad-hoc-species-
  report?kingdom=V&kingdom=I&status=E&status=T&status=EmE&status=EmT&status=EXPE
  &status=EXPN&status=SAE&status=SAT&mapstatus=3&fcrithab=on&fstatus=on&fspecrule=o
  n&finvpop=on&fgroup=on&header=Listed+Animals.

          By way of some specific examples, Canis rufus7 (more commonly known as the red wolf)
  is a canine native to the Southeastern United States, intermediate in size between the grey wolf
  and coyote. Originally listed in 1967 under the Endangered Species Preservation Act of 1966 (the
  predecessor act to the ESA) the red wolf is critically endangered with fewer than 50 currently in
  the wild, and around 200 in captivity. The red wolf is gradually being reintroduced into the
  Southeastern United States, and often inhabits wetlands, forest, and some agricultural lands. The
  red wolf is at one of the more sensitive stages of reintroduction into these ecosystems. Similarly,




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  Lepidochelys kempii8, or Kemp’s ridley sea turtle, listed since 1970, is the world’s rarest and most
  endangered species of sea turtle, finds its range along the Gulf Coast region of the Southeastern
  United States, and often employs the coasts of Texas as a primary nesting range. The Kemp’s
  ridley sea turtle numbers fewer than 10,000 and faces critical habitat loss from human impact on
  the Gulf of Mexico. Percina pantherine9, or leopard darter, is a freshwater fish originally found
  throughout Oklahoma and Arkansas, and listed as an endangered species since 1978. The leopard
  darter’s habitat throughout these states is often connected to outflows from sewage processing
  plants and other human elements that can cause disruption. Gymnogyps californianus10, the
  California condor, is another listed species within the United States that has a long history of
  conservation having being listed since 1967 (similar to the red wolf above). According to the Fish
  and Wildlife Service, over $35 million has been spent on California condor conversation efforts,
  making it one of the most expensive conservation projects in American history.11 With fewer than




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       https://web.archive.org/web/20070808215527/http://www.fws.gov/hoppermountain/cacondor/FAQ.html#money


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  600 living, in captivity and the wild, it remains one of the world’s rarest bird species. Originally
  inhabiting locations across North America, today in the wild they can only be found in small
  portions of Southern California. California condor feed off of a variety of carrion across their
  habitat in Southern California, and will consume nearly any non-bird carcass they come across,
  including aquatic creatures. Crocodylus acutus12, the American crocodile, inhabits portions of
  southern Florida as well as locations across the Caribbean and parts of South America. Its status
  as a member of the endangered species list is owed to 20th Century over-hunting and destruction
  of their habitats by human actions. There are fewer than 2,000 members living in Florida; they
  feed on many aquatic creatures and can inhabit nearly any fresh or salt-water environment within
  the southern portion of that state. Finally, Oncorhynchus nerka13, the sockeye salmon, is one of
  the most popular salmon used for food, and is a listed species in locations within the United States.
  Compared to soho salmon, steelhead trout, and Chinook salmon, populations of sockeye in the
  Pacific Northwest are not experiencing a resurgence in population.14 In fact, populations in Idaho
  and Oregon have become completely extinct. In recent years populations across North America
  have come under their spawning estimates and are at 50-year lows in some places. Sockeye inhabit
  many fresh and saltwater locations across the Pacific Northwest and Alaska and are heavily
  impacted by human activity in those waters.

          All of these listed species depend on a variety of ecosystems within the United States that
  are often impacted by human activity. SFLA and its members are concerned that the failure of the
  FDA to conduct consultation with the Services has led to irreparable harm to many listed species
  and habitats and will likely lead to the destruction of some of these species. When federal agencies
  propose actions that could impact these ecosystems, they are required to consult with the Services
  to determine if these actions will harm these three species, among the list of nearly 1,500 individual
  species. FDA did not do this when approving Mifepristone in 2000 and changing the regimen in
  2016, 2019, 2021, and 2023.




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  14
       https://www.wsj.com/articles/SB10001424052748703657604575005562712284770


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  The FDA Did Not Conduct Sufficient Advanced Studies on the Impact Mifepristone Could
    Have on the Nation’s Water Supply at Any Point Before or Since Formal Approval of
      Mifepristone for Women and Girls in 2000. This Can Have a Negative Impact on
                       Endangered Species and Threatened Habitats.

           The FDA did not conduct sufficient advanced studies on the impact Mifepristone could
  have on the nation’s water supply when the Mifepristone regimen was approved for women and
  girls in 2000. In the lead up to 2000 approval, the FDA reported that there would be high standards
  for disposal related to Mifepristone.15 This has not been the case.

          Mifepristone and fetal remains in wastewater have impacts beyond humans and onto
  animals and plants. Mifepristone usage results in the generation of Medical Waste16 and must be
  treated as such. The residual effects of exposure to Mifepristone in the nation’s waterways can
  impact animals, causing teratologic repercussions or congenital anomalies like birth defects to
  animals.17 Proper control of drugs, hormones, and chemicals in wastewater is vital to human health
  and the health of other life exposed.

               a. The FDA did not conduct sufficient advanced studies on the impact
                  Mifepristone could have on the nation’s water supply when the
                  Mifepristone regimen was approved for women and girls in 2000.

         The FDA did not conduct sufficient advanced studies on the impact Mifepristone could have
  on the nation’s water supply when the Mifepristone regimen was approved for women and girls in
  2000. This has resulted in an incalculable amount of human remains and drug residue entering our
  nation’s water supply following the usage of Mifepristone. This has not been analyzed from the
  perspective of the Endangered Species Act and the effect of Mifepristone on listed species or
  habitats. From the 1996 report that the FDA prepared for Mifepristone’s approval:

         The Food and Drug Administration, Center for Drug Evaluation and Research
         (CDER) has carefully considered the potential environmental impact of this action
         and has concluded that this action will not have a significant effect on the quality of
         the human environment and that an environmental impact statement therefore will
         not be prepared. In support of their new drug application for Mifepristone Tablets,
         The Population Council has prepared an environmental assessment in accordance
         with 21 CFR 25.3a (attached) which evaluates the potential environmental impacts
         of the manufacturer, use and disposal of the product. Mifepristone is a synthetic drug
         which will be administered orally to provide a medical approach to the termination
         of early pregnancy. Mifepristone may enter the environment from the excretion by
         patients, from disposal of pharmaceutical waste or from emissions from
         manufacturing sites. . . . The Center for Drug Evaluation and Research has concluded

  15
     1996 Environmental Assessment and/or FONSI Application Number 20-687 page 02.
  16
     Medical waste, as defined by the EPA: “Generally, medical waste is healthcare waste that [] may be contaminated
  by blood, body fluids or other potentially infectious materials and is often referred to as regulated medical waste.”
  17
     Gonsioroski A, Mourikes VE, Flaws JA. Endocrine Disruptors in Water and Their Effects on the Reproductive
  System. Int J Mol Sci. 2020 Mar 12;21(6):1929. doi: 10.3390/ijms21061929. PMID: 32178293; PMCID:
  PMC7139484.


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         that the product can be manufactured, used, and disposed of without any expected
         adverse environmental effects.18

  By their own admission, the FDA failed to study or assess the environmental impact of
  Mifepristone itself, but also the natural “by-product” of Mifepristone use: medical and pathological
  waste. The study only evaluated the impact of “manufacturer, use and disposal of the product,”
  i.e., the impact of trash from the packaging. There was not any evaluation of Mifepristone’s effect
  on the water supply or pollution for the people or animals who consume that water.

                        i. In the lead up to 2000 approval, the FDA reported that there
                           would be high standards for disposal related to Mifepristone.
                           This has not been the case.

          The 1996 Environmental Assessment stated that there would be high standards for
  disposal; however, the focus was primarily on the drug itself and its associated packaging, not the
  chemical remnants, human remains, and other tissues which are a natural result of Mifepristone
  usage. This waste is generally flushed into the wastewater system. Proliferation of Mifepristone
  usage is only increasing with the 2016 changes to the REMS, the 2021 removal of the in-person
  dispensing requirement, and the authorization of mail-order pills; thus, the associated pollution
  into the waterways is growing.

          When Mifepristone was first approved by the FDA in 2000, the Environmental Assessment
  prepared for the FDA included specific provisions for disposal locations. That assessment required
  that clinics or healthcare providers prescribing Mifepristone to follow the Center for Disease
  Control guidelines for handling hazardous waste. Specifically, it stated that “the applicant will use
  a licensed incineration or grinding and landfill facility to dispose of this type of material.”19
  However, considering the purported “convenience” afforded by the usage of Mifepristone
  (compared to the clinical setting), the majority of abortions via Mifepristone are occurring in the
  home. In fact, it is often touted as one of the main benefits of Mifepristone, as explained by the
  Guttmacher Institute: “[m]edication abortion can be completed outside of a medical setting—for
  example, in the comfort and privacy of one’s home.”20

          More than half of all abortions (54%) are committed with Mifepristone.21 This figure is an
  estimate, as the actual percentage of abortions as committed by Mifepristone is unknown as there
  is no national abortion reporting law.22 States don’t report uniformly, and some report nothing at
  all. This is exacerbated by the chaos of online purchases, and the fact that many Mifepristone23 pill
  vendors are located internationally. Given current trends, Mifepristone may soon cause more than
  90% of all abortions. Three-quarters of abortions in Europe are committed with Mifepristone pills,
  according to the New York Times.24 And it can be more, as an NIH report notes that countries like

  18
     1996 Environmental Assessment and/or FONSI Application Number 20-687 page 1 of Cover Letter.
  19
     1996 Environmental Assessment and/or FONSI Application Number 20-687 page 3.
  20
     https://www.guttmacher.org/article/2022/02/medication-abortion-now-accounts-more-half-all-us-abortions
  21
     Id.
  22
     https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2306667
  23
     Some studies refer to Mifepristone and misoprostol usage generally as “Chemical Abortion.”
  24
     https://www.nytimes.com/2022/05/09/upshot/abortion-pills-medication-roe-v-wade.html


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  Finland use Mifepristone pills 97.7% of the time, and in Sweden, the pills are used more than
  96.4%.25 The number of fetal remains flushed into the wastewater system is only increasing and it
  is likely that the United State will be following Europe’s lead in light of the United States Supreme
  Court’s overturning of Roe v. Wade and increasing restrictions on chemical abortions in many
  states.

           The industry’s practice to date is to allow the byproducts of Mifepristone usage to be
  flushed into the patient’s toilet, as is FDA’s; but everything that is flushed goes into America’s
  wastewater system.26 Most Americans know that the only things you can safely flush are the “three
  Ps”: Pee, Poo, Paper.27 In fact, “the U.S. Environmental Protection Agency is encouraging all
  Americans to only flush toilet paper.”28 The EPA is very direct on how to “protect local
  waterways” by not flushing the wrong things.29 Treated wastewater is released into local
  waterways where it’s used again for any number of purposes, such as supplying drinking water,
  irrigating crops, and sustaining aquatic life.30

           The route by which human waste travels from bathrooms and into the waterways is an
  important reference point to highlight the route by which pharmaceuticals follow the same path,
  and namely the manner by which Mifepristone remnants can harm endangered species. Oftentimes
  what is in human waste and uterine content contains specific chemical compounds that find their
  way back into water; whether that be drinking water, groundwater, or surface water. Those
  compounds break down into their various member parts, either through human filtering, or through
  chemical processes. These “metabolites”, can be either “active” or “inactive.” Active
  pharmaceutical metabolites can still carry out the intention of the original drug or chemical
  compound they were a part of, even after consumption by humans. Thus, in cases where
  metabolites of the drug or compound are active, once it cycles through the liver it can still work in
  the body (or other bodies) to facilitate the action the chemical or drug was designed to do.
  Mifepristone itself has several active metabolites that are still functioning as intended even after
  filtration by the human body and expulsion from the uterus.31 These metabolites can be found in
  uterine contents like placenta and fetal remains, as well as urine or feces; these naturally find their
  way into the wastewater system. In fact, the directly expelled uterine contents are far more
  chemically tainted than waste would be, as those materials are directly passed into the water system
  because of Mifepristone and are not just byproducts passed off in waste.

          Many studies have been conducted on the effects pharmaceutical metabolites can have after
  they are secreted by the body and end up in water, or in agricultural and industrial settings where
  metabolites end up in runoff, to see to what extent and degree their original purpose still survives.
  32
     Pharmaceutical metabolites of chemicals can end up in a wide range of water sources, after

  25
     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8567957/
  26
     https://cwhccolorado.com/services/medication-abortion/aftercare-medication-abortion/index.html
  27
     https://www.portland.gov/bes/safe-flush
  28
     https://www.epa.gov/newsreleases/epa-encourages-americans-only-flush-toilet-paper
  29
     https://www3.epa.gov/npdes/pubs/centralized_brochure.pdf
  30
     https://www.cwea.org/news/epa-bans-flushing-all-drugs-including-hazardous-waste-drugs/
  31

  https://pubmed.ncbi.nlm.nih.gov/14698071/#:~:text=The%20three%20most%20proximal%20metabolites,human%2
  0progesterone%20and%20glucocorticoid%20receptors
  32
     https://setac.onlinelibrary.wiley.com/doi/pdf/10.1897/09-173.1


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  either human consumption or other human activities such as the application of herbicides,
  pesticides, and fungicides. In more recent studies of the impact pharmaceuticals have had on the
  environment shows that wastewater treatment plants (WWTPs) are unable to entirely treat the
  water and remove the active metabolites from human waste and by extension human uterine
  content that ends up in the water. What this in turn means is that through human consumption and
  transmission into waste, many potentially harmful pharmaceuticals are finding their way into our
  waterways. Wastewater, once it is treated at the WWTP and sent back into the environment in the
  form of effluent, could very likely still contain the active metabolites of whatever drugs were
  filtered into it by humans along the way. The FDA and EPA do not attach other regulation on the
  amount of potentially harmful chemicals that enter our waterways. The FDA in approving
  Mifepristone did not determine whether the amount of that drug that enters our waterways was
  enough to harm endangered species. The FDA failed to comply with Section 7 by approving
  Mifepristone despite not knowing the full impact of its active metabolites. These same metabolites
  that enter the wastewater system and eventually the environment where it likely effects endangered
  species.

          Medications and chemicals flushed into the wastewater system cause particular problems.33
  Yet this is permissible because of the FDA’s failure to comply with Section 7 of the ESA. There
  has been no comprehensive review of the effect this widespread proliferation of Mifepristone, and
  its consequences, could have on American water, and thereafter plants and animal life. The 1996
  Environmental Assessment laid out specific instructions for the proper disposal methods to be used
  with Mifepristone packaging, but the study failed to consider how to properly dispose of the results
  of Mifepristone use itself.

          Surgically extracted fetal remains, and chemically expelled fetal remains, tissues, and
  fluids are treated differently; including how they are disposed of. Many state laws exist that
  elucidate the proper disposal method for fetal and human remains in the context of surgical
  abortion in order to protect public health.34 Many of these state laws provide that fetal remains are
  to be cremated or properly buried, and in fact Vermont’s law states:

          Fetal remains shall be disposed of by burial or cremation unless released to an
          educational institution for scientific purposes or disposed of by the hospital or as
          directed by the attending physician in a manner which will not create a public health
          hazard. Permission shall be obtained from one of the parents, if competent, for
          disposition in all cases where a funeral director is not involved. One copy of the
          fetal death report shall be printed in such manner that completion and signing by
          the physician or medical examiner shall constitute permission to make final
          disposition of the fetal remains.35

          These laws contemplate surgical abortion only, and have not kept up with the pace of
  Mifepristone usage. It’s clear the same concern applies in the case of chemical abortion. It is
  antithetical to the passage of these laws or similar laws to allow the products of Mifepristone usage

  33
     https://www.epa.gov/sites/default/files/2015-06/documents/how-to-dispose-medicines.pdf
  34
     See Fla Admin. Code 59A-9.030, Ga Code Ann. § 16-12-141.1(a)(1), Miss Code Ann. § 41-39-1, Or Rev. Stat. §
  432.317(3), Ohio Admin. Code § 3701-47-05(A), Ariz Rev. Stat. 36-331, and Tenn Code Ann. § 68-3-506.
  35
     18 VT Stat. Ann. § 5224(a).


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  to be transmitted into the waterways when surgically aborted fetuses are properly disposed of
  through cremation or burial.

          Unfortunately, this same level of concern has not been extended to usage of Mifepristone,
  despite the fact that chemical abortion caused by Mifepristone creates more harmful byproducts,
  along with the expected fetal remains, because it includes the remains of Mifepristone itself. Other
  state laws provide that citizens have a right to know what, if any, contaminants are in their water.
  Plus, a state’s waterways are highly regulated in general.36 This same level of regulation should be
  extended to chemical pollutants in our waterways. Further, the FDA must comply with Section 7’s
  requirements of consultation with the Services to determine the effects of this medical waste on
  listed species or habitats in our nation’s waters.

              b. Mifepristone remains and fetal remains in wastewater have impacts beyond
                 humans and onto animals and plants. Mifepristone usage results in the
                 generation of Medical Waste and must be treated as such.

           Mifepristone and fetal remains in wastewater have impacts beyond humans and onto
  animals and plants. The EPA acknowledges that pharmaceuticals and human remains can impact
  the fertility of animals and fish.37 Mifepristone in wastewater is distinct from a natural spontaneous
  miscarriage, as the products of Mifepristone are chemically tainted with this drug. As Students for
  Life of America President Kristan Hawkins noted in a 2020 letter to then FDA Commissioner
  Stephen Hahn, a re-evaluation of the environmental impact of the volume of human remains is
  needed, given the current status. Hawkins wrote:

          During the approval process for RU-486, an environmental impact study for the
          drugs focused on the impact of packaging for the drugs, rather than on the impact
          of human remains in our wastewater system and ground water. Today, with so
          many lives ending by such chemical abortion pills, it’s vital to reopen an inquiry
          into the environmental impact on our water and land as so many human beings
          are being flushed away. When you consider that the Environmental Protection
          Agency recommends against flushing tampons to preserve the environment and
          water safety, how much more significant is disposing of human remains through
          the wastewater systems across America?38

          The need to protect and preserve endangered species and habitats, among other
  environmental priorities, impacts everyone. This led the Federal Government to create agencies
  such as the EPA and the Services and to pass legislation such as the Endangered Species Act and
  Clean Water Act. However, as the EPA notes, states lead the way and there is not much that the
  EPA can do in the realm of Medical Waste. The “EPA has not had authority, specifically [to
  regulate] medical waste, since the Medical Waste Tracking Act (MWTA) of 1988 expired in
  1991.”39 In fact, the EPA encourages citizens “to contact your state environmental program first
  when disposing of medical waste” and “[c]ontact your state environmental protection agency and

  36
     See Fla Stat 403.021(2), (10).
  37
     https://cfpub.epa.gov/si/si_public_record_report.cfm?dirEntryId=312892&Lab=NHEERL
  38
     https://www.epa.gov/newsreleases/epa-encourages-americans-only-flush-toilet-paper
  39
     https://www.epa.gov/rcra/medical-waste#who%20regulates%20medical%20waste


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  your state health agency for more information regarding your state’s regulations on medical
  waste.”40 Rather than tackle the byproducts of Mifepristone after they have already entered our
  waterways, this Citizen Petition suggests to the FDA that they must handle the problem at the
  beginning. The FDA must determine the impact that Mifepristone may have on listed species or
  habitats through consultation with the Services, and thus learn of the impact of these chemical
  byproducts on our ecosystems and waterways.

          Given that no complete Environmental Impact Study took place in 1996, the true impact
  of Mifepristone, human tissues, and human remains on our nation’s wastewater system is largely
  unknown. It is likely that the nation’s drinking water is contaminated in some appreciable amount
  by the increasing abundance of Mifepristone and human remains – as of February 2022, 54% of
  all abortions were performed via Mifepristone usage, up from 39% in 2017 – being flushed into
  the system.41 42 This can have detrimental effects on the fertility of animals, as well as having
  unknown detrimental effects on plant life and ecosystems. As was stated above, this is only going
  to increase in the coming months and years as Mifepristone use becomes the primary method of
  abortion in the United States.

        Human remains are considered “pathological waste,” which the World Health Organization
  (WHO) recommends being carefully treated by incineration or other special handling.43
  Mishandling human remains and Medical Waste can lead to severe consequences. Those negative
  consequences can impact animals, plants, and people. As the WHO notes: “[t]he disposal of
  untreated health care wastes in landfills can lead to the contamination of drinking, surface, and
  ground waters if those landfills are not properly constructed.”44 The American Academy of Family
  Physicians, in discussing Medical Waste disposal in non-medical locations, notes:

         [h]ome based health care can create medical waste which can be hazardous if not
         disposed properly. Inappropriate medical waste disposal can pose harmful
         environmental concerns and significant health risks to the public, which include but
         are not limited to, potential water contamination, … and toxic exposure to
         pharmaceutical products. The AAFP encourages practices to keep all medical and
         non-medical waste separate to avoid contamination and to facilitate safe disposal of
         all medical waste. The importance of routine medical waste disposal and destruction
         practices should be stressed at all city and county levels of collection.45

          Due to the FDA’s failure to conduct proper consultation with the Services in the context of
  the Endangered Species Act, it is unknowable the impact of this pathological waste may have on
  listed species or habitats. Even if unknowable, it is very likely to cross the low threshold for agency
  actions enumerated above by federal courts to constitute a take against the ESA. This must be
  remedied through FDA complying with Section 7’s requirements and consultation with the
  Services.

  40
     https://www.epa.gov/rcra/medical-waste#who%20regulates%20medical%20waste
  41
     https://www.guttmacher.org/article/2022/02/medication-abortion-now-accounts-more-half-all-us-abortions
  42
     https://all.org/abortion/abortion-statistics
  43
     https://www.who.int/news-room/fact-sheets/detail/health-care-waste
  44
     https://www.who.int/news-room/fact-sheets/detail/health-care-waste
  45
     https://www.aafp.org/about/policies/all/medical-waste-disposal.html


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                         i. The residual effects of exposure to Mifepristone in the nation’s
                            waterways can impact animals, causing teratologic repercussions and
                            congenital anomalies like birth defects, to animals.

           In the FDA’s 1996 Environmental Assessment, the Teratogenicity realities of Mifepristone
  pills were shown to impact rats, mice, and rabbits in testing. As a Harvard University paper, The
  Life of the Abortion Pill in the United States, states, initial studies of the drugs included
  requirements that the women agree to a surgical abortion if Mifepristone failed because of the risk
  of birth defects.46 This way, the products of surgical abortion would be disposed through healthcare
  facility disposal systems, rather than getting flushed into waterways.

  The report noted:

          [a]nimal toxicology on both mifepristone and misoprostol show teratologic effects
          in animals, and usually such teratologic effects in animals will translate or have a
          high possibility of translating to teratologic effects in humans. Dr. Bardin, an
          endocrinologist and independent consultant for the Population Council, reported at
          a 1996 FDA Advisory Committee meeting, that 21 children have been born to
          women who changed their minds, after mifepristone-misoprostol administration,
          and three of these children have had congenital anomalies. The congenital
          anomalies were club foot, abnormal fingernails, and an immune disease that led to
          death.47

  The creator of the drug, Roussel-Uclaf and later Hoechst, was reluctant to engage in the U.S.
  Market because of concerns over lawsuits if birth defects or injury resulted because of
  Mifepristone. From the Harvard Report:

          “The company’s biggest worry may have been the fact that mifepristone and
          misoprostol have been shown to have teratologic effects. If a woman is
          administered both mifepristone and misoprostol and carries her pregnancy to term,
          her fetus is at risk. A child with birth defects is one of the most sympathetic
          plaintiffs.”48

  More studies, culminating in consultation with the Services, should be conducted to alleviate, if
  possible, such concerns surrounding the usage of Mifepristone and the potential for teratological
  defects in endangered animals and listed habitats exposed to the drug through environmental
  contamination.

  In fact, many studies and organizations have already found that Mifepristone and other
  pharmaceuticals have an adverse effect on animal and aquatic life:


  46
     The Life of the Abortion Pill in the United States (2000 Harvard Library, Office for Scholarly Communication.)
  https://dash.harvard.edu/bitstream/handle/1/8852153/Hogan%2C_Julie.pdf?sequence=1&isAllowed=y
  47
     Id.
  48
     Id. at page 45.


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     •   “Effects of long term antiprogestine mifepristone (RU486) exposure on sexually dimorphic
         lncRNA expression and gonadal masculinization in Nile tilapia (Oreochromis niloticus),”
         https://pubmed.ncbi.nlm.nih.gov/31491707/#:~:text=A%20long%2Dterm%20exposure%
         20of,and%20germline%20stem%20cell%20survival;
     •   “Drugs flushed into the environment could be cause of wildlife decline,”
         https://www.theguardian.com/environment/2014/oct/13/drugs-flushed-into-the-
         environment-could-be-cause-of-wildlife-decline;
     •   “Medicating the environment: assessing risks of pharmaceuticals to wildlife and
         ecosystems,” https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4213582/;
     •   “For pharmaceuticals fouling wastewater and wildlife, solutions exist (commentary),”
         https://news.mongabay.com/2022/01/for-pharmaceuticals-fouling-wastewater-and-
         wildlife-solutions-exist-commentary/;
     •   “Impact           of        Pharmaceutical         Waste          on          Biodiversity,”
         https://www.researchgate.net/publication/322127132_Impact_of_Pharmaceutical_Waste_
         on_Biodiversity;
     •   “Endocrine Disruptors,”
         https://www.biologicaldiversity.org/campaigns/pesticides_reduction/endocrine_disruptor
         s/index.html;
     •   “Two synthetic progestins and natural progesterone are responsible for most of the
         progestagenic activities in municipal wastewater treatment plant effluents in the Czech and
         Slovak                                                                           republics,”
         https://www.sciencedirect.com/science/article/abs/pii/S0043135418301787;
     •   “Determination of Hormone Antagonists in Waste-Water Samples by Micellar
         Electrokinetic Chromatography,” https://link.springer.com/article/10.1007/s10337-018-
         3631-0;
     •   “Detection of Pharmaceutical Residues in Surface Waters of the Eastern Cape Province,”
         https://pubmed.ncbi.nlm.nih.gov/32517338/;
     •   “Mapping multiple endocrine disrupting activities in Virginia rivers using effect-based
         assays,” https://pubmed.ncbi.nlm.nih.gov/33592464/;
     •   “Exposure to environmental endocrine disrupting compounds and men’s health,”
         https://pubmed.ncbi.nlm.nih.gov/20347536/;
     •   “Pharmaceuticals and Endocrine Disrupting Compounds in U.S. Drinking Water,”
         https://pubs.acs.org/doi/10.1021/es801845a;
     •   “Pharmaceuticals of Emerging Concern in Aquatic Systems: Chemistry, Occurrence,
         Effects, and Removal Methods,” https://pubs.acs.org/doi/10.1021/acs.chemrev.8b00299;
     •   “The pharmacokinetics of mifepristone in humans reveal insights into differential
         mechanisms of antiprogestin action,” https://pubmed.ncbi.nlm.nih.gov/14698071/;
     •   “Impacts of endocrine disrupting chemicals on reproduction in wildlife and humans,”
         https://www.sciencedirect.com/science/article/pii/S0013935121018855;
     •   “Endocrine Disruptors in Domestic Animal Reproduction: A Clinical Issue?,”
         https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4584497/; and
     •   “Endocrine Disruptors in Water and Their Effects on the Reproductive System,”
         https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7139484/.




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          Presently the Medical Waste from Mifepristone usage is transmitted directly into the
  wastewater system when the patient completes the Mifepristone and associated misoprostol
  regimen. This is harmful to drinking water sources, groundwater sources, and any other sources of
  water that are touched by wastewater. This water does come into contact with endangered species
  and was not accounted for when the FDA approve Mifepristone for consumer use in 2000.

              a. The generator of Medical Waste is responsible for disposal of that Medical
                 Waste.

         The generator of Medical Waste is responsible for disposal of human tissue or remains.
  This rule should be extended to the prescribers of Mifepristone as generators of Medical Waste.
  Consider that if a limb were amputated, one isn’t sent home with it in a bag to dispose of elsewhere.
  The medical practitioner that began the chain of events leading to the creation of this “waste” is
  responsible for its proper disposal.

  According to the EPA:

          Medical waste is a subset of wastes generated at health care facilities, such as
          hospitals, physicians’ offices, dental practices, blood banks, and veterinary
          hospitals/clinics, as well as medical research facilities and laboratories.
          Generally, medical waste is healthcare waste that that [sic] may be contaminated
          by blood, body fluids or other potentially infectious materials and is often
          referred to as regulated medical waste.49

          Accordingly, the physician or other medical practitioner that prescribes Mifepristone is
  thus the generator of Medical Waste – without their involvement, the prescription would never be
  issued or consumed, leading to the production of Medical Waste. The EPA notes in model
  guidelines that the generator of Medical Waste has responsibility for its disposal. Blood and human
  remains would usually be handled by incineration or a process of cleansing the material before
  disposal.50

          According to Waste Today Magazine, nearly all 50 states have enacted Medical Waste
  regulations to some extent. However, unlike state hazardous waste regulations, which are all
  compliant with the federal Resource Conservation and Recovery Act (RCRA) standards, state
  Medical Waste standards vary significantly. Some state Medical Waste rules are fashioned after
  the Medical Waste Tracking Act of 1988, while others bear little to no resemblance to that
  historical law. In most places, the state EPA equivalent is primarily responsible for developing and
  enforcing regulations for Medical Waste management and disposal. Although in some states, the
  department of health may play a leading role (e.g., Missouri and Oklahoma) or even serve as the
  primary regulatory agency, such as the case in Colorado. Where both agencies are involved, like
  in Louisiana and Missouri, typically the department of health is responsible for on-site
  management and the environmental agency is responsible for transportation and disposal.51

  49
     https://www.epa.gov/rcra/medical-waste
  50
     https://www.epa.gov/sites/default/files/2016-
  02/documents/model_guidelines_for_state_medical_waste_management.pdf
  51
     https://www.wastetodaymagazine.com/article/medical-waste-regulation-processing/


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          There is no generalized nationwide direction from states or the federal government for the
  proper disposal of fetal remains, a problem that plagues the entirety of the abortion industry. The
  FDA, through a modification of the Mifepristone REMS, can begin to alleviate this problem and
  establish a national disposal standard. Most states’ laws are too broad in this context to truly
  encapsulate what is necessary for the safe disposition of fetal remains or, by extension, the
  chemical remains from Mifepristone.

                                           CONCLUSION

         This Petition requests that the FDA conduct the appropriate consultation under Section 7
  of the Endangered Species Act with the United States Fish and Wildlife Service and National
  Marine Fisheries Service in light of the unknown affect that Mifepristone could have on all listed
  endangered or threatened species or designated critical habitats in the FDA’s approval jurisdiction.

         The Endangered Species Act requires federal agencies to consult with the Services to
  ensure that the actions they fund, authorize, permit, or otherwise carry out will not jeopardize the
  continued existence of any listed species or adversely modify designed critical habitats. When
  approving Mifepristone for human consumption, the FDA did not do this.

          The purpose of the Endangered Species Act is to provide a means to conserve the
  ecosystems upon which endangered and threatened species depend and provide a program for the
  conservation of such species. The Section 7 consultation requirements apply to all federal agency
  actions.

          Because FDA did not perform the proper consultation under the Act, it is unknowable the
  impact Mifepristone and its by-products may have on the nation’s waterways and ecosystems, and
  more specifically the impact the same has had and will have on endangered species or listed
  habitats. The approval of Mifepristone should be halted to allow for a full investigation into its
  harms to humans, the environment, and endangered species, as required by law.

                                 C. ENVIRONMENTAL IMPACT

  Petitioner is categorically excluded from conducting an environmental impact statement under 21
  C.F.R. § 25.30, 25.31, 25.32, 25.33, or § 25.34 or an environmental assessment under 21 C.F.R. §
  25.40.

                                     D. ECONOMIC IMPACT

  Petitioner will submit information upon request of the Commissioner following review of this
  petition.
                                      E. CERTIFICATION

  The undersigned certifies, that, to the best knowledge and belief of the undersigned, this petition
  includes all information and views on which the petition relies, and that it includes representative
  data and information known to the petitioner which are unfavorable to the petition.



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                                                   STUDENTS FOR LIFE OF AMERICA
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                                                   Fredericksburg, VA 22401
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       Additional Signatories:

       Ave for Life (Ave Maria University)
       Ravens Respect Life (Benedictine College)
       Falcons for Life (Bowling Green State University)
       Brownsburg Bulldogs for Life
       Cal Poly Students for Life
       Carmel Students for Life
       Cedarville Students for Life
       Christ the King Homeschool Group
       Advocates for Life (Cleveland State University)
       Tribe for Life (College of William and Mary)
       New York University Catholic Center
       Students for Life of Delta State University
       DePaul College Republicans
       East Career & Tech Academy Students for Life
       East Tennessee State University Students for Life
       Students for Life Eastern Washington University
       Evansville Christian School Students for Life
       Alive with New Hope
       Fairmont State University Students for Life
       Irish4life
       Florida Atlantic University Students for Life
       Florida Gulf Coast University Students for Life
       Students for Life at Florida International University
       Foothills Christian High School Students for Life
       Students for Life of Franciscan University of Steubenville
       Students for Life at George Mason University
       Students for Life at Georgia Tech
       Gibson Southern Students for Life
       Students for Life at Grace Christian Academy
       Grace College Students for Life



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       Harding University Students for Life
       Harrison High School Students for Life
       Holy Cross Academy Students for Life
       Saints for Life (Holy Cross College)
       Students for Life Quincy, CA
       Homeschoolers4Life
       FXBG Students for Life
       Putnam County Students for Life
       Homestead Students for Life
       Students Cherishing Life (Hope College)
       Huntington University Students for Life
       IC Imagine Students for Life
       Students for Life at Illinois State University
       Students for Life at Indiana University
       Iowa State Students for Life
       College Republicans at Indiana University Purdue University Indianapolis
       Jones College Preparatory High School Students for Life
       Judson Bike Shop (Judson University)
       Kalida High School Students for Life
       Kent State Flashes for Life
       Protect Life Club (Lake Superior State University)
       Liberty University Students for Life
       Lorain County Community College Students for Life
       Duhawks for Life (Loras College)
       Lumen Christi Catholic School Students for Life
       Teens for Life (Lutheran High School of St. Charles)
       Lancers for Life (Lutheran High School South)
       Indiana University Robert H. McKinney School of Law Students for Life
       Miami University Students for Life
       Middle Tennessee State University Students for Life
       Mississippi College Students for Life
       Pro-Life Mississippi State University
       Bears For Life (Missouri State University)
       Rolla Students for Life (Missouri University of Science and Technology)
       Montclair State University Students for Life
       Gianna Project Students for Life of America (Northpoint Homeschool)
       Northwest Students for Life (Northwest Missouri State University)
       PLGVoices (Northwestern Health Sciences University)
       OCA Pro-Life
       Bobcats for Life (Ohio University)
       Ottawa Glandorf Students for Life
       Ozark Catholic
       Palm Beach Atlantic University Students for Life
       Potomac Falls High School Students for Life
       Students for Life of Purdue University Fort Wayne
       Regent University Students for Life



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       Richmond Students for Life
       Rockhurst Respect Life
       CSA (Rutgers University)
       Imago Dei Students for Life
       St. Louis University Students for Life
       Belles for Life (St. Mary’s College)
       Saint Vincent College Respect Life Club
       Bearkats For Life (Sam Houston State University)
       Shippensburg Students for Life
       Students for Life Southeast Missouri State University
       Students for Life Southeastern University
       Raiders 4 Life (Southridge Highschool)
       Mavs for Life Southside High School
       St. Francis High School Students for Life
       Stone Bridge Students for Life (Stone Bridge High School)
       Surry Students for Life (Surry Community College)
       Tarleton Students for Life (Tarleton State University)
       Temple University Students for Life
       Buckeyes for Life (The Ohio State University)
       Students for Life at the University of Tennessee at Martin
       Students for Life at the University of Texas at El Paso
       Thomas More University Saints for Life
       Students for Life of Traverse City West Senior High School
       Students for Life at Truman State University
       Students For Life at Tuscarora High School
       University of Akron Students for Life
       Students for Life at University of Arizona
       University of Chicago Students for Life
       University of Cincinnati Students for Life
       Flyers for Life (University of Dayton)
       University of Detroit Mercy Protect Life Group
       Student for Life at University of Florida
       We Dignify (University of Illinois Urbana-Champaign)
       Pro-Life Wildcats (University of Kentucky)
       Louisville Students for Life
       Cru for Life (University of Mary Hardin-Baylor)
       Mizzou Students for Life (University of Missouri)
       Students for Life at University of Missouri – St. Louis
       Students for Life at University of Nevada – Reno
       University of Northern Iowa Students for Life
       University of South Florida Students for Life
       Celts for Life (University of St. Thomas)
       University of Tennessee – Knoxville Vols for Life
       Toledo Students for Life
       Students for Life at University of West Florida
       Students for Life at the University of Nevada, Las Vegas School of Dental Medicine



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       Students for Life at Utah Valley University
       Students for Life at the University of Texas San Antonio
       Students for Life of America at Virginia Commonwealth University
       Students for Life at Virginia Tech
       Washington and Lee University Students for Life
       Students for Life at Watkins Mill High School
       Mountaineers for Life (West Virginia University)
       Western Kentucky University Students for Life
       Woodgrove Students for Life (Woodgrove High School)
       Students for Life at West Virginia University Institute of Technology
       Cowboys for Life (Wyoming Catholic College)
       Xavier Students for Life (Xavier University)
       Abilene Christian University for Life
       Raiders Defending Life (Texas Tech University)
       Rice for Life (Rice University)




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    Exhibit                                     Exhibit Name
     No.
      A           Supplement Approval for NDA 020687/S-014 (June 8, 2011),
                  https://perma.cc/JJJ9-NYKQ
       B          Supplement Approval for NDA 020687/S-022 (Apr. 11, 2019),
                  https://perma.cc/WU6K-GFLF
       C          REMS Modification Rationale Review (Dec. 16, 2021),
                  https://perma.cc/P38G-3NU5 (beginning at page 41 of the PDF)
       D          P. Cavazzoni to D. Harrison, et al. (Dec. 16, 2021),
                  https://www.regulations.gov/document/FDA-2019-P-1534-0016 (last
                  visited June 3, 2023)
       E          REMS Modification Notification for NDA 020687 (Dec. 16, 2021)
       F          REMS Modification Notification for ANDA 091178 (Dec. 16, 2021)
       G          CDER, Summary Review (Application Number: 020687Orig1s025) (Jan.
                  3, 2023), https://perma.cc/P38G-3NU5 (beginning at page 1 of the PDF)
       H          CDER, Risk Assessment and Risk Mitigation Review(s) (Application
                  Number: 202107Orig1s000) (Jan. 27, 2012), https://perma.cc/DZ3M-
                  MX93
       I          Guidance for Industry: REMS: FDA’s Application of Statutory Factors in
                  Determining When a REMS Is Necessary (Apr. 2019),
                  https://perma.cc/X7V4-9MZJ
       J          A. Shah, M.D., to H. Balderas (May 19, 2020)
       K          Supplement Approval for NDA020687/S-025 (Jan. 3, 2023),
                  https://perma.cc/5FTY-SY25
       L          Citizen Petition from Students for Life of America (Apr. 19, 2023),
                  https://www.regulations.gov/document/FDA-2023-P-1528-0001 (last
                  visited June 3, 2023)


           I swear under penalty of perjury that the foregoing is true and correct.

  Executed on June 5, 2023.




                                                            /s/ Noah T. Katzen
                                                            NOAH T. KATZEN
